         Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 1 of 220




                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                                 )
    In re:                                                       ) Chapter 11
                                                                 )
    DIAMOND SPORTS GROUP, LLC, et al.,1                          ) Case No. 23-90116 (CML)
                                                                 )
                           Debtors.                              ) (Jointly Administered)
                                                                 )

                     FIRST INTERIM FEE APPLICATION OF
                  FTI CONSULTING, INC. FOR COMPENSATION
         FOR SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES AS
        COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
          FOR THE PERIOD FROM MARCH 31, 2023 THROUGH JUNE 30, 2023

                        Complex Case Fee Application Coversheet (Hourly)

    Name of Applicant:                                         FTI Consulting, Inc.
    Applicant’s Role in Case:                                  Financial Advisor to the Official
                                                               Committee of Unsecured Creditors
    Docket No. of Employment Order(s):                         Docket No. 743
    Interim Application ( X )      No.      1                  First Interim
    Final Application ( )

                                                                 Beginning Date                 End Date
    Time period covered by this Application for                       3/31/23                    6/30/23
    which interim compensation has not previously
    been awarded:
    Were the services provided necessary to the administration of or beneficial at the time
    rendered toward the completion of the case? ( Y ) Y/N
    Were the services performed in a reasonable amount of time commensurate with the
    complexity, importance and nature of the issues addressed? ( Y ) Y/N
    Is the requested compensation reasonable based on the customary compensation charged by
    comparably skilled practitioners in other non-bankruptcy cases? ( Y ) Y/N

1
  A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
claims and noticing agent at https://cases.ra.kroll.com/DSG. The Debtors’ service address for purposes of these
chapter 11 cases is: c/o Diamond Sports Group, LLC, 3003 Exposition Blvd., Santa Monica, CA 90404.
    Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 2 of 220




Do expense reimbursements represent actual and necessary expenses incurred? ( Y ) Y/N
          Compensation Breakdown for Time Period Covered by this Application
   Total professional fees requested in this Application:                             $3,821,892.25
   Total professional hours covered by this Application:                                      4,817.0
   Average hourly rate for professionals:                                                    $793.42
   Total paraprofessional fees requested in this Application:                                   $0.00
   Total paraprofessional hours covered by this Application:                                      0.0
   Average hourly rate for paraprofessionals:                                                    N/A
Total fees requested in this Application:                                             $3,821,892.25
Total expense reimbursements requested in this Application:                               $11,170.19
Total fees and expenses requested in this Application:                                 $3,833,062.44
Total fees and expenses awarded in all prior Applications:                                       N/A
Plan Status: The Debtors have not yet filed a chapter 11 plan of reorganization.
Primary Benefits: During the period covered by this application, the professionals of FTI
Consulting, Inc. have rendered a variety of financial services for the Committee, including, but not
limited to: (i) monitoring the Debtors’ liquidity, (ii) analyzing the Debtors’ various business plan
scenarios, (iii) investigating potential estate claims, and (iv) participating in discussions with the
Debtors to evaluate strategic exit paths.




                                                 2
         Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 3 of 220




                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                                 )
    In re:                                                       ) Chapter 11
                                                                 )
    DIAMOND SPORTS GROUP, LLC, et al.,1                          ) Case No. 23-90116 (CML)
                                                                 )
                           Debtors.                              ) (Jointly Administered)
                                                                 )

                     FIRST INTERIM FEE APPLICATION OF
                  FTI CONSULTING, INC. FOR COMPENSATION
         FOR SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES AS
        COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
          FOR THE PERIOD FROM MARCH 31, 2023 THROUGH JUNE 30, 2023


                 In accordance with the Order Establishing Procedures for
                 Interim Compensation and Reimbursement of Expenses for
                 Professionals [Docket No. 512], each Application Recipient
                 receiving notice of this interim fee application shall have until
                 21 days after service of this interim fee application to object to
                 the fees and expenses requested herein. Upon the expiration of
                 such 21-day period, the Debtors are authorized and directed to
                 pay 100% of the fees and 100% of the expenses requested in this
                 interim fee application that are not subject to an objection.




1
  A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
claims and noticing agent at https://cases.ra.kroll.com/DSG. The Debtors’ service address for purposes of these
chapter 11 cases is: c/o Diamond Sports Group, LLC, 3003 Exposition Blvd., Santa Monica, CA 90404.




                                                       3
      Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 4 of 220




       FTI Consulting, Inc., (together with its wholly owned subsidiaries, “FTI”), as financial

advisor for the Official Committee of Unsecured Creditors (the “Committee”) of Diamond Sports

Group, LLC, et al. (the “Debtors”), submits this first interim fee application (the “Application”)

for allowance of compensation for services rendered and reimbursement of costs incurred for the

period of March 31, 2023, through June 30, 2023 (the “Application Period”), pursuant to sections

330 and 331 of title 11 of the United States Code (the “Bankruptcy Code”), Rule 2016 of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rule 2016-1 of the Bankruptcy

Local Rules of the United States Bankruptcy Court for the Southern District of Texas (the

“Bankruptcy Local Rules”), the Order Establishing Procedures for Interim Compensation and

Reimbursement of Expenses for Professionals [Docket No. 512] (the “Interim Compensation

Order”). By this Application, FTI seeks approval of compensation for actual and necessary

professional services rendered in the amount of $3,821,892.25 and reimbursement of expenses in

the amount of $11,170.19 incurred during the Application Period. In further support of this

Application, FTI respectfully states as follows:


                                     Jurisdiction and Venue

       1.      The United States Bankruptcy Court for the Southern District of Texas (the

“Court”) has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is a core proceeding

pursuant to 28 U.S.C. § 157(b).


       2.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.


       3.      The statutory predicates for the relief sought herein are sections 330, 331 and 1103

of the Bankruptcy Code, Bankruptcy Rule 2016, Local Rules 2016-1 of the Local Rules, and the

Interim Compensation Order [Docket No. 512].




                                                   4
      Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 5 of 220




                                              Background


       4.      On March 14, 2023 (the “Petition Date”), the Debtors began filing voluntary

petitions for relief under chapter 11 of the Bankruptcy Code. The Debtors continue to operate their

businesses and manage their properties as debtors in possession pursuant to Bankruptcy Code

sections 1107(a) and 1108. No request for the appointment of a trustee or an examiner has been

made in these Chapter 11 Cases.


       5.      On March 27, 2023, the United States Trustee for the Southern District of Texas

(the “U.S. Trustee”) appointed the Committee pursuant to Bankruptcy Code section 1102 [Docket

No. 247]. The Committee consists of the following four members: (i) Harte-Hanks Response

Management/Austin, Inc., (ii) U.S. Bank Trust Company, National Association, as Indenture

Trustee, (iii) Intelsat US LLC, and (iv) VITAC Corporation. On March 30, 2023, the Committee

selected Akin Gump Strauss Hauer & Feld LLP (“Akin”) to serve as its counsel, subject to Court

approval. On March 31, 2023, the Committee selected FTI to serve as its financial advisor, and on

April 3, 2023, the Committee selected Houlihan Lokey Capital, Inc. (“Houlihan Lokey”) to serve

as its investment banker.


       6.      On May 1, 2023, the Committee filed the Application of the Official Committee of

Unsecured Creditors of Diamond Sports Group, LLC, et al. to Retain and Employ FTI Consulting,

Inc. as Financial Advisor, Effective as of March 31, 2023 [Docket No. 459] (the “Retention

Application”). On May 28, 2023, the Court entered the Order Authorizing Retention of FTI

Consulting, Inc. as Financial Advisor to the Official Committee of Unsecured Creditors of

Diamond Sports Group, LLC, et al., Effective as of March 31, 2023 [Docket No. 743] (the

“Retention Order”).




                                                 5
      Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 6 of 220




        7.        The Retention Order authorizes FTI to render financial advisory services to the

Committee effective March 31, 2023 and be compensated by the Debtors for its fees and expenses

in accordance with the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, and any orders

entered by the Court in these cases. The Retention Order also authorizes the compensation of FTI

at its hourly rates, and the reimbursement of FTI’s necessary out of pocket expenses, subject to

application to this Court.


                                           Summary of Services Rendered

        8.        The Debtors’ chapter 11 case has presented numerous complex issues which had to

be addressed in order to preserve and maximize value for unsecured creditors. The total number

of hours expended by FTI professionals in performing professional services for the Committee

was 4,817.0 during the Application Period.


        9.        Pursuant to the Interim Compensation Order, during this case, FTI has delivered

three monthly fee statements for services rendered and expenses incurred from March 31, 2023

through June 30, 2023. As of the date of this Application, FTI has not received any objections to

any of its monthly fee statements. A summary of the amounts to be paid to FTI in accordance with

the Interim Compensation Order for monthly fee statements relating to the Application Period are

set forth as follows.


                                                                      AUTHORIZED TO BE
                                           REQUESTED                    PAID TO DATE                     PAID TO DATE
    INTERIM MONTHLY PERIOD                                                                                                        TOTAL AMOUNT
     PERIOD       COVERED               FEES         EXPENSES           FEES         EXPENSES          FEES         EXPENSES       OUTSTANDING
            3/31/2023 - 4/30/2023   $ 1,357,269.75     $ 3,135.44   $ 1,085,815.80    $ 3,135.44   $ 1,085,815.80    $ 3,135.44        $ 271,453.95
      FIRST 5/1/2023 - 5/31/2023      1,030,420.00       1,120.06       824,336.00      1,120.06       824,336.00      1,120.06          206,084.00
            6/1/2023 - 6/30/2023      1,434,202.50       6,914.69               -             -                -             -         1,441,117.19
    TOTAL FIRST INTERIM             $ 3,821,892.25    $ 11,170.19   $ 1,910,151.80    $ 4,255.50   $ 1,910,151.80    $ 4,255.50      $ 1,918,655.14




                                                                     6
     Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 7 of 220




       10.    Pursuant to this Application, FTI now seeks payment of the amounts outstanding,

including the twenty percent (20%) “hold-back” amounts, in connection with its previously

delivered monthly fee statements.


       11.    In support of this Monthly Fee Statement, attached are the following exhibits:


                 Exhibit A consists of the Declaration of Andrew Scruton (the “Scruton
                  Declaration”) in support of the Application.

                 Exhibit B consists of a summary of FTI professionals who performed services
                  during the Application Period, which provides information about these
                  professionals, including their title, respective billing rates, and total number of
                  hours worked during the Application Period.

                 Exhibit C is a schedule of the number of hours expended and fees incurred (on
                  an aggregate basis) by FTI professionals during the Application Period with
                  respect to each of the project categories established by FTI in accordance with
                  its internal billing procedures.

                 Exhibit D consists of a summary of the reimbursements sought with respect to
                  each category of expenses for which FTI is seeking reimbursement in this
                  Application.

                 Exhibit E consists of FTI’s detailed time records for the Application Period
                  and provides a daily breakdown of the time spent by each professional on each
                  day.

                 Exhibit F provides an itemization of each expense within each category
                  presented in Exhibit C.

                 Exhibit G consists of a proposed order granting the Application



                               Summary of Services Rendered

       12.    The Debtors’ chapter 11 cases have presented numerous complex issues which had

to be addressed in order to preserve and maximize value for unsecured creditors. The total number

of hours expended by FTI professionals in performing professional services for the Committee

during the Application Period was 4,817.0.



                                                 7
      Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 8 of 220




       13.     As discussed above, during the Application Period, FTI provided extensive and

critical professional services to the Debtors in connection with these chapter 11 cases. The

following is a summary, by matter, of the significant professional services that FTI rendered during

the Application Period.


               Code 1 – Current Operating Results & Events
               (75.1 hours)

       14.     During the Application Period, FTI reviewed relevant case updates regarding

docket filings, industry updates, news articles, and monthly operating reports.


               Code 2 – Cash & Liquidity Analysis
               (668.6 hours)

       15.     During the Application Period, FTI reviewed and analyzed: (i) the Debtors’ 13-

week cash flow forecasts and assumptions, (ii) the Debtors’ monthly cash flow forecasts, (iii)

variances between the 13-week cash flow forecasts and actual performance, and (iv) the Debtors’

covenant compliance. Time in this task code includes correspondence with the Debtors’ advisors

to discuss the foregoing and to prepare relevant presentations for the Committee.


               Code 7 – Analysis of the Business Plan
               (1,083.7 hours)

       16.     During the Application Period, FTI analyzed underlying assumptions driving the

Debtors’ projections in order to prepare analyses and reports for counsel and the Committee.

Analyzed assumptions include, but are not limited to: (i) affiliate rates and churn, (ii) operations

and productions cost, (iii) direct-to-consumer subscriber growth, and (iv) direct-to-consumer costs.

FTI evaluated various business plan scenarios presented by the Debtors, analyzed historical

financial performance, and participated in calls with the Debtors’ financial advisors to evaluate the




                                                  8
      Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 9 of 220




Debtors’ assumptions. FTI also prepared complex business plan sensitivity analyses to evaluate

the impact of changes to churn and production costs on the Debtors’ projections.


               Code 12 – Analysis of SOFAs & SOALs
               (217.0 hours)

       17.     During the Final Period, FTI analyzed the Debtors’ filed Statements of Financial

Affairs (“SOFAs”) and Schedules of Assets and Liabilities (“SOALs”) in order to identify and

summarize key information for the Committee, including the various assets and liabilities at

individual Debtor entities, payments to insiders within a year before the Petition Date, and

payments to third parties within 90 days prior to the Petition Date. FTI prepared diligence questions

on the SOFAs and SOALS and participated in discussions with the Debtors’ advisors to understand

the nature of certain assets and liabilities and the rationale for certain payments to insiders and

third parties. FTI’s findings were delivered to the Committee in the form of a written report and

supported other analyses such as the development of the value waterfall recovery model.


               Code 13 – Analysis of Other Miscellaneous Motions
               (209.8 hours)

       18.     FTI reviewed various motions in this Application Period, including (i) various first

day motions, (ii) the Deltatre contract assumption motion, (iii) the MLB and certain teams’

motions to compel, and (iv) the Debtors’ Bankruptcy Rule 2015.3 filings. To assist the

Committee’s analysis of motions to compel, FTI listened in on depositions in advance of the

hearing, evaluated expert reports, and assisted in reporting on these items to the Committee.




                                                  9
     Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 10 of 220




               Code 15 – Analyze Intercompany Claims, Related Party Transactions,
               Substantive Consolidation
               (264.3 hours)

       19.     During the Application Period, FTI analyzed the relationship among Debtors and

non-Debtor entities, the cash management system, and intercompany balances among Debtors and

non-Debtor entities. As part of its analysis of the Debtors cash management system, FTI sought to

understand the Debtors’ monthly cash settlement process among Debtors and non-Debtors. FTI

also analyzed the Debtors’ intercompany balances to understand how they related to ordinary

course operations, have changed over time, and are used to record financial activity among debtor

entities. This analysis also helped FTI in the development of presentations for the Committee on

the Debtors’ cash management system and intercompany transactions among Debtor and non-

Debtor entities.


               Code 16 – Analysis, Negotiate and Form of POR & DS
               (270.5 hours)

       20.     FTI, with input and guidance from counsel, developed various waterfall model

scenarios to evaluate ranges of value and recoveries available to unsecured creditors. FTI

summarized this information into presentations for counsel.


               Code 18 – Potential Avoidance Actions & Litigation
               (1,048.6 hours)

       21.     During the Application Period, FTI assisted counsel in (i) evaluating the Debtors’

investigation into claims against Sinclair Broadcasting (“Sinclair”), JP Morgan, and certain other

third parties and (ii) supporting the Committee’s investigation into the extent and validity of the

claims and liens asserted by the Debtors’ secured lenders. As part of assisting the Debtors’

investigation against Sinclair, JP Morgan, and other third parties, FTI (i) reviewed hundreds of




                                                10
     Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 11 of 220




documents produced in discovery and identified by counsel, (ii) attended and supported

depositions taken by the Debtors’ professionals, (iii) assessed related analyses prepared by the

Debtors’ professionals, and (iv) reviewed multiple drafts of the Debtors’ complaints. As part of

evaluating potential claims related to the claims and liens asserted by the Debtors' secured

lenders, FTI assisted counsel by creating analyses, reviewing diligence from the Debtors, and

participating in calls with Counsel. FTI also participated in updates to the Committee on this

topic.

               Code 19 – Case Management
               (324.4 hours)

         22.   FTI’s services in this category included, among other things, assessing overall

workplan, coordinating across overlapping workstreams and specialties, and maintaining diligence

trackers on items requested from the Debtors. Time in this category also includes weekly calls

among FTI team members to stay apprised of the latest case developments and near term case

priorities.


               Code 20 – General Meetings with Debtor & Debtors’ Professionals
               (68.6 hours)

         23.   During the Application Period, FTI participated in general meetings with the

Debtors’ advisors and other Committee advisors to advocate for the Committee’s concerns and to

discuss case updates, including but not limited to: (i) the MLB and certain teams’ motions to

compel, (ii) negotiations with the leagues, (iii) sports rights payments to teams, (iv) status of

Sinclair investigation, (v) business plan projections, and (vi) case strategy .




                                                  11
     Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 12 of 220




               Code 21 – General Meetings with the Committee & the Committee Counsel
               (133.0 hours)

       24.     During the Application Period, FTI participated in general meetings with the

Committee and other Committee advisors to discuss case updates on first day motions, liquidity,

investigations, and business plan updates. Specifically, FTI’s key contributions include providing

an industry perspective to updates related to ongoing negotiations with the leagues, analyses on

the Debtors’ business plan scenarios, and weekly liquidity reports.


               Code 24 – Preparation of the Fee Application
               (252.5 hours)

       25.     During the Application Period, FTI prepared the April and May fee statements.


                         Summary of Actual and Necessary Expenses


       26.     FTI incurred expenses in the amount of $11,170.19 during the Application Period.

A categorized summary of the actual and necessary costs and expenses incurred by FTI during the

Application Period is attached hereto as Exhibit D. A detailed itemization of each expense within

each category is attached hereto as Exhibit F.


       27.     FTI reserves the right to request, in subsequent fee applications, reimbursement of

additional expenses incurred during the Application Period, as such expenses may not have been

captured in FTI’s billing system in time to be included in this Application.


                                         Basis for Relief


       28.     Section 331 of the Bankruptcy Code provides for interim compensation of

professionals not more than once every 120 days after the commencement of the cases (or more

often as the court may permit) and incorporates the substantive standards of section 330 to govern



                                                 12
     Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 13 of 220




the Court’s award of such compensation. See 11 U.S.C. § 331. Section 330 provides that a court

may award a professional employed under section 1103 of the Bankruptcy Code “reasonable

compensation for actual, necessary services rendered [and] reimbursement for actual, necessary

expenses.” 11 U.S.C. § 330(a)(1).


       29.     Section 330 also sets forth the criteria for the award of such compensation and

reimbursement:


               In determining the amount of reasonable compensation to be
               awarded to . . . [a] professional person, the court shall consider the
               nature, the extent, and the value of such services, taking into account
               all relevant factors, including –

                  A. the time spent on such services;

                  B. the rates charged for such services;

                  C. whether the services were necessary to the administration of, or beneficial
                     at the time at which the service was rendered toward the completion of, a
                     case under this title;

                  D. whether the services were performed within a reasonable amount of time
                     commensurate with the complexity, importance, and nature of the problem,
                     issue, or task addressed;

                  E. with respect to a professional person, whether the person is board certified
                     or otherwise has demonstrated skill and experience in the bankruptcy field;
                     and

                  F. whether the compensation is reasonable based on the customary
                     compensation charged by comparably skilled practitioners in cases other
                     than cases under this title. 11 .S.C. § 330(a)(3).

       30.     FTI respectfully submits that, in accordance with the factors enumerated in section

330 of the Bankruptcy Code, the services for which it seeks compensation in this Application were,

at the time rendered, believed to be necessary to effectively represent the Committee and the




                                                 13
     Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 14 of 220




interests of the Debtors’ estates and creditors, and were performed economically, effectively, and

efficiently.


         31.    Accordingly, approval of the compensation for professional services and

reimbursement of the expenses sought herein is warranted.


         No previous application for the relief sought herein has been made to this or any other

Court.

         WHEREFORE, FTI respectfully requests that the Court enter an order, substantially in

the form attached hereto, (i) approving and allowing on an interim basis the compensation and

reimbursement of actual and necessary costs and expenses requested herein; (ii) approving the

payment of the 100% of allowed fees and expenses, and (iii) providing such further relief as may

be just and proper.



Dated: August 15, 2023                       Respectfully Submitted,

                                             FTI CONSULTING, INC.

                                              /s/ Andrew Scruton
                                              Andrew Scruton
                                              1166 Avenue of the Americas, 15th Floor
                                              New York, NY, 10036
                                              Telephone: (212) 247-1010
                                              Email: andrew.scruton@fticonsulting.com

                                             Financial Advisor to the Official Committee of
                                             Unsecured Creditors of Diamond Sports Group,
                                             LLC, et al.




                                                14
Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 15 of 220




                             Application Recipients


      a. the Debtors, c/o Diamond Sports Group, LLC, Attention: David
         DeVoe (david.devoe@ballysports.com);
      b. co-counsel to the Debtors, Paul, Weiss, Rifkind, Wharton & Garrison
         LLP, Attention: Brian S. Hermann (bhermann@paulweiss.com),
         Andrew M. Parlen (aparlen@paulweiss.com), Joseph M. Graham
         (jgraham@paulweiss.com), and Alice Nofzinger
         (anofzinger@paulweiss.com);
      c. co-counsel to the Debtors, Porter Hedges LLP, Attention: John F.
         Higgins (jhiggins@porterhedges.com), M. Shane Johnson
         (sjohnson@porterhedges.com), Megan Young-John (myoung-
         john@porterhedges.com), and Bryan L. Rochelle
         (brochelle@porterhedges.com);
      d. special corporate and litigation counsel to the Debtors, Wilmer Cutler
         Pickering Hale and Dorr LLP, Attention: Andrew Goldman
         (andrew.goldman@wilmerhale.com), Benjamin Loveland
         (benjamin.loveland@wilmerhale.com), and Lauren R. Lifland
         (lauren.lifland@wilmerhale.com);
      e. the Office of the United States Trustee for the Southern District of
         Texas, Attention: Ha Nguyen(ha.nguyen@usdoj.gov);
      f. counsel to the Ad Hoc First Lien Group, Kramer Levin Naftalis &
         Frankel LLP, Attention: Daniel Eggermann
         (deggermann@kramerlevin.com) and Alexander Woolverton
         (awoolverton@kramerlevin.com);
      g. counsel to the Ad Hoc Secured Group, Gibson, Dunn & Crutcher
         LLP, Attention: Scott Greenberg (sgreenberg@gibsondunn.com) and
         Jason Goldstein (jgoldstein@gibsondunn.com); and
      h. counsel to the Ad Hoc Crossholder Group, Paul Hastings LLP,
         Attention: Jayme Goldstein (jaymegoldstein@paulhastings.com),
         Sayan Bhattacharyya (sayanbhattacharyya@paulhastings.com), and
         Matthew Garofalo (mattgarofalo@paulhastings.com)




                                         15
Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 16 of 220




                            EXHIBIT A

                         Scruton Declaration




                                 16
        Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 17 of 220




                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                                 )
    In re:                                                       ) Chapter 11
                                                                 )
    DIAMOND SPORTS GROUP, LLC, et al.,1                          ) Case No. 23-90116 (CML)
                                                                 )
                           Debtors.                              ) (Jointly Administered)
                                                                 )

 DECLARATION OF ANDREW SCRUTON IN SUPPORT OF THE FIRST INTERIM
   FEE APPLICATION OF FTI CONSULTING, INC. FOR COMPENSATION FOR
 SERVICES AND REIMBURSEMENT OF EXPENSES AS FINANCIAL ADVISOR TO
THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR THE PERIOD OF
                MARCH 31, 2023 THROUGH JUNE 30, 2023


                     Pursuant to 28 U.S.C. § 1746, I, Andrew Scruton, declare as follows:

             1.   I am a Senior Managing Director with FTI Consulting, Inc., (together with its

wholly owned subsidiaries, “FTI”), an international consulting firm. I submit this declaration on

behalf of FTI, the financial advisor to the Official Committee of Unsecured Creditors (the

“Committee”) of Diamond Sports Group, LLC.

             2.   I have read the First Interim Fee Application of FTI Consulting, Inc., for

Compensation for Services and Reimbursement of Expenses as Financial Advisors to the Official

Committee of Unsecured Creditors for the Period from March 31, 2023 Through June 30, 2023

(the “Application”) filed contemporaneously herewith. To the best of my knowledge,

information, and belief, formed after reasonable inquiry, the statements contained in the

Application are true and correct. In addition, I believe that the Application is in conformity with



1
  A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
claims and noticing agent at https://cases.ra.kroll.com/DSG. The Debtors’ service address for purposes of these
chapter 11 cases is: c/o Diamond Sports Group, LLC, 3003 Exposition Blvd., Santa Monica, CA 90404.




                                                       17
     Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 18 of 220




the applicable provisions of the Bankruptcy Code, Bankruptcy Rules, Local Rules, and this

Court’s orders.

       3.         In connection therewith, I hereby certify that:

                         a. The fees and disbursements sought in the Application are billed at rates
                            customarily employed by FTI and generally accepted by FTI’s clients.
                            In addition, none of the professionals seeking compensation varied their
                            hourly rates based on the geographic location of the Debtors’ cases;

                         b. In providing a reimbursable expense, FTI does not make a profit on that
                            expense, whether the service is performed by FTI in-house or through a
                            third party;

                         c. In accordance with Bankruptcy Rule 2016(a) and Bankruptcy Code
                            section 504, no agreement or understanding exists between FTI and any
                            other person for the sharing of compensation to be received in
                            connection with these Chapter 11 Cases except as authorized pursuant
                            to the Bankruptcy Code, Bankruptcy Rules and Local Rules; and

                         d. All services for which compensation is sought were professional
                            services on behalf of the Committee and not on behalf of any other
                            person.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge and belief.



Executed on August 15, 2023.

                                         By:
                                                 /s/ Andrew Scruton
                                                 Andrew Scruton
                                                 Senior Managing Director
                                                 FTI Consulting, Inc.




                                                   18
                  Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 19 of 220
                                               EXHIBIT B
                            DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                  SUMMARY OF HOURS BY PROFESSIONAL
                               FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

                                                                                       Billing   Total       Total
     Professional                  Position                   Specialty                 Rate     Hours       Fees
Simms, Steven           Senior Managing Director Restructuring                         $ 1,495     20.5      $ 30,647.50
Joffe, Steven           Senior Managing Director Tax                                     1,325     30.7        40,677.50
Scruton, Andrew         Senior Managing Director Restructuring                           1,325    163.4       216,505.00
Nicholls, Christopher   Senior Managing Director Telecom, Media and Technology           1,250    119.1       148,875.00
Schuman, Philip         Senior Managing Director Telecom, Media and Technology           1,250     35.0        43,750.00
Wikel, Daniel           Senior Managing Director Restructuring                           1,250     16.5        20,625.00
Davis, Guy              Senior Managing Director Investigations                          1,125     57.8        65,025.00
Gimlett, Matthew        Senior Managing Director Mergers and Integration / Carve Out     1,125      1.6         1,800.00
Hu, Elizabeth           Senior Managing Director Restructuring                           1,125     72.6        81,675.00
Berkin, Michael         Managing Director        Restructuring                           1,055    252.9       266,809.50
Friedman, Samantha      Managing Director        Telecom, Media and Technology            985     221.3       217,980.50
Eldred, John            Managing Director        Investigations                           965     140.2       135,293.00
Taylor, Brian           Managing Director        Investigations                           935     247.2       231,132.00
Cheng, Earnestiena      Senior Director          Restructuring                            955     398.0       380,090.00
Sternberg, Joseph       Director                 Restructuring                            885     463.7       410,374.50
Silva, Jose             Director                 Telecom, Media and Technology            855      96.2        82,251.00
Bhargava, Yash          Director                 Telecom, Media and Technology            835     220.3       183,950.50
Murphy, Andrew          Senior Consultant        Telecom, Media and Technology            715     499.0       356,785.00
Leake, Nicola           Senior Consultant        Restructuring                            695     449.5       312,402.50
Simon, Russell          Senior Consultant        Telecom, Media and Technology            695     381.2       264,934.00
Braga, Andrew           Senior Consultant        Telecom, Media and Technology            645     367.8       237,231.00
Park, Jacob             Senior Consultant        Tech                                     565       8.3         4,689.50
Daley, Tyler            Senior Consultant        Tech                                     475       2.6         1,235.00
Vadon, Courtney         Consultant               Telecom, Media and Technology            475     420.7       199,832.50
Hellmund-Mora, Marili Manager                    Restructuring                            325       2.6           845.00
Moran, Sarah            Intern                   Restructuring                            215      66.7        14,340.50
Cho, Alastair           Intern                   Telecom, Media and Technology            215      61.6        13,244.00
SUBTOTAL                                                                                         4,817.0   $ 3,963,000.00
Less: 50% discount for non-working travel time                                                                (31,900.25)
Less: Voluntary Reduction                                                                                    (109,207.50)
GRAND TOTAL                                                                                      4,817.0   $ 3,821,892.25




                                                             19
       Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 20 of 220
                                   EXHIBIT C
                DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                           SUMMARY OF HOURS BY TASK
                   FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

Task                                                          Total        Total
Code                             Task Description             Hours        Fees
 1      Current Operating Results & Events                       75.1      $ 44,289.00

 2      Cash & Liquidity Analysis                               668.6       509,273.00

 4      Trade Vendor Issues                                      14.8        10,838.00

 7      Analysis of Business Plan                              1,083.7      856,510.00

 9      Analysis of Employee Comp Programs                         8.0        7,698.00

 10     Analysis of Tax Issues                                   33.1        43,365.50

 11     Prepare for and Attend Court Hearings                    39.2        40,396.00

 12     Analysis of SOFAs & SOALs                               217.0       174,661.00

 13     Analysis of Other Miscellaneous Motions                 209.8       186,093.50

 14     Analysis of Claims/Liab Subject to Compro                  7.9        5,965.50

 15     Analyze Interco Claims, RP Trans, SubCon                264.3       225,863.50

 16     Analysis, Negotiate and Form of POR & DS                270.5       208,882.50

 18     Potential Avoidance Actions & Litigation               1,048.6      898,406.00

 19     Case Management                                         324.4       289,706.00

 20     General Mtgs with Debtor & Debtors' Prof                 68.6        76,856.00

 21     General Mtgs with UCC & UCC Counsel                     133.0       144,011.00

 22     Meetings with Other Parties                                1.9        2,375.00

 23     Firm Retention                                           30.1        25,292.50

 24     Preparation of Fee Application                          252.5       148,717.50

 25     Travel Time                                              65.9        63,800.50

        SUBTOTAL                                               4,817.0   $ 3,963,000.00
        Less: 50% discount for non-working travel time                      (31,900.25)

        Less: Voluntary Reduction                                         (109,207.50)
        GRAND TOTAL                                            4,817.0   $ 3,821,892.25




                                                    20
          Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 21 of 220
                                     EXHIBIT D
                    DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                               SUMMARY OF EXPENSES
                     FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023



Expense Type                                                                   Amount
Airfare                                                                      $ 2,445.99
Lodging                                                                       4,913.21
Transportation                                                                2,541.95
Working Meals                                                                 1,223.05
Other                                                                            45.99
GRAND TOTAL                                                                 $ 11,170.19




                                           21
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 22 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional      Hours                                    Activity
Category
   1       4/4/2023      Hu, Elizabeth       0.3   Review news articles re: Sinclair reorganization.

   1       4/11/2023    Berkin, Michael      1.8   Review most recent Project Active presentation to assess workstream and
                                                   key issues.
   1       4/11/2023     Hu, Elizabeth       0.4   Review recent news articles pertaining to the Debtors and docket filings
                                                   circulated by team as of 4/11/2023.
   1       4/12/2023    Simon, Russell       2.2   Prepare analysis on recent RSN trends to inform analysis of impact of
                                                   cord cutting on DSG subscribers.
   1       4/12/2023     Hu, Elizabeth       0.3   Review recent news articles pertaining to the Debtors and docket filings
                                                   circulated by team as of 4/12/2023.
   1       4/13/2023     Hu, Elizabeth       0.6   Review recent news articles pertaining to the Debtors and docket filings
                                                   circulated by team as of 4/13/2023.
   1       4/18/2023    Vadon, Courtney      0.4   Draft update on Rangers and Reds payments for internal team.

   1       4/19/2023     Hu, Elizabeth       0.5   Review recent news articles pertaining to the Debtors and docket filings
                                                   circulated by team as of 4/19/2023.
   1       5/1/2023      Leake, Nicola       0.9   Prepare updated 2019 holdings review for team.

   1       5/1/2023      Leake, Nicola       0.3   Review daily update for 5/1.

   1       5/1/2023     Vadon, Courtney      1.0   Draft 5/1 daily email update to internal team.

   1       5/1/2023     Vadon, Courtney      1.0   Prepare analysis re: 2019 ad hoc crossholder group updated filing.

   1       5/2/2023      Leake, Nicola       0.2   Review daily update for 5/2.

   1       5/2/2023     Vadon, Courtney      0.6   Draft 5/2 daily email update to internal team.

   1       5/3/2023     Vadon, Courtney      1.0   Draft 5/3 internal daily email update

   1       5/3/2023      Leake, Nicola       0.3   Review daily update for 5/3.

   1       5/4/2023      Hu, Elizabeth       0.6   Review summary of Sinclair's Q1 2023 earnings results.

   1       5/4/2023      Leake, Nicola       0.8   Review and prepare updates to diligence tracker for the WE 5/5.

   1       5/4/2023      Leake, Nicola       0.2   Review daily update for 5/4.

   1       5/4/2023     Vadon, Courtney      0.8   Draft 5/4 internal daily email update

   1       5/4/2023     Vadon, Courtney      1.0   Continue to prepare tracker re: WE 5/5 diligence item requests.

   1       5/5/2023     Vadon, Courtney      0.4   Draft 5/5 daily email update to internal team.

   1       5/5/2023      Leake, Nicola       0.2   Review daily update for 5/5.

   1       5/8/2023    Sternberg, Joseph     0.6   Review 5/8 daily update email.

                                                     22
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 23 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional      Hours                                    Activity
Category
   1       5/8/2023      Leake, Nicola       0.2   Review daily update for 5/8.

   1       5/8/2023     Vadon, Courtney      0.7   Draft 5/8 daily email update to internal team.

   1       5/9/2023      Leake, Nicola       0.1   Review daily update for 5/9.

   1       5/9/2023     Vadon, Courtney      0.7   Draft 5/9 daily email update to internal team.

   1       5/10/2023    Vadon, Courtney      0.8   Draft 5/10 daily email update to internal team.

   1       5/11/2023    Vadon, Courtney      0.7   Draft daily internal email update for 5/11/2023.

   1       5/12/2023    Vadon, Courtney      0.4   Draft 5/12 daily email update to internal team.

   1       5/12/2023    Vadon, Courtney      0.7   Review 5/12 daily email update to internal team.

   1       5/15/2023    Berkin, Michael      0.8   Develop agenda for 5/15 call with Committee advisors.

   1       5/15/2023    Vadon, Courtney      0.8   Draft 5/15 internal daily email update.

   1       5/16/2023   Sternberg, Joseph     0.2   Review 5/16 daily update.

   1       5/16/2023    Vadon, Courtney      0.4   Draft 5/16 daily internal email update.

   1       5/17/2023   Sternberg, Joseph     0.6   Review 5/17 daily update.

   1       5/17/2023    Vadon, Courtney      0.6   Update 2019 tracker with comments from team member.

   1       5/17/2023    Vadon, Courtney      1.2   Prepare tracker re: the Committee's 2019 update.

   1       5/17/2023     Leake, Nicola       0.1   Review daily update for 5/17.

   1       5/17/2023     Leake, Nicola       0.9   Review 2019 Committee holdings to provide comments to internal team
                                                   member.
   1       5/17/2023    Vadon, Courtney      0.4   Draft 5/17 daily email update to internal team.

   1       5/18/2023    Vadon, Courtney      0.3   Draft 5/18 daily update to internal team.

   1       5/18/2023    Vadon, Courtney      0.4   Revise 2019 analysis with new comments from team member to send to
                                                   team member for review.
   1       5/18/2023   Sternberg, Joseph     0.3   Review 5/18 daily update.

   1       5/18/2023   Sternberg, Joseph     0.5   Review updated 2019 statement for Committee data.

   1       5/18/2023     Leake, Nicola       0.4   Review updated 2019 schedule in order to distribute to team.

   1       5/18/2023     Leake, Nicola       0.2   Review daily update for 5/18.

                                                     23
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 24 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                     Activity
Category
   1       5/19/2023    Vadon, Courtney       0.3   Draft 5/19 daily update to internal team.

   1       5/19/2023     Leake, Nicola        0.3   Review daily update for 5/19.

   1       5/22/2023     Leake, Nicola        0.1   Draft daily update for 5/22.

   1       5/23/2023     Wikel, Daniel        1.2   Review current events material to prepare for Thursday call re: potential
                                                    claims call with team member, internal update call.
   1       5/23/2023   Sternberg, Joseph      0.4   Review 5/23 daily update email.

   1       5/23/2023    Vadon, Courtney       0.9   Draft 5/23 daily email update to internal team.

   1       5/24/2023     Leake, Nicola        0.1   Review daily update for 5/24.

   1       5/24/2023    Vadon, Courtney       0.5   Draft 5/24 daily internal email update.

   1       5/25/2023     Leake, Nicola        0.1   Review daily update for 5/25.

   1       5/25/2023    Vadon, Courtney       0.4   Draft 5/25 daily internal email update.

   1       5/26/2023   Sternberg, Joseph      0.2   Review 5/26 daily update email.

   1       5/26/2023    Vadon, Courtney       0.5   Draft 5/26 daily internal email update.

   1       5/30/2023     Leake, Nicola        0.2   Draft daily update for 5/30.

   1       5/31/2023     Simon, Russell       0.5   Assess public statements and news related to Padres - DSG relationship.

   1       5/31/2023   Cheng, Earnestiena     0.2   Assess latest situation update with Padres.

   1       5/31/2023   Sternberg, Joseph      0.3   Review 5/31 daily update email.

   1       5/31/2023    Vadon, Courtney       0.8   Draft 5/31 internal daily email update

   1       6/1/2023     Berkin, Michael       1.5   Analyze in order to derive key takeaways from specific sports team
                                                    agreements.
   1       6/1/2023     Murphy, Andrew        0.9   Update balance sheet analysis with results from April 2023 monthly
                                                    operating report.
   1       6/1/2023      Leake, Nicola        0.9   Review Reorg MORs and MORs filed by Debtors.

   1       6/1/2023      Leake, Nicola        0.8   Prepare additional MOR summaries in order to socialize MOR material.

   1       6/1/2023     Vadon, Courtney       0.7   Prepare DSG daily email update for 6/1, including motion to compel
                                                    decision.
   1       6/1/2023    Sternberg, Joseph      0.2   Review 6/1 daily update.

   1       6/1/2023      Leake, Nicola        0.2   Review daily update for 6/1.

                                                      24
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 25 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional      Hours                                     Activity
Category
   1       6/2/2023     Vadon, Courtney      1.1   Prepare daily email 6/2.

   1       6/2/2023      Leake, Nicola       0.2   Review daily update for 6/2.

   1       6/5/2023     Vadon, Courtney      0.6   Prepare daily email update 6/5.

   1       6/5/2023      Leake, Nicola       0.2   Review daily update for 6/5.

   1       6/6/2023     Vadon, Courtney      1.0   Update daily update for 6/6 with bar date information.

   1       6/6/2023     Vadon, Courtney      0.6   Prepare daily email update 6/6.

   1       6/6/2023      Leake, Nicola       0.2   Review daily update for 6/6.

   1       6/7/2023     Berkin, Michael      0.7   Assess supplemental financials in lieu of Rule 2015.3

   1       6/7/2023     Vadon, Courtney      0.6   Prepare daily email update for 6/7.

   1       6/7/2023      Leake, Nicola       0.2   Review daily update for 6/7.

   1       6/8/2023    Sternberg, Joseph     0.7   Review LLC agreements re: consolidated Diamond Sports Group equity
                                                   interests.
   1       6/8/2023      Wikel, Daniel       0.4   Review case update articles in preparation for meeting with Committee
                                                   member.
   1       6/8/2023     Vadon, Courtney      0.9   Prepare diligence tracker WE 6/8.

   1       6/8/2023    Sternberg, Joseph     0.4   Review 6/8 daily update.

   1       6/8/2023     Vadon, Courtney      0.4   Prepare daily email update 6/8.

   1       6/8/2023     Vadon, Courtney      0.2   Review data room uploads in order to prepare for distribution to internal
                                                   team.
   1       6/9/2023     Vadon, Courtney      0.5   Provide feedback to internal team on daily email updates.

   1       6/12/2023     Moran, Sarah        1.1   Research case updates in order to prepare 6/12 daily email to send to
                                                   DSG team.
   1       6/12/2023     Moran, Sarah        0.9   Continue to research case updates in order to prepare 6/12 daily email to
                                                   send to DSG team.
   1       6/12/2023   Sternberg, Joseph     0.2   Review 6/12 daily update.

   1       6/13/2023     Cho, Alastair       1.1   Prepare daily update for 6/13.

   1       6/13/2023     Cho, Alastair       0.7   Prepare revisions to daily update for 6/13.

   1       6/13/2023    Vadon, Courtney      0.2   Review daily email update for 6/13.

   1       6/13/2023    Vadon, Courtney      0.1   Attend call with team member re: daily update revisions.

                                                     25
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 26 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                    Activity
Category
   1       6/13/2023     Cho, Alastair        0.1   Discuss daily update for 6/13.

   1       6/14/2023   Cheng, Earnestiena     1.3   Review recent case materials re: separation implementation, liquidity,
                                                    league proposals, and other case items.
   1       6/14/2023    Scruton, Andrew       0.6   Discuss Company position and case progression with team member.

   1       6/14/2023     Wikel, Daniel        0.6   Discuss case progression and Committee status with team member.

   1       6/14/2023     Moran, Sarah         1.1   Research case updates in order to prepare 6/14 daily email to send to
                                                    DSG team.
   1       6/14/2023    Vadon, Courtney       0.4   Review daily email update for 6/14.

   1       6/14/2023     Leake, Nicola        0.2   Review daily update for 6/14.

   1       6/15/2023     Leake, Nicola        0.4   Review diligence tracker with updates as of 6/15.

   1       6/15/2023     Moran, Sarah         1.1   Research case updates in order to prepare 6/15 daily email to send to
                                                    DSG team.
   1       6/15/2023    Vadon, Courtney       0.4   Review daily email update 6/15.

   1       6/15/2023   Sternberg, Joseph      0.2   Review 6/15 daily update.

   1       6/15/2023     Leake, Nicola        0.2   Review daily update for 6/15.

   1       6/16/2023     Cho, Alastair        1.1   Prepare daily update email for 6/16.

   1       6/16/2023     Leake, Nicola        0.2   Review daily update for 6/16.

   1       6/16/2023    Vadon, Courtney       0.1   Review daily email update for 6/16.

   1       6/19/2023    Vadon, Courtney       0.6   Review DSG daily update 6/19.

   1       6/19/2023     Moran, Sarah         1.1   Research case updates in order to prepare 6/19 daily email to send to
                                                    DSG team.
   1       6/19/2023     Leake, Nicola        0.1   Review daily update for 6/19.

   1       6/20/2023    Vadon, Courtney       0.6   Provide comments on daily update for 6/20.

   1       6/20/2023     Cho, Alastair        0.9   Prepare daily update email for 6/20.

   1       6/20/2023     Leake, Nicola        0.2   Review daily update for 6/20.

   1       6/21/2023    Vadon, Courtney       0.5   Review daily email update for 6/21.

   1       6/21/2023     Cho, Alastair        0.8   Prepare daily update email for 6/21.

   1       6/22/2023     Moran, Sarah         1.2   Review Committee due diligence updates as of 6/22.

                                                      26
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 27 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                     Activity
Category
   1       6/22/2023    Vadon, Courtney       0.3   Review daily email update for 6/22.

   1       6/23/2023     Wikel, Daniel        0.4   Review docket filings from past week and related articles re:
                                                    Diamondbacks rejection.
   1       6/23/2023    Vadon, Courtney       0.4   Review daily email update 6/23.

   1       6/23/2023     Cho, Alastair        0.7   Prepare daily update email for 6/23.

   1       6/26/2023     Moran, Sarah         0.8   Research case updates and prepare daily email to send to DSG team.

   1       6/26/2023     Moran, Sarah         0.6   Review Committee due diligence updates 6/26.

   1       6/26/2023    Vadon, Courtney       0.2   Prepare daily email update for 6/26.

   1       6/28/2023     Cho, Alastair        1.1   Prepare daily update email for 6/28.

   1       6/30/2023     Wikel, Daniel        0.3   Review case updates and related articles re: Diamondbacks negotiations,
                                                    telecast rights agreements.
   1       6/30/2023     Cho, Alastair        1.4   Prepare daily update email for 6/30.

   1       6/30/2023     Cho, Alastair        0.7   Review articles and case updates in order to incorporate into daily email.

 1 Total                                     75.1

   2       4/2/2023     Berkin, Michael       1.9   Evaluate cash collateral motion for input in the liquidity presentation.

   2       4/3/2023    Cheng, Earnestiena     1.2   Analyze cash collateral motion.

   2       4/3/2023    Cheng, Earnestiena     1.8   Analyze filed 13-week and monthly cash collateral budget.

   2       4/3/2023    Sternberg, Joseph      2.2   Continue to prepare key issues list re: cash collateral motion.

   2       4/3/2023     Berkin, Michael       0.7   Develop diligence supporting document requests for cash collateral
                                                    motion from missing information.
   2       4/3/2023    Cheng, Earnestiena     1.1   Draft key issues list for cash collateral motion.

   2       4/3/2023    Sternberg, Joseph      2.5   Prepare key issues list re: cash collateral motion to inform further
                                                    analysis.
   2       4/4/2023      Leake, Nicola        1.0   Attend internal call re: liquidity next steps and cash motions.

   2       4/4/2023    Sternberg, Joseph      0.6   Continue review re: cash collateral motion with emphasis on interest.

   2       4/4/2023    Sternberg, Joseph      1.0   Participate in call with team re: cash collateral motion and ongoing
                                                    analyses.
   2       4/4/2023    Cheng, Earnestiena     1.0   Participate in call with internal team re: review of cash collateral budget,
                                                    presentation for Committee, and other priorities.
   2       4/4/2023    Sternberg, Joseph      1.9   Prepare key issues list re: cash collateral motion.

                                                      27
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 28 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                      Activity
Category
   2       4/5/2023     Berkin, Michael       1.0   Discuss key issues with team re: cash collateral motion and deliverables.

   2       4/5/2023     Murphy, Andrew        1.6   Prepare additional analysis re: AR Facility and JV settlements' flow of
                                                    funds.
   2       4/5/2023     Murphy, Andrew        2.0   Prepare analysis re: AR Facility and JV settlements flow of funds.

   2       4/5/2023     Murphy, Andrew        1.9   Prepare analysis re: AR Facility's flow of funds.

   2       4/5/2023     Murphy, Andrew        2.4   Prepare analysis re: JV settlements' flow of funds.

   2       4/5/2023    Cheng, Earnestiena     1.5   Process edits to key issues list for cash collateral motion.

   2       4/6/2023     Berkin, Michael       0.6   Analyze 13-week variance report for stub week and week-ended 3/24.

   2       4/6/2023     Murphy, Andrew        3.0   Continue to edit AR Facility and JV settlement analysis per comments
                                                    from team.
   2       4/6/2023    Sternberg, Joseph      1.7   Continue to prepare analysis re: cash collateral variance report with
                                                    monthly cash flow forecast.
   2       4/6/2023     Murphy, Andrew        0.8   Edit AR Facility and JV settlement analysis per comments from team.

   2       4/6/2023      Leake, Nicola        0.9   Finalize, in order to circulate, cash collateral updated request list.

   2       4/6/2023      Leake, Nicola        0.7   Prepare additional diligence of cash collateral motion.

   2       4/6/2023     Murphy, Andrew        0.2   Prepare analysis re: 2023 professional sports team distributions to
                                                    understand cash outflows.
   2       4/6/2023    Sternberg, Joseph      2.0   Prepare analysis re: cash collateral variance report with monthly cash
                                                    flow forecast.
   2       4/6/2023     Vadon, Courtney       2.4   Prepare analysis re: sports rights payments to understand cash inflows
                                                    and outflows.
   2       4/6/2023      Leake, Nicola        1.1   Prepare variance on weekly v. monthly cash flow provided by the
                                                    Debtors.
   2       4/6/2023     Berkin, Michael       0.5   Review and analyze 2023 monthly cash flow forecast.

   2       4/6/2023     Murphy, Andrew        0.5   Review AR Facility and JV settlement analysis.

   2       4/6/2023      Leake, Nicola        0.8   Review budget-to-actuals variance for WE 3/24 schedule.

   2       4/6/2023     Murphy, Andrew        0.5   Review document provided by the Company on cash flow forecast.

   2       4/6/2023    Sternberg, Joseph      1.4   Review monthly cash flow forecast variance report for WE 3/24.

   2       4/7/2023     Berkin, Michael       1.2   Analyze 13-week cash flow package for week-ended 3/31.

   2       4/7/2023    Cheng, Earnestiena     1.4   Analyze filed cash collateral budget.

   2       4/7/2023    Cheng, Earnestiena     1.8   Analyze monthly cash flow forecasts to understand any liquidity
                                                    constraints.
                                                      28
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 29 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                    Activity
Category
   2       4/7/2023      Leake, Nicola        1.7   Analyze receipts covenants and implications on liquidity.

   2       4/7/2023      Hu, Elizabeth        0.5   Attend call with team re: cash collateral discussions, near-term cash
                                                    priorities and workplan.
   2       4/7/2023     Vadon, Courtney       0.8   Attend call with team member re: WE 3/31 budget-to-actuals.

   2       4/7/2023     Vadon, Courtney       2.3   Prepare WE 3/31 budget-to-actuals weekly variance analysis.

   2       4/7/2023     Vadon, Courtney       1.3   Continue to build 3/31 budget-to-actuals cumulative analysis.

   2       4/7/2023    Cheng, Earnestiena     0.5   Coordinate with internal team re: near term liquidity workstreams.

   2       4/7/2023    Cheng, Earnestiena     0.4   Correspond with Alix team re: overview of cash collateral budget and
                                                    related outstanding diligence items.
   2       4/7/2023     Berkin, Michael       0.5   Develop liquidity case issues and timeline for team.

   2       4/7/2023     Murphy, Andrew        2.2   Edit presentation re: analysis of cash collateral motion.

   2       4/7/2023     Murphy, Andrew        1.3   Edit presentation re: cash collateral motion per comments from internal
                                                    team.
   2       4/7/2023    Cheng, Earnestiena     1.0   Edit questions list re: filed cash collateral budget and monthly cash flow
                                                    forecasts.
   2       4/7/2023    Sternberg, Joseph      0.5   Participate in call with team re: cash collateral budget takeaways.

   2       4/7/2023      Leake, Nicola        0.8   Participate on call with team member re: WE 3/31 budget-to-actuals.

   2       4/7/2023      Leake, Nicola        0.8   Prepare liquidity diligence items review from start of case to WE 4/7.

   2       4/7/2023      Leake, Nicola        0.8   Prepare updates to Committee liquidity deck re: monthly and weekly cash
                                                    flow.
   2       4/7/2023    Sternberg, Joseph      0.4   Prepare written correspondence to team re: first lien credit agreement.

   2       4/7/2023      Leake, Nicola        0.8   Put together notes for WE 3/31 budget-to-actuals walk through with team
                                                    member.
   2       4/7/2023    Sternberg, Joseph      0.4   Review cash collateral budget filing in detail.

   2       4/7/2023      Leake, Nicola        1.3   Review liquidity analyses from internal team to add to deck.

   2       4/7/2023     Berkin, Michael       0.4   Review prepetition AP coverage chart.

   2       4/7/2023      Leake, Nicola        0.9   Attend internal call re: Committee liquidity analysis and other nearterm
                                                    workstreams.
   2       4/7/2023     Murphy, Andrew        0.4   Participate in call with team re: cash collateral budget questions.

   2       4/8/2023      Leake, Nicola        0.3   Attend call with internal team re: Committee liquidity deck edits.

   2       4/8/2023    Cheng, Earnestiena     0.3   Coordinate with internal team re: cash collateral presentation.

                                                      29
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 30 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                     Activity
Category
   2       4/8/2023     Murphy, Andrew        2.9   Edit presentation re: first day motions per comments from internal team
                                                    for additional review.
   2       4/8/2023    Sternberg, Joseph      0.3   Participate in call with team re: cash collateral motion.

   2       4/8/2023     Murphy, Andrew        0.3   Participate in call with team re: presentation on cash collateral motion for
                                                    the Committee.
   2       4/8/2023      Leake, Nicola        1.6   Prepare additional updates to cash collateral deck for the Committee.

   2       4/8/2023     Murphy, Andrew        3.0   Prepare analysis re: 13-week and monthly cash flow.

   2       4/8/2023      Leake, Nicola        1.0   Prepare updates to liquidity update deck.

   2       4/8/2023    Cheng, Earnestiena     0.9   Respond to comments from internal team re: cash collateral budget
                                                    questions.
   2       4/8/2023     Berkin, Michael       1.2   Review and analyze Jan 2023 monthly servicing report in connection
                                                    with assessing cash motion.
   2       4/8/2023      Hu, Elizabeth        0.6   Review the cash flow forecast diligence questions.

   2       4/9/2023    Cheng, Earnestiena     1.1   Edit cash collateral budget questions list.

   2       4/9/2023     Murphy, Andrew        0.9   Incorporate outstanding comments to liquidity draft Committee deck to
                                                    distribute to team.
   2       4/10/2023    Murphy, Andrew        0.3   Address Committee discussion presentation comments re: cash collateral
                                                    budget.
   2       4/10/2023   Sternberg, Joseph      1.8   Continue to prepare presentation re: cash collateral motion.

   2       4/10/2023   Cheng, Earnestiena     0.6   Coordinate budget-to-actuals variance for WE 3/31 discussion with Alix
                                                    team.
   2       4/10/2023   Cheng, Earnestiena     0.3   Correspond with Alix team re: cash collateral budget PEO issues.

   2       4/10/2023    Berkin, Michael       1.3   Discuss cash management and collateral motions with Alix team.

   2       4/10/2023    Murphy, Andrew        2.1   Edit cash collateral deck per comments from internal team.

   2       4/10/2023   Sternberg, Joseph      1.3   Participate in call with Alix re: cash collateral budget.

   2       4/10/2023   Cheng, Earnestiena     1.3   Participate in call with Alix re: cash collateral and budget variances.

   2       4/10/2023     Hu, Elizabeth        1.3   Participate in call with Alix re: cash flow budget-to-actuals for WE 3/31
                                                    diligence questions.
   2       4/10/2023    Murphy, Andrew        0.3   Participate in call with team member re: cash motions presentation.

   2       4/10/2023   Sternberg, Joseph      0.3   Participate in call with team member re: cash collateral budget.

   2       4/10/2023    Murphy, Andrew        2.9   Prepare additional updates to presentation on cash-related first day
                                                    motions per comments from internal team.
   2       4/10/2023   Sternberg, Joseph      1.6   Prepare additional written correspondence to team re: cash collateral
                                                    budget.
                                                      30
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 31 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                      Activity
Category
   2       4/10/2023    Murphy, Andrew        2.3   Prepare analysis re: WE 3/31 budget-to-actuals .

   2       4/10/2023     Leake, Nicola        0.1   Prepare covenants analysis on WE 3/31 reporting.

   2       4/10/2023   Sternberg, Joseph      1.0   Prepare diligence list re: cash collateral motion.

   2       4/10/2023   Sternberg, Joseph      2.0   Prepare presentation re: cash collateral motion.

   2       4/10/2023   Sternberg, Joseph      0.3   Prepare updates re: cash collateral budget.

   2       4/10/2023   Sternberg, Joseph      0.7   Prepare written correspondence to team re: cash collateral budget.

   2       4/10/2023   Cheng, Earnestiena     0.7   Process edits to WE 3/31 budget-to-actuals diligence questions list.

   2       4/10/2023   Cheng, Earnestiena     0.8   Process edits to cash collateral key issues list.

   2       4/10/2023    Berkin, Michael       1.6   Review and prepare comments to draft Committee analysis of cash
                                                    related motions.
   2       4/10/2023     Hu, Elizabeth        0.5   Review diligence questions re: week ending 3/31 budget-to-actuals
                                                    reporting.
   2       4/10/2023    Murphy, Andrew        0.8   Summarize call notes re: cash collateral budget discussion.

   2       4/10/2023     Leake, Nicola        1.1   Attend call with Alix re: cash collateral.

   2       4/10/2023    Murphy, Andrew        1.4   Attend call with FTI/Alix call re: cash collateral budget discussion.

   2       4/11/2023    Murphy, Andrew        0.6   Attend call with Alix re: WE 3/31 variance reporting.

   2       4/11/2023   Sternberg, Joseph      2.9   Continue additional preparation on presentation re: cash collateral motion
                                                    with emphasis on sports rights.
   2       4/11/2023    Berkin, Michael       0.6   Discuss presentation materials for Committee call on cash motions.

   2       4/11/2023    Murphy, Andrew        2.5   Edit analysis re: WE 3/31 budget-to-actuals per comments from internal
                                                    team.
   2       4/11/2023    Murphy, Andrew        1.5   Finalize Committee discussion presentation option 2 draft and distribute
                                                    to team for review.
   2       4/11/2023   Sternberg, Joseph      0.6   Participate in call with Alix re: cash collateral variance report for WE
                                                    3/31.
   2       4/11/2023   Cheng, Earnestiena     0.6   Participate in call with Alix team re: latest budget-to-actuals variances.

   2       4/11/2023     Hu, Elizabeth        0.6   Participate on call with Alix re: week ending 3/31 budget-to-actuals
                                                    reporting.
   2       4/11/2023    Murphy, Andrew        0.5   Prepare analysis re: cash collateral budget.

   2       4/11/2023   Sternberg, Joseph      2.6   Prepare analysis re: liquidity scenarios.

   2       4/11/2023   Cheng, Earnestiena     0.9   Prepare draft slides re: cash collateral and variance reporting for week-
                                                    ended 3/31 and share with Alix to get PEO approval.
                                                      31
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 32 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                     Activity
Category
   2       4/11/2023    Murphy, Andrew        1.9   Prepare option 1 of Committee discussion presentations given issue with
                                                    professional eyes only markings.
   2       4/11/2023    Murphy, Andrew        1.3   Prepare option 2 of Committee discussion presentations given issue with
                                                    professional eyes only markings.
   2       4/11/2023   Sternberg, Joseph      3.0   Prepare presentation re: cash collateral motion with emphasis on AR
                                                    Facility.
   2       4/11/2023   Sternberg, Joseph      0.4   Prepare Committee presentation commentary re: cash collateral.

   2       4/11/2023   Sternberg, Joseph      3.0   Prepare updates to presentation re: cash collateral motion with emphasis
                                                    on covenants.
   2       4/11/2023   Cheng, Earnestiena     2.2   Process edits to liquidity and cash collateral budget slides to reflect
                                                    comments from internal team.
   2       4/11/2023    Murphy, Andrew        0.4   Pull quantitative analysis on to presentation for the Committee re: cash
                                                    collateral.
   2       4/11/2023     Hu, Elizabeth        0.3   Review analysis re: WE 3/31 budget-to-actuals reporting.

   2       4/11/2023     Hu, Elizabeth        2.4   Review and edit liquidity update presentation for the Committee.

   2       4/11/2023   Cheng, Earnestiena     0.3   Review and send out questions to Alix team re: budget-to-actuals
                                                    variances.
   2       4/11/2023    Scruton, Andrew       0.4   Review follow up diligence requests re: cash collateral motion.

   2       4/11/2023    Scruton, Andrew       0.7   Review variance report for 2 weeks actual cash flow for week-ended
                                                    3/31.
   2       4/11/2023    Murphy, Andrew        0.3   Summarize call notes re: variance reporting and distribute to internal
                                                    team.
   2       4/11/2023    Murphy, Andrew        2.6   Update presentation re: cash collateral budget per comments from
                                                    internal team.
   2       4/12/2023   Sternberg, Joseph      2.5   Continue to prepare updates to presentation re: cash collateral motion.

   2       4/12/2023    Murphy, Andrew        2.8   Edit analysis re: liquidity per comments from internal team.

   2       4/12/2023   Cheng, Earnestiena     0.7   Evaluate latest liquidity position for discussion with Committee.

   2       4/12/2023   Sternberg, Joseph      1.2   Prepare additional analysis re: WE 3/31 cash collateral variance report.

   2       4/12/2023    Murphy, Andrew        0.6   Prepare analysis re: sports rights variance for cash purposes.

   2       4/12/2023    Murphy, Andrew        3.0   Prepare diligence questions re: liquidity forecast.

   2       4/12/2023   Cheng, Earnestiena     0.4   Provide liquidity slides to internal team for review before Committee
                                                    call.
   2       4/12/2023    Berkin, Michael       0.7   Review final draft presentation to Committee for comments.

   2       4/12/2023    Murphy, Andrew        0.4   Review liquidity forecasts & variance reports for WE 3/31.

   2       4/12/2023     Hu, Elizabeth        0.7   Review team presentation for Committee call re: WE /31 budget-to-
                                                    actuals reporting.
                                                      32
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 33 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                     Activity
Category
   2       4/13/2023   Cheng, Earnestiena     0.4   Coordinate PEO issues re: cash budget with Alix.

   2       4/13/2023   Cheng, Earnestiena     0.3   Outline liquidity update presentation for upcoming Committee call.

   2       4/13/2023   Sternberg, Joseph      2.4   Prepare analysis re: historical JV distributions.

   2       4/13/2023   Sternberg, Joseph      1.4   Prepare correspondence to team re: cash flow support.

   2       4/13/2023   Sternberg, Joseph      1.7   Prepare presentation re: cash collateral budget and AR Facility.

   2       4/13/2023    Berkin, Michael       0.6   Review and analyze historical JV distributions.

   2       4/13/2023   Sternberg, Joseph      1.9   Review historical financial reporting re: JV distributions.

   2       4/14/2023    Vadon, Courtney       0.2   Apply revisions to budget-to-actuals weekly variance report from call
                                                    with team member.
   2       4/14/2023     Leake, Nicola        0.7   Attend call with team member re: liquidity topics including preparing
                                                    WE 4/7 budget-to-actuals analysis.
   2       4/14/2023    Vadon, Courtney       1.1   Continue applying revisions to WE 4/7 budget-to-actuals weekly variance
                                                    report with team member.
   2       4/14/2023    Vadon, Courtney       0.7   Continue reviewing proposed final cash collateral order.

   2       4/14/2023   Sternberg, Joseph      1.9   Continue to prepare presentation re: cash collateral budget.

   2       4/14/2023    Murphy, Andrew        0.4   Modify Committee discussion presentations re: liquidity topics.

   2       4/14/2023    Vadon, Courtney       1.5   Prepare analysis re: WE 4/7 budget-to-actuals prior to refreshed data
                                                    upload.
   2       4/14/2023    Vadon, Courtney       1.4   Prepare analysis re: WE 4/7 budget-to-actuals.

   2       4/14/2023    Vadon, Courtney       0.3   Prepare analysis re: informational forecast variance.

   2       4/14/2023    Murphy, Andrew        1.2   Prepare analysis re: informational forecast in order to distribute to
                                                    internal team for review.
   2       4/14/2023   Sternberg, Joseph      2.6   Prepare presentation commentary re: cash collateral budget.

   2       4/14/2023    Vadon, Courtney       0.7   Review 4/7 budget-to-actuals analysis with team member.

   2       4/14/2023    Vadon, Courtney       0.4   Review final cash collateral order for incorporation of notes provided by
                                                    internal team.
   2       4/14/2023   Sternberg, Joseph      1.0   Review informational budget to apply comments as needed.

   2       4/15/2023    Vadon, Courtney       0.3   Apply comments and corrections to WE 4/7 budget-to-actuals analysis.

   2       4/15/2023     Leake, Nicola        0.6   Attend follow up call with team member re: liquidity topics, including
                                                    WE 4/7 budget-to-actuals variance analysis.
   2       4/15/2023    Vadon, Courtney       1.1   Build liquidity update presentation using prepared analysis.

                                                      33
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 34 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                     Activity
Category
   2       4/15/2023   Sternberg, Joseph      2.5   Continue to prepare analysis re: 4/14 informational forecast.

   2       4/15/2023    Vadon, Courtney       0.6   Discuss WE 4/7 budget-to-actuals analysis items with team member.

   2       4/15/2023    Murphy, Andrew        0.5   Discuss finalized analysis with team member re: informational forecast.

   2       4/15/2023    Murphy, Andrew        1.7   Edit analysis re: informational forecast per internal team for review.

   2       4/15/2023   Sternberg, Joseph      1.3   Incorporate comments on to presentation re: cash collateral budget.

   2       4/15/2023    Murphy, Andrew        0.3   Participate in additional call with team member re: informational
                                                    forecast.
   2       4/15/2023    Murphy, Andrew        0.3   Participate in call with team member re: informational forecast.

   2       4/15/2023   Sternberg, Joseph      0.5   Participate in call with team member re: cash collateral presentation.

   2       4/15/2023   Sternberg, Joseph      0.3   Participate in second call with team member re: cash collateral
                                                    presentation.
   2       4/15/2023   Sternberg, Joseph      0.3   Participate in additional with team member re: cash collateral
                                                    presentation.
   2       4/15/2023   Sternberg, Joseph      2.1   Prepare analysis re: 4/14 informational forecast.

   2       4/15/2023    Vadon, Courtney       0.6   Prepare diligence question list re: informational forecast.

   2       4/15/2023     Leake, Nicola        0.9   Review WE 4/7 budget-to-actuals questions prepared by team member
                                                    while incorporating edits.
   2       4/16/2023    Berkin, Michael       0.7   Analyze interest reflected in 13-week cash budget.

   2       4/16/2023    Vadon, Courtney       2.5   Apply comments and revisions to liquidity report re: e-mail from team
                                                    member.
   2       4/16/2023     Leake, Nicola        0.7   Attend call with Alix re: informational cash flow discussions.

   2       4/16/2023    Vadon, Courtney       1.3   Continue applying comments and revisions to liquidity report.

   2       4/16/2023    Berkin, Michael       0.7   Develop issues for Debtors response re: updated 13-week cash budget.

   2       4/16/2023    Berkin, Michael       0.7   Discuss 13-week budget with Alix team.

   2       4/16/2023   Cheng, Earnestiena     0.3   Evaluate 1L interest calculation as formulated by internal team.

   2       4/16/2023   Cheng, Earnestiena     0.3   Evaluate minimum liquidity questions.

   2       4/16/2023   Sternberg, Joseph      0.7   Participate in call with Alix re: informational forecast.

   2       4/16/2023   Sternberg, Joseph      1.5   Prepare additional analysis re: informational forecast.

   2       4/16/2023   Sternberg, Joseph      1.9   Prepare analysis re: adequate assurance interest.

                                                      34
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 35 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                     Activity
Category
   2       4/16/2023   Sternberg, Joseph      2.4   Prepare analysis re: informational forecast compared to filed budget.

   2       4/16/2023    Vadon, Courtney       0.2   Prepare analysis re: liquidity report.

   2       4/16/2023     Leake, Nicola        0.3   Prepare correspondence for team member additional liquidity slides.

   2       4/16/2023   Sternberg, Joseph      0.7   Prepare correspondence to team re: adequate assurance.

   2       4/16/2023   Sternberg, Joseph      0.9   Prepare correspondence to team re: informational forecast.

   2       4/16/2023     Leake, Nicola        2.4   Prepare schedule re: timing of sports rights payments for liquidity
                                                    purposes and other analyses.
   2       4/16/2023     Leake, Nicola        0.8   Prepare updates to interest calculation and compare against Company
                                                    budgets.
   2       4/16/2023   Cheng, Earnestiena     0.5   Provide comments to internal summary on informational forecast and
                                                    impact of deferred sports rights payments.
   2       4/16/2023   Cheng, Earnestiena     0.7   Provide comments to observations on informational forecast.

   2       4/16/2023     Hu, Elizabeth        0.3   Review analysis re: adequate protection interest.

   2       4/16/2023    Berkin, Michael       0.8   Review and analyze updated 13-week cash budget.

   2       4/16/2023   Sternberg, Joseph      0.3   Review correspondence from team re: informational forecast.

   2       4/16/2023     Hu, Elizabeth        0.2   Review correspondence on minimum liquidity covenant issue.

   2       4/16/2023     Leake, Nicola        2.9   Review work and incorporate edits on WE 4/7 budget-to-actuals and
                                                    informational budget slides.
   2       4/17/2023    Vadon, Courtney       0.7   Apply budget-to-actuals weekly variance slide comments.

   2       4/17/2023    Vadon, Courtney       0.5   Apply cash flow deck feedback from team members.

   2       4/17/2023    Vadon, Courtney       1.8   Apply informational forecast budget slide feedback.

   2       4/17/2023    Murphy, Andrew        0.8   Attend internal call with team re: WE 4/7 budget-to-actuals reporting.

   2       4/17/2023   Sternberg, Joseph      2.4   Continue to prepare presentation re: informational forecast.

   2       4/17/2023    Berkin, Michael       0.8   Discuss case status and workstreams with team re: flow of material from
                                                    Debtors to perform work.
   2       4/17/2023     Leake, Nicola        0.8   Finalize WE 4/7 budget-to-actuals, informational request list and JV
                                                    questions.
   2       4/17/2023   Cheng, Earnestiena     0.2   Follow-up with Alix team re: PEO issues on cash flow reporting.

   2       4/17/2023   Sternberg, Joseph      0.2   Apply comments for team re: cash collateral presentation.

   2       4/17/2023   Sternberg, Joseph      0.8   Participate in call with team re: cash collateral presentation.

                                                      35
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 36 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                     Activity
Category
   2       4/17/2023   Cheng, Earnestiena     0.8   Participate in call with internal team re: latest liquidity and cash
                                                    management presentation.
   2       4/17/2023   Sternberg, Joseph      0.9   Prepare diligence list re: informational forecast.

   2       4/17/2023   Sternberg, Joseph      2.7   Prepare presentation re: informational forecast.

   2       4/17/2023     Leake, Nicola        2.3   Prepare updates to liquidity slides for Committee deck.

   2       4/17/2023   Cheng, Earnestiena     0.8   Process edits to budget-to-actuals and informational forecast questions
                                                    for Alix.
   2       4/17/2023    Vadon, Courtney       0.5   Respond to final comments on budget-to-actuals weekly variance and
                                                    informational forecast slides.
   2       4/17/2023     Leake, Nicola        2.0   Review additional edits to liquidity and WE 4/7 budget-to-actuals slides.

   2       4/17/2023    Scruton, Andrew       1.4   Review sensitivity analyses on cash flow forecasts and potential covenant
                                                    breaches.
   2       4/17/2023     Leake, Nicola        2.4   Review updated slides re: budget-to-actuals for Committee deck.

   2       4/17/2023    Vadon, Courtney       1.5   Update WE 4/7 budget-to-actuals diligence questions.

   2       4/17/2023     Leake, Nicola        0.8   Attend internal call with team re: budget-to-actuals and other liquidity
                                                    deck next steps.
   2       4/17/2023    Vadon, Courtney       0.9   Discuss cash management and liquidity deck and related items with team.

   2       4/18/2023   Cheng, Earnestiena     1.4   Analyze minimum liquidity covenants and impact of sports rights
                                                    payments.
   2       4/18/2023   Sternberg, Joseph      0.5   Attend call with Alix re: informational forecast assumptions.

   2       4/18/2023   Cheng, Earnestiena     0.5   Attend call with Alix re: latest budget-to-actuals variances.

   2       4/18/2023    Murphy, Andrew        0.4   Attend follow-up call with Alix re: cash collateral motion.

   2       4/18/2023    Berkin, Michael       0.6   Calculate projected interest payments pursuant to Committee counsel
                                                    request.
   2       4/18/2023     Leake, Nicola        2.1   Continue to input updates per internal comments to the Committee deck.

   2       4/18/2023   Sternberg, Joseph      2.4   Continue to prepare analysis re: informational forecast.

   2       4/18/2023    Scruton, Andrew       1.2   Correspond with Akin re: cash flow forecast.

   2       4/18/2023    Berkin, Michael       1.8   Develop alternative cash projection scenarios resulting from viable
                                                    assumptions.
   2       4/18/2023    Berkin, Michael       0.5   Discuss 13-week budget and variances with Alix team.

   2       4/18/2023    Berkin, Michael       0.7   Discuss potential cash collateral solutions with Committee and Debtor
                                                    advisors.
   2       4/18/2023   Cheng, Earnestiena     0.4   Evaluate cash collateral update from Akin ahead of 4/19 hearing.

                                                      36
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 37 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                     Activity
Category
   2       4/18/2023   Cheng, Earnestiena     1.2   Evaluate impact of sports rights payments on liquidity.

   2       4/18/2023   Sternberg, Joseph      0.4   Participate in additional call with Alix re: informational forecast.

   2       4/18/2023     Hu, Elizabeth        0.5   Participate in call with Alix re: WE 4/7 budget-to-actuals reporting.

   2       4/18/2023     Hu, Elizabeth        0.4   Participate in follow up call with Alix re: remaining 4/7 budget-to-actuals
                                                    questions.
   2       4/18/2023   Cheng, Earnestiena     0.4   Participate in follow up call with Alix team re: informational forecast and
                                                    historical JV distributions.
   2       4/18/2023   Sternberg, Joseph      2.5   Prepare additional slides for presentation re: informational forecast.

   2       4/18/2023   Sternberg, Joseph      2.0   Prepare additional updates to presentation re: informational forecast
                                                    commentary.
   2       4/18/2023   Sternberg, Joseph      2.5   Prepare analysis re: informational forecast impact on covenants.

   2       4/18/2023     Simms, Steven        0.6   Prepare correspondence on cash collateral issues.

   2       4/18/2023    Berkin, Michael       0.5   Prepare for discussion on 13-week budget and variances with Alix team.

   2       4/18/2023     Leake, Nicola        2.6   Prepare updates per internal comments to the Committee deck.

   2       4/18/2023   Cheng, Earnestiena     1.8   Process edits to liquidity presentation for Committee.

   2       4/18/2023   Sternberg, Joseph      1.4   Review analysis re: cash collateral budget.

   2       4/18/2023     Hu, Elizabeth        0.9   Review analysis re: liquidity update.

   2       4/18/2023     Simms, Steven        0.6   Review items related to budget and liquidity.

   2       4/18/2023    Scruton, Andrew       1.3   Review revised cash collateral order.

   2       4/18/2023   Cheng, Earnestiena     0.2   Send questions to Alix team re: 4/14 information forecast, 4/7 variance
                                                    report and other items.
   2       4/18/2023    Vadon, Courtney       0.6   Update budget-to-actuals weekly variance and informational forecast
                                                    slides in response to new comments.
   2       4/18/2023     Leake, Nicola        0.4   Update cash variance questions for call with Alix.

   2       4/18/2023    Murphy, Andrew        0.5   Attend 4/18 call with Alix re: cash collateral budget.

   2       4/19/2023    Berkin, Michael       1.3   Analyze impact of deferred sports rights payments on cash budget.

   2       4/19/2023   Sternberg, Joseph      0.2   Analyze informational forecast for further diligence.

   2       4/19/2023   Sternberg, Joseph      0.2   Continue to further diligence 4/14 informational forecast.

   2       4/19/2023   Sternberg, Joseph      0.2   Continue to prepare questions for team re: 4/14 informational forecast.

                                                      37
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 38 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                      Activity
Category
   2       4/19/2023   Cheng, Earnestiena     1.8   Continue to process edits to liquidity presentation for the Committee to
                                                    reflect comments from internal team.
   2       4/19/2023   Cheng, Earnestiena     0.6   Evaluate sports rights payments' liquidity impact on case.

   2       4/19/2023   Sternberg, Joseph      0.8   Participate in call with team re: 4/14 informational forecast.

   2       4/19/2023    Murphy, Andrew        0.8   Participate in call with team member re: 4/14 informational forecast.

   2       4/19/2023   Sternberg, Joseph      0.2   Prepare questions for internal team re: 4/14 informational forecast.

   2       4/19/2023   Sternberg, Joseph      2.1   Prepare analysis re: 4/14 informational forecast impact on minimum
                                                    liquidity.
   2       4/19/2023    Murphy, Andrew        1.1   Prepare commentary re: cash collateral budget.

   2       4/19/2023    Murphy, Andrew        1.2   Prepare subsequent updates to 4/14 informational forecast per internal
                                                    team.
   2       4/19/2023   Cheng, Earnestiena     1.6   Process edits to liquidity presentation for Committee to reflect comments
                                                    from internal team.
   2       4/19/2023   Cheng, Earnestiena     0.4   Raise concerns on latest cash collateral draft.

   2       4/19/2023     Leake, Nicola        0.3   Review cash collateral analysis.

   2       4/19/2023   Cheng, Earnestiena     0.3   Review changes to cash collateral order.

   2       4/19/2023   Cheng, Earnestiena     0.5   Review latest cash collateral order draft.

   2       4/19/2023    Berkin, Michael       0.8   Review updated draft cash collateral order for comments to Committee
                                                    counsel.
   2       4/21/2023    Berkin, Michael       1.3   Analyze revised cash collateral order updates and incorporation of
                                                    Committee feedback.
   2       4/21/2023    Vadon, Courtney       1.6   Prepare WE 4/14 budget-to-actuals weekly variance analysis.

   2       4/21/2023    Vadon, Courtney       0.7   Create budget-to-actuals weekly variance slide in liquidity update deck.

   2       4/21/2023   Sternberg, Joseph      0.4   Review budget-to-actuals reporting for WE 4/14.

   2       4/21/2023    Vadon, Courtney       1.6   Continue to prepare cumulative WE 4/14 budget-to-actuals weekly
                                                    variance.
   2       4/22/2023    Vadon, Courtney       0.9   Prepare budget-to-actuals diligence questions.

   2       4/22/2023     Leake, Nicola        1.9   Review WE 4/14 budget-to-actuals slides, excel, and questions for Alix.

   2       4/22/2023    Vadon, Courtney       0.9   Update threshold information on budget-to-actuals weekly variance.

   2       4/23/2023    Vadon, Courtney       1.9   Apply comments from prior call to budget-to-actuals weekly variance
                                                    report.
   2       4/23/2023    Vadon, Courtney       0.1   Apply revisions to budget-to-actuals weekly variance report.

                                                      38
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 39 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                     Activity
Category
   2       4/23/2023     Leake, Nicola        0.9   Attend call with team member re: WE 4/14 budget-to-actuals questions,
                                                    formatting, slides etc.
   2       4/23/2023    Vadon, Courtney       0.9   Discuss budget-to-actuals weekly variance with team member.

   2       4/23/2023     Leake, Nicola        1.0   Review updated questions and slides prepared by team member.

   2       4/24/2023   Cheng, Earnestiena     0.8   Analyze questions for Alix re: 4/14 budget-to-actuals.

   2       4/24/2023    Berkin, Michael       1.0   Compare the week-ended 4/14 financials to the Filed Budget and to the
                                                    informational forecast for discussion with Alix.
   2       4/24/2023   Sternberg, Joseph      1.2   Prepare questions list re: WE 4/14 budget to actual.

   2       4/24/2023    Vadon, Courtney       0.4   Respond to WE 4/14 budget-to-actuals weekly variance comments.

   2       4/24/2023    Vadon, Courtney       1.2   Respond to comments on the budget-to-actuals weekly variance report.

   2       4/24/2023   Sternberg, Joseph      2.1   Review analysis re: WE 4/14 budget to actual.

   2       4/24/2023     Leake, Nicola        0.5   Review budget-to-actuals diligence questions for internal team.

   2       4/24/2023     Hu, Elizabeth        0.2   Review diligence questions prepared by team re: WE 4/14 budget-to-
                                                    actuals reporting.
   2       4/24/2023   Sternberg, Joseph      0.6   Review budget-to-actuals reporting diligence questions.

   2       4/25/2023    Berkin, Michael       0.6   Attend call with Alix re: 13-week budget and WE 4/14 variances.

   2       4/25/2023   Cheng, Earnestiena     0.1   Circulate latest budget-to-actuals diligence questions to internal team.

   2       4/25/2023     Leake, Nicola        2.4   Finalize schedule for dissemination to team.

   2       4/25/2023   Cheng, Earnestiena     0.6   Participate in call with Alix re: 4/14 budget-to-actuals.

   2       4/25/2023     Hu, Elizabeth        0.6   Participate in call with Alix re: budget-to-actuals reporting and cash flow
                                                    questions at large.
   2       4/25/2023   Sternberg, Joseph      0.6   Participate in call with Alix re: cash reporting.

   2       4/25/2023     Leake, Nicola        1.2   Prepare updates to monthly and annual schedules for register.

   2       4/25/2023   Cheng, Earnestiena     0.9   Process edits to 4/14 budget-to-actuals presentation prepared for
                                                    Committee.
   2       4/25/2023   Cheng, Earnestiena     0.2   Request approval from Alix on budget-to-actuals commentary.

   2       4/25/2023     Hu, Elizabeth        0.9   Review analysis re: WE 4/14 budget-to-actuals reporting.

   2       4/25/2023   Cheng, Earnestiena     0.7   Review budget-to-actuals presentation prepared by internal team for the
                                                    Committee.
   2       4/25/2023    Scruton, Andrew       1.1   Review presentation to Committee on latest cash flow forecasts.

                                                      39
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 40 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                    Activity
Category
   2       4/25/2023     Leake, Nicola        0.7   Review updated WE 4/14 budget-to-actuals slides.

   2       4/25/2023    Vadon, Courtney       0.9   Revise budget-to-actuals weekly variance on liquidity deck following
                                                    discussion with Alix and further internal feedback.
   2       4/25/2023    Vadon, Courtney       0.6   Update liquidity update deck with comments following discussion with
                                                    Alix.
   2       4/25/2023    Berkin, Michael       0.7   Discuss case status and workstreams with team to understand status
                                                    updates.
   2       4/25/2023   Cheng, Earnestiena     0.7   Participate in call with internal team re: case workplan on workstreams
                                                    including investigations.
   2       4/25/2023     Hu, Elizabeth        0.7   Participate on call with team to discuss workstreams, priorities, and
                                                    follow up items with Akin/Houlihan.
   2       4/25/2023    Murphy, Andrew        0.5   Attend 4/25 call with Alix re: cash collateral budget.

   2       4/26/2023    Vadon, Courtney       1.1   Apply comments from internal team to liquidity deck.

   2       4/26/2023   Cheng, Earnestiena     0.2   Evaluate status of latest budget-to-actuals (WE 4/14) presentations for
                                                    the Committee.
   2       4/26/2023    Berkin, Michael       0.5   Prepare for discussion on cash liquidity with the Committee.

   2       4/26/2023   Cheng, Earnestiena     0.3   Provide comments to internal team re: changes to 4/14 budget-to-actuals
                                                    presentation.
   2       4/26/2023   Cheng, Earnestiena     0.2   Provide comments to internal team re: deferred sports rights payments.

   2       4/26/2023   Cheng, Earnestiena     0.5   Review 4/14 budget-to-actuals and informational forecast presentation.

   2       4/26/2023    Berkin, Michael       0.8   Review and provide comments on cash liquidity presentation for
                                                    Committee.
   2       4/26/2023    Scruton, Andrew       0.5   Review update from Alix on status of diligence and upcoming meetings.

   2       4/26/2023     Leake, Nicola        1.0   Review updated liquidity deck for dissemination to the Committee.

   2       4/28/2023    Vadon, Courtney       0.8   Analyze variance reports provided by Company for WE 4/21 with
                                                    previously received weekly cash flows.
   2       4/28/2023     Leake, Nicola        0.7   Review latest cash flow from Alix (WE 4/21).

   2       4/29/2023    Vadon, Courtney       0.5   Apply data checks and data revisions to internal budget-to-actuals
                                                    analysis.
   2       4/29/2023    Vadon, Courtney       1.3   Apply revisions budget-to-actuals analysis per internal review.

   2       4/29/2023    Vadon, Courtney       0.6   Apply revisions on WE 4/21 budget-to-actuals analysis deck.

   2       4/29/2023    Vadon, Courtney       1.2   Build budget-to-actuals slide for liquidity deck.

   2       4/29/2023    Vadon, Courtney       0.4   Develop 4/14 informational forecast diligence follow-up questions.

   2       4/29/2023    Vadon, Courtney       0.7   Develop liquidity diligence questions using budget-to-actuals
                                                    information.
                                                      40
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 41 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                    Activity
Category
   2       4/30/2023     Leake, Nicola        1.4   Review WE 4/21 budget-to-actuals questions and commentary.

   2       4/30/2023     Leake, Nicola        2.1   Review WE 4/21 budget-to-actuals slides.

   2       5/1/2023      Leake, Nicola        2.5   Finalize questions re: budget to actual variance report for Alix's
                                                    commentary on call.
   2       5/1/2023    Cheng, Earnestiena     1.4   Prepare questions re: 4/21 budget to actuals results.

   2       5/1/2023      Leake, Nicola        0.7   Attend call with team members re: next steps on budget to actuals, JV
                                                    settlements, intercompany payments.
   2       5/1/2023    Cheng, Earnestiena     0.7   Participate in call with internal team re: budget to actual for week ending
                                                    4/21 and coordination on liquidity workstreams in upcoming week.
   2       5/1/2023      Leake, Nicola        0.2   Attend call with team member re: WE 4/21 budget to actuals.

   2       5/1/2023    Cheng, Earnestiena     0.9   Continue to analyze budget to actual for week ending 4/21.

   2       5/1/2023    Cheng, Earnestiena     0.7   Analyze budget to actual for week ending 4/21.

   2       5/1/2023     Vadon, Courtney       0.7   Attend call with team members re: WE 4/21 budget to actuals and May
                                                    near-term liquidity deliverables.
   2       5/1/2023    Cheng, Earnestiena     0.2   Participate in call with internal team re: budget to actuals for week ending
                                                    4/21.
   2       5/2/2023     Berkin, Michael       0.8   Update liquidity update presentation for Committee.

   2       5/2/2023     Berkin, Michael       0.8   Discuss 13-week budget and WE 4/21 variances with Alix team.

   2       5/2/2023      Leake, Nicola        0.8   Attend call with Alix re: WE 4/21 budget to actuals.

   2       5/2/2023    Cheng, Earnestiena     0.4   Review and process edits to budget to actuals reporting for the 4 weeks
                                                    ending 4/21.
   2       5/2/2023      Hu, Elizabeth        0.2   Review the latest budget to actual (WE 4/21) liquidity report.

   2       5/2/2023    Cheng, Earnestiena     0.2   Review latest budget to actual questions for week ending 4/21 with
                                                    internal team.
   2       5/2/2023    Cheng, Earnestiena     0.4   Assess latest draft of budget to actual reporting for week ending 4/21.

   2       5/2/2023    Cheng, Earnestiena     0.2   Review latest WE 4/21 BvA deck for the UCC.

   2       5/2/2023      Leake, Nicola        2.3   Prepare Committee slides per internal commentary re: WE 4/21 budget to
                                                    actuals.
   2       5/2/2023    Cheng, Earnestiena     0.8   Participate in call with Alix team re: budget to actual for week ending
                                                    4/21.
   2       5/3/2023     Vadon, Courtney       2.6   Verify analysis re: management presentation-to-filed budget monthly
                                                    analysis.
   2       5/3/2023      Leake, Nicola        2.3   Review additional updates, including commentary, by team member on
                                                    WE 4/21 slides.
   2       5/3/2023     Vadon, Courtney       2.3   Prepare analysis re: management presentation to filed budget 13-week
                                                    analysis.
                                                      41
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 42 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                   Activity
Category
   2       5/3/2023     Vadon, Courtney       1.7   Prepare analysis comparing management presentation to filed monthly
                                                    cash budget.
   2       5/3/2023     Vadon, Courtney       0.9   Analyze management presentation to filed budget 13-week analysis.

   2       5/3/2023     Vadon, Courtney       0.4   Attend call with team member re: WE 4/21 budget analysis slides.

   2       5/3/2023    Cheng, Earnestiena     0.3   Evaluate cash flow forecast included in business plan presentation.

   2       5/3/2023    Cheng, Earnestiena     0.3   Continue to evaluate cash flow forecast in business plan presentation.

   2       5/3/2023      Leake, Nicola        1.2   Continue to prepare in order to review three separate cash flow variances.

   2       5/3/2023      Leake, Nicola        2.9   Prepare variances between Debtor cash flow material per internal team
                                                    comments.
   2       5/3/2023      Leake, Nicola        0.4   Discuss WE 4/21 slides variances with team member.

   2       5/3/2023     Berkin, Michael       1.4   Review cash flow forecast in business plan presentation in order to
                                                    provide update to the Committee.
   2       5/4/2023      Leake, Nicola        1.2   Prepare updates to WE 4/21 budget to actuals per internal comments.

   2       5/4/2023      Leake, Nicola        2.4   Prepare additional material for cash flow variances between Debtor
                                                    schedules.
   2       5/4/2023     Berkin, Michael       0.9   Assess proposed AR facility replacement financing.

   2       5/4/2023    Cheng, Earnestiena     0.3   Analyze cash flow variances between Company's management
                                                    presentation and last informational forecast.
   2       5/4/2023      Leake, Nicola        2.2   Finalize WE 4/21 variances and provide comments to team member.

   2       5/4/2023     Vadon, Courtney       0.8   Prepare analysis to be distributed following comments re: management
                                                    presentation to Filed Budget analysis.
   2       5/4/2023     Vadon, Courtney       0.3   Prepare file to distributed re: management presentation-to-filed budget
                                                    analysis.
   2       5/5/2023     Vadon, Courtney       1.6   Built presentation on WE 4/28 budget to actual variance using analysis.

   2       5/5/2023     Vadon, Courtney       1.4   Analyze budget to actual variance for WE 4/28.

   2       5/5/2023     Vadon, Courtney       1.1   Draft diligence questions on Company provided budget-to-actuals for
                                                    WE 4/28.
   2       5/5/2023     Berkin, Michael       2.4   Participate in DeVoe deposition re: cash collateral.

   2       5/7/2023     Vadon, Courtney       0.6   Attend call to review diligence questions with team member re: budget-to-
                                                    actuals WE 4/28 variance.
   2       5/7/2023     Vadon, Courtney       0.2   Update liquidity covenant information re: budget-to-actuals WE 4/28
                                                    variance.
   2       5/7/2023     Vadon, Courtney       0.1   Update footnotes on budget-to-actuals comparison presentation.

   2       5/7/2023      Leake, Nicola        0.6   Finalize reviewing budget to actuals analysis and questions for Alix on
                                                    WE 4/28.
                                                      42
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 43 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                     Activity
Category
   2       5/7/2023      Leake, Nicola        2.9   Review budget to actuals excel, questions for Alix and slide for
                                                    Committee.
   2       5/7/2023     Vadon, Courtney       0.7   Update informational forecast variance and cumulative since petition date
                                                    trackers re: budget-to-actuals.
   2       5/7/2023      Leake, Nicola        0.6   Attend call with team member re: WE 4/28 budget to actuals.

   2       5/8/2023    Sternberg, Joseph      2.7   Review 4/28 budget to actual reporting.

   2       5/8/2023      Leake, Nicola        1.0   Review ad hoc analysis re: to 4/28 budget to actuals.

   2       5/8/2023     Vadon, Courtney       0.6   Attend call with team member re: updates to liquidity report and
                                                    corresponding diligence question list for WE 4/28.
   2       5/8/2023    Cheng, Earnestiena     0.7   Review latest Committee presentation re: budget to actuals for week
                                                    ending 4/28.
   2       5/8/2023      Leake, Nicola        2.1   Prepare WE 4/28 budget to actuals correspondence and other budget to
                                                    actuals analyses.
   2       5/8/2023    Cheng, Earnestiena     0.2   Review latest budget to actual presentation for week ending 4/28.

   2       5/8/2023    Cheng, Earnestiena     0.5   Review questions for Alix re: budget to actuals for week ending 4/28.

   2       5/8/2023    Cheng, Earnestiena     1.3   Analyze budget to actuals for week ending 4/28.

   2       5/8/2023    Sternberg, Joseph      1.2   Correspond with internal team re: 4/28 budget to actual reporting
                                                    feedback.
   2       5/8/2023      Leake, Nicola        1.3   Adjust cash diligence questions to send to internal team for review of WE
                                                    4/28.
   2       5/8/2023     Vadon, Courtney       0.3   Prep internal full-team distribution of budget-to-actual WE 4/28 report.

   2       5/8/2023     Vadon, Courtney       0.9   Update budget-to-actual WE 4/28 variance slides in response to new
                                                    comments from call with team member.
   2       5/8/2023      Leake, Nicola        0.6   Attend call with team member re: liquidity workstreams including
                                                    variances.
   2       5/8/2023      Leake, Nicola        0.5   Attend call with team member re: second cash collateral order.

   2       5/8/2023     Vadon, Courtney       0.5   Attend call with team member re: second interim cash collateral order.

   2       5/9/2023    Sternberg, Joseph      2.8   Prepare presentation re: 4/28 budget to actual reporting.

   2       5/9/2023    Sternberg, Joseph      0.8   Participate in call with Alix re: cash reporting.

   2       5/9/2023     Vadon, Courtney       0.2   Update liquidity report for WE 4/28 with additional comments from team
                                                    member.
   2       5/9/2023    Cheng, Earnestiena     0.8   Process edits to presentation re: budget to actuals for week ending 4/28.

   2       5/9/2023     Berkin, Michael       0.5   Review 4/28 cash variance report.

   2       5/9/2023     Berkin, Michael       1.0   Revise liquidity update presentation for Committee.

                                                      43
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 44 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                     Activity
Category
   2       5/9/2023    Cheng, Earnestiena     0.2   Prepare for call with Alix re: budget to actuals for week ending 4/28.

   2       5/9/2023    Cheng, Earnestiena     0.3   Review Committee update re: cash collateral motion and Phoenix Suns
                                                    litigation.
   2       5/9/2023    Cheng, Earnestiena     0.6   Process edits to questions for Alix re: budget to actuals for week ending
                                                    4/28.
   2       5/9/2023    Cheng, Earnestiena     0.1   Reach out to internal team re: budget to actuals for week ending 4/28.

   2       5/9/2023      Leake, Nicola        0.9   Update WE 4/28 budget to actuals questions per internal commentary.

   2       5/9/2023      Leake, Nicola        1.4   Update WE 4/28 budget to actuals slides per internal commentary.

   2       5/9/2023     Vadon, Courtney       1.0   Update liquidity report for WE 4/28 with comments from team member.

   2       5/9/2023     Berkin, Michael       0.8   Discuss 13-week budget and WE 4/28 variances with Alix team.

   2       5/9/2023    Cheng, Earnestiena     0.8   Participate in call with Alix re: budget to actuals for week ending 4/28.

   2       5/9/2023    Sternberg, Joseph      0.2   Participate in call with internal team re: 4/28 cash reporting.

   2       5/9/2023     Vadon, Courtney       0.2   Attend call with team members re: management presentation to budget
                                                    variance.
   2       5/10/2023   Sternberg, Joseph      1.1   Review analysis re: 4/28 budget to actual reporting.

   2       5/10/2023   Cheng, Earnestiena     0.4   Participate in internal call with team re: latest cash forecast and
                                                    presentation.
   2       5/10/2023   Cheng, Earnestiena     0.3   Provide an update to Houlihan re: expiration of sports rights contracts
                                                    and impact on liquidity.
   2       5/10/2023    Berkin, Michael       0.6   Assess cash impact of not entering into AR facility.

   2       5/10/2023    Berkin, Michael       1.0   Identify key issue on business plan alternatives impacting cash
                                                    projections.
   2       5/10/2023   Cheng, Earnestiena     0.2   Review sports rights contracts and liquidity with added detail from Alix
                                                    team.
   2       5/10/2023   Cheng, Earnestiena     0.5   Provide update on 13-week cash flow forecast to Houlihan team.

   2       5/10/2023   Cheng, Earnestiena     0.2   Evaluate comments from internal team re: budget to actuals for week
                                                    ending 4/28.
   2       5/10/2023    Vadon, Courtney       0.3   Update WE 4/28 liquidity slides with comments from team member.

   2       5/10/2023   Cheng, Earnestiena     0.4   Evaluate need for AR facility.

   2       5/10/2023   Cheng, Earnestiena     0.3   Continue to evaluate paydown of AR facility.

   2       5/10/2023   Sternberg, Joseph      0.4   Participate in additional call with internal team re: 4/28 cash flow
                                                    presentation.
   2       5/10/2023    Vadon, Courtney       0.4   Attend call with team members on upcoming informational forecast and
                                                    weekly variance.
                                                      44
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 45 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                       Activity
Category
   2       5/11/2023   Sternberg, Joseph      2.1   Prepare analysis re: AR facility.

   2       5/11/2023    Berkin, Michael       1.0   Continue to review final cash collateral order.

   2       5/11/2023    Berkin, Michael       1.3   Analyze final cash collateral order.

   2       5/12/2023    Vadon, Courtney       1.3   Calculate variances between 5/12 informational forecast file and filed
                                                    budget.
   2       5/12/2023    Vadon, Courtney       2.4   Draft liquidity deck update for WE 5/5 using budget-to-actuals report
                                                    build and corresponding commentary.
   2       5/12/2023    Vadon, Courtney       1.0   Analyze budget to actual variance for WE 5/5.

   2       5/12/2023   Sternberg, Joseph      0.8   Review WE 5/5 budget to actual reporting.

   2       5/13/2023    Vadon, Courtney       2.1   Calculate variances between 5/12 informational forecast file and 4/14
                                                    informational forecast file.
   2       5/13/2023    Vadon, Courtney       2.0   Draft diligence question based on 4/14 informational forecast and
                                                    variance report for WE 5/5.
   2       5/14/2023    Vadon, Courtney       0.5   Prepare for call with team member on informational forecast variance
                                                    file.
   2       5/14/2023   Cheng, Earnestiena     1.4   Draft questions re: 5/12 informational forecast for Alix team.

   2       5/14/2023   Cheng, Earnestiena     1.1   Analyze 5/12 informational forecast.

   2       5/14/2023   Cheng, Earnestiena     1.2   Analyze variances between 5/12 informational forecast and filed budget.

   2       5/14/2023    Vadon, Courtney       0.6   Revise diligence questions to send to internal team on informational
                                                    forecasts.
   2       5/14/2023    Vadon, Courtney       0.3   Revise informational forecast variance file with feedback from team
                                                    member.
   2       5/14/2023   Sternberg, Joseph      1.3   Participate in call with team member re: 5/12 budget to actual reporting.

   2       5/14/2023    Vadon, Courtney       1.3   Attend call with team member on informational forecast variance file.

   2       5/15/2023    Murphy, Andrew        2.9   Prepare analysis re: leagues and MVPD carriage agreements implications
                                                    to future cash flow.
   2       5/15/2023   Sternberg, Joseph      1.7   Prepare analysis re: WE 5/5 budget to actual reporting.

   2       5/15/2023   Sternberg, Joseph      2.0   Review latest 5/5 budget to actual reporting.

   2       5/15/2023    Vadon, Courtney       0.3   Continue updating commentary on 5/12 informational forecast to filed
                                                    budget slide.
   2       5/15/2023    Berkin, Michael       0.8   Analyze cash movements in connection with AR facility pay down.

   2       5/15/2023    Berkin, Michael       1.0   Review MVPD summaries to assess projected cash flows.

   2       5/15/2023   Cheng, Earnestiena     1.8   Process edits to Committee presentation re: 5/12 informational forecast
                                                    and variances as of 5/5.
                                                      45
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 46 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                    Activity
Category
   2       5/15/2023   Cheng, Earnestiena     0.2   Evaluate latest questions re: budget to actuals and 5/12 informational
                                                    forecast.
   2       5/15/2023   Cheng, Earnestiena     0.8   Provide comments to 5/5 budget to actuals and 5/12 Information forecast
                                                    questions.
   2       5/15/2023   Cheng, Earnestiena     0.5   Evaluate outline of presentation for Committee re: 5/5 budget to actuals
                                                    and 5/12 informational forecast.
   2       5/15/2023   Sternberg, Joseph      1.4   Continue to review latest 5/12 budget to actual reporting.

   2       5/15/2023   Sternberg, Joseph      1.3   Prepare presentation re: 5/12 budget to actual reporting.

   2       5/15/2023    Vadon, Courtney       1.3   Revise liquidity diligence questions list with feedback from call with
                                                    team members.
   2       5/15/2023    Vadon, Courtney       0.6   Update 5/12 informational forecast to filed budget variance slide
                                                    commentary.
   2       5/15/2023    Vadon, Courtney       0.2   Review team member's liquidity diligence question feedback.

   2       5/15/2023    Vadon, Courtney       0.4   Respond to comments from team member on budget-to-actuals slide.

   2       5/15/2023   Cheng, Earnestiena     0.3   Analyze flow of receipts through cash management system.

   2       5/15/2023   Cheng, Earnestiena     0.3   Review potentially unencumbered cash and cash management system.

   2       5/15/2023   Cheng, Earnestiena     0.4   Participate in call with internal team re: budget to actuals for week ending
                                                    5/5.
   2       5/15/2023   Sternberg, Joseph      0.4   Participate in call with internal team re: 5/12 budget to actual reporting.

   2       5/15/2023    Vadon, Courtney       0.4   Attend call with team members on liquidity review.

   2       5/15/2023   Cheng, Earnestiena     0.3   Participate in call with internal team re: potentially unencumbered cash
                                                    and liquidity questions.
   2       5/15/2023    Murphy, Andrew        0.3   Attend call with internal team re: leagues and MVPD carriage agreements
                                                    summaries.
   2       5/16/2023   Sternberg, Joseph      0.9   Review correspondence from FTI team re: cash flow reporting.

   2       5/16/2023    Berkin, Michael       0.8   Discuss 13-week budget and WE 5/5 variances with Alix team.

   2       5/16/2023   Cheng, Earnestiena     0.7   Research movement of cash within Company's cash management system.

   2       5/16/2023    Berkin, Michael       0.3   Discuss liquidity report draft with FTI team.

   2       5/16/2023   Cheng, Earnestiena     0.3   Participate in call with internal team re: movement of cash and budgets.

   2       5/16/2023    Berkin, Michael       0.5   Analyze 5/5 cash variance report.

   2       5/16/2023    Vadon, Courtney       0.8   Revise liquidity slides with comments from team members.

   2       5/16/2023   Cheng, Earnestiena     0.3   Finalize Committee presentation on 5/12 informational forecast.

                                                      46
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 47 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                     Activity
Category
   2       5/16/2023   Cheng, Earnestiena     0.4   Prepare for call with Alix re: 5/12 Informational Forecast and latest
                                                    budget to actuals.
   2       5/16/2023   Cheng, Earnestiena     0.9   Process edits to Committee presentation on 5/12 informational forecast.

   2       5/16/2023   Cheng, Earnestiena     0.3   Continue to process edits to Committee presentation on 5/12
                                                    informational forecast.
   2       5/16/2023   Sternberg, Joseph      1.1   Update presentation re: 5/5 budget to actual reporting.

   2       5/16/2023    Vadon, Courtney       0.3   Apply comments from team member to liquidity update.

   2       5/16/2023   Sternberg, Joseph      0.3   Participate in call with FTI team re: latest 5/5 budget to actual reporting.

   2       5/16/2023    Vadon, Courtney       0.3   Attend call re: liquidity update with team members.

   2       5/16/2023   Cheng, Earnestiena     0.8   Participate in call with Alix team re: 5/12 Informational Forecast and
                                                    latest budget to actuals.
   2       5/16/2023   Sternberg, Joseph      0.8   Participate in call with Alix re: 5/5 budget to actual reporting.

   2       5/17/2023   Sternberg, Joseph      0.7   Prepare correspondence to Akin re: AR facility considerations.

   2       5/19/2023    Vadon, Courtney       0.8   Continue to prepare analysis re: WE 5/12 budget-to-actuals.

   2       5/19/2023    Vadon, Courtney       1.1   Prepare analysis re: 5/12 budget-to-actual variance diligence questions.

   2       5/19/2023    Vadon, Courtney       0.6   Prepare presentation for UCC re: WE 5/12 budget-to-actual variance.

   2       5/21/2023     Leake, Nicola        2.4   Review budget to actuals analysis and diligence questions for WE 5/12.

   2       5/22/2023   Sternberg, Joseph      1.8   Review WE 5/12 budget to actual presentation.

   2       5/22/2023    Vadon, Courtney       0.7   Respond to budget-to-actuals WE 5/12 write-up feedback to be reviewed
                                                    by internal team.
   2       5/22/2023   Sternberg, Joseph      0.5   Participate in call with FTI team re: 5/19 budget to actual reporting.

   2       5/22/2023    Vadon, Courtney       0.5   Attend call with team member re: budget-to-actuals WE 5/12.

   2       5/22/2023   Cheng, Earnestiena     0.6   Process edits to Committee presentation re: budget to actuals for week
                                                    ending 5/12.
   2       5/22/2023    Berkin, Michael       0.5   Review draft questions to Alix re: 5/12 cash variance report.

   2       5/22/2023    Berkin, Michael       0.5   Analyze 5/12 cash variance report.

   2       5/22/2023   Cheng, Earnestiena     0.9   Analyze budget to actuals for week ending 5/12.

   2       5/22/2023   Cheng, Earnestiena     0.9   Continue to analyze budget to actuals for week ending 5/12.

   2       5/22/2023   Cheng, Earnestiena     0.7   Draft questions for Alix re: budget to actuals for week ending 5/12.

                                                      47
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 48 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                     Activity
Category
   2       5/22/2023     Leake, Nicola        0.6   Review WE 5/12 budget to actuals email and questions for internal team.

   2       5/22/2023     Leake, Nicola        0.5   Discuss WE 5/12 budget to actuals questions, deck and other with team
                                                    member.
   2       5/23/2023   Sternberg, Joseph      0.5   Participate in call with Alix re: 5/12 budget to actual reporting.

   2       5/23/2023   Cheng, Earnestiena     0.4   Participate in call with internal team re: budget to actuals presentation for
                                                    WE 5/12 and other near-term workstreams.
   2       5/23/2023    Berkin, Michael       0.5   Develop agenda for periodic update call with FTI team re: case status and
                                                    workstreams.
   2       5/23/2023    Berkin, Michael       1.1   Participate in periodic update call with FTI team re: case status and
                                                    workstreams.
   2       5/23/2023    Berkin, Michael       0.8   Review liquidity update presentation for Committee.

   2       5/23/2023    Berkin, Michael       0.5   Review 5/12 cash variance report.

   2       5/23/2023   Sternberg, Joseph      1.4   Review latest 5/12 budget to actual presentation.

   2       5/23/2023   Sternberg, Joseph      0.4   Participate in call with FTI team re: latest 5/12 budget to actual reporting.

   2       5/23/2023    Murphy, Andrew        0.4   Participate in call with internal team re: preparation for call with Alix.

   2       5/23/2023    Vadon, Courtney       0.4   Attend call with team re: liquidity call catch up and action items.

   2       5/23/2023     Leake, Nicola        0.5   Attend call with Alix re: WE 5/12 cash flow.

   2       5/23/2023   Cheng, Earnestiena     0.5   Participate in call with Alix team re: budget to actuals for w/e 5/12.

   2       5/24/2023   Cheng, Earnestiena     0.6   Review latest draft of budget to actuals presentation for WE 5/12.

   2       5/24/2023   Sternberg, Joseph      0.3   Prepare presentation updates re: 5/12 budget to actual.

   2       5/24/2023    Vadon, Courtney       0.1   Respond to comments re: WE 5/12 budget-to-actuals presentation.

   2       5/25/2023   Cheng, Earnestiena     0.2   Inquire about AR facility lender options with HL team.

   2       5/26/2023    Vadon, Courtney       0.7   Prepare diligence questions re: budget-to-actuals WE 5/19.

   2       5/26/2023   Sternberg, Joseph      0.4   Review monthly cash flow analysis.

   2       5/26/2023   Sternberg, Joseph      0.3   Participate in call with Alix team re: monthly cash flow forecast.

   2       5/26/2023   Sternberg, Joseph      0.8   Review latest cash flow reporting re: monthly forecast.

   2       5/26/2023    Vadon, Courtney       1.3   Prepare analysis re: budget-to-actuals WE 5/19.

   2       5/26/2023   Cheng, Earnestiena     0.5   Review May monthly forecast assumptions presentation.

                                                      48
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 49 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                    Activity
Category
   2       5/26/2023     Leake, Nicola        1.4   Prepare monthly cash flow variances to understand assumptions going
                                                    forward.
   2       5/26/2023     Leake, Nicola        0.8   Prepare notes and additional analyses re: monthly cash flow.

   2       5/26/2023     Leake, Nicola        0.6   Review WE 5/19 budget to actuals slides for the Committee.

   2       5/26/2023     Leake, Nicola        0.4   Prepare questions re: monthly cash flow.

   2       5/26/2023    Vadon, Courtney       0.4   Prepare presentation re: budget-to-actuals WE 5/19.

   2       5/26/2023    Vadon, Courtney       0.6   Continue to prepare diligence questions re: budget-to-actuals WE 5/19.

   2       5/26/2023    Vadon, Courtney       0.5   Continue preparing diligence questions re: budget-to-actuals WE 5/19.

   2       5/26/2023   Cheng, Earnestiena     0.3   Participate in call with Alix re: May monthly forecast.

   2       5/27/2023   Sternberg, Joseph      3.0   Review diligence list re: monthly cash flow reporting.

   2       5/27/2023   Cheng, Earnestiena     1.4   Analyze May monthly cash flow forecast.

   2       5/27/2023   Cheng, Earnestiena     0.9   Analyze May monthly cash flow forecast assumptions.

   2       5/27/2023   Cheng, Earnestiena     0.3   Draft questions for budget to actual for WE 5/19.

   2       5/27/2023   Cheng, Earnestiena     0.6   Review budget to actual for WE 5/19.

   2       5/27/2023   Cheng, Earnestiena     1.2   Draft questions for Alix re: May monthly cash flow forecast.

   2       5/27/2023    Vadon, Courtney       0.4   Prepare analysis re: budget to actuals WE 5/19.

   2       5/28/2023   Sternberg, Joseph      1.2   Review diligence request list re: monthly cash flow reporting.

   2       5/28/2023    Vadon, Courtney       1.6   Review comments on diligence questions from team member.

   2       5/28/2023    Vadon, Courtney       0.8   Review comments on diligence questions from additional team member.

   2       5/29/2023   Cheng, Earnestiena     0.8   Review comments from team re: May monthly cash flow forecast.

   2       5/29/2023   Cheng, Earnestiena     0.7   Finalize questions for Alix re: May monthly cash flow forecast.

   2       5/29/2023    Vadon, Courtney       1.1   Review second round of comments on diligence questions.

   2       5/30/2023    Vadon, Courtney       0.7   Apply comments from business plan team to May forecast questions re:
                                                    receipts.
   2       5/30/2023    Berkin, Michael       0.6   Review 2023 updated monthly cash flow forecast.

   2       5/30/2023    Berkin, Michael       0.8   Review diligence questions re: weekly variance and 2023 updated
                                                    monthly cash flow forecast.
                                                     49
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 50 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                     Activity
Category
   2       5/30/2023    Berkin, Michael       0.4   Review and analyze 5/19 cash variance report.

   2       5/30/2023   Cheng, Earnestiena     0.3   Process edits to questions list on budget versus actuals for WE 5/19 and
                                                    May monthly forecast.
   2       5/30/2023   Cheng, Earnestiena     0.2   Follow-up with team re: industry views on forecasted cash flows.

   2       5/30/2023    Vadon, Courtney       1.2   Prepare updates to May forecast slides.

   2       5/30/2023   Sternberg, Joseph      0.5   Participate in call with Alix re: latest budget to actual reporting.

   2       5/30/2023   Cheng, Earnestiena     0.5   Participate in call with Alix team re: latest cashflow actuals through 5/19.

   2       5/30/2023     Leake, Nicola        0.5   Attend call with Alix re: WE 5/19 cash flow.

   2       5/31/2023    Vadon, Courtney       0.7   Draft commentary on May forecast slides.

   2       5/31/2023    Berkin, Michael       1.0   Update WE 5/19 liquidity update presentation for Committee.

   2       5/31/2023   Cheng, Earnestiena     0.2   Coordinate May cash flow forecast call with internal team.

   2       5/31/2023   Cheng, Earnestiena     0.2   Review May monthly cash flow forecast for internal team.

   2       5/31/2023   Cheng, Earnestiena     0.2   Coordinate with internal team and Alix team re: liquidity.

   2       5/31/2023    Vadon, Courtney       1.1   Apply edits to May forecast slides from team member.

   2       5/31/2023    Vadon, Courtney       0.2   Continue drafting commentary on May forecast slides.

   2       6/1/2023    Cheng, Earnestiena     1.0   Coordinate with Alix team re: liquidity call.

   2       6/1/2023    Cheng, Earnestiena     0.7   Review May monthly cash flow forecast presentation prepared by
                                                    internal team.
   2       6/1/2023    Cheng, Earnestiena     0.1   Correspond with Alix re: brief liquidity update.

   2       6/2/2023      Leake, Nicola        2.4   Prepare May monthly cash flow forecast to send internally.

   2       6/2/2023    Sternberg, Joseph      1.5   Review 5/19 budget to actuals analysis.

   2       6/2/2023     Berkin, Michael       1.2   Discuss 6/2 cash budget with Alix team.

   2       6/2/2023    Cheng, Earnestiena     1.3   Prepare outline of waterfall model structure for discussion with internal
                                                    team.
   2       6/2/2023    Cheng, Earnestiena     1.2   Participate in call with Alix team re: May monthly forecast.

   2       6/2/2023      Leake, Nicola        1.6   Input changes to May monthly cash flow and other liquidity updates.

   2       6/2/2023    Sternberg, Joseph      1.2   Participate in call with Alix re: monthly forecast.

                                                      50
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 51 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                     Activity
Category
   2       6/2/2023      Leake, Nicola        1.2   Discuss liquidity concerns and budgets with Alix.

   2       6/2/2023     Vadon, Courtney       1.4   Continue to prepare budget to actuals analysis for WE 5/26.

   2       6/2/2023     Vadon, Courtney       1.1   Prepare budget to actuals analysis for WE 5/26.

   2       6/2/2023     Berkin, Michael       0.4   Assess 5/26 cash variance report.

   2       6/2/2023    Sternberg, Joseph      0.3   Review monthly cash flow slide.

   2       6/2/2023     Vadon, Courtney       0.5   Analyze budget variance report for WE 5/19.

   2       6/2/2023    Cheng, Earnestiena     0.2   Prepare for liquidity call with Alix team re: latest May monthly cash flow
                                                    assumptions.
   2       6/2/2023    Cheng, Earnestiena     0.1   Coordinate with internal team re: liquidity and internal catch up.

   2       6/3/2023     Vadon, Courtney       1.1   Prepare budget to actuals diligence questions for WE 5/26.

   2       6/4/2023      Leake, Nicola        2.6   Review WE 5/26 budget to actuals and slides.

   2       6/4/2023      Leake, Nicola        1.1   Prepare questions re: WE 5/26 budget to actuals.

   2       6/4/2023     Vadon, Courtney       1.2   Apply feedback to budget to actuals diligence questions WE 5/26.

   2       6/5/2023    Sternberg, Joseph      2.2   Prepare diligence list re: 5/26 budget to actual reporting.

   2       6/5/2023      Leake, Nicola        1.5   Prepare WE 5/26 budget to actuals deck and monthly cash flow.

   2       6/5/2023      Leake, Nicola        1.3   Finalize WE 5/26 budget to actuals deck and questions as well as other
                                                    liquidity updates.
   2       6/5/2023     Berkin, Michael       0.8   Perform preliminary review of new 13-week budget received 6/2.

   2       6/6/2023     Berkin, Michael       1.8   Review and provide comments on draft liquidity presentation for the
                                                    Committee.
   2       6/6/2023    Sternberg, Joseph      1.5   Review presentation re: 5/26 budget to actual reporting.

   2       6/6/2023    Sternberg, Joseph      1.0   Prepare budget to actuals Committee presentation.

   2       6/6/2023     Berkin, Michael       0.7   Review and analyze bridge between initial and draft second monthly
                                                    budget.
   2       6/6/2023      Leake, Nicola        1.0   Update WE 5/26 covenant compliance.

   2       6/6/2023     Berkin, Michael       0.5   Discuss draft monthly budget and cash variation analysis with Alix team.

   2       6/6/2023     Berkin, Michael       0.5   Review questions on draft monthly budget and cash variation analysis for
                                                    discussion with Alix team.
   2       6/6/2023    Sternberg, Joseph      0.5   Participate in call with Alix re: 5/26 cash reporting.

                                                      51
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 52 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional      Hours                                     Activity
Category
   2       6/6/2023      Leake, Nicola       0.5   Attend call with Alix re: WE 5/26 budget to actuals and monthly budget.

   2       6/6/2023     Vadon, Courtney      0.5   Review budget to actuals WE 5/26 presentation with additional detail
                                                   from Company.
   2       6/7/2023      Leake, Nicola       1.1   Prepare notes for the Committee call re: liquidity deck and other topics.

   2       6/7/2023    Sternberg, Joseph     0.7   Review correspondence from internal team re: 5/26 budget to actual
                                                   reporting.
   2       6/7/2023      Leake, Nicola       0.6   Finalize Committee deck for distribution to the Committee.

   2       6/7/2023     Berkin, Michael      0.2   Participate in call with internal team member re: budget to actuals
                                                   presentation.
   2       6/7/2023    Sternberg, Joseph     0.2   Participate in call with internal team member re: 5/23 budget to actuals
                                                   presentation.
   2       6/8/2023    Sternberg, Joseph     0.5   Correspond with Houlihan re: AR facility and possible cash constraints.

   2       6/9/2023      Moran, Sarah        2.9   Prepare budget-to-actual for WE 6/2 to send to DSG team.

   2       6/9/2023    Sternberg, Joseph     0.7   Review 6/2 budget to actual reporting.

   2       6/9/2023     Vadon, Courtney      1.1   Revise updates to budget to actuals analysis for WE 6/2.

   2       6/9/2023     Berkin, Michael      0.4   Discuss WE 6/2 budget to actuals with internal team.

   2       6/9/2023      Leake, Nicola       0.6   Discuss budget-to-actuals analysis WE 6/2 with internal team member.

   2       6/9/2023    Sternberg, Joseph     0.4   Discuss with team member latest cash flow reporting for WE 6/2.

   2       6/9/2023     Vadon, Courtney      0.6   Participate in meeting with team member re: budget to actuals WE 6/2.

   2       6/9/2023    Sternberg, Joseph     0.3   Correspond with Alix re: 6/2 cash flow reporting.

   2       6/9/2023      Moran, Sarah        0.6   Prepare budget-to-actual for WE 6/2 with team member.

   2       6/10/2023    Vadon, Courtney      2.5   Prepare budget-to-actuals diligence questions to send to internal team for
                                                   feedback.
   2       6/11/2023     Leake, Nicola       2.1   Review budget-to-actuals questions and deck for WE 6/2.

   2       6/11/2023    Vadon, Courtney      0.3   Apply comments from internal team on diligence questions.

   2       6/12/2023   Sternberg, Joseph     1.8   Prepare diligence list re: 6/2 budget to actual reporting.

   2       6/12/2023     Moran, Sarah        2.9   Review cash flows actuals compared to proposed budget.

   2       6/12/2023    Vadon, Courtney      1.3   Apply updates to budget to actuals excel analysis for WE 6/2.

   2       6/12/2023    Vadon, Courtney      0.9   Attend call with team member re: budget to actuals updates for WE 6/2.

                                                     52
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 53 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional      Hours                                   Activity
Category
   2       6/12/2023     Moran, Sarah        1.8   Prepare cumulative budget-to-actual with new proposed budget for week
                                                   ending 6/2.
   2       6/12/2023    Vadon, Courtney      0.5   Prepare budget to actuals slide for WE 6/2.

   2       6/12/2023     Moran, Sarah        0.9   Attend call re: budget-to-actual for week ending 06/02 and 06/02
                                                   proposed budget on call with team member.
   2       6/12/2023     Moran, Sarah        0.6   Continue to prepare cumulative budget-to-actual with new proposed
                                                   budget for week ending 6/2.
   2       6/12/2023    Vadon, Courtney      0.2   Revise 6/2 budget to actuals diligence questions with feedback from
                                                   team.
   2       6/13/2023    Berkin, Michael      1.4   Review and provide comments on draft liquidity presentation for
                                                   Committee advisors.
   2       6/13/2023    Berkin, Michael      0.8   Review draft questions to Alix re: 6/2 cash variance report.

   2       6/13/2023    Berkin, Michael      0.5   Discuss 6/2 cash variance report with Alix team.

   2       6/13/2023    Berkin, Michael      0.5   Review and analyze 6/2 cash variance report.

   2       6/13/2023     Leake, Nicola       0.7   Review WE 6/2 budget-to-actuals slides for the Committee in order to
                                                   provide commentary.
   2       6/13/2023   Sternberg, Joseph     0.5   Participate in call with Alix re: 6/2 cash flow reporting.

   2       6/13/2023     Leake, Nicola       0.5   Attend call with Alix re: WE 6/2 budget-to-actuals.

   2       6/13/2023    Vadon, Courtney      0.7   Prepare edits to 6/13 Committee presentation for team member re:
                                                   liquidity.
   2       6/13/2023     Moran, Sarah        1.5   Review cash collateral updates with emphasis on AR facility.

   2       6/13/2023   Sternberg, Joseph     0.2   Review 6/2 budget to actual presentation.

   2       6/14/2023   Sternberg, Joseph     0.8   Provide additional review of 6/2 budget to actual presentation.

   2       6/14/2023   Sternberg, Joseph     0.3   Review correspondence from Akin re: non-debtor JV.

   2       6/14/2023     Moran, Sarah        0.6   Continue to review cash collateral updates with emphasis on AR facility.

   2       6/15/2023     Moran, Sarah        2.1   Review proposed budget plan for the company.

   2       6/16/2023    Vadon, Courtney      1.6   Prepare diligence questions on WE 6/9 weekly variance report.

   2       6/16/2023     Moran, Sarah        2.1   Prepare budget to actual for WE 6/9 to send to team.

   2       6/16/2023   Sternberg, Joseph     0.4   Review 6/9 budget to actual reporting.

   2       6/16/2023    Vadon, Courtney      0.5   Participate on additional call with team member re: weekly variance
                                                   report analysis preparation.
   2       6/16/2023     Moran, Sarah        0.5   Continue to discuss budget to actuals for WE 6/9 with team member.

                                                     53
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 54 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                     Activity
Category
   2       6/16/2023    Vadon, Courtney       0.1   Participate in call with team member re: weekly variance report analysis
                                                    preparation.
   2       6/16/2023     Moran, Sarah         0.1   Discuss budget to actuals for WE 6/9 with team member.

   2       6/19/2023   Sternberg, Joseph      1.3   Review diligence list re: 6/9 budget to actual.

   2       6/19/2023     Leake, Nicola        1.6   Review budget-to-actuals WE 6/9 questions for dissemination to team.

   2       6/19/2023   Cheng, Earnestiena     0.8   Review questions for Alix re: latest budget to actuals for w/e 6/9 and
                                                    general case issues.
   2       6/19/2023    Vadon, Courtney       1.2   Provide revisions and updates to the liquidity presentation for the WE
                                                    6/09.
   2       6/19/2023   Sternberg, Joseph      0.6   Review supporting schedules re: 6/9 budget to actual reporting.

   2       6/19/2023     Moran, Sarah         1.6   Prepare weekly variance presentation from information provided in
                                                    budget-to-actual WE 6/9.
   2       6/20/2023   Cheng, Earnestiena     1.1   Analyze liquidity presentation for Committee.

   2       6/20/2023   Sternberg, Joseph      1.1   Review WE 6/9 budget to actual deck.

   2       6/20/2023     Leake, Nicola        1.4   Review budget-to-actuals for WE 6/9 deck to provide comments.

   2       6/20/2023     Hu, Elizabeth        0.4   Review liquidity report for WE 6/9 and provide comments.

   2       6/20/2023   Sternberg, Joseph      0.5   Participate in call with Alix re: 6/9 budget to actual reporting.

   2       6/20/2023     Leake, Nicola        0.5   Attend call with Alix re: WE 6/9 budget-to-actuals.

   2       6/20/2023    Vadon, Courtney       0.6   Evaluate cash collateral updates to incorporate into Committee
                                                    presentation.
   2       6/21/2023   Cheng, Earnestiena     0.2   Review WE 6/9 budget to actuals update for the Committee.

   2       6/23/2023    Vadon, Courtney       1.3   Prepare budget to actuals diligence questions WE 6/16.

   2       6/23/2023     Moran, Sarah         2.2   Prepare budget-to-actual for WE 6/16 to send to internal team.

   2       6/23/2023    Vadon, Courtney       0.4   Participate in call with team member re: budget to actuals for WE 6/16
                                                    review.
   2       6/23/2023    Vadon, Courtney       0.3   Review budget to actuals analysis for WE 6/16.

   2       6/23/2023     Moran, Sarah         0.4   Discuss budget to actuals received from Company for WE 6/16 with team
                                                    member.
   2       6/26/2023   Sternberg, Joseph      2.0   Prepare diligence list re: 6/16 cash flow reporting.

   2       6/26/2023     Leake, Nicola        0.9   Review budget-to-actual questions for WE 6/16 and prepare updates.

   2       6/26/2023   Cheng, Earnestiena     0.6   Review budget to actuals questions based on comments from internal
                                                    team.
                                                      54
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 55 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                      Activity
Category
   2       6/26/2023     Moran, Sarah         2.0   Prepare weekly budget to actual variance presentation.

   2       6/26/2023   Sternberg, Joseph      0.4   Review JV settlements for liquidity purposes.

   2       6/26/2023    Vadon, Courtney       0.6   Prepare 6/9 budget to actuals presentation for the Committee.

   2       6/26/2023    Vadon, Courtney       0.5   Correspond with team re: budget to actuals 6/16 diligence questions
                                                    revisions.
   2       6/26/2023    Vadon, Courtney       0.1   Attend call with team member re: budget to actuals WE 6/16.

   2       6/26/2023     Moran, Sarah         0.1   Discuss budget to actuals 6/16 presentation with team member.

   2       6/27/2023   Sternberg, Joseph      1.4   Review 6/16 budget to actual presentation.

   2       6/27/2023    Berkin, Michael       0.5   Discuss 6/16 cash variance report with Alix team.

   2       6/27/2023    Berkin, Michael       0.5   Review and analyze 6/16 cash variance report.

   2       6/27/2023    Berkin, Michael       0.5   Review draft questions to Alix re: 6/16 cash variance report.

   2       6/27/2023   Cheng, Earnestiena     0.5   Participate in call with Alix team re: budget to actuals for WE 6/19.

   2       6/27/2023   Sternberg, Joseph      0.5   Participate in call with Alix re: 6/16 budget to actual.

   2       6/27/2023   Cheng, Earnestiena     0.4   Review latest liquidity presentation re: budget versus actuals through
                                                    6/16.
   2       6/27/2023    Vadon, Courtney       0.6   Review budget to actuals analysis for WE 6/16 with additional detail
                                                    provided by Company.
   2       6/27/2023    Vadon, Courtney       0.5   Participate in call with team member re: liquidity update for the
                                                    Committee.
   2       6/27/2023   Cheng, Earnestiena     0.2   Coordinate with internal and Alix team re: latest liquidity reporting.

   2       6/27/2023   Cheng, Earnestiena     0.2   Review latest liquidity results.

   2       6/27/2023   Sternberg, Joseph      0.2   Correspond with Akin re: JV-entity considerations.

   2       6/27/2023     Moran, Sarah         0.8   Update weekly variance presentation for the Committee.

   2       6/27/2023     Moran, Sarah         0.7   Review cash collateral budget with the Debtor's.

   2       6/27/2023     Moran, Sarah         0.5   Discuss Company liquidity update with internal team.

   2       6/28/2023   Sternberg, Joseph      1.6   Review budget received 6/28.

   2       6/28/2023    Berkin, Michael       1.0   Review and provide comments on draft liquidity presentation for
                                                    Committee.
   2       6/28/2023     Moran, Sarah         2.9   Continue to prepare weekly variance presentation with new budget
                                                    received on 6/28.
                                                      55
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 56 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                     Activity
Category
   2       6/28/2023   Sternberg, Joseph      0.7   Prepare liquidity presentation.

   2       6/28/2023     Moran, Sarah         2.6   Prepare weekly variance presentation with new budget received on 6/28.

   2       6/28/2023    Berkin, Michael       0.4   Assess updated approved budget received 6/28.

   2       6/28/2023     Moran, Sarah         1.2   Continue to further prepare weekly variance presentation with new
                                                    budget received on 6/28.
   2       6/28/2023   Cheng, Earnestiena     0.1   Coordinate scheduling of Company advisors call.

   2       6/29/2023    Vadon, Courtney       1.3   Prepare Diamondbacks schedule in order to incorporate in to budget to
                                                    actuals projection.
   2       6/29/2023    Vadon, Courtney       0.5   Discuss 6/28 partially approved budget with team member.

   2       6/29/2023     Moran, Sarah         0.5   Participate in call to discuss new 6/28 budget.

   2       6/30/2023   Sternberg, Joseph      0.8   Compare budget received 6/28 with informational forecast received 6/30.

   2       6/30/2023     Moran, Sarah         3.0   Prepare weekly budget to actual report for WE 6/23.

   2       6/30/2023    Vadon, Courtney       1.1   Prepare diligence questions on WE 6/23 cash flow update.

   2       6/30/2023    Berkin, Michael       0.3   Correspond with Alix team re: 6/30 informational forecast and 6/28
                                                    partially approved budget.
   2       6/30/2023   Sternberg, Joseph      0.3   Participate in call with internal team member re: budget.

   2       6/30/2023    Vadon, Courtney       0.3   Discuss budget supporting schedule with team member.

 2 Total                                    668.6

   4       4/4/2023     Berkin, Michael       0.8   Identify potential issues for diligence request re: critical vendor motion.

   4       4/5/2023      Leake, Nicola        1.0   Attend call with Alix re: cash management and critical vendor motions.

   4       4/5/2023      Hu, Elizabeth        1.0   Attend call with Alix to discuss critical vendor and cash management
                                                    issues.
   4       4/5/2023    Cheng, Earnestiena     1.0   Participate in call with Alix re: critical vendor and cash management
                                                    system.
   4       4/5/2023    Cheng, Earnestiena     0.4   Process edits to key issues list for critical vendor motion.

   4       4/7/2023    Cheng, Earnestiena     0.5   Provide summary of critical vendor call to Akin.

   4       4/9/2023     Berkin, Michael       0.9   Review and analyze proposed markup of final critical vendors order for
                                                    comment to Committee counsel.
   4       4/10/2023     Leake, Nicola        1.1   Prepare slide re: critical vendor motion.

   4       6/13/2023   Sternberg, Joseph      2.2   Prepare template re: creditor groups for trade vendors.

                                                      56
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 57 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                   Activity
Category
   4       6/22/2023     Vadon, Courtney         2.8   Prepare detailed schedule of trade vendor claims.

   4       6/22/2023     Vadon, Courtney         1.8   Continue to prepare detailed schedule of trade vendor claims.

   4       6/22/2023     Vadon, Courtney         0.4   Attend call with team member re: trade vendors.

   4       6/22/2023      Moran, Sarah           0.4   Discuss trade vendor summary with team member.

   4       6/23/2023     Vadon, Courtney         0.5   Revise trade claims schedule with feedback provide by team member.

 4 Total                                        14.8

   7       4/5/2023    Nicholls, Christopher     1.1   Review preliminary NDA and data room documentation re: business
                                                       plan/operations.
   7       4/6/2023      Schuman, Philip         0.6   Begin to review DSG proposed business plan.

   7       4/6/2023    Friedman, Samantha        2.1   Review alternative business plan model to begin review of DSG proposed
                                                       business plan.
   7       4/6/2023    Nicholls, Christopher     2.0   Review analysis re: business plan assumptions.

   7       4/6/2023    Friedman, Samantha        0.7   Review business plan key assumptions and outcomes.

   7       4/6/2023    Nicholls, Christopher     2.8   Review latest business plan re: forecasting assumptions.

   7       4/7/2023       Braga, Andrew          1.2   Analyze business model re: business scenario.

   7       4/7/2023       Braga, Andrew          2.9   Analyze key differences in revenue, pricing, churn re: business model.

   7       4/7/2023         Silva, Jose          0.7   Attend call with team to review business plan analyses.

   7       4/7/2023       Simon, Russell         0.7   Attend call with internal team to review business plan assumptions.

   7       4/7/2023       Braga, Andrew          2.6   Continue to analyze model re: business scenario.

   7       4/7/2023    Friedman, Samantha        1.8   Continue to prepare summary overview of business plan to inform
                                                       analysis of go-forward business plan.
   7       4/7/2023         Silva, Jose          2.2   Continue to review business plan model to inform preparation for
                                                       management kick-off call.
   7       4/7/2023         Silva, Jose          2.9   Evaluate business plan model to inform preparation for management kick-
                                                       off call.
   7       4/7/2023       Braga, Andrew          0.7   Participate in call with team to review business plan model and
                                                       assumptions.
   7       4/7/2023         Silva, Jose          1.5   Prepare for management kickoff call to share findings from initial
                                                       business plan model review.
   7       4/7/2023    Friedman, Samantha        2.6   Prepare summary overview of business plan to inform analysis of go-
                                                       forward business plan.
   7       4/7/2023         Silva, Jose          2.5   Review business plan model to inform commentary for management
                                                       kickoff call.
                                                         57
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 58 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                    Activity
Category
   7       4/8/2023     Sternberg, Joseph        0.6   Prepare correspondence to team re: business plan projections.

   7       4/8/2023       Braga, Andrew          1.3   Prepare correspondence to Houlihan re: business model assumptions.

   7       4/8/2023       Simon, Russell         0.5   Continue to review business plan model to inform commentary for
                                                       management kickoff call.
   7       4/9/2023       Braga, Andrew          1.5   Analyze business plan for specific nuances to relay to team.

   7       4/9/2023    Friedman, Samantha        2.1   Continue to review business plan model to develop perspective on
                                                       proposed business plan.
   7       4/9/2023         Silva, Jose          2.6   Prepare for management kickoff call by reviewing business plan model.

   7       4/9/2023         Silva, Jose          2.9   Review business plan model to better inform conversation in
                                                       management kickoff call.
   7       4/9/2023         Silva, Jose          2.6   Review business plan model to develop commentary for management
                                                       kickoff call.
   7       4/9/2023    Friedman, Samantha        0.4   Review business plan model to develop FTI perspective on proposed
                                                       business plan.
   7       4/10/2023    Sternberg, Joseph        3.0   Analyze business plan to understand key operational and restructuring
                                                       issues.
   7       4/10/2023   Nicholls, Christopher     0.5   Attend call with team members to review draft of diligence request list
                                                       for business plan.
   7       4/10/2023        Silva, Jose          0.5   Attend call with senior team to review preliminary draft of diligence
                                                       request list for business plan evaluation.
   7       4/10/2023   Friedman, Samantha        2.6   Conduct market research to validate assumptions in the business plan.

   7       4/10/2023   Friedman, Samantha        1.2   Continue review of company management materials on the business plan.

   7       4/10/2023      Braga, Andrew          2.8   Continue to prepare correspondence to Houlihan re: historical financials
                                                       in relation to the business plan.
   7       4/10/2023    Cheng, Earnestiena       0.9   Coordinate via call with internal team re: business plan diligence
                                                       questions.
   7       4/10/2023      Braga, Andrew          2.1   Create analyses to track Diamond Sports Group media rights.

   7       4/10/2023      Braga, Andrew          1.3   Create presentation slides re: Diamond Sports Group digital rights.

   7       4/10/2023     Berkin, Michael         1.0   Discuss business plan issues with team.

   7       4/10/2023   Friedman, Samantha        0.8   Finalize business plan summary deck to share with team in preparation
                                                       for Committee call.
   7       4/10/2023   Friedman, Samantha        0.9   Incorporate diligence data requests into the consolidated list with Akin
                                                       and Houlihan to ensure robustness.
   7       4/10/2023      Braga, Andrew          0.7   Organize notes from Akin calls for distribution to team members.

   7       4/10/2023   Friedman, Samantha        0.5   Participate in call with Houlihan and Akin re: consolidating and
                                                       prioritizing the Committee diligence data request.
   7       4/10/2023      Hu, Elizabeth          0.9   Participate in call with team re: business plan model observations, open
                                                       questions, and follow-up items.
                                                         58
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 59 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                     Activity
Category
   7       4/10/2023        Silva, Jose          0.9   Participate in internal meeting re: sharing takeaways and key questions on
                                                       the business plan.
   7       4/10/2023   Friedman, Samantha        0.9   Participate in internal meeting to discuss takeaways and key questions on
                                                       the business plan.
   7       4/10/2023   Friedman, Samantha        0.5   Participate on call with senior team re: preliminary draft of diligence
                                                       request list for business plan evaluation.
   7       4/10/2023      Braga, Andrew          0.8   Research sports rights for NHL, NBA, and MLB.

   7       4/10/2023   Friedman, Samantha        2.4   Review and revise FTI's initial diligence data request for the business
                                                       plan validation.
   7       4/10/2023     Berkin, Michael         1.3   Review business plan in preparation for meeting with Debtors.

   7       4/10/2023      Braga, Andrew          2.6   Review business plan model re: revenue by scenario.

   7       4/10/2023   Friedman, Samantha        1.7   Review company management deck on the business plan to inform FTI
                                                       analysis of proposed DSG business plan.
   7       4/10/2023        Silva, Jose          0.7   Review direct-to-consumer business plans assumptions to inform
                                                       business plan evaluation.
   7       4/10/2023      Simon, Russell         2.1   Review DSG business operating plan to inform FTI perspective on
                                                       proposed business plan.
   7       4/10/2023     Scruton, Andrew         1.2   Review initial summary of business plan diligence.

   7       4/10/2023        Silva, Jose          2.4   Review key linear business assumptions in business model to provide
                                                       preliminary evaluation.
   7       4/10/2023      Braga, Andrew          0.8   Review model scenario toggle re: EBITDA by scenario.

   7       4/11/2023        Silva, Jose          0.9   Attend internal meeting with senior team re: takeaways and questions.

   7       4/11/2023      Braga, Andrew          1.0   Continue to review business plan model re: EBITDA, revenue, costs.

   7       4/11/2023   Friedman, Samantha        0.8   Continue conducting market research on the linear business to validate
                                                       assumptions in the business plan.
   7       4/11/2023      Braga, Andrew          2.5   Continue to refine data request lists re: historical financials.

   7       4/11/2023      Braga, Andrew          1.2   Continue to revise analysis on comparables.

   7       4/11/2023      Braga, Andrew          2.1   Create recommendation list re: comparables analysis.

   7       4/11/2023        Silva, Jose          0.3   Draft preliminary diligence request list to evaluate DTC business.

   7       4/11/2023        Silva, Jose          0.7   Draft preliminary diligence request list to evaluate linear business.

   7       4/11/2023        Silva, Jose          0.3   Evaluate uploaded data room files to inform business plan evaluation.

   7       4/11/2023   Nicholls, Christopher     0.9   Participate in internal meeting to discuss takeaways and questions re:
                                                       business plan in preparation.
   7       4/11/2023   Friedman, Samantha        0.9   Participate in internal meeting with team re: sharing takeaways and key
                                                       questions on the business plan in preparation for upcoming Committee
                                                         59
                                                       meeting.
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 60 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                     Activity
Category
   7       4/11/2023      Simon, Russell         2.7   Prepare analysis of cable and carriage disputes to inform analysis of DSG
                                                       relationships with MVPDs.
   7       4/11/2023        Silva, Jose          0.4   Refine diligence request list for business plan evaluation based on call
                                                       with Houlihan and Akin.
   7       4/11/2023   Friedman, Samantha        1.2   Review business plan materials to validate assumptions for linear
                                                       business model.
   7       4/11/2023      Braga, Andrew          0.8   Review comparable analysis.

   7       4/11/2023      Braga, Andrew          2.3   Review competitor 10K reports re: financial metrics.

   7       4/11/2023      Braga, Andrew          1.4   Review data room re: historical financials.

   7       4/11/2023   Friedman, Samantha        0.4   Review new data room documents to understand dyanamic re: Sinclair /
                                                       DSG relationships with teams and MVPDs in relation to the business
   7       4/12/2023      Simon, Russell         2.3   plan.
                                                       Analyze carriage agreements with MVPDs.

   7       4/12/2023        Silva, Jose          0.7   Participate in call with internal team members to discuss business plan
                                                       buildup.
   7       4/12/2023      Simon, Russell         1.1   Create variance analysis for DSG projecting RSN subscribers from 2023 -
                                                       2026.
   7       4/12/2023   Nicholls, Christopher     1.9   Draft diligence questions relating to the business plan.

   7       4/12/2023        Silva, Jose          1.2   Evaluate business plan financial model in preparation for review with
                                                       Moelis.
   7       4/12/2023   Friedman, Samantha        1.7   Evaluate new business plan excel to understand mechanics and revised
                                                       assumptions.
   7       4/12/2023      Simon, Russell         0.6   Meet with team member to discuss linear business plan operating model.

   7       4/12/2023      Braga, Andrew          0.6   Meet with team member to discuss linear business plan operating model
                                                       to understand mechanics.
   7       4/12/2023   Nicholls, Christopher     0.7   Participate in call to review initial business plan key findings with team.

   7       4/12/2023   Friedman, Samantha        0.7   Participate in call with team to review initial business plan key findings.

   7       4/12/2023      Simon, Russell         0.7   Participate in call with telecom, media, and technology team members re:
                                                       business plan insights.
   7       4/12/2023   Friedman, Samantha        1.6   Review in order to revise clarifying questions for Moelis re: business
                                                       plan mechanics and assumptions.
   7       4/13/2023      Simon, Russell         1.8   Analyze cable subscriber volume projections.

   7       4/13/2023      Simon, Russell         0.6   Analyze key takeaways from FTI-Houlihan business plan review.

   7       4/13/2023        Silva, Jose          0.5   Attend call with internal team to review linear business model.

   7       4/13/2023   Friedman, Samantha        0.6   Conduct research on linear business model mechanics to validate
                                                       business plan assumptions.
   7       4/13/2023      Braga, Andrew          2.3   Continue to review business model scenario.

                                                         60
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 61 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                    Activity
Category
   7       4/13/2023   Nicholls, Christopher     0.6   Draft diligence questions re: business plan.

   7       4/13/2023        Silva, Jose          1.0   Evaluate financial model for linear business to prepare for Moelis model
                                                       review.
   7       4/13/2023   Friedman, Samantha        0.3   Finalize additional clarifying questions on business plan model send to
                                                       Moelis.
   7       4/13/2023   Friedman, Samantha        0.5   Participate in call with team to discuss market trends for the linear
                                                       business model.
   7       4/13/2023      Simon, Russell         0.5   Participate in call with team members to discuss market trends.

   7       4/13/2023      Braga, Andrew          0.5   Participate in call with full team to review market trends on the linear
                                                       business model.
   7       4/13/2023   Friedman, Samantha        1.1   Participate in call with Houlihan, Moelis, and LionTree re: initial walk
                                                       through and clarification on the active business plan.
   7       4/13/2023      Simon, Russell         1.5   Prepare tracker regarding Moelis responses to model questions using
                                                       insights from Moelis meeting.
   7       4/13/2023      Simon, Russell         2.8   Research major RSN offerings to inform analysis of DSG relationship
                                                       with major MVPDs.
   7       4/13/2023     Berkin, Michael         1.2   Review agenda and issues for upcoming business plan call with Moelis.

   7       4/13/2023      Simms, Steven          0.3   Review business plan deliverables in order to prepare feedback.

   7       4/13/2023     Scruton, Andrew         1.1   Review diligence questions and requests re: model scenarios.

   7       4/13/2023      Braga, Andrew          0.6   Review initial business plan projections.

   7       4/13/2023      Braga, Andrew          1.6   Review internal request list re: business model.

   7       4/13/2023   Friedman, Samantha        0.5   Review market trends on the linear business model.

   7       4/13/2023      Braga, Andrew          1.1   Review new business model re: financial summary.

   7       4/13/2023   Friedman, Samantha        0.6   Revise and consolidate final list of business plan questions with Houlihan
                                                       for Moelis.
   7       4/13/2023   Friedman, Samantha        1.3   Revise list of follow-up business plan questions post meeting with
                                                       Moelis.
   7       4/14/2023      Braga, Andrew          2.9   Analyze business model re: churn.

   7       4/14/2023      Braga, Andrew          2.8   Analyze revenue drivers re: churn.

   7       4/14/2023      Simon, Russell         0.5   Analyze vMVPD forecasted growth and declines in RSN subscribers to
                                                       inform go-forward business plan.
   7       4/14/2023      Simon, Russell         0.7   Analyze vMVPD subscriber forecasts from 2017 through 2026 to inform
                                                       go-forward business plan feasibility of growth with vMVPDs.
   7       4/14/2023      Braga, Andrew          0.5   Attend call with team re: business plan next steps.

   7       4/14/2023        Silva, Jose          0.9   Attend call with team member to align on key takeaways for linear
                                                       business plan.
                                                         61
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 62 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                    Activity
Category
   7       4/14/2023   Friedman, Samantha        0.9   Attend call with team member to discuss key takeaways for linear
                                                       business plan.
   7       4/14/2023    Sternberg, Joseph        0.9   Compare monthly business plan assumptions to cash collateral and
                                                       forecast cash flows items.
   7       4/14/2023        Silva, Jose          1.6   Conduct analysis of assumptions in preliminary business model.

   7       4/14/2023      Braga, Andrew          1.2   Continue to organize business plan meeting notes from meetings.

   7       4/14/2023      Braga, Andrew          1.2   Create additional edits to slide re: business model toggle.

   7       4/14/2023      Braga, Andrew          2.2   Create slide re: business model toggle.

   7       4/14/2023   Friedman, Samantha        0.4   Develop additional data request for Akin Gump re: summaries of key
                                                       MVPD agreement terms.
   7       4/14/2023        Silva, Jose          2.9   Develop assessment of DSG linear business model assumptions.

   7       4/14/2023        Silva, Jose          1.4   Develop deck outline for team to begin working on preliminary business
                                                       plan evaluation.
   7       4/14/2023        Silva, Jose          2.0   Develop key takeaways analysis to inform business plan evaluation.

   7       4/14/2023        Silva, Jose          1.3   Develop key takeaways from preliminary model to inform business plan
                                                       evaluation.
   7       4/14/2023      Simon, Russell         1.1   Discuss with team member re: feedback on market trends.

   7       4/14/2023    Cheng, Earnestiena       1.0   Evaluate business plan assumptions for various scenarios presented by
                                                       Company's advisors.
   7       4/14/2023     Berkin, Michael         1.0   Participate in business plan call with Moelis.

   7       4/14/2023        Silva, Jose          1.0   Participate in call with Debtor advisors re: detailed review of model
                                                       mechanics and assumptions.
   7       4/14/2023      Simon, Russell         0.5   Participate in call with team members to discuss business plan next steps.

   7       4/14/2023        Silva, Jose          0.5   Participate in call with internal team to supply guidance on business plan
                                                       validation next steps.
   7       4/14/2023   Nicholls, Christopher     1.0   Participate in call with Moelis and Houlihan re: financial forecast model.

   7       4/14/2023   Friedman, Samantha        0.5   Participate in call with team to validate next steps in business model
                                                       analysis.
   7       4/14/2023      Simon, Russell         0.5   Prepare analysis of findings on RSN offerings by cable provider.

   7       4/14/2023      Simon, Russell         2.9   Prepare deck highlighting subscriber projections for pay TV through
                                                       2025 for analysis of go-forward business plan.
   7       4/14/2023   Friedman, Samantha        0.6   Prepare deliverable structure for validation of linear business plan.

   7       4/14/2023      Simon, Russell         1.1   Prepare slides for deck highlighting projected subscriber growth on
                                                       traditional multichannel endpoints to inform go-forward business plan
                                                       analysis.

                                                         62
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 63 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                   Activity
Category
   7       4/14/2023        Silva, Jose          1.2   Review business plan executive summary slide.

   7       4/14/2023     Vadon, Courtney         1.0   Review diligence request items from team.

   7       4/14/2023      Simon, Russell         0.4   Review examples of Committee business plan evaluations to inform
                                                       context for creation of report for DSG.
   7       4/14/2023        Silva, Jose          0.5   Review market trends on the linear business model.

   7       4/14/2023     Scruton, Andrew         0.8   Review summary of diligence findings from call on business model
                                                       scenarios.
   7       4/14/2023   Friedman, Samantha        0.7   Supply feedback to initial business plan summary and key insights for
                                                       linear assumptions.
   7       4/14/2023   Friedman, Samantha        1.1   Supply feedback to team member on market trends research.

   7       4/15/2023        Silva, Jose          1.5   Assess linear business model assumptions to inform analysis of DSG
                                                       business plan.
   7       4/16/2023        Silva, Jose          0.7   Assess linear business model assumptions to continue to inform FTI
                                                       analysis of DSG business plan.
   7       4/17/2023      Simon, Russell         0.4   Analyze impact of loss of a specific program on a MVPD.

   7       4/17/2023      Simon, Russell         0.7   Analyze DTC business proposal subscriber numbers to inform analysis of
                                                       business plan projections.
   7       4/17/2023        Silva, Jose          3.0   Analyze linear business model assumptions to understand changes.

   7       4/17/2023      Simon, Russell         0.8   Analyze SNL Kagan 2023 sports report to inform subscriber projections
                                                       for DSG and other RSN operators.
   7       4/17/2023   Nicholls, Christopher     0.7   Attend call with internal team to review market trends on linear business
                                                       model.
   7       4/17/2023    Cheng, Earnestiena       0.4   Coordinate with PW/Akin re: information flow for business plan review.

   7       4/17/2023      Braga, Andrew          1.8   Create new slide for deck presentation detailing all OpEx items
                                                       discrepancies with each category.
   7       4/17/2023        Silva, Jose          1.5   Finalize business plan evaluation materials to create deliverables for the
                                                       Committee meeting.
   7       4/17/2023        Silva, Jose          0.7   Participate in call with internal team re: business plan insights for the
                                                       Committee.
   7       4/17/2023   Friedman, Samantha        0.7   Participate in call with internal team to align on materials to present to
                                                       the Committee on the business plan evaluation.
   7       4/17/2023      Simon, Russell         0.7   Participate in call with internal team to discuss deliverables to the
                                                       Committee re: business plan evaluation.
   7       4/17/2023        Silva, Jose          0.8   Participate in working session with team member to develop Committee
                                                       update for the business plan validation.
   7       4/17/2023   Friedman, Samantha        0.8   Participate in working session with team member to discuss business plan
                                                       update to be provided to the Committee.
   7       4/17/2023      Simon, Russell         2.6   Prepare analysis on RSN's that have launched DTC plans to inform
                                                       business plan analysis of DSG's DTC proposals.
   7       4/17/2023   Friedman, Samantha        0.4   Review and edit additional clarifying questions and diligence requests for
                                                       the business plan.
                                                         63
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 64 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                     Activity
Category
   7       4/17/2023   Friedman, Samantha        0.7   Review and edit materials for updating the Committee re: current status
                                                       of business plan review.
   7       4/17/2023     Scruton, Andrew         1.3   Review follow up diligence requests on business plan case inputs.

   7       4/17/2023      Braga, Andrew          1.3   Review model with regards to OpEx.

   7       4/17/2023   Nicholls, Christopher     1.6   Review PEO information re: business plan diligence material.

   7       4/17/2023      Braga, Andrew          1.2   Review slide re: executive summary.

   7       4/17/2023        Silva, Jose          0.7   Revise business plan evaluation deliverables for the Committee meeting.

   7       4/17/2023        Silva, Jose          1.2   Revise business plan evaluation materials further to create deliverables
                                                       for the Committee meeting.
   7       4/17/2023      Braga, Andrew          1.3   Revise churn slide from team feedback.

   7       4/17/2023      Braga, Andrew          0.6   Revise slide re: linear EBITDA.

   7       4/17/2023      Braga, Andrew          1.1   Revise slide re: revenue distribution.

   7       4/17/2023   Friedman, Samantha        0.3   Provide guidance to team member on market research activities re:
                                                       validation of the business plan.
   7       4/18/2023      Braga, Andrew          1.2   Analyze financials re: comparables analysis.

   7       4/18/2023      Simon, Russell         1.4   Analyze large MVPD RSN history for DSG projections re: timeline of
                                                       network relationships.
   7       4/18/2023      Simon, Russell         0.4   Analyze MVPD RSN offerings to inform DSG impact on referenced
                                                       MVPD.
   7       4/18/2023      Braga, Andrew          2.4   Analyze OpEx re: comparables analysis.

   7       4/18/2023        Silva, Jose          0.6   Attend call with team member to align on churn sensitivities to
                                                       incorporate into business plan analysis.
   7       4/18/2023      Braga, Andrew          2.1   Continue to review and note key differences in newly received case
                                                       scenario.
   7       4/18/2023   Friedman, Samantha        1.8   Continue validation of business plan comparing linear assumptions to
                                                       market trends.
   7       4/18/2023    Cheng, Earnestiena       0.2   Coordinate business plan information requests.

   7       4/18/2023      Braga, Andrew          0.8   Create revised analysis re: linear financials.

   7       4/18/2023      Braga, Andrew          1.9   Create recommendations for DSG re: Comparables analysis.

   7       4/18/2023      Braga, Andrew          2.5   Create slide re: sensitivity of model.

   7       4/18/2023        Silva, Jose          0.6   Develop analysis on viable alternative scenarios for linear business
                                                       model.
   7       4/18/2023    Cheng, Earnestiena       0.4   Discuss business plan status slides with internal team.

                                                         64
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 65 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                    Activity
Category
   7       4/18/2023      Braga, Andrew          2.3   Evaluate mechanical differences re: newly received case scenario.

   7       4/18/2023   Friedman, Samantha        0.7   Finalize business plan readout for the Committee to ensure materials are
                                                       ready to be presented.
   7       4/18/2023      Simon, Russell         0.8   Finalize DSG penetration summary to use as appropriate comparison for
                                                       DSG business case analysis.
   7       4/18/2023      Simon, Russell         1.3   Prepare analysis on DSG % penetration across different operators to
                                                       inform analysis of linear business plan.
   7       4/18/2023      Simon, Russell         0.8   Prepare analysis on RSN historical revenue performance to inform future
                                                       DSG projections.
   7       4/18/2023      Simon, Russell         0.8   Prepare analysis on subscribers for out-of-market sports MVPD tiers to
                                                       inform business plan analysis of DSG offerings across different tiers of
                                                       MVPDs.
   7       4/18/2023      Simon, Russell         0.5   Prepare research on RSN carriage to inform DSG business plan
                                                       projections.
   7       4/18/2023      Simon, Russell         2.5   Prepare subscriber churn sensitivity model to inform DSG business plan
                                                       scenarios.
   7       4/18/2023      Braga, Andrew          0.8   Research competitors re: RSN operating model.

   7       4/18/2023      Simon, Russell         0.7   Review analysis of Kagan multichannel forecasts to confirm analysis and
                                                       sense check year-over-year growth projections.
   7       4/18/2023      Simon, Russell         0.5   Review new data room uploads to see if team / DSG contracts were
                                                       included in data room to inform DSG business plan projections.
   7       4/18/2023      Braga, Andrew          0.6   Review newly received case scenario re: EBITDA.

   7       4/18/2023      Simon, Russell         0.4   Review next steps for business plan review coming out of Committee
                                                       call.
   7       4/19/2023      Braga, Andrew          2.3   Analyze RSN by MVPD re: subscriber counts.

   7       4/19/2023      Braga, Andrew          2.7   Analyze slides re: comparables analysis to prepare commentary.

   7       4/19/2023        Silva, Jose          1.2   Attend call reviewing linear business plan validation materials.

   7       4/19/2023      Simon, Russell         0.8   Continue to prepare notes re: refine sensitivity scenario for business
                                                       model evaluation.
   7       4/19/2023        Silva, Jose          0.8   Continue to refine sensitivity scenario for business model evaluation.

   7       4/19/2023      Braga, Andrew          2.4   Create slides re: subscriber counts for 2022.

   7       4/19/2023    Cheng, Earnestiena       0.2   Discuss business plan status slides for the Committee with Houlihan.

   7       4/19/2023   Nicholls, Christopher     1.3   Participate in call with Houlihan re: business plan assumptions.

   7       4/19/2023   Friedman, Samantha        1.2   Participate in call with internal team members, to discuss business plan
                                                       validation materials.
   7       4/19/2023      Simon, Russell         1.2   Participate in call with internal team to review business plan.


                                                         65
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 66 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                     Activity
Category
   7       4/19/2023      Simon, Russell         0.9   Prepare notes re: troubleshooting issues with sensitivity scenario for
                                                       business model evaluation.
   7       4/19/2023      Leake, Nicola          1.0   Prepare updates to business plan deck per internal comments.

   7       4/19/2023      Braga, Andrew          1.3   Refine analysis based on team feedback re: comparables.

   7       4/19/2023        Silva, Jose          1.0   Review business plan re: toggle validation.

   7       4/19/2023   Nicholls, Christopher     1.2   Review refinement of sensitivity scenario for business model evaluation.

   7       4/19/2023        Silva, Jose          0.9   Troubleshoot issues with sensitivity scenario for business model
                                                       evaluation.
   7       4/19/2023     Vadon, Courtney         0.6   Update business plan deck with formatting comments.

   7       4/19/2023      Simon, Russell         2.4   Update subscriber churn sensitivity model.

   7       4/19/2023   Friedman, Samantha        0.5   Update timeline for business play analysis next steps.

   7       4/20/2023        Silva, Jose          0.5   Assess model received from Moelis.

   7       4/20/2023        Silva, Jose          0.5   Conduct additional research on Stadium asset operations.

   7       4/20/2023        Silva, Jose          0.4   Conduct research on Stadium asset operations.

   7       4/20/2023        Silva, Jose          0.5   Continue to conduct research on Stadium asset operations.

   7       4/20/2023      Braga, Andrew          2.1   Continue to format slides re: workstream deck.

   7       4/20/2023      Braga, Andrew          2.3   Create slide re: total subscribers.

   7       4/20/2023      Braga, Andrew          1.9   Format slides re: workstream deck.

   7       4/20/2023      Braga, Andrew          2.3   Prepare analysis re: EBITDA by RSN.

   7       4/20/2023   Nicholls, Christopher     1.8   Prepare diligence questions on business plan case inputs and industry
                                                       assumptions.
   7       4/20/2023   Friedman, Samantha        1.5   Prepare next steps on market research required to validate the business
                                                       plan.
   7       4/20/2023        Silva, Jose          1.7   Refine churn sensitivity scenarios to better inform business plan
                                                       evaluation.
   7       4/20/2023        Silva, Jose          1.2   Review business model mechanics and assumptions determined by
                                                       Moelis in detail.
   7       4/20/2023    Cheng, Earnestiena       0.4   Review Deloitte retention applications for business plan purposes.

   7       4/20/2023      Simon, Russell         0.5   Review business plan questions for Committee re: Deloitte.

   7       4/20/2023        Silva, Jose          0.5   Revise slides providing an overview of updated business plan scenario.

                                                         66
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 67 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date       Professional      Hours                                    Activity
Category
   7       4/20/2023       Silva, Jose        0.5   Troubleshot issues with sensitivity scenario for business model
                                                    evaluation.
   7       4/20/2023     Simon, Russell       1.2   Update the linear subscriber churn sensitivity model to account a re-
                                                    tiering scenario.
   7       4/21/2023     Simon, Russell       2.4   Analyze DSG Sinclair obligations feedback from Deloitte meeting.

   7       4/21/2023     Braga, Andrew        0.5   Attend call with team member to discuss building sensitivity modules
                                                    into business plan evaluation.
   7       4/21/2023     Simon, Russell       2.7   Create initial analysis on MVPD carriage history.

   7       4/21/2023       Silva, Jose        1.6   Develop the sensitivity module for the business plan evaluation scenarios.

   7       4/21/2023       Silva, Jose        0.5   Discuss building sensitivity modules into business plan evaluation.

   7       4/21/2023     Braga, Andrew        2.4   Refine analysis based on EBITDA feedback re: comparables.

   7       4/21/2023    Berkin, Michael       0.7   Review business plan issues for discussion with Moelis team.

   7       4/21/2023   Friedman, Samantha     0.4   Review linear business plan validation.

   7       4/21/2023   Friedman, Samantha     1.6   Review new diligence agreement summary materials and industry
                                                    research re: ongoing negotiations.
   7       4/21/2023   Friedman, Samantha     1.1   Review next steps on business plan validation.

   7       4/21/2023       Silva, Jose        0.4   Review sensitivity module for business plan evaluation scenarios.

   7       4/21/2023     Braga, Andrew        2.8   Review team analysis re: EBITDA for business plan.

   7       4/21/2023       Silva, Jose        1.4   Revise current business plan evaluation slides in preparation for review
                                                    by the Committee.
   7       4/21/2023     Braga, Andrew        2.7   Revise DSG comparables analysis re: business plan KPIs.

   7       4/21/2023       Silva, Jose        1.0   Revise further the current business plan evaluation slides in preparation
                                                    for review by the Committee.
   7       4/21/2023     Simon, Russell       0.8   Update linear churn analysis re: linear business case.

   7       4/24/2023     Simon, Russell       2.3   Analyze DSG rights agreement materials to inform DSG business case
                                                    analysis.
   7       4/24/2023     Simon, Russell       1.1   Analyze incentive fee payment history to inform analysis of DSG /
                                                    Sinclair relationships with MVPDs.
   7       4/24/2023       Silva, Jose        2.0   Analyze new case business model to determine viability.

   7       4/24/2023     Braga, Andrew        2.1   Analyze slide based on comparables analysis.

   7       4/24/2023     Braga, Andrew        1.8   Continue to analyze slide re: comparables analysis.

   7       4/24/2023     Braga, Andrew        1.3   Analyze new scenario re: EBITDA.

                                                      67
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 68 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                    Activity
Category
   7       4/24/2023      Braga, Andrew          0.8   Analyze two certain case scenarios re: EBITDA totals.

   7       4/24/2023        Silva, Jose          0.2   Attend call with team member re: linear business model evaluation.

   7       4/24/2023      Braga, Andrew          2.6   Create analysis for a certain case scenario re: EBITDA by RSN.

   7       4/24/2023      Simon, Russell         1.5   Create slide on RSN tiering by MVPD to inform business plan review
                                                       deck.
   7       4/24/2023        Silva, Jose          0.2   Develop an overview of the alternative linear scenarios.

   7       4/24/2023        Silva, Jose          1.4   Develop continued analysis of the alternative linear scenarios.

   7       4/24/2023      Simon, Russell         0.2   Discuss outstanding items from linear business model evaluation.

   7       4/24/2023      Simon, Russell         2.9   Prepare analysis of Sinclair and Fox RSN agreements history to inform
                                                       DSG business case.
   7       4/24/2023        Silva, Jose          0.8   Prepare high-priority diligence request list of items required for near-term
                                                       business plan evaluation.
   7       4/24/2023   Nicholls, Christopher     0.5   Review business model diligence questions related to churn.

   7       4/24/2023        Silva, Jose          0.3   Review next steps for business plan model.

   7       4/25/2023        Silva, Jose          0.7   Build additional linear model mechanics.

   7       4/25/2023        Silva, Jose          2.6   Build advanced linear model mechanics.

   7       4/25/2023        Silva, Jose          1.1   Build further linear model mechanics to inform future linear business
                                                       scenarios.
   7       4/25/2023      Simon, Russell         1.2   Continue analysis of Sinclair and Fox RSN agreement history to inform
                                                       DSG business case.
   7       4/25/2023      Braga, Andrew          2.8   Continue to analyze business model re: subscriber count.

   7       4/25/2023      Braga, Andrew          2.8   Continue to prepare notes re: analysis of new case scenario.

   7       4/25/2023   Friedman, Samantha        1.4   Finalize linear business plan validation materials with team.

   7       4/25/2023   Friedman, Samantha        0.7   Participate in call with team leads to align on next steps on business plan
                                                       validation.
   7       4/25/2023   Nicholls, Christopher     0.7   Participate in call with senior technology, media, and telecom team re:
                                                       timeline and scope re: business plan analysis.
   7       4/25/2023     Schuman, Philip         0.7   Participate in call with team member re: diligence request and business
                                                       plan work scope.
   7       4/25/2023     Schuman, Philip         0.7   Participate in call with team members to discuss next steps on business
                                                       plan validation.
   7       4/25/2023        Silva, Jose          1.4   Participate in working session with team member re: finalizing linear
                                                       business plan validation materials.
   7       4/25/2023     Schuman, Philip         0.9   Perform analysis on next steps re: business plan validation.

                                                         68
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 69 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                    Activity
Category
   7       4/25/2023      Braga, Andrew          2.7   Prepare notes re: analysis of a certain case re: EBITDA projections.

   7       4/25/2023   Friedman, Samantha        0.4   Review industry research conducted for validating business plan
                                                       assumptions.
   7       4/25/2023    Cheng, Earnestiena       0.2   Review status of business plan diligence.

   7       4/25/2023     Scruton, Andrew         0.6   Review updated diligence list re: business plan.

   7       4/26/2023      Simon, Russell         0.5   Analyze rights structure of Sinclair and DSG's relationship with the NBA.

   7       4/26/2023      Braga, Andrew          2.3   Continue analysis re: down side scenario.

   7       4/26/2023        Silva, Jose          1.6   Continue to incorporate additional sensitivity modules in revised case of
                                                       business model.
   7       4/26/2023     Schuman, Philip         0.9   Continue to review business plan next steps.

   7       4/26/2023      Simon, Russell         2.9   Create RSN penetration slide output to inform DSG business projections.

   7       4/26/2023      Braga, Andrew          2.5   Create slides re: down side scenario.

   7       4/26/2023      Braga, Andrew          2.6   Format slides re: down side scenario.

   7       4/26/2023        Silva, Jose          1.2   Incorporate additional sensitivity modules in business model.

   7       4/26/2023   Nicholls, Christopher     1.5   Perform review of business plan analysis.

   7       4/26/2023      Braga, Andrew          0.6   Research down side scenario.

   7       4/26/2023        Silva, Jose          2.5   Review and revise linear modeling scenario deck for business plan
                                                       evaluation.
   7       4/26/2023      Simon, Russell         1.1   Review DSG linear business cases to inform profitability scenarios.

   7       4/26/2023     Schuman, Philip         0.8   Review updates to business plan assumption drivers based on MLB
                                                       rights.
   7       4/26/2023      Simon, Russell         2.1   Revise analysis of Sinclair / Fox carriage agreements history with
                                                       chronological view.
   7       4/27/2023      Simon, Russell         1.5   Analyze Q1'2022 subscriber numbers for MVPDs.

   7       4/27/2023        Silva, Jose          0.5   Attend meeting with internal team re: business plan evaluation analysis.

   7       4/27/2023   Friedman, Samantha        0.5   Attend meeting with internal FT team on business plan scenario
                                                       modeling.
   7       4/27/2023      Simon, Russell         0.8   Continue to create RSN slide.

   7       4/27/2023      Simon, Russell         1.2   Develop report on Comcast Q1 subscriber churn Q1 2023.

   7       4/27/2023     Schuman, Philip         0.5   Discuss with internal team member re: preliminary linear business plan
                                                       scenario modeling.
                                                         69
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 70 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                    Activity
Category
   7       4/27/2023        Silva, Jose          2.4   Finalize linear business plan scenario deck.

   7       4/27/2023     Schuman, Philip         1.0   Participate in call with Moelis and Houlihan re: business plan forecast
                                                       discussion.
   7       4/27/2023      Simon, Russell         0.5   Participate on meeting with internal team members on business plan
                                                       analysis.
   7       4/27/2023   Friedman, Samantha        0.4   Prepare written guidance re: next steps on business plan and
                                                       investigations.
   7       4/27/2023     Scruton, Andrew         0.6   Review customer attrition reporting by MVPDs.

   7       4/27/2023   Friedman, Samantha        0.3   Review new diligence document to inform analysis re: Direct-to-
                                                       Consumer business update.
   7       4/28/2023      Simon, Russell         1.1   Analyze large MVPD earnings call to inform linear DSG business model
                                                       re: video subscriber performance.
   7       4/28/2023   Friedman, Samantha        2.7   Continue to review business plan issues re: cash flow evaluation.

   7       4/28/2023    Cheng, Earnestiena       0.5   Evaluate update from Moelis and LionTree on status of operations and
                                                       plan to present the Committee management materials.
   7       4/28/2023        Silva, Jose          1.0   Review business plan for Committee re: EBITDA.

   7       4/28/2023   Friedman, Samantha        0.6   Review business plan issues re: cash flow evaluation.

   7       4/28/2023     Schuman, Philip         1.1   Review business plan issues regarding forecasted industry assumptions.

   7       4/28/2023   Nicholls, Christopher     1.0   Review business plan observations re: cash flow evaluation.

   7       4/28/2023     Schuman, Philip         1.1   Review business plan points for Debtors re: cash flow evaluation.

   7       4/28/2023      Simon, Russell         0.5   Review business plan re: linear business plan scenario.

   7       4/28/2023      Simon, Russell         0.2   Review Comcast total subscriber amount re: linear business case.

   7       4/28/2023   Nicholls, Christopher     1.0   Revise initial analysis for Committee re: business plan.

   7       4/30/2023    Cheng, Earnestiena       0.4   Prepare for weekly Committee call by reviewing business plan
                                                       deliverables.
   7       5/1/2023       Braga, Andrew          1.4   Evaluate how team relationships are factored in business plan model.

   7       5/2/2023    Nicholls, Christopher     1.1   Assess analysis of MVPDs in the context of the Company's business plan.

   7       5/2/2023       Simon, Russell         2.1   Complete analysis on another MVPD's RSN penetration to inform DSG
                                                       linear business case analysis.
   7       5/2/2023       Simon, Russell         2.1   Complete analysis on an MVPD's RSN penetration to inform DSG linear
                                                       business case analysis.
   7       5/2/2023       Simon, Russell         1.1   Complete analysis of a certain cable package's RSN penetration to inform
                                                       DSG linear business case analysis.
   7       5/2/2023       Simon, Russell         0.3   Complete overall penetration assessment to inform DSG business plan.

                                                         70
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 71 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date       Professional        Hours                                    Activity
Category
   7       5/2/2023      Braga, Andrew          1.2   Research MVPD packages offered to customers.

   7       5/3/2023    Friedman, Samantha       1.4   Review business plan updates and assumptions in order to provide update
                                                      to the Committee.
   7       5/3/2023     Scruton, Andrew         1.3   Review summary of documents from Debtors on separation plans.

   7       5/3/2023   Nicholls, Christopher     0.9   Review analysis on MVPDs and RSNs in order to prepare questions for
                                                      management call.
   7       5/3/2023      Simon, Russell         2.7   Conduct analysis of peer revenues to inform analysis of business plan.

   7       5/3/2023    Cheng, Earnestiena       0.3   Evaluate status of business plan overview based on comments from
                                                      Counsel.
   7       5/3/2023    Cheng, Earnestiena       0.9   Evaluate takeaways from Committee call with management re: business
                                                      plan options.
   7       5/3/2023      Simon, Russell         0.6   Review missing business plan documents needed for analysis to
                                                      communicate list with Committee advisors.
   7       5/3/2023      Simon, Russell         0.7   Update penetration analysis to inform RSN penetration by package.

   7       5/3/2023      Braga, Andrew          0.8   Organize diligence request list with latest outstanding items.

   7       5/3/2023      Braga, Andrew          2.1   Analyze data room and FTI team requests on missing information re:
                                                      business plan request list.
   7       5/3/2023      Braga, Andrew          2.6   Evaluate transaction history in broadcast television.

   7       5/3/2023      Braga, Andrew          2.7   Analyze broadcast television peers re: growth.

   7       5/4/2023     Scruton, Andrew         1.2   Review descriptions of implementation plan for standing up back office
                                                      functions.
   7       5/4/2023      Simon, Russell         0.8   Evaluate penetration rates in business model.

   7       5/4/2023      Simon, Russell         0.6   Meet with internal team to discuss research and impact to linear business
                                                      plan assumptions.
   7       5/4/2023     Scruton, Andrew         2.1   Review analysis of projection sensitivity to penetration and churn.

   7       5/4/2023      Braga, Andrew          2.7   Draft new slide for MVPD impact re: scenario of business model.

   7       5/4/2023      Braga, Andrew          2.1   Refine analysis re: broadcast television peers.

   7       5/4/2023      Simon, Russell         0.3   Write summary of DSG - Sinclair separation agreement.

   7       5/4/2023    Friedman, Samantha       0.6   Meet with internal team to discuss impact of industry research to linear
                                                      business plan assumptions.
   7       5/5/2023      Simon, Russell         2.9   Conduct research on historical RSN ad spend.

   7       5/5/2023     Scruton, Andrew         0.8   Attend call with Akin on initial business plan sensitivities and other
                                                      topics.
   7       5/5/2023      Simon, Russell         0.6   Create updates to MVPD penetration figures to inform business plan
                                                      analysis.
                                                        71
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 72 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                    Activity
Category
   7       5/5/2023       Braga, Andrew          1.4   Research ad revenue trends among RSNs.

   7       5/5/2023       Braga, Andrew          1.5   Revise documents provided by Moelis to communicate inventory
                                                       internally.
   7       5/5/2023       Braga, Andrew          1.3   Further research profitability by RSN and MVPD.

   7       5/5/2023       Braga, Andrew          2.4   Create analysis re: RSN EBITDA and revenue for DSG.

   7       5/5/2023      Scruton, Andrew         0.6   Review descriptions provided by Deloitte regarding separation
                                                       implementation engagement scope and timing.
   7       5/8/2023      Bhargava, Yash          2.8   Review business plan model to understand mechanics and assumptions.

   7       5/8/2023     Cheng, Earnestiena       0.3   Review linear business plan sensitivities presentation.

   7       5/8/2023      Bhargava, Yash          1.4   Update business plan analysis for revised assumptions and sensitivities.

   7       5/8/2023      Bhargava, Yash          2.3   Review certain scenarios to understand mechanics and change in
                                                       assumptions to other scenarios.
   7       5/9/2023       Simon, Russell         2.2   Prepare updates to presentation for Houlihan with initial FTI findings on
                                                       linear business plan.
   7       5/9/2023    Nicholls, Christopher     0.8   Participate on call with Houlihan to review FTI analysis of business plan.

   7       5/9/2023    Friedman, Samantha        0.8   Attend call with FTI and Houlihan re: reviewing current FTI validation of
                                                       linear business plan.
   7       5/9/2023    Friedman, Samantha        2.3   Revise draft materials summarizing FTI's validation of the business plan.

   7       5/9/2023       Braga, Andrew          2.8   Create analysis for distribution re: scenario of business model.

   7       5/9/2023     Cheng, Earnestiena       0.4   Evaluate linear business plan scenarios.

   7       5/9/2023      Bhargava, Yash          0.2   Evaluate business plan and FTI scenario EBITDA projections.

   7       5/9/2023      Bhargava, Yash          2.5   Prepare comparison presentation of financials of different scenarios per
                                                       business plan, incorporating FTI sensitivities.
   7       5/9/2023      Bhargava, Yash          2.7   Prepare slides to compare financials of different scenarios per business
                                                       plan.
   7       5/9/2023       Braga, Andrew          2.4   Refine analysis for distribution re: scenario of business model.

   7       5/9/2023       Braga, Andrew          1.3   Create analysis re: EBITDA breakout by RSN.

   7       5/9/2023      Bhargava, Yash          0.8   Participate in call with Houlihan Lokey to review preliminary business
                                                       plan findings.
   7       5/9/2023    Friedman, Samantha        0.5   Attend call with internal team re: business plan validation summary
                                                       materials.
   7       5/9/2023       Simon, Russell         0.5   Meet with FTI internal team to review linear business case initial
                                                       presentation.
   7       5/10/2023      Simms, Steven          0.4   Prepare internal correspondence re: updates with leagues.

                                                         72
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 73 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                     Activity
Category
   7       5/10/2023     Bhargava, Yash          1.4   Adjust model to assess new business plan scenario.

   7       5/10/2023      Simon, Russell         0.5   Review business plan team workstreams.

   7       5/11/2023     Bhargava, Yash          1.9   Adjust model to assess new business plan scenario.

   7       5/11/2023    Cheng, Earnestiena       0.2   Review comments to business plan review from internal team.

   7       5/11/2023   Friedman, Samantha        1.0   Review adjustments for newly received business plan scenario prepared
                                                       by team.
   7       5/12/2023    Cheng, Earnestiena       0.7   Follow-up with Akin and Houlihan teams re: MLB negotiations term
                                                       sheets.
   7       5/12/2023     Scruton, Andrew         0.5   Review summary of MLB negotiations and business plan impact.

   7       5/12/2023     Scruton, Andrew         0.6   Correspond with Akin and Houlihan on business plan diligence.

   7       5/12/2023     Bhargava, Yash          2.4   Prepare presentation reflecting new business plan scenario.

   7       5/12/2023     Bhargava, Yash          0.9   Update presentation materials reflecting new business plan to account for
                                                       revised assumptions.
   7       5/15/2023     Scruton, Andrew         1.4   Review term sheets between DSG and MLB and NBA.

   7       5/15/2023        Silva, Jose          0.4   Review scenario updates to the business model.

   7       5/15/2023      Simon, Russell         2.2   Analyze a league's revised term sheet to inform status of DSG
                                                       negotiations with major partners.
   7       5/16/2023     Bhargava, Yash          1.7   Assess MVPD agreements re: key termination clauses and other items.

   7       5/16/2023   Nicholls, Christopher     1.1   Review term sheets and business plan scenarios.

   7       5/16/2023     Bhargava, Yash          0.9   Participate in call with internal team to prioritize action items for
                                                       business plan workstream.
   7       5/16/2023     Bhargava, Yash          0.6   Assess MVPD agreements re: key termination clauses and contractual set-
                                                       off and/or rebate clauses.
   7       5/16/2023    Cheng, Earnestiena       0.2   Correspond with internal team re: business plan document productions.

   7       5/16/2023     Bhargava, Yash          0.4   Prepare materials for call with internal team to prioritize action items for
                                                       business plan workstream.
   7       5/16/2023      Simon, Russell         2.7   Create slide deck with summary of current league negotiations to inform
                                                       go-forward business plan.
   7       5/16/2023      Simon, Russell         2.9   Continue creation of slide deck with summary of current league
                                                       negotiations.
   7       5/16/2023      Braga, Andrew          2.6   Create presentation of historical financial data by RSN.

   7       5/16/2023      Braga, Andrew          1.4   Review historical financial data by RSN.

   7       5/16/2023   Friedman, Samantha        0.9   Attend call with internal team on next steps for business plan.

                                                         73
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 74 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                   Activity
Category
   7       5/17/2023   Nicholls, Christopher     1.3   Review term sheets and status of negotiations with MVPDs and
                                                       implications.
   7       5/17/2023     Vadon, Courtney         0.3   Review data room for operating agreements from majority-owned JVs.

   7       5/17/2023      Simon, Russell         2.9   Analyze deposition of Diamond CEO to inform status of negotiations
                                                       with MVPDs and teams.
   7       5/17/2023      Simon, Russell         1.9   Create presentation on DSG and MVPD termination rights by MVPD.

   7       5/17/2023      Simon, Russell         1.7   Conduct analysis of league term sheets sent 5/15 and 5/16.

   7       5/17/2023      Simon, Russell         0.7   Conduct analysis of a league's revised term sheets re: DTC rights.

   7       5/17/2023      Taylor, Brian          0.7   Correspond with FTI team re: assessing business plan projections.

   7       5/17/2023      Simon, Russell         0.9   Evaluate key takeaways to share with FTI team for deposition of
                                                       Diamond CEO re: business plan.
   7       5/17/2023     Berkin, Michael         0.7   Discuss Debtor's motion to compel expert report with FTI team.

   7       5/17/2023    Cheng, Earnestiena       0.3   Correspond on next separation implementation call with Deloitte and
                                                       Alix.
   7       5/18/2023     Scruton, Andrew         2.4   Review initial analysis of business plan presentation.

   7       5/18/2023      Simon, Russell         0.6   Prepare analysis of current deal status with leagues for internal FTI
                                                       meeting.
   7       5/18/2023      Simon, Russell         0.4   Correspond with team re: DSG relationship with MVPDs and OTT
                                                       services.
   7       5/18/2023     Bhargava, Yash          1.6   Summarize industry research to help evaluate and inform business plan
                                                       assessment.
   7       5/18/2023      Simon, Russell         1.0   Prepare takeaways from expert report of Leo J. Hindery and implications
                                                       on value of linear rights.
   7       5/18/2023    Cheng, Earnestiena       0.4   Evaluate summary of league term sheet.

   7       5/18/2023    Cheng, Earnestiena       0.3   Evaluate additional league term sheet summary.

   7       5/18/2023      Simon, Russell         0.5   Conduct analysis of DTC and OTT platforms to derive implications for
                                                       DSG business plan.
   7       5/18/2023      Simon, Russell         1.0   Evaluate DSG business plan projections as of 2019.

   7       5/18/2023      Braga, Andrew          0.3   Prepare correspondence to FTI team re: league financing.

   7       5/18/2023      Simon, Russell         0.5   Continue to evaluate expert report testimony from Leo J. Hindery to
                                                       inform FTI analysis of linear rights.
   7       5/18/2023      Simon, Russell         0.8   Prepare MVPD summary deck to inform FTI working team of DSG
                                                       channels impacted by agreements.
   7       5/19/2023     Scruton, Andrew         1.2   Review summary of MLB negotiation updates.

   7       5/19/2023     Scruton, Andrew         0.8   Provide update to Akin and Houlihan on business plan diligence.

                                                         74
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 75 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date       Professional      Hours                                    Activity
Category
   7       5/19/2023      Daley, Tyler        2.6   Review documents from Deloitte on Sinclair separation efforts in order to
                                                    project effectiveness of stand up efforts.
   7       5/22/2023      Taylor, Brian       0.4   Attend conference call with internal team to discuss Deloitte issues call.

   7       5/22/2023    Vadon, Courtney       0.4   Participate in call with team member re: Deloitte separation.

   7       5/22/2023    Schuman, Philip       1.0   Participate in call with Akin Gump re: evaluation of business plan.

   7       5/22/2023   Friedman, Samantha     1.8   Continue to assess expert report deposition testimony re: business plan
                                                    validation.
   7       5/22/2023   Friedman, Samantha     2.7   Assess MLB expert report deposition testimony re: business plan
                                                    validation.
   7       5/22/2023     Braga, Andrew        1.2   Review Flynn Rebuttal report to inform business next steps.

   7       5/22/2023     Braga, Andrew        2.4   Create analysis of key findings re: Flynn rebuttal report for business plan
                                                    purposes.
   7       5/22/2023   Cheng, Earnestiena     0.4   Assess Deloitte separation call takeaways.

   7       5/22/2023   Cheng, Earnestiena     0.4   Discuss Deloitte separation call catch up with internal team.

   7       5/23/2023   Friedman, Samantha     1.3   Compile additional data request re: missing MVPD summary terms
                                                    required for business plan validation.
   7       5/23/2023   Friedman, Samantha     1.4   Evaluate MLB expert witness rebuttal report to inform business plan
                                                    analysis.
   7       5/23/2023     Simon, Russell       0.3   Analyze rights deals agreed to with relevant teams to inform business
                                                    plan analysis.
   7       5/23/2023     Braga, Andrew        2.6   Continue to review expert witness report and implication on business
                                                    plan.
   7       5/24/2023    Sternberg, Joseph     0.5   Participate in call with Moelis re: business plan updates and other
                                                    timelines.
   7       5/24/2023     Simon, Russell       0.3   Analyze a sport league's debt history.

   7       5/24/2023   Cheng, Earnestiena     0.4   Review business plan update with internal team.

   7       5/24/2023    Schuman, Philip       0.5   Participate in Committee meeting with Company advisors re: business
                                                    plan updates, updates on upcoming MLB hearing.
   7       5/25/2023    Scruton, Andrew       1.8   Analyze impact of certain rejection scenarios on business plan.

   7       5/25/2023     Simon, Russell       1.7   Review documents provided by Akin re: league DTC rights.

   7       5/25/2023     Simon, Russell       1.2   Evaluate deposition testimony of expert report of Robin Flynn to inform
                                                    research of rights value.
   7       5/26/2023   Friedman, Samantha     2.7   Continue to listen to deposition of R. Flynn re: MLB Motion to Compel.

   7       5/26/2023   Friedman, Samantha     2.1   Listen to deposition of R. Flynn re: MLB Motion to Compel.

   7       5/26/2023   Friedman, Samantha     1.1   Continue to listen to remaining deposition of R. Flynn re: MLB Motion
                                                    to Compel.
                                                      75
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 76 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date       Professional      Hours                                    Activity
Category
   7       5/26/2023     Simon, Russell       2.3   Analyze unredacted replies re: MLB's motions to compel.

   7       5/26/2023     Braga, Andrew        1.9   Draft notes for internal distribution re: 2018 Fox agreement.

   7       5/30/2023   Friedman, Samantha     1.1   Draft FTI perspective re: Raycom rejection motion and business plan
                                                    implications.
   7       5/30/2023     Simon, Russell       1.2   Analyze MVPD public statements regarding RSNs.

   7       5/30/2023    Scruton, Andrew       1.7   Review content inventory assumptions and power price assumptions.

   7       5/30/2023     Bhargava, Yash       0.4   Review business plan model re: RSN-level EBITDA estimates.

   7       5/30/2023     Bhargava, Yash       1.3   Evaluate rejection of San Diego Padres contract for business plan
                                                    implications.
   7       5/30/2023     Simon, Russell       2.5   Analyze documents from Paul Weiss to inform analysis of DSG's position
                                                    with various MVPDs.
   7       5/30/2023     Simon, Russell       1.4   Continue analysis of unredacted replies re: MLB's motions to compel.

   7       5/30/2023     Simon, Russell       0.8   Analyze impact of a DSG rejection application to inform future business
                                                    plan.
   7       5/31/2023     Wikel, Daniel        1.3   Evaluate MLB summary material prepared by internal team and Akin.

   7       5/31/2023      Taylor, Brian       0.3   Correspond with FTI team re: business plan and entity level detail.

   7       5/31/2023     Simon, Russell       2.1   Prepare analysis of final league term sheet.

   7       6/1/2023    Cheng, Earnestiena     0.5   Draft agenda for Deloitte separation implementation call.

   7       6/2/2023     Scruton, Andrew       1.1   Correspond with Akin and Houlihan on potential sports team rejections
                                                    following order re: telecast rights.
   7       6/5/2023      Bhargava, Yash       2.9   Prepare slides based on analysis for select RSNs assessing profitability to
                                                    inform business plan analysis.
   7       6/5/2023      Bhargava, Yash       2.8   Continue to prepare analysis re: select RSNs to assess profitability to
                                                    inform business plan.
   7       6/5/2023      Braga, Andrew        2.3   Detail distribution metrics in RSN P&L re: team allocation.

   7       6/5/2023      Braga, Andrew        2.1   Build specific RSN P&L re: team allocation.

   7       6/5/2023      Braga, Andrew        2.1   Build analysis to show revenue and cost figures for a team.

   7       6/5/2023      Bhargava, Yash       1.5   Continue to refine analysis re: select RSNs to assess profitability to
                                                    inform business plan.
   7       6/5/2023      Bhargava, Yash       0.7   Review analysis re: select RSNs and provide feedback to further iterate
                                                    upon to inform business plan.
   7       6/6/2023      Simon, Russell       2.7   Create analysis on revenue per subscriber across all RSNs.

   7       6/6/2023     Scruton, Andrew       1.1   Review updated summaries of payments due under rights agreements.

                                                      76
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 77 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date       Professional        Hours                                     Activity
Category
   7       6/6/2023      Braga, Andrew          2.1   Create EBITDA build for specific RSN entities.

   7       6/6/2023       Taylor, Brian         1.2   Review business plan for specific RSN detail to inform business plan
                                                      analysis.
   7       6/6/2023      Bhargava, Yash         1.3   Refine materials re: profitability of select RSNs to include expert reports'
                                                      insight.
   7       6/6/2023   Nicholls, Christopher     0.8   Provide correspondence to case team re: revised business plan.

   7       6/6/2023      Braga, Andrew          1.4   Update specific RSN P&L re: team allocation.

   7       6/6/2023       Taylor, Brian         0.6   Analyze business plan to inform secured debt investigation.

   7       6/7/2023   Nicholls, Christopher     1.3   Review team business plan analysis re: churn.

   7       6/7/2023     Sternberg, Joseph       0.4   Correspond with FTI team re: Deloitte separation call.

   7       6/8/2023      Braga, Andrew          2.8   Build league P&L analysis by team.

   7       6/8/2023      Braga, Andrew          2.8   Continue to build league P&L analysis by team.

   7       6/8/2023      Braga, Andrew          2.1   Build league RSN EBITDA projections in business model.

   7       6/8/2023      Braga, Andrew          1.5   Revise analysis of league to reflect allocation rebate methodology.

   7       6/8/2023     Sternberg, Joseph       0.8   Prepare correspondence to internal team re: latest telecast rights
                                                      agreements.
   7       6/8/2023    Friedman, Samantha       0.7   Review analysis in order to assess next steps re: business plan validation.

   7       6/8/2023      Braga, Andrew          1.0   Build RSN level P&L tab re: teams within league.

   7       6/8/2023      Wikel, Daniel          0.5   Participate in conversation with Committee member re: Company go-
                                                      forward business strategy, potential claims on assets.
   7       6/8/2023      Simon, Russell         0.5   Review expense reimbursements relating to DSG payments to Sinclair for
                                                      game production to inform business plan.
   7       6/9/2023      Braga, Andrew          2.8   Create slides to inform analysis for business plan.

   7       6/9/2023      Braga, Andrew          2.7   Build new RSN P&L re: teams within additional league.

   7       6/9/2023      Braga, Andrew          2.5   Create slides to reflect league impact on P&L.

   7       6/9/2023        Davis, Guy           1.2   Review notes from separation update call.

   7       6/9/2023   Nicholls, Christopher     1.0   Participate in call with Company advisors re: separation plan.

   7       6/9/2023      Braga, Andrew          1.7   Modify slide commentary for leagues' P&L analysis.

   7       6/9/2023     Berkin, Michael         1.0   Participate on call with Deloitte on separation plan status.

                                                        77
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 78 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                     Activity
Category
   7       6/9/2023      Berkin, Michael         1.0   Review issues in preparation for Deloitte separation call.

   7       6/9/2023    Friedman, Samantha        1.0   Participate in call with Deloitte re: update on separation planning to
                                                       inform cost structure for business plan.
   7       6/9/2023     Sternberg, Joseph        1.0   Participate in call with Deloitte re: separation implementation.

   7       6/9/2023     Sternberg, Joseph        0.7   Prepare notes re: Deloitte separation call.

   7       6/9/2023      Vadon, Courtney         1.2   Prepare separation implementation notes in order to send to team
                                                       member.
   7       6/9/2023      Scruton, Andrew         0.4   Correspond with Akin and Houlihan on potential sports team rejections.

   7       6/9/2023      Vadon, Courtney         1.0   Take notes on separation meeting to distribute to team.

   7       6/9/2023     Sternberg, Joseph        0.4   Review Deloitte separation materials.

   7       6/9/2023       Taylor, Brian          0.3   Review business plan docs for information on internal agreements.

   7       6/9/2023     Sternberg, Joseph        0.3   Review telecast rights agreements.

   7       6/12/2023   Nicholls, Christopher     2.2   Review issues for company revised business plan.

   7       6/12/2023     Bhargava, Yash          2.7   Continue to prepare team-level and RSN-level analysis to assess
                                                       profitability of teams and leagues.
   7       6/12/2023     Bhargava, Yash          2.6   Prepare team-level and RSN-level analysis to assess profitability of teams
                                                       and leagues.
   7       6/12/2023      Simon, Russell         2.9   Evaluate current DSG contracts with certain sports teams.

   7       6/12/2023      Simon, Russell         2.9   Finalize evaluation of current DSG contracts with certain sports teams.

   7       6/12/2023      Simon, Russell         2.8   Continue to evaluate current DSG contracts with sports teams.

   7       6/12/2023     Bhargava, Yash          2.3   Prepare presentation re: profitability of teams and leagues.

   7       6/12/2023      Braga, Andrew          2.8   Create slides to show analysis on certain league EBITDA re: revised
                                                       business plan.
   7       6/12/2023     Bhargava, Yash          2.1   Continue to prepare team-level and RSN-level analysis to assess
                                                       profitability of teams and leagues.
   7       6/12/2023      Braga, Andrew          2.6   Update slides to show team EBITDA re: NBA team level summary.

   7       6/12/2023   Nicholls, Christopher     1.3   Review business model analysis re: revised business plan.

   7       6/12/2023      Braga, Andrew          2.5   Analyze MLB allocation summary re: revised business plan.

   7       6/12/2023      Braga, Andrew          2.5   Revise EBITDA totals in tables to inform analysis of a league.

   7       6/12/2023      Simon, Russell         2.3   Continue to evaluate current DSG contracts with certain sports teams to
                                                       inform analysis.
                                                         78
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 79 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                     Activity
Category
   7       6/12/2023     Scruton, Andrew         1.1   Review league term sheet agreement.

   7       6/12/2023     Berkin, Michael         0.8   Analyze current state of separation plan.

   7       6/12/2023       Cho, Alastair         2.9   Prepare summary of league term sheet.

   7       6/12/2023       Cho, Alastair         2.4   Continue to prepare summary of league term sheet.

   7       6/12/2023   Friedman, Samantha        0.5   Conduct working session with internal team re: profitability analysis of
                                                       teams and their leagues.
   7       6/12/2023       Cho, Alastair         2.1   Continue to finalize summary of league term sheet.

   7       6/12/2023    Sternberg, Joseph        0.5   Participate in call with internal team re: RSN financials.

   7       6/12/2023     Bhargava, Yash          0.5   Attend call to review team-level profitability with FTI team and
                                                       determine next steps.
   7       6/13/2023     Scruton, Andrew         1.9   Review updated summaries of allocated EBITDA under different rights
                                                       agreement assumptions.
   7       6/13/2023     Bhargava, Yash          2.8   Create analysis altering company's business plan inputs to assess
                                                       alternative value creation scenarios.
   7       6/13/2023     Bhargava, Yash          2.4   Prepare presentation re: profitability of teams and leagues.

   7       6/13/2023   Nicholls, Christopher     1.6   Review value creation scenario analysis re: revised business plan.

   7       6/13/2023     Bhargava, Yash          2.3   Process edits to presentation re: profitability of teams and leagues.

   7       6/13/2023      Braga, Andrew          2.7   Create analysis for rejection scenarios to inform business plan.

   7       6/13/2023      Braga, Andrew          2.1   Research historical viewership figures for a league.

   7       6/13/2023     Berkin, Michael         1.2   Assess business plan alternatives on unsecured creditors.

   7       6/13/2023      Braga, Andrew          1.7   Provide additional commentary to slides re: team level EBITDA.

   7       6/13/2023   Friedman, Samantha        1.0   Participate in call with internal team on additional value creation options
                                                       to inform business plan analysis.
   7       6/13/2023     Bhargava, Yash          1.0   Attend call to review revised team-level and RSN-level profitability
                                                       materials and determine next steps re: value creation scenarios for
                                                       business plan.
   7       6/13/2023      Simon, Russell         1.0   Attend meeting with internal team re: options for go-forward business
                                                       plan.
   7       6/13/2023      Braga, Andrew          1.0   Attend meeting re: value creation at RSN level.

   7       6/13/2023      Braga, Andrew          0.5   Provide correspondence on viewership data to inform business plan
                                                       analysis.
   7       6/14/2023     Bhargava, Yash          2.3   Prepare presentation based on alternative value creation analysis.


                                                         79
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 80 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date       Professional      Hours                                    Activity
Category
   7       6/14/2023     Bhargava, Yash       2.1   Review analysis re: value creation scenarios and provide feedback to
                                                    team to refine.
   7       6/14/2023     Braga, Andrew        2.5   Create new EBITDA team slides for revised business plan.

   7       6/14/2023     Braga, Andrew        2.5   Revise EBITDA analysis for league with scenario toggle.

   7       6/14/2023    Scruton, Andrew       1.2   Review impact on RSN profitability of increased churn.

   7       6/14/2023     Braga, Andrew        2.1   Create EBITDA analysis re: rebate based allocation by teams within one
                                                    league.
   7       6/14/2023     Bhargava, Yash       1.4   Continue to create analysis altering DSG's business plan inputs to assess
                                                    alternative value creation scenarios.
   7       6/14/2023     Bhargava, Yash       1.3   Process edits to analysis assessing alternative value creations scenarios to
                                                    inform business plan.
   7       6/14/2023   Friedman, Samantha     0.6   Review EBITDA analysis for leagues in order to provide feedback to
                                                    team.
   7       6/14/2023      Cho, Alastair       2.7   Prepare summary of assignment clause for leagues.

   7       6/14/2023     Braga, Andrew        0.9   Revise league EBITDA analysis re: assumptions.

   7       6/15/2023     Bhargava, Yash       3.0   Continue to refine analysis altering company's business plan inputs to
                                                    assess alternative value creation scenarios.
   7       6/15/2023     Bhargava, Yash       2.9   Refine analysis altering company's business plan inputs to assess
                                                    alternative value creation scenarios.
   7       6/15/2023     Simon, Russell       3.0   Conduct analysis of termination language in contracts between DSG and
                                                    sports teams.
   7       6/15/2023     Simon, Russell       2.9   Conduct analysis of sports team grace periods.

   7       6/15/2023    Scruton, Andrew       1.5   Review analysis of sports team contract profitability.

   7       6/15/2023    Scruton, Andrew       1.4   Review analysis of scenarios involving certain contract rejections.

   7       6/15/2023     Simon, Russell       2.5   Continue analysis of team grace periods to inform business plan analysis.

   7       6/15/2023     Bhargava, Yash       1.7   Prepare presentation based on alternative value creation scenarios to
                                                    inform business plan analysis.
   7       6/15/2023     Braga, Andrew        2.1   Analyze related parties' financial statements for payments made by DSG.

   7       6/15/2023     Braga, Andrew        1.9   Analyze DSG financial statements for payments made to related parties.

   7       6/15/2023     Braga, Andrew        1.8   Create analysis to show payments made to related parties.

   7       6/15/2023   Friedman, Samantha     0.9   Participate on additional call to review scenario analysis re: revised
                                                    business plan.
   7       6/15/2023     Bhargava, Yash       1.0   Continue to refine analysis altering DSG's business plan inputs.

   7       6/15/2023     Bhargava, Yash       0.9   Conduct additional working session on scenarios for business plan
                                                    validation.
                                                      80
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 81 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                    Activity
Category
   7       6/15/2023      Simon, Russell         1.0   Review contracts between DSG and sports teams with emphasis on
                                                       distribution rights.
   7       6/15/2023     Bhargava, Yash          0.8   Apply updates from working session to business plan.

   7       6/15/2023   Nicholls, Christopher     0.5   Attend call to review business plan progress re: revised business plan.

   7       6/15/2023   Friedman, Samantha        0.5   Review business plan progress re: revised business plan with internal
                                                       team.
   7       6/15/2023     Bhargava, Yash          0.5   Review business plan progress on call with internal team.

   7       6/15/2023    Cheng, Earnestiena       0.4   Evaluate business plan and various exit path scenarios based on
                                                       discussion with internal team.
   7       6/15/2023      Braga, Andrew          0.5   Draft email to team members re: payments to related parties.

   7       6/15/2023      Braga, Andrew          0.5   Respond to correspondence regarding payments made to related parties.

   7       6/15/2023      Braga, Andrew          0.5   Attend call re: revised business plan treatment of specific RSNs.

   7       6/15/2023       Cho, Alastair         0.9   Meet with team to review business plan scenarios.

   7       6/15/2023       Cho, Alastair         0.5   Meet with team to discuss progress reviewing business plan and RSN
                                                       projections.
   7       6/16/2023   Nicholls, Christopher     3.0   Review revised business plan presentation to understand EBITDA
                                                       differences in scenarios.
   7       6/16/2023     Bhargava, Yash          2.9   Update materials re: near term priorities and alternative value creation
                                                       scenarios.
   7       6/16/2023     Scruton, Andrew         1.4   Review Debtors' presentation of revised business plan scenarios.

   7       6/16/2023      Braga, Andrew          2.4   Create slides showing EBITDA build for league re: revised assumptions.

   7       6/16/2023      Braga, Andrew          2.3   Refine league EBITDA analysis slides.

   7       6/16/2023      Braga, Andrew          2.1   Refine EBITDA analysis for teams within a league re: revised business
                                                       plan.
   7       6/16/2023    Cheng, Earnestiena       1.3   Evaluate business plan scenarios based on comments from Company's
                                                       advisors.
   7       6/16/2023       Davis, Guy            1.0   Attend call with Debtors re: business plan.

   7       6/16/2023     Vadon, Courtney         2.3   Review status of agreements with league to conclude potential
                                                       implications for DSG.
   7       6/16/2023   Friedman, Samantha        1.0   Participate in call with Moelis to review new business plan scenarios.

   7       6/16/2023       Eldred, John          1.0   Attend call with Moelis re: business plan and go forward viability.

   7       6/16/2023      Taylor, Brian          1.0   Attend business plan meeting for use in investigations.

   7       6/16/2023     Bhargava, Yash          1.0   Participate in call with Debtors' advisors on the revised business plan.

                                                         81
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 82 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date       Professional      Hours                                    Activity
Category
   7       6/16/2023    Sternberg, Joseph     0.9   Provide feedback to waterfall and and schedules in order to prepare for
                                                    further team review.
   7       6/16/2023     Braga, Andrew        1.2   Create observations for league EBITDA under JV-entities.

   7       6/16/2023     Bhargava, Yash       0.9   Review analysis of assignment clauses and provide feedback to refine
                                                    analysis to inform business plan.
   7       6/16/2023   Friedman, Samantha     0.7   Attend discussion with internal team on new business plan.

   7       6/16/2023     Bhargava, Yash       0.7   Attend call with senior team on next steps in business plan analysis and
                                                    areas to assess further.
   7       6/16/2023    Sternberg, Joseph     0.6   Review business plan materials.

   7       6/16/2023      Cho, Alastair       2.2   Continue to prepare summary of assignment clause for leagues.

   7       6/16/2023      Moran, Sarah        0.9   Review proposed business plan for company going forward.

   7       6/17/2023   Cheng, Earnestiena     0.1   Correspond with internal team re: plan for business plan review.

   7       6/19/2023    Scruton, Andrew       1.7   Review analysis of team profitability by league.

   7       6/19/2023     Bhargava, Yash       2.4   Refine materials re: near term decision points.

   7       6/19/2023     Braga, Andrew        2.6   Create analysis to show distribution EBITDA breakdown for RSNs.

   7       6/19/2023     Bhargava, Yash       1.7   Prepare sensitivity analysis re: alternative value creation scenarios to
                                                    inform business plan.
   7       6/19/2023     Braga, Andrew        2.1   Create slides showing EBITDA forecast per RSN re: revised business
                                                    plan assumptions.
   7       6/19/2023     Simon, Russell       1.6   Conduct analysis of future rights deals.

   7       6/19/2023   Friedman, Samantha     1.1   Participate in working session with team member re: business plan
                                                    validation.
   7       6/19/2023     Braga, Andrew        1.6   Create analysis to show distribution EBITDA breakdown for specific
                                                    RSNs.
   7       6/19/2023     Bhargava, Yash       1.2   Review sensitivity analysis with team and provide feedback to
                                                    incorporate to inform business plan scenarios.
   7       6/19/2023     Bhargava, Yash       1.1   Discuss and provide feedback on business plan updates with team.

   7       6/19/2023   Friedman, Samantha     0.9   Discuss validation of proposed business plan with team member.

   7       6/19/2023     Simon, Russell       1.1   Discuss sensitivity analysis to inform business plan with other internal
                                                    team members.
   7       6/19/2023     Bhargava, Yash       0.9   Discuss analysis of potential rejection claims as part of proposed business
                                                    plan scenarios.
   7       6/19/2023     Braga, Andrew        1.1   Attend call re: JV-entity analysis in business plan.

   7       6/19/2023   Friedman, Samantha     0.7   Discuss business plan validation next steps with team member.

                                                      82
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 83 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date       Professional      Hours                                    Activity
Category
   7       6/19/2023      Taylor, Brian       0.7   Discuss business plan with team as related to investigations.

   7       6/19/2023     Bhargava, Yash       0.7   Attend call with team to discuss revised business plan.

   7       6/19/2023     Hu, Elizabeth        0.5   Attend call with Houlihan to recap on the updated business plan provided
                                                    by the Debtors.
   7       6/19/2023     Braga, Andrew        0.8   Review slide commentary re: revised business plan considerations.

   7       6/19/2023      Cho, Alastair       2.3   Prepare research on RSN TV rating in order to perform analysis.

   7       6/19/2023   Friedman, Samantha     0.5   Attend call with Houlihan to discuss updates to the business plan.

   7       6/19/2023   Cheng, Earnestiena     0.5   Participate in call with Houlihan team re: business plan scenario recap.

   7       6/19/2023      Taylor, Brian       0.5   Conduct call with Houlihan and internal team re: investigations, business
                                                    plan update.
   7       6/19/2023      Moran, Sarah        2.1   Review cash collateral updates with emphasis on reflection in newly
                                                    proposed business plan.
   7       6/19/2023     Hu, Elizabeth        0.4   Review material prior to call with Houlihan re: business plan.

   7       6/19/2023     Hu, Elizabeth        0.4   Review team's email correspondence discussing key issues and
                                                    perspectives on the business plan.
   7       6/19/2023    Sternberg, Joseph     0.5   Participate in call with Houlihan re: business plan assumptions.

   7       6/19/2023     Bhargava, Yash       0.5   Attend call with Houlihan to review near term decision points and
                                                    alternative value creation scenarios.
   7       6/19/2023     Bhargava, Yash       0.5   Refine materials re: near term decision points and alternative value
                                                    creation scenarios.
   7       6/19/2023   Friedman, Samantha     0.4   Prepare notes re: business plan validation next steps.

   7       6/19/2023   Cheng, Earnestiena     0.4   Analyze separation implementation presentation to evaluate near term
                                                    issues.
   7       6/19/2023   Cheng, Earnestiena     0.4   Evaluate business plan scenario and exit path options with Debtors' and
                                                    Committee's professionals.
   7       6/19/2023     Bhargava, Yash       0.4   Refine materials re: near term decision points and alternative value
                                                    creation scenarios.
   7       6/20/2023     Simon, Russell       2.8   Conduct analysis on DSG contracts.

   7       6/20/2023    Sternberg, Joseph     2.1   Prepare analysis re: separation implementation considerations.

   7       6/20/2023     Braga, Andrew        2.7   Create projected-EBITDA analysis for league teams.

   7       6/20/2023     Braga, Andrew        2.5   Create analysis with league teams' projected EBITDA.

   7       6/20/2023     Bhargava, Yash       1.9   Research viewership and ratings data on Diamond teams for the business
                                                    plan.
   7       6/20/2023     Braga, Andrew        2.3   Create analysis with additional league teams' projected-EBTIDA re:
                                                    revised business plan.
                                                      83
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 84 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                     Activity
Category
   7       6/20/2023      Simon, Russell         2.1   Continue to conduct analysis on DSG contracts.

   7       6/20/2023    Cheng, Earnestiena       1.4   Analyze Deloitte separation plan.

   7       6/20/2023      Simon, Russell         1.6   Conduct analysis of ratings of RSNs to inform business plan analysis.

   7       6/20/2023   Friedman, Samantha        1.1   Revise materials for business plan review.

   7       6/20/2023    Cheng, Earnestiena       0.7   Process edits to separation implementation questions for Deloitte.

   7       6/20/2023       Cho, Alastair         2.9   Continue to prepare research on RSN TV rating in order to perform
                                                       analysis.
   7       6/20/2023       Cho, Alastair         2.8   Prepare additional research on RSN TV rating in order to perform
                                                       analysis.
   7       6/20/2023    Gimlett, Matthew         0.4   Review Deloitte stand-alone plan and provided analyses.

   7       6/20/2023    Cheng, Earnestiena       0.4   Continue to process edits to separation implementation questions for
                                                       Deloitte.
   7       6/20/2023      Braga, Andrew          0.5   Correspond with internal business plan team to summarize RSN analysis
                                                       key takeaways and outstanding items.
   7       6/20/2023     Bhargava, Yash          0.2   Prepare draft business plan update in lieu of 6/21 Committee call.

   7       6/21/2023     Scruton, Andrew         1.8   Review analysis of RSN viewership by team.

   7       6/21/2023     Bhargava, Yash          2.4   Review business plan materials to prepare initial diligence questions.

   7       6/21/2023      Braga, Andrew          2.4   Build league analysis for incorporation in revised business plan.

   7       6/21/2023      Braga, Andrew          2.4   Create league analysis re: revised business plan.

   7       6/21/2023      Braga, Andrew          2.4   Continue additional creation of slides to reflect league analysis re:
                                                       revised business plan.
   7       6/21/2023     Bhargava, Yash          1.7   Prepare team-level summary of viewership and ratings.

   7       6/21/2023     Bhargava, Yash          1.6   Incorporate internal team feedback to team-level summary of viewership
                                                       and ratings.
   7       6/21/2023      Braga, Andrew          1.8   Create slides for league EBITDA analysis re: revised business plan.

   7       6/21/2023   Friedman, Samantha        1.1   Participate in working session on business plan validation with internal
                                                       team.
   7       6/21/2023     Bhargava, Yash          1.1   Attend internal call to review team-level summary of viewership data.

   7       6/21/2023   Nicholls, Christopher     0.5   Review Nielsen RSN ratings data to understand rating differences by
                                                       RSN to inform business plan analysis.
   7       6/21/2023       Cho, Alastair         2.9   Perform analysis of RSN TV ratings data.

   7       6/21/2023   Friedman, Samantha        0.6   Participate in call to prepare initial business plan diligence questions and
                                                       requests.
                                                         84
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 85 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date       Professional      Hours                                     Activity
Category
   7       6/21/2023      Cho, Alastair       2.7   Continue to perform analysis of RSN TV ratings data.

   7       6/21/2023    Sternberg, Joseph     0.6   Correspond with team re: separation implementation.

   7       6/21/2023     Bhargava, Yash       0.6   Attend internal call to brainstorm initial diligence questions re: revised
                                                    business plan materials.
   7       6/21/2023   Friedman, Samantha     0.5   Participate in call with FTI and Houlihan to align on business plan
                                                    diligence questions.
   7       6/21/2023    Sternberg, Joseph     0.5   Participate in call with Houlihan re: business plan.

   7       6/21/2023     Bhargava, Yash       0.5   Attend call with Houlihan to review initial diligence questions re: revised
                                                    business plan materials.
   7       6/21/2023     Simon, Russell       0.6   Review DSG ratings to inform business plan analysis with internal team.

   7       6/21/2023     Braga, Andrew        0.6   Attend internal call re: diligence questions for Company on business plan
                                                    materials.
   7       6/21/2023     Hu, Elizabeth        0.3   Review Counsel's update email to the Committee on business plan,
                                                    investigations and liquidity.
   7       6/21/2023     Hu, Elizabeth        0.3   Review diligence questions on the separation efforts prepared jointly by
                                                    FTI and Houlihan.
   7       6/21/2023     Bhargava, Yash       0.4   Review business plan materials to prepare initial diligence questions for
                                                    business plan.
   7       6/21/2023   Cheng, Earnestiena     0.3   Process edits to questions re: separation implementation for Deloitte.

   7       6/22/2023    Scruton, Andrew       2.1   Review revised analysis of scenarios involving certain contract
                                                    rejections.
   7       6/22/2023     Bhargava, Yash       2.9   Prepare summary matrix comparing viewership data across leagues and
                                                    teams to inform analysis of business plan.
   7       6/22/2023     Braga, Andrew        2.4   Analyze viewership, ratings, and EBITDA by RSN.

   7       6/22/2023     Braga, Andrew        2.3   Implement analysis of EBITDA per RSN for new viewership analysis.

   7       6/22/2023     Bhargava, Yash       1.7   Prepare an outline of RSN-level profitability to inform business plan.

   7       6/22/2023   Friedman, Samantha     1.4   Review business plan validation slides prepared by FTI team.

   7       6/22/2023     Braga, Andrew        2.1   Analyze league teams to find terms and payment schedules re: upcoming
                                                    payment analysis.
   7       6/22/2023    Sternberg, Joseph     1.4   Prepare analysis re: contract rejection claims scenarios.

   7       6/22/2023     Braga, Andrew        1.9   Revise analysis to reflect corresponding EBITDA values for revised
                                                    business plan.
   7       6/22/2023     Bhargava, Yash       1.4   Continue to prepare a summary matrix comparing viewership and ratings
                                                    data across leagues and teams.
   7       6/22/2023     Simon, Russell       1.2   Conduct analysis of relevant teams outstanding rights payments to inform
                                                    business plan analysis.
   7       6/22/2023   Cheng, Earnestiena     0.7   Analyze Company feedback on business plan scenarios.

                                                      85
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 86 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                    Activity
Category
   7       6/22/2023       Cho, Alastair         2.9   Perform additional analysis of RSN TV ratings data.

   7       6/22/2023       Cho, Alastair         2.8   Finalize analysis of RSN TV ratings in order to distribute internally.

   7       6/22/2023     Bhargava, Yash          0.6   Consolidate notes between Committee and debtors' advisors to go
                                                       through initial diligence questions on the revised business plan.
   7       6/22/2023      Braga, Andrew          0.6   Correspond with internal team for review of analysis on revised business
                                                       plan considerations.
   7       6/22/2023   Nicholls, Christopher     0.3   Participate in meeting to review business plan validation workplan.

   7       6/22/2023    Sternberg, Joseph        0.4   Review correspondence from Akin re: separation implementation.

   7       6/22/2023   Friedman, Samantha        0.3   Discuss business plan validation with team member.

   7       6/22/2023   Friedman, Samantha        0.3   Correspond with Houlihan re: business plan validation.

   7       6/23/2023     Bhargava, Yash          2.9   Prepare analysis summarizing league profitability in 2024.

   7       6/23/2023     Bhargava, Yash          2.7   Prepare preliminary materials summarizing potential mediation strategies.

   7       6/23/2023     Bhargava, Yash          2.5   Prepare RSN-level detail profitability to inform business plan analysis.

   7       6/23/2023      Braga, Andrew          2.8   Create full team analysis of EBITDA by RSN for 2024 re: revised
                                                       business plan.
   7       6/23/2023      Braga, Andrew          2.5   Refine analysis regarding contract terms and payment forecasts.

   7       6/23/2023     Scruton, Andrew         1.2   Review updated summary of Deloitte work plan to effect separation from
                                                       Sinclair.
   7       6/23/2023      Braga, Andrew          2.3   Update slides regarding EBITDA analysis of RSNs re: revised business
                                                       plan.
   7       6/23/2023   Friedman, Samantha        1.4   Conduct analysis to validate the business plan.

   7       6/23/2023     Bhargava, Yash          1.2   Brainstorm potential mediation strategies and priorities.

   7       6/23/2023      Simon, Russell         1.3   Perform analysis of specific provider performance to inform analysis of
                                                       business plan.
   7       6/23/2023    Cheng, Earnestiena       0.8   Coordinate on separation implementation call with Akin and internal
                                                       team.
   7       6/23/2023       Cho, Alastair         2.9   Calculate net present value of future rights payments.

   7       6/23/2023       Cho, Alastair         2.6   Continue to calculate net present value of future rights payments.

   7       6/23/2023    Sternberg, Joseph        0.6   Review analysis re: separation implementation.

   7       6/23/2023     Scruton, Andrew         0.4   Correspond with Akin on revisions to business plan scenarios.

   7       6/23/2023     Scruton, Andrew         0.4   Attend call on revisions to business plan scenarios with team member.

                                                         86
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 87 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                    Activity
Category
   7       6/23/2023      Braga, Andrew          0.8   Update working model for league analysis on revised business plan.

   7       6/23/2023      Wikel, Daniel          0.4   Review high-level business plan scenarios and assumptions to prepare to
                                                       discussion with team member.
   7       6/23/2023      Wikel, Daniel          0.4   Discuss case status with team member re: Diamondbacks rejection, new
                                                       business plan updates.
   7       6/23/2023     Vadon, Courtney         0.7   Prepare separation implementation cash flow analysis.

   7       6/23/2023       Cho, Alastair         1.5   Calculate net present value of future rights payments.

   7       6/23/2023      Moran, Sarah           0.8   Review business plan updates with emphasis on progression of
                                                       distribution streams.
   7       6/23/2023    Cheng, Earnestiena       0.1   Coordinate on separation implementation call with Alix.

   7       6/25/2023      Braga, Andrew          2.5   Correct team-level distribution EBITDA slide re: revised business plan.

   7       6/26/2023   Nicholls, Christopher     1.8   Review business plan separation issues from internal team.

   7       6/26/2023     Bhargava, Yash          2.6   Prepare preliminary materials based on updated business plan materials.

   7       6/26/2023     Berkin, Michael         1.8   Review and analyze business plan advisory materials.

   7       6/26/2023     Bhargava, Yash          2.1   Prepare discussion materials based on the updated business plan.

   7       6/26/2023      Simon, Russell         2.5   Conduct NPV analysis of DSG contracts with teams to inform business
                                                       plan analysis.
   7       6/26/2023     Scruton, Andrew         1.1   Review updated document production from Debtors with new business
                                                       plan scenarios.
   7       6/26/2023      Simon, Russell         1.5   Conduct analysis on DTC trends to inform go-forward business plan.

   7       6/26/2023      Braga, Andrew          1.6   Revise slides for distribution EBITDA and rights fees re: revised
                                                       business plan.
   7       6/26/2023      Simon, Russell         1.4   Create slides on options for DSG in potential mediation to inform go-
                                                       forward business plan.
   7       6/26/2023      Braga, Andrew          1.5   Create slide to show specific RSN EBITDA and rights fees re: revised
                                                       business plan.
   7       6/26/2023      Braga, Andrew          1.1   Consolidate business plan meeting notes to share with team.

   7       6/26/2023   Friedman, Samantha        0.7   Conduct research to validate assumption in business plan scenario.

   7       6/26/2023     Schuman, Philip         0.5   Participate in call with Akin re: separation implementation items.

   7       6/26/2023     Berkin, Michael         0.5   Discuss separation plan with Committee counsel.

   7       6/26/2023       Cho, Alastair         2.3   Research direct to consumer viewership data.

   7       6/26/2023   Friedman, Samantha        0.5   Participate in call with Akin and FTI re: separation of the debtor from
                                                       Sinclair.
                                                         87
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 88 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date       Professional      Hours                                     Activity
Category
   7       6/26/2023   Friedman, Samantha     0.5   Attend internal call to discuss distribution assumptions re: revised
                                                    business plan.
   7       6/26/2023   Friedman, Samantha     0.5   Attend internal call to review preliminary materials on the revised
                                                    business plan.
   7       6/26/2023   Cheng, Earnestiena     0.5   Participate in call with Counsel re: separation plan workstreams.

   7       6/26/2023   Cheng, Earnestiena     0.5   Participate in discussion with internal team re: separation
                                                    implementation.
   7       6/26/2023      Taylor, Brian       0.5   Attend discussion with team related to separation implementation.

   7       6/26/2023    Sternberg, Joseph     0.5   Participate in call with Akin re: separation implementation.

   7       6/26/2023     Bhargava, Yash       0.5   Attend internal call to review preliminary materials on the revised
                                                    business plan.
   7       6/26/2023     Bhargava, Yash       0.5   Attend internal call to discuss distribution within business model as part
                                                    of revised business plan.
   7       6/26/2023   Cheng, Earnestiena     0.4   Analyze separation implementation presentations.

   7       6/26/2023     Simon, Russell       0.5   Participate in call with internal team on next steps for business plan.

   7       6/26/2023     Simon, Russell       0.5   Continue to prepare slide on potential mediation options.

   7       6/26/2023     Braga, Andrew        0.5   Attend call re: revised business plan materials and assumptions.

   7       6/26/2023   Cheng, Earnestiena     0.3   Evaluate status of business plan workstreams.

   7       6/26/2023     Bhargava, Yash       0.3   Correspond with Houlihan re: free cash flow calculations related to the
                                                    revised business plan.
   7       6/26/2023   Cheng, Earnestiena     0.2   Coordinate with internal team re: various business plan workstreams.

   7       6/26/2023      Moran, Sarah        0.7   Review business plan updates.

   7       6/27/2023    Scruton, Andrew       2.0   Review scenarios and assumptions achievable without concessions from
                                                    third parties.
   7       6/27/2023     Bhargava, Yash       2.9   Prepare analysis of required sports rights relief for various teams to
                                                    achieve profitability.
   7       6/27/2023     Bhargava, Yash       2.9   Prepare outline of revised business plan presentation materials for
                                                    various scenarios.
   7       6/27/2023     Bhargava, Yash       2.6   Prepare analysis of required sports rights relief for various teams to
                                                    achieve profitability to inform business plan.
   7       6/27/2023     Braga, Andrew        2.2   Create selected RSN EBITDA analysis and 2024 rights fees to inform
                                                    revised business plan.
   7       6/27/2023     Braga, Andrew        2.1   Revise team viewership slides with EBITDA and RSN-allocation.

   7       6/27/2023     Bhargava, Yash       1.6   Review team analysis on revised business plan materials.

   7       6/27/2023    Scruton, Andrew       1.0   Review revised business plan and proposed next steps with internal team.

                                                      88
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 89 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                     Activity
Category
   7       6/27/2023   Nicholls, Christopher     1.0   Attend call with internal team for review of revised business plan.

   7       6/27/2023   Friedman, Samantha        1.0   Participate in call with internal team to review high level structure of the
                                                       business plan validation.
   7       6/27/2023     Scruton, Andrew         0.7   Review draft motion seeking mediation of business plan disputes.

   7       6/27/2023      Braga, Andrew          1.4   Revise table of viewership and ratings analysis.

   7       6/27/2023     Schuman, Philip         0.7   Participate in internal call to discuss specific Diamond distribution
                                                       products.
   7       6/27/2023     Bhargava, Yash          1.0   Attend a call with the internal team to review the outline of presentation
                                                       materials on the revised business plan.
   7       6/27/2023      Braga, Andrew          1.2   Update illustrative baseline slide re: revised business plan.

   7       6/27/2023      Braga, Andrew          1.2   Create new slides to show RSN metrics re: viewership, EBITDA, ratings.

   7       6/27/2023      Simon, Russell         1.1   Prepare analysis of subscribers by different operators to inform business
                                                       plan.
   7       6/27/2023   Friedman, Samantha        0.7   Participate in a call with the internal team on business plan validation
                                                       analysis.
   7       6/27/2023     Bhargava, Yash          0.7   Participate in call with internal team to assign required analysis for the
                                                       revised business plan.
   7       6/27/2023       Cho, Alastair         2.3   Continue to perform analysis of direct to consumer viewership growth.

   7       6/27/2023   Friedman, Samantha        0.5   Participate in call with team members re: separation and stand up efforts.

   7       6/27/2023      Simon, Russell         0.7   Participate in call with internal team on updated analysis for business
                                                       plan.
   7       6/27/2023    Cheng, Earnestiena       0.5   Participate in call with internal team re: separation implementation.

   7       6/27/2023       Cho, Alastair         2.1   Perform analysis of direct to consumer viewership growth.

   7       6/27/2023     Bhargava, Yash          0.5   Participate in call with internal team to review separation
                                                       implementation.
   7       6/27/2023   Friedman, Samantha        0.4   Working session with team member re: aligning on next steps for the
                                                       business plan validation.
   7       6/27/2023     Bhargava, Yash          0.4   Attend call with team to go through intercompany matrix and address
                                                       business plan-related questions.
   7       6/27/2023    Cheng, Earnestiena       0.3   Review operations between creditor and Diamond.

   7       6/28/2023      Simon, Russell         2.9   Create analysis of outer market fees for leagues to inform business plan
                                                       analysis.
   7       6/28/2023     Bhargava, Yash          2.4   Prepare analysis of latest business plan scenarios.

   7       6/28/2023     Scruton, Andrew         1.3   Review draft outline presentation to Committee on business plan
                                                       scenarios.
   7       6/28/2023      Braga, Andrew          2.5   Revise slides on JV-entity level EBITDA.

                                                         89
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 90 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                     Activity
Category
   7       6/28/2023     Bhargava, Yash          1.9   Review analysis comparing Diamond's latest business plan scenarios.

   7       6/28/2023   Friedman, Samantha        1.4   Participate in a working session to validate the business plan with the
                                                       internal team.
   7       6/28/2023      Braga, Andrew          1.9   Revise slides on specific RSNs with revised business plan assumptions.

   7       6/28/2023     Bhargava, Yash          1.4   Incorporate updates to outline of revised business plan presentation
                                                       materials with team member.
   7       6/28/2023     Berkin, Michael         1.1   Assess implications of separation plan.

   7       6/28/2023      Braga, Andrew          1.6   Analyze operating costs for team to understand cost detail in business
                                                       plan.
   7       6/28/2023   Friedman, Samantha        1.0   Attend call with the internal team to review the current draft of the
                                                       business plan validation analysis.
   7       6/28/2023     Bhargava, Yash          1.0   Attend call with the team to review the updated outline of business plan
                                                       presentation materials.
   7       6/28/2023      Simon, Russell         1.2   Continue to create analysis of outer market fees for leagues to inform
                                                       business plan analysis.
   7       6/28/2023      Braga, Andrew          1.2   Draft new questions for review by internal team re: operating costs.

   7       6/28/2023   Nicholls, Christopher     0.6   Participate in a call with the internal team to review updated analysis on
                                                       business plan scenarios.
   7       6/28/2023      Braga, Andrew          1.0   Attend call on revised business plan considerations re: distribution
                                                       revenue.
   7       6/28/2023   Nicholls, Christopher     0.5   Participate in a call with the internal team to discuss the separation plan
                                                       and evaluation approach.
   7       6/28/2023   Friedman, Samantha        0.6   Discuss the next steps on the business plan with the internal FTI team.

   7       6/28/2023      Taylor, Brian          0.6   Attend discussions with the internal team re: relationship with sports
                                                       teams.
   7       6/28/2023       Cho, Alastair         2.6   Review team rights agreements to clarify certain clauses.

   7       6/28/2023     Berkin, Michael         0.5   Discuss separation plan with internal team.

   7       6/28/2023   Friedman, Samantha        0.5   Participate in call with the internal team on the next steps to validate the
                                                       separation and stand up plan from Sinclair.
   7       6/28/2023    Cheng, Earnestiena       0.5   Participate in call with internal team re: review of separation
                                                       implementation.
   7       6/28/2023      Taylor, Brian          0.3   Review correspondence from Houlihan re: business plan.

   7       6/28/2023    Cheng, Earnestiena       0.1   Review suggestions to separation implementation plan.

   7       6/29/2023     Bhargava, Yash          2.6   Review business plan principal materials to understand changes from
                                                       prior iterations.
   7       6/29/2023     Bhargava, Yash          2.3   Build affiliate revenue schedule with revised churn inputs based on
                                                       revised business plan model.
   7       6/29/2023      Braga, Andrew          2.8   Create new scenario toggles that change churn based on assumptions on
                                                       the revised business model.
                                                         90
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 91 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                      Activity
Category
   7       6/29/2023      Braga, Andrew          2.7   Review new business plan model re: RSN EBITDA build.

   7       6/29/2023     Scruton, Andrew         1.2   Review materials summarizing latest business plan scenarios from
                                                       Debtors approved to share with Committee.
   7       6/29/2023     Scruton, Andrew         1.2   Review revised requests related to Sinclair separation planning.

   7       6/29/2023      Braga, Andrew          2.1   Implement additional toggle selection in new business model received
                                                       from Company.
   7       6/29/2023     Bhargava, Yash          1.2   Review revised business plan model.

   7       6/29/2023   Nicholls, Christopher     0.8   Participate in a call with internal team to discuss stand-up analysis.

   7       6/29/2023     Schuman, Philip         0.7   Review updated business plan validation analysis.

   7       6/29/2023   Friedman, Samantha        0.8   Participate in call with internal team re: logistics of separation efforts.

   7       6/29/2023    Cheng, Earnestiena       0.8   Discuss separation implementation workstream with internal team.

   7       6/29/2023       Cho, Alastair         2.7   Analyze business plan alternative scenario assumptions.

   7       6/29/2023      Simon, Russell         0.5   Conduct analysis of progress of separation.

   7       6/29/2023    Cheng, Earnestiena       0.2   Coordinate with internal team re: presentation of business plan materials
                                                       to Committee.
   7       6/29/2023     Vadon, Courtney         0.3   Review updated business plan model upload in order to distribute to
                                                       team.
   7       6/30/2023     Bhargava, Yash          2.4   Review revised business plan model.

   7       6/30/2023     Bhargava, Yash          2.2   Create list of questions for Debtors' advisors to better understand
                                                       business plan model.
   7       6/30/2023      Braga, Andrew          1.8   Create new slide for additional scenario re: revised business model.

   7       6/30/2023     Bhargava, Yash          1.3   Prepare additional analysis on revised business plan materials.

   7       6/30/2023      Braga, Andrew          1.6   Create new slide using analysis toggles for selected RSN view re: revised
                                                       business model.
   7       6/30/2023      Braga, Andrew          1.6   Create slide to show unlevered cash flow and EBITDA re: revised
                                                       business plan.
   7       6/30/2023      Braga, Andrew          1.5   Create visual analysis summarizing revised business model.

   7       6/30/2023      Braga, Andrew          1.5   Create new slide for scenario re: revised business model.

   7       6/30/2023     Bhargava, Yash          0.9   Continue to review team analysis on revised business plan materials.

   7       6/30/2023   Nicholls, Christopher     0.4   Correspond with team regarding cause of action on the business plan.

   7       6/30/2023     Bhargava, Yash          0.4   Review next steps in business plan analysis and areas to assess further.

                                                         91
           Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 92 of 220
                                        EXHIBIT E
                     DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                  DETAIL OF TIME ENTRIES
                        FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

  Task
           Date      Professional     Hours                          Activity
Category
 7 Total                             1,083.7




                                               92
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 93 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                       Activity
Category
   9       4/6/2023    Sternberg, Joseph      0.3   Review wages motions.

   9       4/8/2023      Hu, Elizabeth        0.4   Review the wages motion and develop diligence questions.

   9       4/9/2023    Cheng, Earnestiena     0.8   Diligence Company wages motion.

   9       4/12/2023   Sternberg, Joseph      1.1   Prepare correspondence to team re: wages motion.

   9       4/13/2023    Berkin, Michael       2.2   Review and analyze non-insider compensation details.

   9       4/20/2023     Leake, Nicola        0.9   Prepare diligence re: employee and wages motions.

   9       4/25/2023   Cheng, Earnestiena     0.9   Create wages summary and proposed changes to final order.

   9       4/25/2023   Cheng, Earnestiena     0.4   Prepare questions for Alix team re: wages motion diligence to inform
                                                    potential suggestions to wages order.
   9       4/25/2023   Cheng, Earnestiena     0.4   Review proposed wages order.

   9       4/25/2023     Hu, Elizabeth        0.6   Review wages motion re: incentive/severance program details.

 9 Total                                      8.0

   10      4/11/2023     Joffe, Steven        1.5   Research ERC procedures and other tax related material.

   10      4/13/2023   Cheng, Earnestiena     0.3   Prepare tax questions for internal team.

   10      4/17/2023     Joffe, Steven        0.4   Attend call with Paul Weiss and Akin re: TDD.

   10      4/17/2023     Joffe, Steven        2.1   Review first day declaration and motions for any tax related information.

   10      4/18/2023    Berkin, Michael       1.0   Assess preliminary tax issues re: RSA.

   10      4/18/2023     Joffe, Steven        0.4   Discuss tax related data request list with Akin.

   10      4/18/2023   Cheng, Earnestiena     0.1   Evaluate status of tax diligence.

   10      4/18/2023     Joffe, Steven        1.1   Review documents for tax related data request list.

   10      4/20/2023    Scruton, Andrew       1.2   Correspond with Akin on tax and contract assumptions.

   10      4/21/2023   Cheng, Earnestiena     0.2   Prepare notes re: tax diligence items for internal team.

   10      4/25/2023     Joffe, Steven        0.3   Attend call with Akin on group structure changes re: taxes.

   10      4/25/2023     Joffe, Steven        1.2   Research group structure changes and impact on taxes.

   10      4/27/2023     Joffe, Steven        1.0   Attend internal team meeting re: status updates and interject with tax
                                                    related considerations.
                                                      93
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 94 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional     Hours                                    Activity
Category
   10      4/28/2023     Joffe, Steven      1.0   Attend call with Committee advisors and Moelis in order to add tax-
                                                  related insights.
   10      4/28/2023     Joffe, Steven      0.5   Attend conference call with advisors in order to add tax-related insights.

   10      5/1/2023      Joffe, Steven      0.7   Attend call with Paul Weiss and Akin tax teams to discuss latest
                                                  assumptions.
   10      5/3/2023      Joffe, Steven      1.4   Attend call with Company in order to offer insights re: tax claims and
                                                  other assumptions.
   10      5/3/2023      Joffe, Steven      0.8   Prepare for call with Committee advisors prior to the Company call to
                                                  provide commentary re: taxes.
   10      5/3/2023      Joffe, Steven      0.4   Attend call with Committee advisors prior to Company call to provide
                                                  commentary re: taxes.
   10      5/4/2023      Joffe, Steven      1.0   Participate on call with Company to provide comments re: tax claims.

   10      5/4/2023      Joffe, Steven      1.0   Attend internal general team meeting and provide tax perspective on
                                                  current Company events.
   10      5/9/2023      Joffe, Steven      0.7   Review breadth of potential tax claims.

   10      5/11/2023     Joffe, Steven      1.0   Participate on call with internal team to inform updates re: tax questions.

   10      5/11/2023     Joffe, Steven      1.6   Participate on call with Akin to discuss tax claims.

   10      5/12/2023     Joffe, Steven      1.2   Review tax treatment to customers in order to provide comments.

   10      5/24/2023     Joffe, Steven      0.5   Analyze latest tax issues to inform team of any potential restructuring
                                                  implications.
   10      6/2/2023      Joffe, Steven      1.3   Participate in advisors call to discuss any tax considerations.

   10      6/7/2023      Joffe, Steven      0.5   Attend call with Committee to inform re: tax considerations.

   10      6/8/2023      Joffe, Steven      1.0   Attend internal team call re: miscellaneous topics in order to opine on tax
                                                  questions.
   10      6/14/2023     Joffe, Steven      0.6   Attend call with Committee to understand tax implications.

   10      6/19/2023     Joffe, Steven      0.8   Participate in Committee conference call to provide tax-related insights.

   10      6/19/2023     Joffe, Steven      0.8   Review potential tax implications of stand up efforts.

   10      6/19/2023     Joffe, Steven      0.5   Participate in Committee call with Debtors to relay any tax information.

   10      6/20/2023     Joffe, Steven      1.0   Attend discussion with Houlihan on tax issues.

   10      6/22/2023     Joffe, Steven      1.0   Attend internal team call re: miscellaneous topics in order to relay tax
                                                  considerations.
   10      6/22/2023     Joffe, Steven      1.0   Participate on call with Counsel re: tax considerations.

   10      6/26/2023     Joffe, Steven      1.0   Participate in Committee conference call re: tax considerations.

                                                    94
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 95 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                     Activity
Category
   10      6/28/2023       Joffe, Steven         0.5   Attend call with Committee to discuss tax implications.

   10      6/28/2023       Joffe, Steven         0.5   Discuss tax implications on advisors' call.

10 Total                                        33.1

   11      4/12/2023    Sternberg, Joseph        0.6   Participate in 4/12 hearing re: cash collateral, cash management, vendor
                                                       motions.
   11      4/13/2023     Vadon, Courtney         1.4   Attend courtroom status update on cash collateral motion over the phone
                                                       on behalf of team.
   11      4/19/2023     Berkin, Michael         2.0   Attend cash collateral hearing.

   11      4/19/2023      Simms, Steven          1.6   Attend hearing on cash collateral items and other second day items.

   11      4/19/2023    Cheng, Earnestiena       1.5   Continue to listen to Court hearing re: cash collateral, objection from
                                                       MLB.
   11      4/19/2023    Cheng, Earnestiena       2.0   Listen to Court hearing re: cash collateral, objection from MLB.

   11      4/19/2023      Hu, Elizabeth          0.0   Listen to parts of cash collateral hearing.

   11      4/19/2023     Murphy, Andrew          2.0   Participate in hearing re: first day motions.

   11      4/19/2023    Sternberg, Joseph        0.9   Participate in 4/19 hearing re: cash collateral, cash management, vendor
                                                       motions.
   11      4/24/2023   Nicholls, Christopher     2.0   Participate in hearing call re: sports rights payments.

   11      5/10/2023    Cheng, Earnestiena       1.7   Participate in hearing re: Debtors' motion to enforce stay (partial
                                                       attendance).
   11      5/10/2023   Friedman, Samantha        2.1   Attend DSG hearing re: Phoenix Suns stay enforcement and continued
                                                       cash collateral.
   11      5/31/2023   Friedman, Samantha        2.9   Continue attendance listening to MLB motion to compel hearing.

   11      5/31/2023   Friedman, Samantha        2.9   Attend MLB motion to compel hearing.

   11      5/31/2023     Bhargava, Yash          2.8   Continue to listen to hearing re: MLB motions to compel.

   11      5/31/2023   Friedman, Samantha        1.1   Continue listening in on MLB motion to compel hearing.

   11      5/31/2023     Berkin, Michael         2.4   Participate in 5/31 MLB motion to compel hearing.

   11      5/31/2023     Vadon, Courtney         0.4   Distribute items related to continuation of 5/31 motion to compel hearing
                                                       on 6/1 to team.
   11      5/31/2023    Cheng, Earnestiena       1.8   Listen in on MLB motion to compel hearing (partial attendance).

   11      5/31/2023     Bhargava, Yash          1.1   Listen to hearing re: MLB motions to compel.

   11      5/31/2023      Simms, Steven          2.9   Attend 5/31 hearing on MLB motion to compel.

                                                         95
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 96 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                    Activity
Category
   11      5/31/2023    Scruton, Andrew       3.1   Participate in motion to compel hearing.

11 Total                                     39.2

   12      5/8/2023     Berkin, Michael       1.5   Reconcile claims between SOFAs and intellectual property exhibit.

   12      5/8/2023    Sternberg, Joseph      0.5   Review example SOFA SOAL presentations.

   12      5/9/2023    Cheng, Earnestiena     0.1   Prepare update for team re: insider payments and SOFA/SOALs.

   12      5/13/2023   Cheng, Earnestiena     0.4   Review filed DSG SOALs.

   12      5/15/2023   Cheng, Earnestiena     0.7   Review global notes of SOFA/SOALs.

   12      5/15/2023   Cheng, Earnestiena     0.4   Review SOFA/SOALs in order to respond to requests from Counsel.

   12      5/15/2023   Cheng, Earnestiena     0.3   Request detailed backup of SOFA/SOALs of Alix team.

   12      5/16/2023    Murphy, Andrew        2.4   Prepare analysis re: filed SOFA/SOAL.

   12      5/16/2023   Sternberg, Joseph      0.9   Participate in additional call with FTI team re: SOFA SOAL analysis
                                                    summaries.
   12      5/16/2023   Cheng, Earnestiena     0.9   Participate in call with internal team re: SOFAs/SOALs.

   12      5/16/2023    Murphy, Andrew        0.9   Participate in call with internal team re: SOFA/SOAL summary output.

   12      5/16/2023   Cheng, Earnestiena     0.5   Correspond with Akin re: assets by entity update.

   12      5/16/2023    Murphy, Andrew        0.4   Participate on call with internal team re: SOFA/SOAL analysis
                                                    framework.
   12      5/16/2023    Berkin, Michael       0.4   Discuss workplan with FTI team re: SOFA SOALs presentation planning.

   12      5/16/2023   Sternberg, Joseph      0.4   Participate in call with FTI team re: SOFA SOAL review.

   12      5/16/2023    Vadon, Courtney       1.3   Take notes on SOFA introduction commentary on docket filing.

   12      5/16/2023   Cheng, Earnestiena     0.3   Reach out to Alix team re: amended SOALs.

   12      5/16/2023   Cheng, Earnestiena     0.2   Correspond with internal team re: assets by entity update from
                                                    SOFA/SOALs.
   12      5/16/2023    Vadon, Courtney       0.9   Attend call with team members re: SOFA SOALs.

   12      5/16/2023   Cheng, Earnestiena     0.4   Participate in call with internal team re: 5/12 Information Forecast,
                                                    SOFA/SOALs, and other workstreams.
   12      5/16/2023   Cheng, Earnestiena     0.4   Participate in call with internal team re: SOFA/SOALs.

   12      5/16/2023    Murphy, Andrew        0.4   Attend call with internal team to discuss SOFA/SOAL analysis.

                                                      96
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 97 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                   Activity
Category
   12      5/17/2023   Sternberg, Joseph      1.8   Review SOFA SOAL excels.

   12      5/17/2023   Sternberg, Joseph      0.9   Participate in additional call with FTI team re: discussion of SOFA
                                                    SOAL analysis.
   12      5/17/2023    Vadon, Courtney       0.9   Attend call with team members re: SOFA analysis.

   12      5/17/2023   Sternberg, Joseph      0.8   Participate in call with FTI team re: SOFA SOAL presentation
                                                    brainstorm.
   12      5/17/2023    Vadon, Courtney       0.8   Attend call with team members re: SOFA SOAL analysis.

   12      5/17/2023    Vadon, Courtney       0.7   Continue to prepare analysis re: SOFA.

   12      5/17/2023    Vadon, Courtney       0.8   Prepare analysis re: SOFA.

   12      5/17/2023    Murphy, Andrew        0.9   Participate in call with internal team re: SOFA SOAL analysis.

   12      5/17/2023     Leake, Nicola        0.9   Attend call with internal team re: SOFA SOALs.

   12      5/17/2023   Cheng, Earnestiena     1.1   Analyze excel back up of SOFA SOALs provided by Debtors.

   12      5/17/2023    Murphy, Andrew        0.8   Prepare SOFA/SOAL analysis framework.

   12      5/17/2023    Vadon, Courtney       0.3   Perform data room management re: SOFA SOAL analysis.

   12      5/17/2023   Cheng, Earnestiena     0.8   Participate in call with internal team re: SOFA/SOALs presentation.

   12      5/18/2023     Leake, Nicola        2.7   Begin to prepare analysis on SOALS, including assets and claims.

   12      5/18/2023    Vadon, Courtney       1.8   Continue preparing analysis re: SOFAs.

   12      5/18/2023    Vadon, Courtney       0.8   Attend call with team member re: SOFA analysis feedback.

   12      5/18/2023    Vadon, Courtney       0.7   Attend call with team member re: SOFA SOAL creditor category
                                                    alignment.
   12      5/18/2023   Sternberg, Joseph      0.5   Participate in additional call with FTI team re: SOFA SOAL analysis
                                                    review.
   12      5/18/2023    Vadon, Courtney       0.5   Participate on call with team member re: additional SOFA analysis
                                                    feedback.
   12      5/18/2023    Vadon, Courtney       0.4   Prepare slide commentary re: SOFAs

   12      5/18/2023   Sternberg, Joseph      1.2   Prepare analysis re: SOFA SOAL.

   12      5/18/2023   Cheng, Earnestiena     0.4   Evaluate Excel support for SOALs provided by Alix.

   12      5/18/2023   Sternberg, Joseph      2.0   Review analysis re: SOFA SOALs.

   12      5/18/2023     Leake, Nicola        1.9   Prepare additional schedules and slides for SOAL.

                                                      97
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 98 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                    Activity
Category
   12      5/18/2023     Leake, Nicola        2.6   Prepare slide deck for SOALS, including assets and claims.

   12      5/18/2023    Vadon, Courtney       0.6   Prepare analysis re: SOFAs.

   12      5/18/2023   Cheng, Earnestiena     0.8   Discuss presentation on SOFA/SOALs with internal team.

   12      5/18/2023     Leake, Nicola        0.5   Attend call with team member re: SOAL analyses.

   12      5/18/2023   Sternberg, Joseph      0.8   Participate in additional call with an FTI team member re: SOFA SOAL
                                                    analysis.
   12      5/18/2023    Vadon, Courtney       0.5   Participate on call with team member re: SOFAs review.

   12      5/18/2023   Sternberg, Joseph      0.5   Provide feedback to team member re: SOFA SOAL analysis.

   12      5/18/2023   Sternberg, Joseph      0.7   Participate in additional call with FTI team re: SOFA SOAL analysis
                                                    creditors.
   12      5/19/2023   Cheng, Earnestiena     1.7   Evaluate underlying excel detail of SOALs.

   12      5/19/2023     Leake, Nicola        0.6   Review SOFA questions as prepared by team member.

   12      5/19/2023   Cheng, Earnestiena     0.2   Review updates from Alix re: amended SOALs.

   12      5/19/2023   Cheng, Earnestiena     1.4   Review Committee presentation draft re: SOALs.

   12      5/19/2023   Cheng, Earnestiena     1.2   Provide feedback to Committee presentation draft re: SOALs.

   12      5/19/2023   Cheng, Earnestiena     1.8   Evaluate underlying excel detail of statement of financial affairs.

   12      5/19/2023     Leake, Nicola        2.4   Review SOFA summary schedules prepared by team member.

   12      5/19/2023     Leake, Nicola        2.9   Prepare SOALS review to begin analysis.

   12      5/19/2023     Leake, Nicola        2.8   Update SOALS analysis for additional exhibits.

   12      5/19/2023    Vadon, Courtney       0.6   Prepare diligence questions re: SOFA payments to insiders.

   12      5/19/2023    Vadon, Courtney       0.9   Apply feedback on SOFA analysis from team member.

   12      5/19/2023    Vadon, Courtney       0.1   Revise SOFA analysis presentation slides.

   12      5/19/2023    Vadon, Courtney       1.6   Prepare diligence questions re: SOFA payments within 90 days.

   12      5/20/2023   Cheng, Earnestiena     0.7   Analyze Statement of Financial Affairs to understand insiders paid in 90-
                                                    day period.
   12      5/20/2023   Cheng, Earnestiena     1.0   Process edits to Committee presentation re: summary of SOFAs.

   12      5/20/2023   Cheng, Earnestiena     0.9   Analyze SOALs presentation.

                                                      98
               Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 99 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                   Activity
Category
   12      5/20/2023   Cheng, Earnestiena     1.1   Analyze Statement of Financial Affairs to understand various categories
                                                    of vendors paid in 90-day period.
   12      5/20/2023   Cheng, Earnestiena     1.2   Process edits to Committee presentation re: summary of SOALs.

   12      5/20/2023   Cheng, Earnestiena     0.8   Prepare questions for Alix re: SOAL detail.

   12      5/21/2023    Berkin, Michael       1.5   Review draft presentation of DSG SOFA SOALs for the Committee to
                                                    provide feedback.
   12      5/21/2023    Berkin, Michael       1.7   Review and analyze DSG SOFA SOALs.

   12      5/22/2023    Vadon, Courtney       0.6   Attend call with team members re: SOFA SOALs diligence questions for
                                                    Company.
   12      5/22/2023     Taylor, Brian        0.4   Correspond with FTI team re: SOFAs.

   12      5/22/2023   Cheng, Earnestiena     0.4   Participate in follow-up call with internal team re: SOFA/SOAL
                                                    presentation.
   12      5/22/2023    Vadon, Courtney       0.3   Attend call with team member re: SOFAs diligence questions.

   12      5/22/2023   Cheng, Earnestiena     0.8   Draft questions for Alix re: SOFA/SOALs detail by entity.

   12      5/22/2023   Sternberg, Joseph      2.8   Review presentation re: SOFA SOAL.

   12      5/22/2023   Cheng, Earnestiena     0.7   Analyze latest draft of SOFA/SOAL presentation prepared by internal
                                                    team.
   12      5/22/2023     Leake, Nicola        2.4   Continue to prepare SOALs analysis including incorporating internal
                                                    team commentary.
   12      5/22/2023    Berkin, Michael       1.3   Analyze assets and liabilities by legal entity re: SOAL summary
                                                    schedules.
   12      5/22/2023    Berkin, Michael       1.1   Prepare comments on questions to Alix re: SOFA SOALs.

   12      5/22/2023   Cheng, Earnestiena     0.3   Evaluate requests from Counsel re: asset mapping and other items.

   12      5/22/2023   Cheng, Earnestiena     0.9   Process edits to questions list for Alix re: SOFAs/SOALs.

   12      5/22/2023   Cheng, Earnestiena     0.9   Provide comments to latest SOFA/SOALS presentation for Committee.

   12      5/22/2023   Cheng, Earnestiena     0.9   Continue processing edits to questions list for Alix re: SOFAs/SOALs.

   12      5/22/2023   Cheng, Earnestiena     0.2   Coordinate with internal team on scheduled claims reconciliation status.

   12      5/22/2023   Cheng, Earnestiena     0.3   Reach out to internal team re: status update of SOFA/SOAL presentation.

   12      5/22/2023   Cheng, Earnestiena     0.8   Continue to review latest draft of SOFA/SOAL presentation prepared by
                                                    internal team.
   12      5/22/2023    Murphy, Andrew        2.8   Prepare SOFA SOAL executive summary.

   12      5/22/2023    Murphy, Andrew        0.8   Revise SOFA SOAL executive summary per comments from internal
                                                    team.
                                                      99
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 100 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                   Activity
Category
   12      5/22/2023   Murphy, Andrew         2.3   Update SOFA SOAL analysis per comments from internal team.

   12      5/22/2023     Leake, Nicola        2.9   Prepare SOALs slides including commentary and updating footnotes.

   12      5/22/2023     Leake, Nicola        2.1   Update analysis with feedback from team re: SOFA SOAL presentation.

   12      5/22/2023    Vadon, Courtney       1.0   Respond to SOFA SOAL feedback.

   12      5/22/2023    Vadon, Courtney       0.3   Respond to SOFA SOAL diligence questions feedback.

   12      5/22/2023    Vadon, Courtney       0.9   Map debt service SOFA items to tranches of debt.

   12      5/22/2023    Vadon, Courtney       0.7   Continue to respond to SOFA SOAL diligence question feedback.

   12      5/22/2023     Taylor, Brian        1.1   Review SOFAs and SOALs.

   12      5/22/2023   Murphy, Andrew         0.6   Participate in call with internal team re: SOALs intercompany claims
                                                    analysis and diligence questions.
   12      5/22/2023    Vadon, Courtney       0.7   Attend call with team members re: SOFA SOAL feedback.

   12      5/22/2023   Sternberg, Joseph      0.6   Participate in call with FTI team re: SOFA SOAL diligence.

   12      5/22/2023   Cheng, Earnestiena     0.7   Participate in call with internal team re: edits to SOFA/SOALs
                                                    Committee presentation and liquidity results.
   12      5/22/2023     Leake, Nicola        0.7   Attend call with team re: SOFA SOAL and intercompany deck feedback.

   12      5/22/2023   Sternberg, Joseph      0.4   Participate in additional call with FTI team re: SOFA SOAL debt
                                                    services.
   12      5/22/2023    Vadon, Courtney       0.4   Participate on call with team member re: SOFA debt services mapping.

   12      5/22/2023   Murphy, Andrew         0.1   Participate in call with internal team re: SOFA / SOAL analysis to
                                                    prepare diligence questions.
   12      5/22/2023    Vadon, Courtney       0.1   Participate on call with team member re: continued guidance on SOFAs
                                                    diligence questions.
   12      5/22/2023   Sternberg, Joseph      0.3   Participate in feedback call with FTI team re: SOFA SOAL analysis.

   12      5/23/2023     Leake, Nicola        2.6   Prepare updates to SOFA SOAL deck in response to internal team
                                                    feedback.
   12      5/23/2023    Vadon, Courtney       1.1   Add edits to intellectual property and intangibles schedule per team
                                                    member's comments.
   12      5/23/2023   Sternberg, Joseph      0.7   Review diligence list re: SOFA SOAL.

   12      5/23/2023    Vadon, Courtney       0.6   Prepare schedule re: intellectual property and intangibles from SOALs
                                                    schedule AB.
   12      5/23/2023   Sternberg, Joseph      0.5   Participate in additional call with FTI team re: SOFA SOAL analysis.

   12      5/23/2023   Sternberg, Joseph      0.5   Participate in call with FTI team re: SOFA SOALs debt services.

                                                     100
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 101 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                    Activity
Category
   12      5/23/2023   Murphy, Andrew         0.5   Participate in call with internal team re: asset valuation and outstanding
                                                    SOFA SOAL analyses.
   12      5/23/2023   Murphy, Andrew         0.5   Participate in call with internal team re: analysis of SOFA SOALs and
                                                    intercompany deck.
   12      5/23/2023     Leake, Nicola        0.5   Attend call with team re: SOFA SOALs review.

   12      5/23/2023   Cheng, Earnestiena     0.5   Participate in call with Company advisors re: SOFA SOALs and
                                                    unencumbered assets.
   12      5/23/2023   Sternberg, Joseph      0.5   Participate in call with Paul Weiss re: SOFA SOAL analysis.

   12      5/23/2023   Sternberg, Joseph      0.4   Review correspondence from Akin re: SOFA SOALs.

   12      5/23/2023     Leake, Nicola        0.5   Attend call with team members re: debt service in relation to the SOFA
                                                    SOALs.
   12      5/23/2023    Vadon, Courtney       0.5   Call team members re: advice on SOFA debt services exercise.

   12      5/23/2023    Vadon, Courtney       0.5   Attend call with team re: SOFA SOALS summary schedules.

   12      5/23/2023    Berkin, Michael       0.5   Discuss SOFA SOALs with Committee and Debtor's counsel.

   12      5/23/2023   Cheng, Earnestiena     0.7   Create prioritized list of SOFA/SOALs questions following internal
                                                    teams list.
   12      5/23/2023   Sternberg, Joseph      2.1   Prepare analysis re: intangible assets.

   12      5/23/2023    Berkin, Michael       1.0   Assess potential unencumbered assets per SOFA SOAL discussions.

   12      5/23/2023   Cheng, Earnestiena     0.8   Review abridged SOFA/SOALs draft for initial conversations with
                                                    Counsel.
   12      5/23/2023   Cheng, Earnestiena     0.8   Analyze categories of intellectual property assets listed in SOALs.

   12      5/23/2023   Cheng, Earnestiena     0.5   Analyze history of values booked for intangibles in audited financial
                                                    statements to supplement SOALs analysis.
   12      5/23/2023   Cheng, Earnestiena     0.4   Evaluate status of SOFA/SOALs presentation and liquidity workstreams.

   12      5/23/2023   Cheng, Earnestiena     0.7   Process edits to draft SOFA/SOALs presentation for discussion with
                                                    Akin.
   12      5/23/2023   Murphy, Andrew         0.5   Revise SOFA SOAL executive summary per additional comments from
                                                    internal team.
   12      5/23/2023     Leake, Nicola        0.8   Review intellectual property and intangibles schedule in connection with
                                                    the SOALs.
   12      5/23/2023     Leake, Nicola        1.2   Review SOAL deck charts and commentary.

   12      5/23/2023    Vadon, Courtney       0.7   Analyze historical debt service payments disclosed in SOFAs.

   12      5/23/2023    Berkin, Michael       0.5   Discuss SOFA SOALs with Committee counsel.

   12      5/23/2023   Sternberg, Joseph      0.5   Participate in call with Akin re: SOFA SOAL analysis.

                                                     101
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 102 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                     Activity
Category
   12      5/23/2023   Cheng, Earnestiena     0.5   Participate in call with Counsel re: mapping of assets to entities.

   12      5/24/2023     Leake, Nicola        1.6   Review SOFA SOAL questions.

   12      5/24/2023   Murphy, Andrew         1.1   Continue to prepare analysis re: customer relationships and intangible
                                                    assets.
   12      5/24/2023   Murphy, Andrew         0.9   Prepare analysis re: DSG historical balance sheet.

   12      5/24/2023   Sternberg, Joseph      0.7   Review summary schedules prepared by team re: SOFA SOALs analysis.

   12      5/24/2023   Sternberg, Joseph      0.7   Review SOFA SOAL presentation re: inter-company matrix.

   12      5/24/2023     Leake, Nicola        0.4   Attend call with internal team to discuss intangible assets and intellectual
                                                    property.
   12      5/24/2023   Sternberg, Joseph      0.4   Participate in additional call with FTI team re: SOALs analysis intangible
                                                    assets.
   12      5/24/2023    Vadon, Courtney       0.4   Attend call with team members re: intangible assets.

   12      5/24/2023   Sternberg, Joseph      0.3   Prepare SOFA SOAL presentation re: additional supporting schedules.

   12      5/24/2023     Leake, Nicola        2.9   Prepare updates to SOFA SOAL deck.

   12      5/24/2023   Murphy, Andrew         2.4   Prepare analysis re: customer relationships and intangible assets.

   12      5/24/2023    Berkin, Michael       0.4   Participate on call with team re: intellectual property and intangibles.

   12      5/24/2023   Murphy, Andrew         0.4   Attend call with internal team re: intellectual property.

   12      5/24/2023    Berkin, Michael       0.5   Prioritize diligence items for SOFA.

   12      5/24/2023   Cheng, Earnestiena     0.8   Coordinate SOFA/SOAL responses review with internal team.

   12      5/24/2023     Leake, Nicola        2.5   Prepare additional analysis re: assets and intangibles.

   12      5/24/2023   Murphy, Andrew         0.4   Review intellectual property schedule ahead of team call.

   12      5/24/2023    Berkin, Michael       0.4   Discuss asset details with FTI team.

   12      5/25/2023   Cheng, Earnestiena     0.4   Coordinate with Alix team about SOFA/SOALs responses.

   12      5/25/2023    Scruton, Andrew       0.7   Review summary of workplan to analyze SOFA and Schedule
                                                    information.
   12      5/25/2023   Cheng, Earnestiena     0.8   Process edits to intangibles history summary slide.

   12      5/25/2023   Cheng, Earnestiena     0.9   Process edits to intangibles summary slide.

   12      5/25/2023   Sternberg, Joseph      0.9   Correspond with FTI team re: SOFA SOAL.

                                                     102
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 103 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                    Activity
Category
   12      5/25/2023   Murphy, Andrew         2.0   Update presentation re: SOFA SOAL.

   12      5/25/2023     Leake, Nicola        2.2   Prepare analysis for additional intangible deck for distribution.

   12      5/25/2023   Murphy, Andrew         2.6   Update presentation re: intangible assets.

   12      5/25/2023     Leake, Nicola        0.6   Review historical financials re: DSG assets.

   12      5/26/2023   Sternberg, Joseph      2.8   Prepare SOFA SOAL presentation re: feedback from FTI team.

   12      5/26/2023   Sternberg, Joseph      1.6   Review historical financial statements re: treatment of intangible assets.

   12      5/26/2023   Sternberg, Joseph      0.6   Participate in call with FTI team re: intercompany transactions.

   12      5/26/2023   Murphy, Andrew         0.5   Update presentation re: SOFA SOAL assessment per comments from
                                                    internal team.
   12      5/26/2023    Berkin, Michael       1.2   Evaluate audited financials in connection with asset valuation.

   12      5/26/2023    Berkin, Michael       1.3   Prepare comments to updated draft SOFA SOALs presentation for
                                                    Committee.
   12      5/26/2023    Berkin, Michael       1.3   Identify issues/questions for Debtor supporting SOFA SOALs.

   12      5/26/2023    Scruton, Andrew       1.2   Review asset impairment summaries in 2022.

   12      5/26/2023   Cheng, Earnestiena     0.6   Participate in call with internal team re: status of SOFA/SOALs
                                                    presentation and monthly cashflow forecast review.
   12      5/27/2023   Cheng, Earnestiena     0.3   Review latest SOFA/SOAL Committee presentation draft.

   12      5/30/2023   Sternberg, Joseph      1.7   Prepare analysis re: supplementary SOFA SOAL schedules.

   12      5/30/2023     Leake, Nicola        1.7   Prepare updates to slides given additional information from Alix.

   12      5/30/2023   Sternberg, Joseph      0.7   Participate in call with Alix re: SOFA SOALs.

   12      5/30/2023   Cheng, Earnestiena     0.7   Participate in call with Alix team re: SOFA/SOALs diligence.

   12      5/30/2023     Leake, Nicola        0.7   Attend call with Company re: SOFA SOALs.

   12      5/30/2023   Cheng, Earnestiena     0.7   Review latest SOFA/SOAL presentation.

   12      5/30/2023   Sternberg, Joseph      0.7   Prepare presentation re: SOFA SOALs.

   12      5/30/2023   Sternberg, Joseph      0.7   Participate in call with FTI team re: SOFA SOAL summary presentation.

   12      5/30/2023    Berkin, Michael       0.7   Discuss diligence questions on SOFA SOALs with Alix team.

   12      5/30/2023   Sternberg, Joseph      0.8   Review diligence responses re: SOFA SOALs.

                                                     103
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 104 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                     Activity
Category
   12      5/30/2023   Sternberg, Joseph      0.1   Prepare correspondence to Akin re: intangibles.

   12      5/30/2023    Berkin, Michael       0.7   Analyze requested diligence SOFA SOALs support.

   12      5/30/2023   Cheng, Earnestiena     0.3   Reach out to Alix re: follow-up on investment, equity, and intangibles
                                                    accounting detail.
   12      5/30/2023   Cheng, Earnestiena     0.1   Follow-up with Alix re: SOFA/SOALs responses.

   12      5/30/2023     Leake, Nicola        0.3   Review historical financials in relation to SOFA SOALs.

   12      5/30/2023    Vadon, Courtney       0.3   Revise SOFA slides with guidance from internal team.

   12      5/30/2023   Murphy, Andrew         0.7   Attend call with internal team re: SOFA / SOAL analysis for summary
                                                    presentation.
   12      5/31/2023   Cheng, Earnestiena     1.7   Process edits to latest SOFA/SOALs presentation based on additional
                                                    diligence responses from Alix.
   12      5/31/2023     Leake, Nicola        1.3   Prepare questions on latest SOFA SOAL diligence from Company re:
                                                    intangibles, etc.
   12      5/31/2023   Sternberg, Joseph      2.3   Review SOFA SOAL presentation re: assets and liabilities.

   12      5/31/2023     Leake, Nicola        1.8   Prepare additional updates to specific SOAL slides from internal team.

   12      5/31/2023    Vadon, Courtney       0.7   Build SOALs asset table for team member focusing on specific RSNs.

   12      5/31/2023   Murphy, Andrew         1.4   Prepare analysis re: asset value for specific Debtor entities.

   12      6/1/2023    Sternberg, Joseph      0.8   Review latest presentation re: SOFA SOALs.

   12      6/1/2023      Leake, Nicola        0.7   Finalize SOFA SOALs deck to be circulated internally for review.

   12      6/1/2023      Leake, Nicola        0.6   Prepare updates to SOFA SOALs deck.

   12      6/2/2023      Leake, Nicola        1.1   Prepare updates to SOFA SOALs.

   12      6/4/2023    Sternberg, Joseph      2.6   Review SOFA SOALs deck.

   12      6/5/2023     Scruton, Andrew       1.9   Review draft version of presentation to Committee on SOFA SOALs.

   12      6/5/2023    Sternberg, Joseph      1.6   Continue to prepare SOFA SOALs deck.

   12      6/5/2023    Sternberg, Joseph      1.5   Review updates to SOFA SOALs deck.

   12      6/5/2023      Hu, Elizabeth        0.6   Review SOFA SOALs presentation.

   12      6/5/2023      Leake, Nicola        0.9   Prepare updates re: SOFA SOALs deck per internal team.

   12      6/5/2023    Sternberg, Joseph      0.7   Correspond with team members re: SOFA SOALs items.

                                                     104
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 105 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                   Activity
Category
   12      6/6/2023    Sternberg, Joseph      1.7   Prepare SOFA SOALs presentation.

   12      6/6/2023    Murphy, Andrew         1.9   Update SOFA SOALs presentation per comments from Akin.

   12      6/6/2023     Scruton, Andrew       0.8   Review revised draft version of presentation to Committee on SOFA
                                                    SOALs.
   12      6/6/2023     Berkin, Michael       1.0   Discuss SOFA SOALs draft presentation with internal team.

   12      6/6/2023    Sternberg, Joseph      0.5   Participate in call with FTI team re: SOFA SOALs analysis.

   12      6/6/2023      Leake, Nicola        0.5   Attend call with team re: SOFA SOALs.

   12      6/6/2023     Vadon, Courtney       0.5   Attend team meeting re: SOFA SOALs.

   12      6/7/2023     Scruton, Andrew       0.8   Review final version of presentation to Committee on SOFA SOALs.

   12      6/7/2023     Berkin, Michael       1.0   Prepare for presentation on SOFA SOALs for the Committee.

   12      6/7/2023       Davis, Guy          0.7   Review SOFA SOALs analysis from internal team.

   12      6/15/2023    Vadon, Courtney       1.6   Prepare sports rights breakout by team based on SOALs schedule G.

   12      6/15/2023    Vadon, Courtney       1.1   Review SOALs schedule G analysis.

   12      6/15/2023     Leake, Nicola        0.2   Discuss schedule G summary analysis with team member.

   12      6/15/2023    Vadon, Courtney       0.2   Participate in call with team member re: SOALs rights schedule.

   12      6/22/2023   Sternberg, Joseph      0.2   Participate in call with internal team member re: SOALs schedule G.

   12      6/22/2023    Vadon, Courtney       0.2   Attend call with team member re: SOALs schedule G.

   12      6/23/2023    Vadon, Courtney       0.3   Revise SOALs schedule G summary in order to incorporate in to
                                                    waterfall presentation.
12 Total                                    217.0

   13      4/2/2023     Berkin, Michael       1.2   Evaluate DeVoe Declaration.

   13      4/2/2023    Cheng, Earnestiena     0.9   Review CFO's declaration to understand key case issues.

   13      4/3/2023      Leake, Nicola        0.8   Compile diligence questions from motion review.

   13      4/3/2023     Berkin, Michael       0.7   Discuss first day motion workstreams with team.

   13      4/3/2023    Cheng, Earnestiena     0.7   Participate in call with internal team re: cash collateral, cash
                                                    management, and other priority first day motions workstreams with
                                                    internal team.

                                                     105
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 106 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date       Professional        Hours                                     Activity
Category
   13      4/3/2023      Leake, Nicola          0.7   Participate on call with team re: first day material including cash
                                                      collateral, management, and other motions.
   13      4/3/2023      Leake, Nicola          2.2   Prepare diligence questions on first day motions.

   13      4/3/2023     Scruton, Andrew         0.9   Review diligence list in connection with first day motions.

   13      4/3/2023      Hu, Elizabeth          0.9   Review first day affidavit in detail.

   13      4/3/2023   Nicholls, Christopher     0.9   Review first day motions.

   13      4/4/2023      Leake, Nicola          0.6   Attend internal call with team member re: first day motions and
                                                      subsequent work product.
   13      4/4/2023    Sternberg, Joseph        1.6   Continue to prepare diligence list re: first day motions.

   13      4/4/2023      Leake, Nicola          2.3   Continue to prepare diligence requests updates on various motions.

   13      4/4/2023      Leake, Nicola          0.3   Correspond on diligence tasks re: first day motions with internal team.

   13      4/4/2023     Scruton, Andrew         0.8   Correspond with Akin on first day motions.

   13      4/4/2023    Cheng, Earnestiena       0.6   Participate in call with team member re: cash collateral budget and
                                                      review of first day motions.
   13      4/4/2023    Sternberg, Joseph        2.7   Prepare diligence list re: first day motions.

   13      4/4/2023      Leake, Nicola          0.7   Prepare motions diligence requests follow ups.

   13      4/4/2023      Leake, Nicola          0.6   Prepare updates to proposed motions.

   13      4/4/2023    Cheng, Earnestiena       0.6   Process edits to first day motion summary chart prepared by Counsel.

   13      4/4/2023    Cheng, Earnestiena       0.8   Review first day motion summary chart prepared by Counsel.

   13      4/4/2023     Schuman, Philip         0.5   Review initial company filings and first day motions.

   13      4/4/2023      Simms, Steven          0.3   Review items related to first day motions.

   13      4/5/2023    Sternberg, Joseph        2.8   Continue to prepare presentation re: first day motions.

   13      4/5/2023    Cheng, Earnestiena       0.7   Coordinate with team re: first day motions and upcoming objections
                                                      workstreams.
   13      4/5/2023     Scruton, Andrew         0.6   Correspond with Akin and Houlihan on Debtor approach to MLB teams
                                                      with motion to compel.
   13      4/5/2023    Cheng, Earnestiena       0.3   Evaluate supporting contracts for Deltatre contract assumption.

   13      4/5/2023    Sternberg, Joseph        2.8   Prepare presentation re: first day motions.

   13      4/5/2023     Berkin, Michael         0.5   Review Deltatre assumption motion.

                                                       106
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 107 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                    Activity
Category
   13      4/5/2023     Scruton, Andrew       1.4   Review Motion to Compel filed by MLB teams.

   13      4/6/2023      Simms, Steven        0.4   Prepare correspondence on first day motion items.

   13      4/6/2023     Berkin, Michael       0.7   Review MLB telecast rights motion.

   13      4/6/2023    Sternberg, Joseph      2.8   Review Committee deliverable re: miscellaneous motions.

   13      4/7/2023     Berkin, Michael       0.8   Analyze MLB telecast rights motion.

   13      4/7/2023      Simms, Steven        0.6   Continue to prepare correspondence on first day orders.

   13      4/7/2023      Leake, Nicola        0.5   Prepare miscellaneous analyses for Committee deck to be review by team
                                                    member re: motions.
   13      4/7/2023    Sternberg, Joseph      0.3   Review first day motions analysis prepared by team member.

   13      4/7/2023     Scruton, Andrew       1.5   Review memo from Akin on first day motions and update on diligence
                                                    requests and analysis.
   13      4/8/2023    Murphy, Andrew         0.9   Attend call with team member re: first day motions summary
                                                    presentation.
   13      4/8/2023    Sternberg, Joseph      0.9   Participate in call with team member re: building on to first day motions
                                                    assessment.
   13      4/8/2023    Sternberg, Joseph      0.4   Review team member analysis re: first day motions.

   13      4/9/2023    Murphy, Andrew         3.0   Edit presentation re: first day motions per comments from internal team.

   13      4/9/2023    Cheng, Earnestiena     0.4   Coordinate with Alix team re: discussion of wages and customer
                                                    programs.
   13      4/9/2023    Cheng, Earnestiena     0.8   Perform diligence on customer program's motion.

   13      4/9/2023    Cheng, Earnestiena     0.4   Provide comments to Akin team on customer programs and wages
                                                    motions.
   13      4/9/2023     Berkin, Michael       0.7   Review and analyze customer programs order to identify potential issues.

   13      4/9/2023    Cheng, Earnestiena     0.6   Send cash collateral, customer program, and wages motion questions to
                                                    Alix team.
   13      4/10/2023    Berkin, Michael       0.6   Review and analyze MLB limited objection to cash collateral motion.

   13      4/10/2023   Sternberg, Joseph      0.6   Attend call with team member re: first day motions analyses.

   13      4/10/2023   Murphy, Andrew         0.6   Participate in call with team member re: first day motions with emphasis
                                                    on liquidity.
   13      4/10/2023   Cheng, Earnestiena     0.5   Review Deltatre contract assumption motion and provide comments to
                                                    Counsel.
   13      4/10/2023     Simms, Steven        0.3   Review first day motion deliverable.

   13      4/11/2023   Murphy, Andrew         0.9   Attend call with Alix re: wages motion and customer programs.

                                                     107
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 108 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                     Activity
Category
   13      4/11/2023    Sternberg, Joseph        0.9   Participate in call with Alix re: wages motion and customer programs.

   13      4/11/2023    Cheng, Earnestiena       0.9   Participate in call with Alix team re: wages motion and cash management
                                                       questions.
   13      4/11/2023      Hu, Elizabeth          0.9   Participate on call with Alix re: customer program and wage motion
                                                       diligence questions.
   13      4/12/2023    Cheng, Earnestiena       0.4   Coordinate presentation of wages and customer program motions with
                                                       Counsel.
   13      4/12/2023     Murphy, Andrew          2.2   Prepare analysis re: customer programs and wages motions.

   13      4/12/2023    Sternberg, Joseph        0.7   Prepare correspondence to team re: customer programs motion.

   13      4/13/2023      Simms, Steven          0.6   Prepare feedback re: first day motions.

   13      4/13/2023     Scruton, Andrew         0.6   Review summary of hearing on motions to compel assume or reject of
                                                       rights agreements.
   13      4/17/2023    Cheng, Earnestiena       0.2   Coordinate with Counsel re: Deltatre contract assumption motion.

   13      4/20/2023    Cheng, Earnestiena       0.4   Review Counsel's recommendation re: Deltatre contract assumption
                                                       motion.
   13      4/21/2023    Cheng, Earnestiena       0.4   Prepare notes re: reporting needed for customer programs and wages
                                                       motions for internal team.
   13      4/21/2023    Cheng, Earnestiena       0.4   Review Counsel's notes re: Deltatre to prepare commentary for team.

   13      4/21/2023    Cheng, Earnestiena       0.3   Write update on customer programs and wages motion update for Akin
                                                       team.
   13      4/24/2023   Nicholls, Christopher     1.4   Review initial company filings including cleansing materials.

   13      4/26/2023      Taylor, Brian          1.1   Continue to review first day declaration and RSA.

   13      4/27/2023       Eldred, John          2.3   Review first day pleadings and DeVoe Declaration.

   13      4/28/2023     Berkin, Michael         1.1   Attend call with Akin team on case status and workstreams.

   13      4/28/2023     Schuman, Philip         1.1   Participate in call with Akin re: first day motions including cash
                                                       collateral, etc.
   13      4/28/2023   Nicholls, Christopher     1.1   Participate in call with Akin re: first day motions.

   13      5/1/2023        Davis, Guy            2.3   Review strategy and workstream divisions for depositions related to
                                                       MLB motion to compel.
   13      5/3/2023      Berkin, Michael         0.5   Review motion re: automatic stay against the Phoenix Suns.

   13      5/4/2023    Friedman, Samantha        2.9   Review deposition of Zul Jamal.

   13      5/4/2023    Friedman, Samantha        0.9   Continue to review deposition of Zul Jamal.

   13      5/5/2023    Nicholls, Christopher     2.0   Listen to deposition of David Preschlack.

                                                        108
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 109 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date       Professional      Hours                                    Activity
Category
   13      5/5/2023    Friedman, Samantha     2.5   Attend deposition of David DeVoe.

   13      5/10/2023    Sternberg, Joseph     0.3   Participate in call with Akin re: form 2015.3.

   13      5/10/2023   Cheng, Earnestiena     0.2   Review draft 2015.3 waiver motion at the request of Counsel.

   13      5/10/2023   Cheng, Earnestiena     0.3   Participate in call with Akin team re: 2015.3 motion.

   13      5/11/2023      Eldred, John        0.5   Meet with FTI team re: Debtors expert reports for MLB deposition.

   13      5/11/2023   Cheng, Earnestiena     0.2   Coordinate coverage of Twins CEO deposition as relates to MLB motion
                                                    to compel.
   13      5/12/2023     Simon, Russell       0.7   Evaluate key takeaways from deposition of Minnesota Twins CEO to
                                                    inform business plan analysis.
   13      5/12/2023     Bhargava, Yash       2.4   Evaluate key findings from deposition of Twins CEO, Dave St. Peter.

   13      5/12/2023   Cheng, Earnestiena     1.8   Listen telephonically to Twins CEO deposition as relates to MLB motion
                                                    to compel (partial attendance).
   13      5/15/2023    Berkin, Michael       1.3   Perform initial review and analysis of periodic report pursuant to Rule
                                                    2015.3.
   13      5/15/2023   Cheng, Earnestiena     0.2   Review critical vendor, taxes, and customer program first day motion
                                                    reporting.
   13      5/15/2023    Vadon, Courtney       0.8   Review 2015.3 periodic report file to respond to team questions.

   13      5/15/2023     Bhargava, Yash       0.7   Evaluate key findings from deposition of Diamond COO and CFO, David
                                                    DeVoe.
   13      5/15/2023     Simon, Russell       0.5   Evaluate key takeaways from deposition of David DeVoe.

   13      5/16/2023   Cheng, Earnestiena     0.6   Evaluate Debtors' MLB motion to compel expert report.

   13      5/16/2023     Bhargava, Yash       2.8   Review Debtors' Expert Report of Leo J. Hindery, Jr. to understand key
                                                    supporting points.
   13      5/16/2023    Sternberg, Joseph     0.4   Review expert report re: MLB motion to compel.

   13      5/16/2023   Friedman, Samantha     0.9   Review debtor expert witness testimony on fair market value of MLB
                                                    rights.
   13      5/17/2023      Taylor, Brian       0.5   Attend conference call with FTI team re: MLB depositions.

   13      5/17/2023     Braga, Andrew        2.1   Draft summary analysis re: Hindery declaration.

   13      5/17/2023     Bhargava, Yash       0.8   Evaluate key findings from deposition of Diamond CEO, David
                                                    Preschlack.
   13      5/17/2023     Braga, Andrew        1.1   Review expert declaration report re: Hindery.

   13      5/17/2023     Braga, Andrew        1.8   Continue to draft summary re: Hindery declaration.

   13      5/17/2023   Cheng, Earnestiena     0.3   Correspond with internal team re: Debtors' expert report related to MLB
                                                    motion to Compel.
                                                     109
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 110 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date       Professional      Hours                                    Activity
Category
   13      5/17/2023   Cheng, Earnestiena     0.5   Evaluate Debtors' expert report re: MLB Motion to Compel.

   13      5/17/2023   Cheng, Earnestiena     0.6   Evaluate 2015.3 motion to understand lack of disclosure related to YES
                                                    and Marquee affiliates.
   13      5/17/2023   Cheng, Earnestiena     0.3   Continue evaluation of Debtors' MLB motion to compel expert report.

   13      5/17/2023     Bhargava, Yash       1.8   Prepare summary of Debtors' Expert Report of Leo J. Hindery, Jr. for
                                                    distribution to Committee advisors.
   13      5/17/2023     Simon, Russell       0.7   Conduct analysis of expert report testimony from Leo J. Hindery to
                                                    inform view of sports rights payments.
   13      5/17/2023    Sternberg, Joseph     2.1   Listen in to deposition re: David Preschlack.

   13      5/18/2023   Cheng, Earnestiena     0.2   Follow-up with Akin re: MLB motion to compel

   13      5/18/2023    Sternberg, Joseph     0.6   Review deposition transcripts re: MLB motion to compel.

   13      5/18/2023     Braga, Andrew        1.1   Revise summary report re: Hindery declaration.

   13      5/18/2023     Braga, Andrew        2.1   Continue to revise summary report re: Hindery declaration.

   13      5/18/2023   Cheng, Earnestiena     0.4   Review Debtors' expert report submitted in relation to MLB Motion to
                                                    Compel.
   13      5/18/2023     Bhargava, Yash       2.3   Prepare summary of Debtors' Expert Report of Leo J. Hindery, Jr. for
                                                    Committee advisors.
   13      5/18/2023     Simon, Russell       2.9   Evaluate key takeaways to share with FTI working team for deposition of
                                                    MLB CRO.
   13      5/18/2023      Taylor, Brian       0.3   Correspond with FTI team re: MLB depositions.

   13      5/19/2023    Berkin, Michael       0.8   Analyze financials provided pursuant to Rule 2015.3.

   13      5/19/2023   Friedman, Samantha     0.8   Review summarized materials on depositions of Debtor management.

   13      5/19/2023   Cheng, Earnestiena     0.3   Provide update to internal team re: 2015.3 reporting.

   13      5/19/2023     Bhargava, Yash       0.4   Update summary of Debtors' Expert Report of Leo J. Hindery, Jr. to
                                                    reflect team commentary.
   13      5/19/2023    Murphy, Andrew        3.0   Prepare diligence questions re: 2015.3 periodic report.

   13      5/19/2023    Murphy, Andrew        1.6   Prepare analysis re: 2015.3 periodic report.

   13      5/19/2023    Murphy, Andrew        1.5   Finalize diligence questions re: 2015.3 periodic report.

   13      5/19/2023    Scruton, Andrew       2.1   Review summaries of depositions of MLB and Sinclair representatives.

   13      5/19/2023   Cheng, Earnestiena     0.3   Participate in call with internal team re: review of 2015.3.

   13      5/19/2023    Murphy, Andrew        0.3   Call with internal team to form 2015.3 diligence questions.

                                                     110
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 111 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                    Activity
Category
   13      5/22/2023     Taylor, Brian        0.3   Correspond with FTI team re: MLB motion to compel depositions
                                                    summary distribution to internal team.
   13      5/22/2023     Simon, Russell       1.8   Evaluate key takeaways from transcript of deposition of David DeVoe.

   13      5/22/2023   Cheng, Earnestiena     0.3   Reach out to Alix team re: YES and Marquee information related to form
                                                    2015.3 reporting.
   13      5/22/2023   Cheng, Earnestiena     0.4   Provide update to Counsel and internal team re: 2015.3 reporting issues
                                                    for certain entities.
   13      5/22/2023    Bhargava, Yash        2.8   Review MLB's rebuttal Expert Report of Robin Flynn.

   13      5/22/2023     Simon, Russell       2.4   Evaluate key takeaways from transcript of testimony of Richard Dorfer.

   13      5/22/2023     Simon, Russell       2.9   Evaluate key takeaways from transcript of deposition of David
                                                    Preschlack.
   13      5/23/2023     Wikel, Daniel        1.4   Review materials from MLB depositions.

   13      5/23/2023   Murphy, Andrew         0.8   Finalize analysis for distribution to internal team re: non-debtor JVs
                                                    financial summary.
   13      5/23/2023   Murphy, Andrew         0.7   Prepare analysis re: form 2015.3.

   13      5/23/2023     Simon, Russell       1.1   Continue to evaluate deposition transcript to create key takeaways for
                                                    deposition of David DeVoe related to Motion to Compel.
   13      5/23/2023    Bhargava, Yash        1.1   Update summary of Debtors' Expert Report of Leo J. Hindery, Jr. to
                                                    reflect team comments.
   13      5/23/2023   Murphy, Andrew         0.5   Prepare analysis re: non-debtor JVs as per the 2015.3 filings.

   13      5/23/2023   Murphy, Andrew         0.4   Perform analysis re: 2015.3 filings.

   13      5/23/2023   Murphy, Andrew         1.1   Revise analysis re: form 2015.3 per comments from internal team.

   13      5/23/2023     Simon, Russell       1.4   Evaluate transcript to create key takeaways for deposition of David St.
                                                    Peter.
   13      5/23/2023     Simon, Russell       2.7   Evaluate deposition transcript to create key takeaways for deposition of
                                                    Rob Manfred.
   13      5/24/2023    Braga, Andrew         1.2   Consolidate notes re: Leo Hindery deposition.

   13      5/24/2023    Braga, Andrew         2.4   Read through deposition transcript re: Texas Rangers President.

   13      5/24/2023    Bhargava, Yash        2.7   Review MLB's Rebuttal Expert Report of Robin Flynn to understand
                                                    counter-points against Debtors.
   13      5/24/2023    Bhargava, Yash        3.0   Evaluate key findings from deposition of Debtors' Expert Leo J. Hindery,
                                                    Jr.
   13      5/24/2023    Bhargava, Yash        1.1   Continue to evaluate key findings from deposition of Debtors' Expert Leo
                                                    J. Hindery, Jr.
   13      5/24/2023     Simon, Russell       2.0   Evaluate deposition transcript to create key takeaways for deposition of
                                                    Thomas Harris.
   13      5/24/2023    Braga, Andrew         2.5   Participate in call with Akin re: Leo Hindery deposition.

                                                     111
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 112 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date       Professional      Hours                                   Activity
Category
   13      5/25/2023   Cheng, Earnestiena     0.8   Evaluate book value of JVs based on value form stated in form 2015.3.

   13      5/25/2023   Cheng, Earnestiena     0.3   Coordinate with Akin on status of certain depositions in connection with
                                                    MLB motion to compel.
   13      5/25/2023     Simon, Russell       2.0   Evaluate deposition to create key takeaways for FTI working team for
                                                    deposition of Brendan Hayes.
   13      5/25/2023     Simon, Russell       2.2   Prepare FTI areas of focus re: Sinclair depositions.

   13      5/25/2023     Braga, Andrew        2.3   Continue to read deposition notes re: Texas Rangers COO.

   13      5/25/2023    Berkin, Michael       1.0   Assess implied equity values from 2015.3 filings.

   13      5/25/2023     Bhargava, Yash       1.3   Prepare summary of MLB's Rebuttal Expert Report of Robin Flynn for
                                                    Committee advisors.
   13      5/25/2023   Friedman, Samantha     2.3   Listen to deposition of B. Hayes, Guggenheim, re: MLB motion to
                                                    compel.
   13      5/26/2023     Braga, Andrew        2.8   Review Akin deposition questions re: Motion to compel

   13      5/26/2023     Braga, Andrew        0.8   Consolidate notes from team re: Neil Leibman deposition.

   13      5/26/2023    Berkin, Michael       0.9   Review FTI observation on Flynn expert rebuttal report in connection
                                                    with MLB motion to dismiss.
   13      5/26/2023     Simon, Russell       2.1   Continue to evaluate the expert testimony of Robin Flynn to create key
                                                    takeaways for FTI working team.
   13      5/26/2023     Simon, Russell       2.9   Compare testimonies of Robin Flynn and Hindery expert report for
                                                    relevant industry insights.
   13      5/27/2023   Cheng, Earnestiena     0.6   Review draft contract rejection motion provided by Counsel.

   13      5/30/2023   Cheng, Earnestiena     0.2   Analyze draft form 2015.3 objection.

   13      5/30/2023     Leake, Nicola        0.7   Prepare comments to Red Seam objection motion.

   13      5/31/2023     Hu, Elizabeth        0.2   Review counsel's summary of the MLB hearing.

   13      6/1/2023     Scruton, Andrew       3.0   Participate in motion to compel hearing.

   13      6/1/2023    Friedman, Samantha     2.9   Attend MLB fees motion to compel hearing.

   13      6/1/2023      Simms, Steven        1.4   Attend hearing on MLB payments (partial attendance).

   13      6/1/2023    Cheng, Earnestiena     2.1   Listen in on second day of MLB motion to compel hearing (partial
                                                    attendance).
   13      6/1/2023      Bhargava, Yash       2.4   Continue to listen to hearing re: MLB motions to compel.

   13      6/1/2023      Bhargava, Yash       2.3   Listen to hearing re: MLB motions to compel.

   13      6/1/2023      Bhargava, Yash       1.9   Continue to listen to remainder of hearing re: MLB motions to compel.

                                                     112
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 113 of 220
                                           EXHIBIT E
                        DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                     DETAIL OF TIME ENTRIES
                           FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional      Hours                                   Activity
Category
   13      6/1/2023   Friedman, Samantha     1.6   Continue to attend the MLB fees motion to compel hearing.

   13      6/1/2023    Scruton, Andrew       0.3   Continue participating in motion to compel hearing.

   13      6/1/2023     Wikel, Daniel        0.3   Review case updates and related artcles re: MLB motion to compel
                                                   updates, team developments.
   13      6/1/2023     Hu, Elizabeth        0.3   Review Counsel's update email on the MLB hearing.




                                                    113
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 114 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                   Activity
Category
   13      6/1/2023     Sternberg, Joseph        0.3   Review case correspondence re: MLB depositions.

   13      6/1/2023     Cheng, Earnestiena       0.2   Coordinate with Counsel re: draft 2015.3 reporting objection.

   13      6/6/2023       Wikel, Daniel          0.5   Discuss case status post-MLB motion to compel decision with team
                                                       member.
   13      6/7/2023       Leake, Nicola          0.4   Review motion to Compel clarification.

   13      6/15/2023     Vadon, Courtney         0.6   Review Raycom agreement uploads in order to disburse to internal team.

   13      6/21/2023   Nicholls, Christopher     0.9   Review Diamondback rejection motion.

   13      6/22/2023     Scruton, Andrew         1.1   Review motion to reject Diamondbacks contract.

13 Total                                       209.8

   14      5/12/2023     Vadon, Courtney         1.4   Compare proposed DSG bar dates with bar dates previously set for two
                                                       comparable bankruptcy cases.
   14      5/12/2023     Vadon, Courtney         0.3   Attend call on bar dates with internal team.

   14      5/12/2023    Cheng, Earnestiena       0.6   Provide feedback to Counsel on proposed bar date based on feedback
                                                       from internal team.
   14      5/12/2023    Cheng, Earnestiena       0.6   Review Company's draft bar date motion.

   14      5/12/2023    Cheng, Earnestiena       0.8   Review bar date timing in other comparable cases to evaluate
                                                       reasonableness of proposed Diamond bar date.
   14      5/12/2023     Vadon, Courtney         0.8   Continue comparing proposed DSG bar dates with bar dates previously
                                                       set for other bankruptcy cases.
   14      5/12/2023     Vadon, Courtney         0.3   Compare proposed DSG bar dates with bar dates previously set for other
                                                       bankruptcy cases.
   14      5/12/2023      Hu, Elizabeth          0.3   Discuss claims bar date issues with team.

   14      5/30/2023    Cheng, Earnestiena       0.4   Evaluate impact of Raycom rejection on claims pool and cashflow.

   14      5/30/2023    Cheng, Earnestiena       0.2   Follow-up with team on Raycom contract rejection re: analysis on claims
                                                       pool.
   14      5/31/2023    Cheng, Earnestiena       0.3   Discuss potential contract rejection claims with internal team.

   14      5/31/2023      Taylor, Brian          0.3   Discuss potential contract rejections with FTI teams.

   14      6/6/2023       Leake, Nicola          0.8   Prepare information re: unsecured claims.

   14      6/29/2023    Cheng, Earnestiena       0.5   Provide update to Counsel re: unsecured claims pool estimation.




                                                        114
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 115 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                    Activity
Category
   14      6/29/2023   Murphy, Andrew         0.3   Prepare analysis re: contract rejections claims estimates.

14 Total                                      7.9

   15      4/2/2023     Berkin, Michael       1.8   Evaluate cash management motion for input in the liquidity deck.

   15      4/2/2023    Cheng, Earnestiena     0.9   Review cash management motions to evaluate key case issues for
                                                    liquidity deck.
   15      4/3/2023    Cheng, Earnestiena     1.2   Analyze cash management motion.

   15      4/3/2023    Sternberg, Joseph      1.5   Continue to prepare analysis re: cash management motion.

   15      4/3/2023    Cheng, Earnestiena     0.9   Draft key issues list for cash management motion.

   15      4/3/2023    Sternberg, Joseph      2.6   Prepare analysis re: cash management motion.

   15      4/3/2023    Cheng, Earnestiena     0.9   Provide comments to Akin's draft of the final cash management order.

   15      4/3/2023      Simms, Steven        0.4   Review cash collateral and cash management motion issues.

   15      4/4/2023      Hu, Elizabeth        0.9   Analyze in detail re: cash management order.

   15      4/4/2023    Cheng, Earnestiena     0.7   Analyze list of cash management issues and diligence items.

   15      4/4/2023     Berkin, Michael       1.4   Assess intercompany cash flow schematics to present to the Committee.

   15      4/4/2023    Cheng, Earnestiena     1.4   Edit mark-up of cash management order and key issues to internal team.

   15      4/4/2023    Cheng, Earnestiena     0.9   Evaluate cash management issues to give direction to internal team.

   15      4/4/2023    Cheng, Earnestiena     1.1   Incorporate edits from internal team re: Intercompany claims and changes
                                                    to cash management order.
   15      4/4/2023     Berkin, Michael       1.2   Prepare comments to cash collateral and cash management motions
                                                    diligence questions lists.
   15      4/4/2023    Cheng, Earnestiena     0.7   Process edits to list of cash management items.

   15      4/4/2023    Cheng, Earnestiena     0.2   Provide annotated organizational chart to Counsel to assist in discussions
                                                    about cash management.
   15      4/4/2023    Cheng, Earnestiena     0.4   Review annotated organizational chart from the Company.

   15      4/4/2023     Berkin, Michael       1.5   Review cash collateral and cash management motions diligence questions
                                                    list.
   15      4/4/2023      Hu, Elizabeth        0.7   Review cash management order mark-up and related diligence items.

   15      4/4/2023     Scruton, Andrew       1.9   Review initial summary of issues and diligence requests re: cash
                                                    management motion.
   15      4/4/2023     Berkin, Michael       0.8   Update cash management motions diligence questions lists.

                                                     115
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 116 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date       Professional        Hours                                   Activity
Category
   15      4/5/2023      Hu, Elizabeth          1.1   Attend call with Akin re: cash management motion issues.

   15      4/5/2023     Scruton, Andrew         1.5   Review responses to diligence requests re: cash management motion.

   15      4/5/2023      Leake, Nicola          2.2   Continue with preparation of Committee presentation re: cash
                                                      management.
   15      4/5/2023    Cheng, Earnestiena       0.8   Coordinate review of cash management motion analysis.

   15      4/5/2023    Cheng, Earnestiena       0.9   Coordinate with Akin team re: evaluation of cash management motion.

   15      4/5/2023     Berkin, Michael         1.1   Discuss upcoming motion issues including cash management with Akin
                                                      team.
   15      4/5/2023    Sternberg, Joseph        1.1   Participate in call with Akin re: cash management motion and related
                                                      cash questions.
   15      4/5/2023    Cheng, Earnestiena       1.1   Participate in call with Akin re: cash management system.

   15      4/5/2023      Leake, Nicola          2.9   Prepare cash management process flows.

   15      4/5/2023    Cheng, Earnestiena       0.4   Prepare for call with Akin team re: cash management diligence.

   15      4/5/2023    Cheng, Earnestiena       0.9   Process edits to key issues list for cash management motion.

   15      4/5/2023     Scruton, Andrew         1.2   Review team analysis on motions re: cash management & cash collateral
                                                      motion.
   15      4/5/2023      Leake, Nicola          1.0   Attend call with Akin to discuss cash management and cash collateral.

   15      4/5/2023     Vadon, Courtney         1.0   Attend call with Committee counsel re: cash.

   15      4/6/2023     Murphy, Andrew          1.2   Analyze cash management motion with emphasis on intercompany
                                                      payments.
   15      4/6/2023    Cheng, Earnestiena       1.4   Continue to provide comments to questions from Counsel re: cash
                                                      management system.
   15      4/6/2023    Cheng, Earnestiena       0.4   Coordinate with Akin re: comments to cash management order.

   15      4/6/2023     Berkin, Michael         1.0   Discuss cash management and collateral motions with Alix team to
                                                      incorporate in Committee deck.
   15      4/6/2023    Cheng, Earnestiena       1.3   Draft summary of cash management notes for Akin.

   15      4/6/2023   Nicholls, Christopher     1.0   Participate in call with Alix re: cash management system.

   15      4/6/2023      Hu, Elizabeth          1.0   Participate in call with Alix re: remaining cash management diligence
                                                      questions.
   15      4/6/2023    Cheng, Earnestiena       1.0   Participate in call with Alix team re: cash management system overview.

   15      4/6/2023    Cheng, Earnestiena       0.8   Prepare correspondence with Akin on cash management issues.

   15      4/6/2023    Cheng, Earnestiena       1.8   Provide mark-up to cash management final order reflecting suggested
                                                      protections.
                                                       116
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 117 of 220
                                           EXHIBIT E
                        DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                     DETAIL OF TIME ENTRIES
                           FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional      Hours                                   Activity
Category
   15      4/6/2023   Cheng, Earnestiena     0.2   Provide written update to internal team re: open items on cash
                                                   management system review.
   15      4/6/2023     Hu, Elizabeth        0.3   Review Akin's mark up to cash management order draft.

   15      4/6/2023    Sternberg, Joseph     2.2   Review analysis re: cash management motion.

   15      4/6/2023    Sternberg, Joseph     0.6   Review cash management motion before meeting with Counsel.

   15      4/6/2023   Cheng, Earnestiena     0.9   Review edits to cash management motion notes to evaluate follow-ups for
                                                   Alix team.
   15      4/6/2023     Hu, Elizabeth        0.7   Review in order to edit cash management issues summary and notes from
                                                   Alix call.
   15      4/6/2023     Hu, Elizabeth        0.4   Review notes from cash management call with Alix.

   15      4/6/2023    Murphy, Andrew        1.6   Summarize call notes re: cash management motion.

   15      4/6/2023     Leake, Nicola        1.0   Attend call with Alix re: cash management questions.

   15      4/6/2023    Murphy, Andrew        1.0   Attend call with Alix re: cash management motion and reporting.

   15      4/6/2023    Sternberg, Joseph     1.1   Participate in call with Alix re: cash management motion.

   15      4/7/2023    Sternberg, Joseph     2.5   Continue to prepare presentation re: cash management motion with
                                                   emphasis on JV structure.
   15      4/7/2023    Murphy, Andrew        3.0   Edit presentation re: analysis of cash management motion.

   15      4/7/2023    Sternberg, Joseph     2.0   Further prepare presentation re: cash management motion commentary.

   15      4/7/2023    Sternberg, Joseph     2.9   Prepare presentation re: cash management motion.

   15      4/8/2023    Sternberg, Joseph     2.4   Continue to prepare presentation re: cash management structure.

   15      4/8/2023    Sternberg, Joseph     2.5   Prepare presentation re: cash management motion analysis.

   15      4/8/2023   Cheng, Earnestiena     1.3   Review draft cash management overview presentation with focus on AR
                                                   facility.
   15      4/8/2023   Cheng, Earnestiena     1.4   Review draft cash management overview presentation with focus on key
                                                   takeaways.
   15      4/8/2023   Cheng, Earnestiena     1.2   Review draft cash management overview presentation with focus on
                                                   monthly JV settlements.
   15      4/8/2023   Cheng, Earnestiena     1.2   Review draft cash management overview presentation with focus on
                                                   ongoing relationship with Sinclair.
   15      4/8/2023   Cheng, Earnestiena     1.2   Review proposed Committee protections under cash management motion.

   15      4/9/2023    Berkin, Michael       2.1   Analyze intercompany cash flow activities to assess cash management
                                                   motion.
   15      4/9/2023    Sternberg, Joseph     2.3   Apply edits to presentation re: cash management motion.

                                                    117
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 118 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                   Activity
Category
   15      4/9/2023    Sternberg, Joseph      2.0   Apply updates to presentation re: cash management motion.

   15      4/9/2023     Berkin, Michael       0.7   Assess diligence requests to assess cash management motion.

   15      4/9/2023    Sternberg, Joseph      2.7   Prepare presentation re: cash management motion commentary.

   15      4/11/2023     Hu, Elizabeth        0.6   Attend call with Akin re: cash management markup.

   15      4/11/2023   Cheng, Earnestiena     0.2   Coordinate call with Counsel to discuss outstanding cash management
                                                    issues with Company advisors.
   15      4/11/2023   Sternberg, Joseph      0.6   Participate in call with Akin re: cash management diligence.

   15      4/11/2023   Cheng, Earnestiena     0.6   Participate in call with Counsel re: cash management issues.

   15      4/11/2023   Cheng, Earnestiena     1.2   Process edits to cash management and cash collateral budget slides
                                                    prepared by internal team.
   15      4/11/2023   Cheng, Earnestiena     0.6   Process edits to latest diligence list covering cash management, cash
                                                    collateral, and other motions.
   15      4/11/2023   Cheng, Earnestiena     1.4   Review cash management and cash collateral budget slides prepared by
                                                    internal team.
   15      4/11/2023    Scruton, Andrew       0.6   Review follow up diligence requests re: cash management motion.

   15      4/12/2023    Berkin, Michael       0.7   Continue to prepare for call with Committee to discuss status of cash
                                                    management and collateral motions.
   15      4/12/2023   Cheng, Earnestiena     0.8   Participate in call with Company advisors and Counsel re: proposed
                                                    changes to cash management order.
   15      4/12/2023    Berkin, Michael       1.3   Prepare for call with Committee to discuss status of cash management
                                                    and collateral motions.
   15      4/12/2023     Hu, Elizabeth        0.5   Provide comments re: cash management order.

   15      4/12/2023    Berkin, Michael       0.5   Provide feedback on analysis re: cash management.

   15      4/12/2023    Scruton, Andrew       1.8   Review draft report to Committee on work performed on cash
                                                    management motion.
   15      4/13/2023   Murphy, Andrew         0.4   Attend call with team member to discuss cash management slide updates
                                                    for 4/19 Committee update call.
   15      4/13/2023   Murphy, Andrew         1.7   Continue to update presentation re: cash management per comments from
                                                    internal team.
   15      4/13/2023   Cheng, Earnestiena     0.4   Coordinate with internal team and Akin re: changes to cash management
                                                    order.
   15      4/13/2023   Cheng, Earnestiena     0.7   Evaluate proposed cash management intercompany reporting language.

   15      4/13/2023   Sternberg, Joseph      0.4   Participate in additional call with team member re: cash management
                                                    slides.
   15      4/13/2023     Hu, Elizabeth        0.9   Participate in call with team re: cash management order mark up and next
                                                    steps.
   15      4/13/2023   Murphy, Andrew         0.3   Participate in call with team member re: cash management presentation.

                                                     118
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 119 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                   Activity
Category
   15      4/13/2023   Sternberg, Joseph      0.3   Participate in call with team member re: cash management slides.

   15      4/13/2023   Cheng, Earnestiena     0.6   Provide comments on cash management order to Counsel.

   15      4/13/2023    Scruton, Andrew       0.9   Review analysis and issues re: cash management motion.

   15      4/13/2023    Berkin, Michael       0.6   Review and assess response to Debtor's proposed cash management order
                                                    changes.
   15      4/13/2023   Cheng, Earnestiena     0.9   Review cash management system diligence.

   15      4/13/2023   Cheng, Earnestiena     0.5   Review comments to cash management order.

   15      4/13/2023   Murphy, Andrew         3.0   Update presentation re: cash management per comments from internal
                                                    team.
   15      4/14/2023   Cheng, Earnestiena     0.2   Coordinate with Akin on form of cash management order.

   15      4/14/2023   Murphy, Andrew         1.5   Edit presentation re: cash management per comments from internal team.

   15      4/14/2023   Murphy, Andrew         2.7   Finalize presentation re: cash management and distribute to internal team
                                                    for review.
   15      4/16/2023   Cheng, Earnestiena     2.9   Process edits to cash management and liquidity presentations.

   15      4/17/2023    Vadon, Courtney       0.7   Apply outstanding comments from cash management and liquidity deck
                                                    discussion.
   15      4/17/2023   Murphy, Andrew         2.7   Edit analysis re: cash management motion per comments from internal
                                                    team.
   15      4/17/2023   Murphy, Andrew         1.9   Finalize analysis re: cash management motion per comments from
                                                    internal team.
   15      4/17/2023   Cheng, Earnestiena     1.4   Process additional edits to cash management and liquidity presentations.

   15      4/18/2023    Vadon, Courtney       0.2   Apply updates to cash management & liquidity deck.

   15      4/18/2023   Murphy, Andrew         0.6   Continue to edit analysis re: cash management motion per comments
                                                    from internal team.
   15      4/18/2023   Murphy, Andrew         1.8   Continue to edit presentation re: cash management motion and liquidity
                                                    per comments from internal team.
   15      4/18/2023   Cheng, Earnestiena     0.2   Discuss process on cash management order with Akin.

   15      4/18/2023   Murphy, Andrew         2.5   Edit presentation re: cash management motion and liquidity per
                                                    comments from internal team.
   15      4/18/2023   Cheng, Earnestiena     2.2   Process edits to cash management presentation for Committee.

   15      4/18/2023     Hu, Elizabeth        1.1   Review analysis re: intercompany transactions.

   15      4/18/2023    Vadon, Courtney       1.1   Review most recent cash management order for cash management &
                                                    liquidity deck.
   15      4/18/2023   Murphy, Andrew         2.7   Summarize discussion topics for cash management & liquidity discussion
                                                    deck.
                                                      119
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 120 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date       Professional      Hours                                    Activity
Category
   15      4/21/2023   Cheng, Earnestiena     0.2   Reach out to Alix team re: cash management reporting.

   15      4/21/2023   Cheng, Earnestiena     0.3   Review cash management reporting deliverables.

   15      4/21/2023   Friedman, Samantha     0.6   Review initial draft of summary of timeline of intercompany cash
                                                    transactions.
   15      4/24/2023     Hu, Elizabeth        0.5   Participate on call with team re: intercompany shared services and next
                                                    steps.
   15      4/30/2023   Cheng, Earnestiena     0.1   Review intercompany schedule provided by Alix team.

   15      5/1/2023     Murphy, Andrew        2.8   Finalize and distribute diligence questions re: intercompany matrix
                                                    analysis.
   15      5/1/2023    Cheng, Earnestiena     0.8   Review intercompany schedule provided by Alix team.

   15      5/1/2023    Cheng, Earnestiena     0.7   Evaluate monthly JV settlements file provided by Alix.

   15      5/1/2023    Cheng, Earnestiena     0.6   Perform review re: intercompany balances, 4/21 budget to actuals, and
                                                    monthly JV settlements.
   15      5/1/2023     Murphy, Andrew        2.6   Prepare diligence questions re: intercompany matrix analysis.

   15      5/1/2023     Murphy, Andrew        2.0   Prepare analysis re: intercompany matrix analysis.

   15      5/2/2023    Cheng, Earnestiena     0.6   Analyze February intercompany matrix.

   15      5/2/2023    Cheng, Earnestiena     0.3   Participate on call with team member re: February intercompany matrix.

   15      5/2/2023    Cheng, Earnestiena     1.1   Analyze schedule of intercompany balances as of the petition date among
                                                    debtors and non-debtors.
   15      5/2/2023     Murphy, Andrew        0.3   Attend call with internal team re: intercompany claims analysis.

   15      5/3/2023     Murphy, Andrew        2.3   Amend intercompany matrix analysis per comments from internal team.

   15      5/3/2023      Hu, Elizabeth        0.4   Discuss follow up items to intercompany matrix with team.

   15      5/3/2023     Murphy, Andrew        0.4   Attend call with internal FTI team to review intercompany matrix.

   15      5/3/2023    Cheng, Earnestiena     0.4   Participate in call with internal team re: intercompany balances as of
                                                    2/28/23.
   15      5/5/2023     Berkin, Michael       1.2   Analyze Debtor's intercompany activity.

   15      5/12/2023    Sternberg, Joseph     0.3   Correspond with Alix re: AR facility.

   15      5/17/2023    Murphy, Andrew        1.4   Prepare variance analysis re: intercompany balances sourced from Alix
                                                    vs sourced from SOFA SOALs.
   15      5/17/2023    Murphy, Andrew        2.0   Prepare analysis re: intercompany matrix.

   15      5/17/2023    Murphy, Andrew        0.4   Prepare questions for call with internal team re: intercompany matrix
                                                    analysis.
                                                     120
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 121 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                     Activity
Category
   15      5/17/2023   Sternberg, Joseph      1.3   Participate in a call with FTI team re: intercompany matrix.

   15      5/17/2023   Murphy, Andrew         1.3   Participate in call with internal team re: intercompany matrix
                                                    reconciliation.
   15      5/18/2023   Cheng, Earnestiena     0.7   Participate in call with internal team re: intercompany analysis.

   15      5/18/2023   Murphy, Andrew         0.5   Call with internal team re: intercompany matrix analysis.

   15      5/18/2023    Berkin, Michael       2.3   Evaluate intercompany balances provided by the Debtors' advisors.

   15      5/18/2023   Murphy, Andrew         1.9   Update diligence questions re: intercompany matrix.

   15      5/18/2023   Murphy, Andrew         2.8   Continue to prepare analysis re: intercompany matrix.

   15      5/18/2023   Murphy, Andrew         2.9   Prepare presentation re: intercompany matrix analysis.

   15      5/18/2023   Murphy, Andrew         0.7   Call with internal FTI team re: intercompany matrix analysis.

   15      5/18/2023   Cheng, Earnestiena     0.5   Participate in call with internal team re: intercompany matrix.

   15      5/19/2023   Murphy, Andrew         0.7   Update intercompany matrix analysis per comments from internal team.

   15      5/22/2023   Murphy, Andrew         1.3   Update intercompany claims analysis per comments from internal team.

   15      5/22/2023   Sternberg, Joseph      1.0   Provide comments on intercompany claims analysis.

   15      5/26/2023   Sternberg, Joseph      0.2   Review waterfall with team member.

   15      5/26/2023   Murphy, Andrew         2.4   Continue to prepare analysis re: waterfall.

   15      5/26/2023   Murphy, Andrew         2.2   Prepare analysis re: waterfall.

   15      5/26/2023   Murphy, Andrew         0.2   Attend call with internal team re: waterfall analysis.

   15      5/27/2023   Cheng, Earnestiena     0.4   Evaluate non-debtor JV financial health.

   15      5/29/2023    Berkin, Michael       1.8   Analyze prepetition intercompany balances.

   15      5/30/2023    Berkin, Michael       1.0   Assess April 2023 JV settlement activity.

   15      5/30/2023   Cheng, Earnestiena     0.7   Provide update to Counsel re: AP reconciliation and claims workstreams
                                                    status.
   15      5/30/2023   Murphy, Andrew         2.5   Prepare analysis re: April 2023 JV settlements.

   15      5/31/2023    Braga, Andrew         2.1   Create analysis evaluating DSG corporate structure.

   15      5/31/2023   Murphy, Andrew         0.7   Update presentation re: intercompany matrix analysis per diligence
                                                    question responses from Alix.
                                                     121
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 122 of 220
                                           EXHIBIT E
                        DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                     DETAIL OF TIME ENTRIES
                           FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional      Hours                                    Activity
Category
   15      6/1/2023    Murphy, Andrew        2.4   Prepare analysis re: intercompany balance month over month variances.

   15      6/2/2023    Murphy, Andrew        1.2   Continue to prepare analysis re: intercompany balance month over month
                                                   variances.
   15      6/5/2023       Davis, Guy         2.2   Review diligence questions list re: intercompany accounts.

   15      6/5/2023    Murphy, Andrew        2.9   Prepare presentation re: composition of significant intercompany
                                                   balances.
   15      6/5/2023    Murphy, Andrew        1.9   Update analysis re: February, April, and March intercompany balance
                                                   variances.
   15      6/5/2023    Murphy, Andrew        1.5   Update intercompany analysis per comments from internal team.

   15      6/5/2023    Murphy, Andrew        1.3   Update presentation per comments from internal team re: composition of
                                                   significant intercompany balance.
   15      6/5/2023    Murphy, Andrew        1.1   Continue to prepare presentation re: composition of significant
                                                   intercompany balances.
   15      6/5/2023    Sternberg, Joseph     0.6   Review intercompany analysis in order to provide comments.

   15      6/5/2023    Sternberg, Joseph     0.4   Participate in call with internal team re: intercompany analysis.

   15      6/5/2023    Murphy, Andrew        0.4   Participate on call with internal team re: Alix responses to intercompany
                                                   balance diligence questions.
   15      6/6/2023    Murphy, Andrew        1.9   Prepare presentation framework re: intercompany matrix overlay with
                                                   organizational structure.
   15      6/6/2023    Murphy, Andrew        1.6   Continue to update analysis re: February, April, and March intercompany
                                                   balance variances.
   15      6/6/2023    Sternberg, Joseph     1.2   Review intercompany presentation.

   15      6/6/2023    Murphy, Andrew        1.2   Participate in call with internal team re: intercompany matrix analysis.

   15      6/6/2023     Leake, Nicola        1.2   Attend call with internal team re: intercompany matrix.

   15      6/6/2023    Murphy, Andrew        0.5   Participate in call with team member re: intercompany matrix overlay
                                                   with organizational structure exhibit.
   15      6/7/2023    Murphy, Andrew        1.8   Continue additional preparation of presentation framework re:
                                                   intercompany matrix overlay with organizational structure.
   15      6/7/2023    Murphy, Andrew        1.2   Continue to prepare presentation framework re: intercompany matrix
                                                   overlay with organizational structure.
   15      6/7/2023    Murphy, Andrew        1.1   Update presentation framework re: intercompany matrix overlay with
                                                   organizational structure per comments from internal team.
   15      6/8/2023    Sternberg, Joseph     2.3   Review presentation re: intercompany balances.

   15      6/8/2023    Murphy, Andrew        0.8   Continue to update presentation framework re: intercompany matrix
                                                   overlay with organizational structure per comments from internal team.

   15      6/15/2023   Murphy, Andrew        1.4   Prepare analysis re: intercompany payables balance Feb-23, Mar-23, and
                                                   Apr-23 variances.

                                                    122
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 123 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                     Activity
Category
   15      6/19/2023   Sternberg, Joseph      1.3   Review waterfall model with emphasis on intercompany data.

   15      6/21/2023   Murphy, Andrew         1.2   Prepare analysis re: intercompany claims for waterfall model.

   15      6/22/2023   Sternberg, Joseph      1.8   Review waterfall analysis re: intercompany assumptions.

   15      6/26/2023   Murphy, Andrew         2.0   Prepare additional analysis re: intercompany payables.

   15      6/27/2023   Murphy, Andrew         2.0   Continue to prepare analysis re: intercompany payables.

   15      6/27/2023   Murphy, Andrew         1.9   Update allocation analysis for intercompany payables per comments from
                                                    internal team.
   15      6/27/2023   Murphy, Andrew         1.6   Update allocation analysis for intercompany per comments from internal
                                                    team.
   15      6/27/2023      Eldred, John        0.8   Attend meeting with team member on intercompany activity in cash
                                                    ledger analysis.
   15      6/27/2023   Sternberg, Joseph      0.6   Participate in call with internal team member re: intercompany analysis
                                                    for waterfall.
   15      6/27/2023   Murphy, Andrew         0.6   Participate in call with internal team member re: intercompany claims
                                                    estimates.
   15      6/28/2023   Murphy, Andrew         3.0   Update revenue and expense allocation analysis for intercompany per
                                                    comments from internal team.
   15      6/28/2023   Cheng, Earnestiena     1.5   Participate in call with internal team re: intercompany claims.

   15      6/28/2023   Sternberg, Joseph      1.5   Participate in call with internal team re: intercompany analysis for
                                                    waterfall.
   15      6/28/2023   Murphy, Andrew         1.5   Participate in call with internal team re: intercompany methodology.

   15      6/28/2023     Leake, Nicola        1.5   Attend call with FTI team re: intercompany claims for waterfall.

   15      6/28/2023   Sternberg, Joseph      0.4   Participate in additional call with internal team re: intercompany analysis.

   15      6/28/2023     Leake, Nicola        0.4   Attend discussion with waterfall team re: intercompany balance review.

   15      6/29/2023   Cheng, Earnestiena     1.3   Participate in follow-up call with internal team re: intercompany claims.

   15      6/29/2023   Murphy, Andrew         1.7   Participate in call with internal team re: waterfall value allocation drivers
                                                    and intercompany claims.
   15      6/29/2023     Leake, Nicola        1.7   Attend additional call with team members re: working through waterfall
                                                    mechanics.
   15      6/29/2023   Sternberg, Joseph      1.3   Participate in call with team re: intercompany claims.

   15      6/29/2023    Bhargava, Yash        1.3   Conduct a meeting with the internal team to review business plan-related
                                                    questions based on the intercompany matrix.
   15      6/29/2023   Murphy, Andrew         1.4   Update intercompany claims analysis per comments from internal team.

   15      6/29/2023   Murphy, Andrew         1.3   Participate in call with internal team re: intercompany methodology.

                                                     123
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 124 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                      Activity
Category
   15      6/29/2023     Leake, Nicola        1.3   Attend call with team re: working through intercompany assumptions.

15 Total                                    264.3

   16      5/25/2023   Sternberg, Joseph      0.7   Review waterfall distribution analysis.

   16      5/25/2023   Murphy, Andrew         0.6   Participate in call with internal team re: waterfall valuation analysis.

   16      5/25/2023   Sternberg, Joseph      0.3   Review team deliverable re: waterfall analysis.

   16      5/25/2023   Cheng, Earnestiena     0.6   Discuss waterfall inputs with internal team.

   16      5/25/2023     Leake, Nicola        0.6   Discuss waterfall with internal team.

   16      5/25/2023   Cheng, Earnestiena     0.4   Evaluate potential waterfall model inputs.

   16      5/25/2023   Cheng, Earnestiena     1.3   Evaluate outline for waterfall model structure with internal team.

   16      5/25/2023   Murphy, Andrew         0.7   Review waterfall analysis.

   16      5/30/2023   Murphy, Andrew         2.9   Update waterfall analysis per comments from internal team.

   16      5/30/2023   Sternberg, Joseph      0.3   Participate in call with internal team re: assets in waterfall analysis.

   16      5/30/2023   Murphy, Andrew         0.3   Call with internal team re: waterfall analysis.

   16      6/1/2023    Murphy, Andrew         1.3   Participate on call with internal team re: revisions to waterfall analysis
                                                    and next steps.
   16      6/1/2023      Leake, Nicola        1.3   Discuss waterfall with team to understand approach.

   16      6/1/2023    Cheng, Earnestiena     0.6   Review secured lien waterfall analysis in order to provide comments and
                                                    next steps.
   16      6/1/2023    Sternberg, Joseph      0.6   Process edits re: secured lien waterfall.

   16      6/2/2023    Murphy, Andrew         2.8   Update waterfall analysis per comments from internal team.

   16      6/2/2023    Murphy, Andrew         2.3   Prepare analysis re: waterfall analysis.

   16      6/2/2023    Sternberg, Joseph      1.3   Review latest waterfall model.

   16      6/2/2023    Murphy, Andrew         1.3   Continue to update waterfall analysis per comments from internal team.

   16      6/2/2023    Cheng, Earnestiena     0.6   Participate in call with internal team re: waterfall model structure.

   16      6/2/2023    Sternberg, Joseph      0.6   Participate in call with FTI team re: waterfall with emphasis on structure.

   16      6/2/2023    Murphy, Andrew         0.6   Participate in call with internal team re: waterfall claims analysis.

                                                     124
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 125 of 220
                                           EXHIBIT E
                        DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                     DETAIL OF TIME ENTRIES
                           FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional      Hours                                     Activity
Category
   16      6/2/2023     Leake, Nicola        0.6   Discuss waterfall with team.

   16      6/6/2023    Murphy, Andrew        1.7   Continue to prepare analysis re: waterfall analysis.

   16      6/6/2023    Scruton, Andrew       0.5   Discuss ongoing negotiations and case items for Committee with internal
                                                   team member.
   16      6/6/2023      Taylor, Brian       0.6   Prepare internal detail on debt items for construction of waterfall.

   16      6/7/2023    Murphy, Andrew        2.3   Update waterfall claims analysis.

   16      6/7/2023    Murphy, Andrew        1.8   Update implied equity analysis with YES financials.

   16      6/7/2023    Sternberg, Joseph     1.2   Review waterfall analysis with emphasis on certain JV-entities.

   16      6/7/2023     Leake, Nicola        1.3   Review waterfall templates and begin to prepare analysis re: claims
                                                   recovery by group.
   16      6/7/2023    Sternberg, Joseph     0.5   Participate in call with FTI team re: waterfall analysis with emphasis on
                                                   cases.
   16      6/7/2023    Murphy, Andrew        0.5   Participate on call with internal team re: waterfall analysis update and
                                                   outstanding items.
   16      6/7/2023    Sternberg, Joseph     0.4   Participate in call with internal team member re: waterfall analysis
                                                   assumptions.
   16      6/7/2023    Murphy, Andrew        0.4   Participate on call with internal team re: detailed waterfall analysis
                                                   debrief.
   16      6/8/2023     Leake, Nicola        2.9   Prepare waterfall shell in order to understand claims recoveries.

   16      6/8/2023     Leake, Nicola        2.5   Continue to prepare waterfall outline in order to understand claims
                                                   recoveries.
   16      6/8/2023     Leake, Nicola        1.3   Review various waterfall analyses with emphasis on cash allocation.

   16      6/8/2023     Leake, Nicola        0.8   Continue to prepare waterfall analyses with emphasis on cash allocation.

   16      6/8/2023    Sternberg, Joseph     0.5   Participate in call with internal team member re: waterfall analysis.

   16      6/8/2023    Sternberg, Joseph     0.4   Review league term sheet.

   16      6/8/2023     Leake, Nicola        0.5   Attend call with team re: waterfall analysis preparation.

   16      6/8/2023    Sternberg, Joseph     0.2   Participate in additional call with internal team member re: waterfall
                                                   analysis.
   16      6/8/2023     Leake, Nicola        0.2   Attend additional call with team re: waterfall analysis preparation.

   16      6/9/2023     Leake, Nicola        2.7   Prepare updates to waterfall toggles and scenarios.

   16      6/9/2023     Leake, Nicola        2.1   Prepare waterfall for specific entities.

   16      6/9/2023    Sternberg, Joseph     1.4   Review waterfall analysis with emphasis on certain other JV-entities.

                                                    125
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 126 of 220
                                           EXHIBIT E
                        DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                     DETAIL OF TIME ENTRIES
                           FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional      Hours                                     Activity
Category
   16      6/9/2023    Sternberg, Joseph     1.3   Participate in call with FTI team re: waterfall analysis for status update
                                                   on case implementation.
   16      6/9/2023    Murphy, Andrew        1.3   Participate in call with internal team re: waterfall analysis status and next
                                                   steps.
   16      6/9/2023     Leake, Nicola        1.3   Attend internal call with team re: waterfall next steps.

   16      6/9/2023    Sternberg, Joseph     0.8   Participate in call with internal team re: waterfall analysis.

   16      6/9/2023     Leake, Nicola        0.8   Attend call with team re: waterfall analysis.

   16      6/9/2023    Sternberg, Joseph     0.2   Correspond with internal team re: waterfall analysis in connection to
                                                   business plan.
   16      6/11/2023    Leake, Nicola        0.9   Prepare questions for waterfall to ask externally to other parties.

   16      6/11/2023    Leake, Nicola        0.4   Analyze intercompany claims for waterfall.

   16      6/12/2023   Murphy, Andrew        2.9   Update waterfall analysis per comments from internal team.

   16      6/12/2023    Leake, Nicola        2.9   Review waterfall mechanics to ensure accuracy.

   16      6/12/2023   Murphy, Andrew        2.8   Review and update waterfall analysis.

   16      6/12/2023    Leake, Nicola        2.6   Prepare waterfall analysis including outputs and side schedules.

   16      6/12/2023    Leake, Nicola        2.4   Continue to prepare outputs for waterfall.

   16      6/12/2023   Sternberg, Joseph     1.3   Review waterfall analysis with emphasis on certain case assumptions.

   16      6/12/2023   Murphy, Andrew        1.5   Update analysis re: single entity waterfall analysis per comments from
                                                   internal team.
   16      6/12/2023   Sternberg, Joseph     0.9   Participate in call with FTI team re: waterfall mechanics and model fixes.

   16      6/12/2023   Murphy, Andrew        0.9   Participate in call with internal team re: and waterfall analysis.

   16      6/12/2023    Leake, Nicola        0.9   Attend call with team member re: waterfall.

   16      6/12/2023   Sternberg, Joseph     0.6   Review profitability and term sheets for leagues.

   16      6/12/2023   Murphy, Andrew        0.4   Participate in call with internal team member to review waterfall.

   16      6/12/2023    Leake, Nicola        0.4   Attend call with team member re: waterfall value flow.

   16      6/13/2023    Leake, Nicola        2.4   Prepare waterfall updates including spot checking allocation flow.

   16      6/13/2023    Leake, Nicola        2.1   Update waterfall analysis to ensure appropriate value allocation and other
                                                   updates.
   16      6/13/2023   Sternberg, Joseph     1.4   Participate in call with FTI team re: waterfall mechanics.

                                                    126
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 127 of 220
                                           EXHIBIT E
                        DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                     DETAIL OF TIME ENTRIES
                           FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional      Hours                                     Activity
Category
   16      6/13/2023   Sternberg, Joseph     1.2   Review waterfall mechanics.

   16      6/13/2023   Murphy, Andrew        1.4   Participate in call with internal team re: waterfall analysis and mechanics.

   16      6/13/2023    Leake, Nicola        1.4   Add to list of waterfall questions both internally and externally.

   16      6/13/2023   Murphy, Andrew        0.8   Update intercompany allocations re: waterfall analysis.

   16      6/13/2023   Sternberg, Joseph     0.6   Participate in additional call with FTI team re: waterfall mechanics.

   16      6/13/2023   Sternberg, Joseph     0.5   Discuss specific JV-entities in waterfall analysis.

   16      6/13/2023   Murphy, Andrew        0.6   Attend call with internal team member re: select waterfall analysis.

   16      6/13/2023    Leake, Nicola        0.6   Attend call with team member re: waterfall questions on distributable
                                                   value.
   16      6/13/2023   Murphy, Andrew        0.5   Participate in call with internal team re: JV-entities in waterfall analysis.

   16      6/13/2023   Murphy, Andrew        0.4   Update toggles on waterfall analysis.

   16      6/13/2023   Sternberg, Joseph     0.3   Participate in follow-up call with internal team re: waterfall mechanics.

   16      6/13/2023   Murphy, Andrew        0.3   Participate in call with internal team re: waterfall presentation and
                                                   outstanding waterfall analyses.
   16      6/13/2023   Murphy, Andrew        0.3   Participate in call with internal team member re: JV-entity in waterfall
                                                   analysis.
   16      6/13/2023    Leake, Nicola        0.3   Attend call in order to prepare additional waterfall updates.

   16      6/13/2023    Leake, Nicola        0.3   Attend call with team member re: allocation among JV-entities.

   16      6/13/2023   Murphy, Andrew        0.2   Participate in call with internal team member re: deficiency claim toggle
                                                   and intercompany claims analysis.
   16      6/13/2023    Leake, Nicola        0.2   Attend call to discuss incorporation of intercompany data in to waterfall.

   16      6/14/2023    Leake, Nicola        2.9   Continue to prepare updates to waterfall related to claims analyses and
                                                   value allocation.
   16      6/14/2023    Leake, Nicola        2.5   Prepare waterfall updates and scenario toggles.

   16      6/14/2023   Berkin, Michael       1.4   Review and analyze waterfall re: entities assessing potential causes of
                                                   action.
   16      6/14/2023   Murphy, Andrew        1.9   Update illustrative waterfall analysis per comments from internal team.

   16      6/14/2023   Murphy, Andrew        1.2   Update presentation re: illustrative waterfall analysis per comments from
                                                   internal team.
   16      6/14/2023     Taylor, Brian       0.8   Attend conference call with FTI team and Houlihan related to secured
                                                   debt analysis.
   16      6/14/2023   Murphy, Andrew        1.0   Continue to update illustrative waterfall analysis per comments from
                                                   internal team.
                                                     127
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 128 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                      Activity
Category
   16      6/14/2023   Sternberg, Joseph      0.8   Review waterfall model.

   16      6/14/2023   Murphy, Andrew         0.8   Participate in call with Houlihan re: valuation and secured lien waterfall
                                                    analysis.
   16      6/14/2023     Leake, Nicola        0.8   Attend call with Houlihan re: value and waterfall.

   16      6/14/2023   Murphy, Andrew         0.6   Prepare presentation re: illustrative waterfall analysis.

   16      6/15/2023     Leake, Nicola        3.0   Prepare updates to distributable value in the waterfall.

   16      6/15/2023   Sternberg, Joseph      2.2   Review intercompany analysis for incorporation into waterfall.

   16      6/15/2023    Scruton, Andrew       1.4   Review draft waterfall model.

   16      6/15/2023     Leake, Nicola        2.6   Apply additional preparation to waterfall updates and scenario toggles.

   16      6/15/2023   Sternberg, Joseph      1.5   Participate in call with team re: waterfall.

   16      6/15/2023    Scruton, Andrew       0.9   Continue to review draft waterfall model.

   16      6/15/2023     Hu, Elizabeth        1.0   Meet with team to walk through preliminary waterfall model.

   16      6/15/2023   Murphy, Andrew         1.5   Participate in call with internal team re: illustrative waterfall analysis.

   16      6/15/2023    Berkin, Michael       1.0   Discuss waterfall issues with team.

   16      6/15/2023   Murphy, Andrew         1.4   Prepare analysis re: illustrative recovery analysis.

   16      6/15/2023   Cheng, Earnestiena     1.0   Participate in call with internal team re: waterfall model.

   16      6/15/2023     Taylor, Brian        1.0   Attend conference call with internal team related to waterfall.

   16      6/15/2023   Murphy, Andrew         1.3   Update presentation re: illustrative waterfall analysis.

   16      6/15/2023   Sternberg, Joseph      1.0   Participate in follow-up call with internal team members re: waterfall.

   16      6/15/2023     Taylor, Brian        0.9   Review ad hoc waterfall.

   16      6/15/2023     Leake, Nicola        1.1   Prepare updates to allocations in the waterfall.

   16      6/15/2023   Murphy, Andrew         0.7   Continue to update presentation per comments from internal team re:
                                                    illustrative waterfall analysis.
   16      6/15/2023   Murphy, Andrew         0.7   Prepare analysis re: waterfall analysis and claims calculations.

   16      6/15/2023     Leake, Nicola        0.5   Discuss claims calculations with team member re: waterfall analysis.

   16      6/15/2023   Murphy, Andrew         0.3   Update presentation per comments from internal team re: illustrative
                                                    waterfall analysis.
                                                     128
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 129 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                     Activity
Category
   16      6/15/2023     Taylor, Brian        0.2   Conduct analysis related to ad hoc waterfall.

   16      6/16/2023     Leake, Nicola        2.8   Prepare waterfall updates to schedules per comments from internal team
                                                    on ad hoc basis.
   16      6/16/2023     Leake, Nicola        2.7   Prepare waterfall deck updates per comments from internal team.

   16      6/16/2023   Murphy, Andrew         2.4   Update presentation per further comments from internal team re:
                                                    illustrative waterfall analysis.
   16      6/16/2023   Cheng, Earnestiena     1.5   Analyze presentation re: ad hoc waterfall.

   16      6/16/2023   Cheng, Earnestiena     1.4   Provide comments to presentation re: ad hoc waterfall.

   16      6/16/2023     Leake, Nicola        1.7   Clean both general waterfall and ad hoc waterfall models.

   16      6/16/2023   Cheng, Earnestiena     0.4   Review latest waterfall presentation draft.

   16      6/16/2023   Sternberg, Joseph      0.3   Participate in call with internal team re: waterfall.

   16      6/16/2023   Murphy, Andrew         0.3   Participate in call with internal team member re: secured lien
                                                    investigation waterfall analysis.
   16      6/17/2023   Cheng, Earnestiena     2.1   Continue to analyze waterfall model mechanics prepared by internal
                                                    team.
   16      6/17/2023   Cheng, Earnestiena     2.0   Analyze waterfall model mechanics prepared by internal team.

   16      6/17/2023   Cheng, Earnestiena     0.1   Correspond with internal team re: items to be included in waterfall
                                                    model.
   16      6/18/2023   Cheng, Earnestiena     0.9   Continue further analysis of waterfall model mechanics prepared by
                                                    internal team.
   16      6/19/2023   Cheng, Earnestiena     2.5   Participate in live working session with internal team re: waterfall
                                                    mechanics, assumptions, and outstanding modeling items.
   16      6/19/2023   Sternberg, Joseph      2.5   Participate in meeting with FTI team re: waterfall assumptions.

   16      6/19/2023   Murphy, Andrew         2.9   Update waterfall analysis diligence questions and cash value allocation
                                                    per comments from internal team.
   16      6/19/2023   Murphy, Andrew         2.6   Update waterfall analysis distributable value and claims analysis per
                                                    comments from internal team.
   16      6/19/2023   Murphy, Andrew         2.5   Participate in internal meeting with team re: waterfall analysis comments
                                                    and updates.
   16      6/19/2023     Leake, Nicola        2.5   Attend working session with internal team re: waterfall.

   16      6/19/2023   Cheng, Earnestiena     1.5   Participate in follow-up call with internal team re: waterfall mechanics
                                                    and key issues.
   16      6/19/2023   Sternberg, Joseph      1.5   Participate in call with FTI team re: waterfall assumptions.

   16      6/19/2023   Murphy, Andrew         1.5   Participate second internal call with internal team re: waterfall analysis
                                                    comments and updates.
   16      6/19/2023   Murphy, Andrew         1.3   Update waterfall analysis summary scenario output per comments from
                                                    internal team.
                                                      129
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 130 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                     Activity
Category
   16      6/20/2023     Leake, Nicola        2.9   Prepare updates to waterfall.

   16      6/20/2023   Murphy, Andrew         2.3   Review consolidated trial balance mapping input to value allocation
                                                    drivers.
   16      6/20/2023     Leake, Nicola        2.3   Continue to prepare updates to waterfall.

   16      6/20/2023   Murphy, Andrew         1.8   Update waterfall analysis cash recoveries summary.

   16      6/20/2023   Sternberg, Joseph      1.1   Continue to review waterfall model with emphasis on intercompany data.

   16      6/20/2023   Murphy, Andrew         1.3   Continue to update waterfall analysis distributable value and claims
                                                    analysis per comments from internal team.
   16      6/20/2023   Sternberg, Joseph      1.0   Participate in call with Houlihan re: business plan and waterfall.

   16      6/20/2023   Cheng, Earnestiena     0.7   Participate in call with team re: waterfall recovery analysis.

   16      6/20/2023   Sternberg, Joseph      0.7   Participate in call with FTI team re: revised waterfall assumptions.

   16      6/20/2023   Cheng, Earnestiena     0.6   Draft waterfall questions to discuss with Houlihan.

   16      6/20/2023     Leake, Nicola        0.7   Attend call re: waterfall recovery analysis.

   16      6/20/2023   Cheng, Earnestiena     0.4   Continue to draft questions for Houlihan re: waterfall mechanics and
                                                    value allocation.
   16      6/20/2023   Sternberg, Joseph      0.4   Participate in call with internal team member re: waterfall assumptions
                                                    for additional entities.
   16      6/20/2023   Sternberg, Joseph      0.4   Participate in call with internal team member re: waterfall assumptions by
                                                    entity.
   16      6/20/2023   Murphy, Andrew         0.4   Participate on call with internal team re: contract rejection claims.

   16      6/20/2023   Murphy, Andrew         0.4   Participate in call with internal team member re: waterfall analysis claims
                                                    and outstanding items.
   16      6/21/2023   Murphy, Andrew         2.9   Prepare analysis re: value allocation.

   16      6/21/2023     Leake, Nicola        2.9   Prepare updates to waterfall.

   16      6/21/2023   Sternberg, Joseph      1.6   Review updated waterfall mechanics to provide feedback.

   16      6/21/2023     Leake, Nicola        1.7   Validate waterfall model to ensure completeness and accuracy.

   16      6/21/2023     Leake, Nicola        1.7   Prepare mechanical tweaks to waterfall re: toggling ability and allocation
                                                    calculations.
   16      6/21/2023   Sternberg, Joseph      1.3   Participate in call with internal team member re: waterfall mechanics.

   16      6/21/2023   Murphy, Andrew         1.3   Participate in call with internal team re: waterfall allocations and
                                                    intercompany claims.
   16      6/21/2023     Leake, Nicola        1.3   Attend call with team members re: waterfall mechanics including value
                                                    allocation methodology.
                                                      130
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 131 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                     Activity
Category
   16      6/21/2023   Murphy, Andrew         1.0   Review waterfall analysis re: allocation.

   16      6/21/2023   Murphy, Andrew         0.8   Participate in call with internal team member re: intercompany waterfall
                                                    build.
   16      6/21/2023     Leake, Nicola        0.8   Discuss intercompany assumptions for waterfall with team member.

   16      6/21/2023   Murphy, Andrew         0.6   Participate in additional call with internal team member re: intercompany
                                                    waterfall build.
   16      6/21/2023     Leake, Nicola        0.6   Discuss additional intercompany waterfall items with team member.

   16      6/22/2023   Murphy, Andrew         2.7   Analyze business plan model revenue and expenses inputs to understand
                                                    intercompany forecast drivers.
   16      6/22/2023     Leake, Nicola        2.5   Validate waterfall model post-updates to ensure completeness and
                                                    accuracy.
   16      6/22/2023   Murphy, Andrew         2.4   Continue to review waterfall analysis and perform quality control checks.

   16      6/22/2023   Murphy, Andrew         1.3   Review waterfall analysis and perform quality control checks.

   16      6/22/2023   Sternberg, Joseph      0.8   Participate in call with internal team member re: waterfall claims.

   16      6/22/2023   Murphy, Andrew         0.8   Participate in call with internal team re: intercompany claims analysis and
                                                    incorporation into waterfall.
   16      6/22/2023     Leake, Nicola        0.8   Attend call with team members re: waterfall claims.

   16      6/22/2023   Cheng, Earnestiena     0.3   Discuss waterfall scenarios with internal team.

   16      6/22/2023   Murphy, Andrew         0.4   Update waterfall analysis with rejection claim estimates.

   16      6/22/2023   Sternberg, Joseph      0.2   Participate in call with FTI team re: rejection claims for waterfall.

   16      6/22/2023   Murphy, Andrew         0.2   Participate in call with internal team re: rejection assumptions.

   16      6/22/2023     Leake, Nicola        0.2   Discuss rejection claims analysis with team re: waterfall.

   16      6/23/2023   Sternberg, Joseph      2.4   Prepare key drivers re: waterfall model.

   16      6/23/2023     Leake, Nicola        2.9   Prepare updates to intercompany waterfall questions and analysis.

   16      6/23/2023   Murphy, Andrew         2.1   Review and provide input to waterfall model drivers summary.

   16      6/23/2023   Sternberg, Joseph      1.1   Continue further review of waterfall model with emphasis on
                                                    intercompany data.
   16      6/23/2023   Murphy, Andrew         1.1   Update waterfall analysis re: distributable value for outcomes.

   16      6/23/2023   Sternberg, Joseph      0.8   Participate in call with FTI team re: waterfall assumptions and outputs.

   16      6/23/2023   Sternberg, Joseph      0.8   Continue to prepare key drivers re: waterfall model.

                                                     131
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 132 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date       Professional      Hours                                    Activity
Category
   16      6/23/2023    Murphy, Andrew        0.9   Attend call with internal team re: allocation and intercompany toggles.

   16      6/23/2023    Murphy, Andrew        0.8   Participate in call with internal team member to review business plan
                                                    assumptions for waterfall purposes.
   16      6/23/2023     Leake, Nicola        0.8   Attend call with waterfall team to discuss updates to model.

   16      6/23/2023    Murphy, Andrew        0.7   Prepare analysis re: intercompany payables.

   16      6/25/2023   Cheng, Earnestiena     2.1   Analyze waterfall model edits prepared by internal team.

   16      6/26/2023    Murphy, Andrew        3.0   Prepare analysis re: RSN to entity mapping for waterfall application.

   16      6/26/2023    Murphy, Andrew        2.2   Update waterfall analysis, claims scenarios, and contract rejection
                                                    schedules per comments from internal team.
   16      6/26/2023    Murphy, Andrew        1.2   Validate waterfall analysis model inputs drivers and toggle switches.

   16      6/26/2023   Cheng, Earnestiena     0.3   Correspond with team re: waterfall mechanics.

   16      6/27/2023     Leake, Nicola        2.4   Prepare updates to waterfall re: allocation methodologies, claims, and
                                                    overall flow.
   16      6/27/2023   Cheng, Earnestiena     0.8   Evaluate mechanics of waterfall model.

   16      6/27/2023    Scruton, Andrew       0.3   Correspond with Akin on potential mediation motion.

   16      6/28/2023     Leake, Nicola        3.0   Prepare updates to waterfall questions as indicated from call with team.

   16      6/28/2023    Murphy, Andrew        2.0   Continue to update revenue and expense allocation analysis per
                                                    comments from internal team.
   16      6/28/2023   Friedman, Samantha     1.1   Provide feedback to waterfall team re: business plan toggles.

   16      6/28/2023     Leake, Nicola        1.4   Prepare updates to waterfall model per internal feedback.

   16      6/28/2023    Murphy, Andrew        0.8   Analyze specific RSN profitability for waterfall application.

   16      6/28/2023    Murphy, Andrew        0.6   Participate in call with internal team member re: completed and
                                                    outstanding waterfall analysis updates.
   16      6/28/2023     Leake, Nicola        0.6   Participate on call with team member re: remaining waterfall updates.

   16      6/28/2023    Murphy, Andrew        0.4   Participate in call with internal team member re: intercompany balance.

   16      6/28/2023    Murphy, Andrew        0.1   Correspond with internal team member re: sports rights allocations and
                                                    entity level checks.
   16      6/28/2023    Murphy, Andrew        0.1   Correspond with internal team member re: waterfall value allocation
                                                    methodology.
   16      6/29/2023     Leake, Nicola        2.6   Apply updates to waterfall mechanics.

   16      6/29/2023   Cheng, Earnestiena     1.7   Participate in call with internal team re: waterfall models with focus on
                                                    distributable value, intercompany assumptions, claims.
                                                     132
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 133 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                     Activity
Category
   16      6/29/2023     Leake, Nicola        2.3   Work through waterfall updates post-calls with team.

   16      6/29/2023   Cheng, Earnestiena     1.6   Analyze waterfall model mechanics to provide comments to internal
                                                    team.
   16      6/29/2023   Cheng, Earnestiena     0.6   Draft questions for Counsel re: legal implications of certain waterfall
                                                    assumptions.
   16      6/29/2023     Leake, Nicola        0.6   Finalize cash allocation in waterfall model.

   16      6/29/2023   Murphy, Andrew         0.5   Attend call with internal team member re: updates to value allocation
                                                    drivers.
   16      6/29/2023   Cheng, Earnestiena     0.3   Correspond with Alix re: sports team rejection.

   16      6/30/2023   Murphy, Andrew         2.1   Update intercompany and waterfall analyses for May 2023 actuals.

   16      6/30/2023   Sternberg, Joseph      0.4   Correspond with internal team re: waterfalls.

   16      6/30/2023   Cheng, Earnestiena     0.1   Continue to draft questions for Counsel re: legal implications of certain
                                                    waterfall assumptions.
16 Total                                    270.5

   18      4/5/2023    Murphy, Andrew         0.9   Prepare analysis re: Sinclair distributions.

   18      4/12/2023   Cheng, Earnestiena     0.3   Evaluate information provided on a specific debtor entity in relation to
                                                    any interco claims.
   18      4/12/2023     Hu, Elizabeth        0.2   Follow up with Alix re: value at a specific debtor entity.

   18      4/13/2023     Hu, Elizabeth        0.4   Follow up call with Alix and Moelis re: value at a specific debtor entity.

   18      4/13/2023     Leake, Nicola        0.8   Prepare synopsis of a certain debtor entity's debt documents for internal
                                                    review for Committee liquidity deck.
   18      4/13/2023    Vadon, Courtney       0.9   Review debt documents for Committee deck.

   18      4/13/2023   Sternberg, Joseph      0.5   Review summary from team member on specific debtor entity debt
                                                    document.
   18      4/14/2023    Berkin, Michael       0.5   Coordinate plan for Deloitte separation call.

   18      4/14/2023    Scruton, Andrew       0.5   Correspond with Akin on review of Deloitte work.

   18      4/14/2023   Cheng, Earnestiena     0.6   Review JV distribution file and provide additional comments to internal
                                                    team.
   18      4/18/2023   Cheng, Earnestiena     0.3   Evaluate governance items to discuss with Deloitte team.

   18      4/18/2023   Cheng, Earnestiena     0.4   Coordinate with Counsel re: investigations meeting with Company
                                                    advisors.
   18      4/19/2023    Berkin, Michael       0.5   Continue to prepare agenda for Deloitte separation call for team.

   18      4/19/2023    Berkin, Michael       0.7   Develop detailed agenda for Deloitte separation call.

                                                     133
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 134 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                     Activity
Category
   18      4/19/2023      Simon, Russell         0.5   Draft summary to internal team with findings from agreements with
                                                       insiders.
   18      4/19/2023      Simon, Russell         0.4   Finalize analysis on agreements with insiders.

   18      4/19/2023    Sternberg, Joseph        2.3   Prepare correspondence to team re: separation implementation.

   18      4/19/2023      Simon, Russell         0.6   Analyze Company-provided documents to inform questions on operating
                                                       model for Deloitte meeting on Monday.
   18      4/19/2023    Cheng, Earnestiena       0.4   Review draft of agenda for Deloitte separation implementation call.

   18      4/19/2023      Simon, Russell         2.6   Summarize agreements with insiders for team.

   18      4/20/2023    Cheng, Earnestiena       0.5   Coordinate with internal team re: Deloitte's retention application.

   18      4/20/2023      Simon, Russell         1.2   Prepare questions for the Deloitte / Committee meeting to address
                                                       operational responsibilities of new entity once Sinclair / DSG separation
                                                       is complete.
   18      4/20/2023   Nicholls, Christopher     1.5   Review Deloitte presentation re: separating business operations and
                                                       economic arrangements.
   18      4/20/2023     Berkin, Michael         1.4   Assess key components of separation plan for discussion with Deloitte.

   18      4/20/2023      Leake, Nicola          0.2   Attend call with team member re: reimbursement schedule.

   18      4/20/2023     Vadon, Courtney         0.8   Build analysis of reimbursement invoices.

   18      4/20/2023     Vadon, Courtney         1.5   Build analysis related to historical payments to insiders.

   18      4/20/2023     Vadon, Courtney         0.7   Continue to build analysis of reimbursement invoices.

   18      4/20/2023      Leake, Nicola          2.2   Continue to prepare invoices between entities schedule.

   18      4/20/2023     Murphy, Andrew          2.8   Continue to summarize key historical events re: Sinclair investigation.

   18      4/20/2023    Cheng, Earnestiena       0.2   Correspond with investigations workstream re: Company's separation
                                                       implementation work.
   18      4/20/2023     Berkin, Michael         0.8   Discuss DSG separation issues with senior team.

   18      4/20/2023     Murphy, Andrew          2.1   Distribute preliminary draft summary of investigation timeline,
                                                       summarize key historical events to internal team.
   18      4/20/2023     Vadon, Courtney         1.3   Prepare summary schedule of reimbursement invoices.

   18      4/20/2023     Vadon, Courtney         0.9   Prepare summary schedule of MSA reimbursement invoices.

   18      4/20/2023      Leake, Nicola          2.6   Incorporate additional information to the invoice schedule re: insiders.

   18      4/20/2023    Sternberg, Joseph        0.7   Participate in call with team re: historical transactions.


                                                        134
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 135 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date       Professional      Hours                                    Activity
Category
   18      4/20/2023     Hu, Elizabeth        0.8   Participate in call with internal team re: historical payments to insiders
                                                    and separation efforts.
   18      4/20/2023   Cheng, Earnestiena     0.8   Participate in call with senior team re: Company's separation
                                                    implementation work.
   18      4/20/2023   Friedman, Samantha     0.5   Prepare initial agenda and key questions for Deloitte re: Separation plan
                                                    discussion.
   18      4/20/2023     Leake, Nicola        0.9   Prepare schedule re: invoices between Sinclair and entities.

   18      4/20/2023    Murphy, Andrew        2.6   Research and prepare preliminary summary of investigation timeline,
                                                    summarize key historical events.
   18      4/20/2023    Sternberg, Joseph     0.8   Review analysis re: historical payments to a third party.

   18      4/20/2023    Sternberg, Joseph     2.4   Review analysis re: potential avoidance actions.

   18      4/20/2023    Berkin, Michael       1.7   Review and analyze Deloitte retention applications with regards to
                                                    separation.
   18      4/20/2023    Berkin, Michael       1.3   Review and analyze historical payment invoices to insiders.

   18      4/20/2023    Sternberg, Joseph     0.3   Review documents re: agreements with insiders.

   18      4/20/2023    Vadon, Courtney       0.3   Review agreement to provide context for historical payments to insiders.

   18      4/20/2023    Sternberg, Joseph     1.1   Continue to review agreement with related parties.

   18      4/20/2023    Vadon, Courtney       0.2   Review agreement to provide context for payments to related parties.

   18      4/20/2023    Vadon, Courtney       0.2   Review historical payments schedule with team member.

   18      4/20/2023   Friedman, Samantha     2.1   Review agreement re: operational implications in preparation for call
                                                    with Deloitte on status of separation.
   18      4/20/2023    Berkin, Michael       0.9   Coordinate agenda and logistics for upcoming Deloitte call.

   18      4/21/2023     Simon, Russell       2.0   Analyze Deloitte agreement with DSG to understand front and back
                                                    office responsibilities and impact to DSG / Sinclair.
   18      4/21/2023     Simon, Russell       0.7   Review and add final questions to Deloitte - FTI meeting question list.

   18      4/21/2023   Friedman, Samantha     1.0   Analyze separation plan received from Deloitte.

   18      4/21/2023    Berkin, Michael       0.7   Assess case status and workstreams re: investigations team.

   18      4/21/2023   Friedman, Samantha     0.5   Assess next steps for team re: Deloitte separation plan.

   18      4/21/2023     Leake, Nicola        0.8   Attend call with team member re: invoices between entities schedule.

   18      4/21/2023     Leake, Nicola        0.2   Attend call with team member re: reimbursements.

   18      4/21/2023    Vadon, Courtney       1.4   Continue to build analysis related to historical invoice of payments.

                                                     135
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 136 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                     Activity
Category
   18      4/21/2023    Sternberg, Joseph        1.2   Continue to review analysis re: historical transactions.

   18      4/21/2023     Bhargava, Yash          1.6   Continue to review management service agreement re: Diamonds Sports
                                                       Group payment requirements.
   18      4/21/2023      Leake, Nicola          2.5   Continue to review historical payments between insiders schedule.

   18      4/21/2023    Cheng, Earnestiena       0.4   Coordinate priorities for investigations workstream with internal team.

   18      4/21/2023     Vadon, Courtney         0.2   Discuss payments to insiders register with team member.

   18      4/21/2023   Nicholls, Christopher     0.7   Discuss with team re: MSA agreements.

   18      4/21/2023     Murphy, Andrew          1.8   Edit presentation re: investigations timeline per comments from internal
                                                       team.
   18      4/21/2023    Cheng, Earnestiena       0.4   Evaluate historical payments made to insiders.

   18      4/21/2023     Murphy, Andrew          2.7   Finalize and distribute draft presentation re: investigations timeline.

   18      4/21/2023      Leake, Nicola          0.6   Meet with internal team re: historical payments to insiders.

   18      4/21/2023      Simon, Russell         0.6   Meet with team re: historical invoiced payments to insiders.

   18      4/21/2023   Friedman, Samantha        0.7   Participate in call with team re: agreements with insiders.

   18      4/21/2023    Sternberg, Joseph        0.6   Participate in call with team re: separation implementation.

   18      4/21/2023    Cheng, Earnestiena       0.7   Participate in call with internal team re: key issues in agreements with
                                                       parties.
   18      4/21/2023    Sternberg, Joseph        0.8   Participate in call with team member re: historical payments to a third
                                                       party.
   18      4/21/2023   Friedman, Samantha        0.5   Participate in call with team members to discuss agreement terms and
                                                       impact on business plan and investigations.
   18      4/21/2023     Schuman, Philip         0.5   Participate in team call re: agreement terms and impact on business plan.

   18      4/21/2023     Murphy, Andrew          2.3   Prepare analysis re: historical transactions.

   18      4/21/2023     Murphy, Andrew          2.2   Prepare analysis re: historical transactions.

   18      4/21/2023    Cheng, Earnestiena       0.3   Prepare for call with Akin team re: historical payments to insiders and
                                                       investigations.
   18      4/21/2023      Leake, Nicola          0.8   Prepare questions for Akin re: reimbursements, affiliate fees, etc.

   18      4/21/2023    Sternberg, Joseph        0.3   Provide feedback on synopsis of agreements with related parties.

   18      4/21/2023    Sternberg, Joseph        2.3   Review analysis re: historical transactions.

   18      4/21/2023      Hu, Elizabeth          1.2   Review Deloitte retention papers to understand scope of separation work.

                                                        136
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 137 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                    Activity
Category
   18      4/21/2023   Sternberg, Joseph      2.2   Review historical payments to a third party.

   18      4/21/2023   Sternberg, Joseph      0.9   Review historical transactions re: Sinclair investigation.

   18      4/21/2023     Simon, Russell       1.5   Review fee structure to inform analysis of historical payments in old
                                                    operating model.
   18      4/21/2023     Leake, Nicola        2.4   Review invoices between entities schedule.

   18      4/21/2023    Bhargava, Yash        1.6   Review agreement re: terms and conditions.

   18      4/21/2023   Cheng, Earnestiena     0.9   Review insider payments history.

   18      4/21/2023    Scruton, Andrew       1.7   Review summary of agreement with insiders to provide additional
                                                    updates.
   18      4/22/2023    Vadon, Courtney       1.6   Continue to build analysis related to payments to insiders.

   18      4/22/2023    Vadon, Courtney       1.6   Continue to build analysis related to insider payments.

   18      4/22/2023   Cheng, Earnestiena     0.2   Coordinate with Akin re: preparation for call with Company on
                                                    investigations meeting.
   18      4/22/2023     Leake, Nicola        0.6   Prepare invoices for historical payments.

   18      4/22/2023    Berkin, Michael       1.4   Review and analyze management service agreement.

   18      4/22/2023    Berkin, Michael       0.8   Review and analyze Sinclair side letter agreement.

   18      4/23/2023    Bhargava, Yash        2.8   Prepare timeline of transactions for further investigations.

   18      4/24/2023   Murphy, Andrew         1.3   Address comments from internal team re: investigations timeline dates
                                                    and actions.
   18      4/24/2023    Berkin, Michael       1.4   Analyze Deloitte's separation plan in connection with related retention
                                                    application.
   18      4/24/2023   Cheng, Earnestiena     0.5   Analyze latest management service agreement invoice summary.

   18      4/24/2023     Leake, Nicola        2.3   Apply comments directly to schedule of invoices.

   18      4/24/2023    Berkin, Michael       0.6   Assess takeaways from discussion with Deloitte team.

   18      4/24/2023   Murphy, Andrew         0.5   Attend call with internal team re: analysis, agreement summary, and
                                                    investigations timeline.
   18      4/24/2023    Bhargava, Yash        0.5   Attend call with team member re: avoidance actions.

   18      4/24/2023     Leake, Nicola        0.4   Attend calls with team member re: historical payments to insiders.

   18      4/24/2023    Vadon, Courtney       2.0   Build first cut of monthly and annual invoice schedule.

   18      4/24/2023    Vadon, Courtney       1.3   Continue analysis re: payments to insiders.

                                                     137
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 138 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                    Activity
Category
   18      4/24/2023    Vadon, Courtney       0.3   Continue building first cut of monthly and annual invoice schedule.

   18      4/24/2023    Vadon, Courtney       0.2   Continue to evaluate invoice register compared to provided invoice
                                                    detail.
   18      4/24/2023   Murphy, Andrew         2.0   Continue to address comments from internal team re: investigations
                                                    timeline dates and actions.
   18      4/24/2023   Murphy, Andrew         2.0   Continue to address presentation per comments from internal team re:
                                                    investigations timeline.
   18      4/24/2023   Murphy, Andrew         1.8   Continue to edit presentation re: investigations timeline per comments
                                                    from internal team.
   18      4/24/2023   Sternberg, Joseph      1.9   Continue to prepare presentation re: avoidance actions.

   18      4/24/2023     Leake, Nicola        2.1   Continue to review of reimbursement, MSA and other invoices.

   18      4/24/2023   Cheng, Earnestiena     0.3   Coordinate preparation for call with Deloitte re: separation
                                                    implementation.
   18      4/24/2023    Berkin, Michael       1.0   Discuss DSG separation plan with Deloitte team.

   18      4/24/2023   Cheng, Earnestiena     0.5   Discuss list of additional review items with internal team re:
                                                    investigations.
   18      4/24/2023    Vadon, Courtney       0.6   Discuss with team member re: invoices related to historical payments.

   18      4/24/2023   Cheng, Earnestiena     0.7   Evaluate separation tasks as presented by Deloitte team.

   18      4/24/2023     Leake, Nicola        1.4   Finalize monthly invoice schedule in order to prepare annual schedules.

   18      4/24/2023   Cheng, Earnestiena     0.5   Organize prep for internal team re: investigation timeline and near-term
                                                    priorities.
   18      4/24/2023   Sternberg, Joseph      0.5   Participate in call with team re: avoidance actions with emphasis on
                                                    reimbursable expenses.
   18      4/24/2023   Sternberg, Joseph      0.5   Participate in call with team member re: avoidance actions deliverables
                                                    on litigation workstream.
   18      4/24/2023   Gimlett, Matthew       0.9   Participate in call with Deloitte re: separation implementation with an
                                                    emphasis on carve out.
   18      4/24/2023   Sternberg, Joseph      1.0   Participate in call with Deloitte re: separation implementation.

   18      4/24/2023   Murphy, Andrew         0.4   Participate in call with team member re: investigations timeline.

   18      4/24/2023   Sternberg, Joseph      0.4   Attend call with team member to discuss potential avoidance actions.

   18      4/24/2023     Hu, Elizabeth        1.0   Participate on call with Deloitte and management re: separation work
                                                    scope and progress.
   18      4/24/2023    Berkin, Michael       0.8   Plan for discussion with Deloitte on DSG separation plan.

   18      4/24/2023    Bhargava, Yash        2.1   Prepare analysis re: potential claims investigation.

   18      4/24/2023    Bhargava, Yash        2.2   Continue to prepare analysis re: potential claims investigation.

                                                     138
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 139 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                     Activity
Category
   18      4/24/2023     Murphy, Andrew          1.6   Prepare analysis re: potential asset sale.

   18      4/24/2023    Sternberg, Joseph        1.9   Prepare presentation re: avoidance actions on prepetition transactions.

   18      4/24/2023      Leake, Nicola          2.9   Prepare review of historical payments and other invoices.

   18      4/24/2023    Cheng, Earnestiena       1.2   Provide comments to investigations timeline prepared by internal team.

   18      4/24/2023     Vadon, Courtney         1.2   Evaluate invoice register compared to provided invoice detail.

   18      4/24/2023    Gimlett, Matthew         0.3   Review analysis re: separation implementation.

   18      4/24/2023     Berkin, Michael         1.0   Review and analyze DSG separation and standup overview presentation.

   18      4/24/2023      Leake, Nicola          0.2   Review in order to update diligence questions on payments to insiders.

   18      4/24/2023      Taylor, Brian          0.9   Review correspondence re: certain historical transactions.

   18      4/24/2023      Taylor, Brian          1.2   Review first day motion documentation to understand potential litigation.

   18      4/24/2023       Eldred, John          1.6   Review pleadings and public documents.

   18      4/25/2023   Nicholls, Christopher     0.7   Participate in call with team member re: litigation in relation to business
                                                       plan.
   18      4/25/2023     Vadon, Courtney         0.2   Add on to diligence questions file re: agreements with related parties.

   18      4/25/2023     Murphy, Andrew          1.1   Amend capital structure transactions to include August 2019 initial debt
                                                       issuance.
   18      4/25/2023     Murphy, Andrew          0.5   Amend register of insider payments to include additional detail.

   18      4/25/2023     Murphy, Andrew          0.7   Analyze specific Diamond entity involved in capital structure
                                                       transactions.
   18      4/25/2023     Vadon, Courtney         0.7   Evaluate invoice register RSN reimbursement amounts.

   18      4/25/2023     Vadon, Courtney         0.9   Apply invoice register feedback from earlier call with team members.

   18      4/25/2023   Nicholls, Christopher     0.9   Assess team analysis re: agreements on historical transactions.

   18      4/25/2023      Leake, Nicola          0.7   Attend call with team re: invoice register.

   18      4/25/2023     Bhargava, Yash          1.4   Continue analysis of non-capital structure transactions re: potential
                                                       claims investigation.
   18      4/25/2023   Friedman, Samantha        0.5   Continue review of historical insider payments.

   18      4/25/2023   Friedman, Samantha        0.4   Continue review of summary of payments owed to insiders to develop
                                                       clarifying questions.
   18      4/25/2023    Sternberg, Joseph        2.6   Continue to prepare analysis re: avoidance actions.

                                                        139
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 140 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date       Professional      Hours                                     Activity
Category
   18      4/25/2023     Bhargava, Yash       2.2   Continue to process edits from analysis of transactions re: potential
                                                    claims investigation.
   18      4/25/2023     Leake, Nicola        0.8   Continue to review 2019 invoices and incremental updates.

   18      4/25/2023    Berkin, Michael       0.8   Develop next steps to further diligence re: separation plan.

   18      4/25/2023   Cheng, Earnestiena     0.3   Draft update to internal team re: investigations workstream.

   18      4/25/2023    Murphy, Andrew        1.8   Edit register of historical insider payments to include 2023 expenses.

   18      4/25/2023    Murphy, Andrew        0.9   Edit potential claims distributions schematic per comments from internal
                                                    team.
   18      4/25/2023   Cheng, Earnestiena     0.2   Participate in call with Counsel re: preparation for investigations.

   18      4/25/2023    Sternberg, Joseph     0.7   Participate in call with team re: avoidance actions with emphasis on
                                                    affiliate fees.
   18      4/25/2023    Sternberg, Joseph     0.8   Participate in call with team re: investigations updates.

   18      4/25/2023    Murphy, Andrew        0.8   Participate in call with internal team re: draft investigations timeline
                                                    presentation and outstanding comments, and DSG time keeping
                                                    requirements.
   18      4/25/2023   Cheng, Earnestiena     0.8   Participate in call with internal team re: investigations overview
                                                    presentation.
   18      4/25/2023   Cheng, Earnestiena     0.8   Participate in call with internal team re: MSA summary.

   18      4/25/2023     Simon, Russell       0.3   Participate in internal call re: historical payments.

   18      4/25/2023   Friedman, Samantha     0.3   Participate in internal call with team member re: historical payments.

   18      4/25/2023     Bhargava, Yash       2.9   Prepare analysis of transactions re: potential claims investigation.

   18      4/25/2023    Sternberg, Joseph     2.1   Prepare analysis re: avoidance actions.

   18      4/25/2023    Vadon, Courtney       1.9   Prepare checks for RSN reimbursement amounts.

   18      4/25/2023    Sternberg, Joseph     1.0   Prepare presentation re: avoidance actions insights.

   18      4/25/2023    Murphy, Andrew        2.8   Prepare schematic re: historical transactions.

   18      4/25/2023     Bhargava, Yash       0.8   Process edits from analysis of transactions re: potential claims
                                                    investigation.
   18      4/25/2023   Cheng, Earnestiena     1.2   Process edits to draft investigations overview presentation.

   18      4/25/2023   Cheng, Earnestiena     1.9   Provide comments to draft investigations overview presentation prepared
                                                    by internal team.
   18      4/25/2023   Cheng, Earnestiena     0.4   Review 2004 document request from Debtors to Sinclair.


                                                     140
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 141 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                     Activity
Category
   18      4/25/2023      Taylor, Brian          1.6   Review 2004 requests for production.

   18      4/25/2023      Leake, Nicola          2.6   Review 2019 invoices and incremental updates.

   18      4/25/2023      Taylor, Brian          0.7   Review correspondence related to investigations timeline.

   18      4/25/2023    Cheng, Earnestiena       0.2   Review edits to investigations timeline.

   18      4/25/2023      Taylor, Brian          0.8   Review first day declaration and RSA to understand implications re
                                                       litigation and separation.
   18      4/25/2023    Cheng, Earnestiena       0.4   Review investigation workstream deliverables.

   18      4/25/2023     Vadon, Courtney         0.2   Review invoice register in relation to agreement summary prepared by
                                                       team member.
   18      4/25/2023    Sternberg, Joseph        1.9   Review presentation re: avoidance actions.

   18      4/25/2023     Berkin, Michael         0.5   Review separation plan from Alix team.

   18      4/25/2023   Friedman, Samantha        0.4   Review summary of historically owed insider payments to develop
                                                       clarifying questions.
   18      4/25/2023       Eldred, John          0.8   Review Committee presentation slides and source documents re:
                                                       litigation.
   18      4/25/2023   Nicholls, Christopher     1.1   Review analysis prepared by the Company re: potential causes of action.

   18      4/25/2023     Murphy, Andrew          0.7   Update Diamond capital structure analysis for FY22 and petition date
                                                       balances.
   18      4/25/2023     Vadon, Courtney         0.7   Discuss invoice register for feedback from internal team.

   18      4/25/2023     Vadon, Courtney         0.9   Discuss invoice register for feedback with team member.

   18      4/26/2023     Murphy, Andrew          3.0   Amend investigations org chart summary PowerPoint per comments from
                                                       internal team.
   18      4/26/2023    Cheng, Earnestiena       0.9   Analyze historical transactions to understand implications.

   18      4/26/2023    Cheng, Earnestiena       0.3   Analyze simplified organizational chart included in investigations
                                                       presentation.
   18      4/26/2023      Hu, Elizabeth          0.8   Attend call with Akin re: historical fees.

   18      4/26/2023     Scruton, Andrew         0.8   Attend call with Akin re: historical payments.

   18      4/26/2023     Murphy, Andrew          0.2   Attend call with team member re: revisions to investigations timeline.

   18      4/26/2023      Leake, Nicola          0.5   Attend calls with internal team. re: historical fees paid to insiders.

   18      4/26/2023      Simon, Russell         0.5   Attend calls with internal team. re: agreements with related parties.

   18      4/26/2023     Vadon, Courtney         0.5   Attend calls with team members re: historical payments to related parties.

                                                        141
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 142 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                     Activity
Category
   18      4/26/2023    Vadon, Courtney       0.7   Continue to revise the invoice register for reimbursement amounts
                                                    between insiders.
   18      4/26/2023    Vadon, Courtney       0.9   Continue evaluation of invoice register for various years re: RSN
                                                    reimbursement amounts checks.
   18      4/26/2023    Vadon, Courtney       2.4   Prepare checks of invoice register for monthly amounts derived from
                                                    Debtors' invoices.
   18      4/26/2023   Murphy, Andrew         1.2   Continue to prepare and finalize analysis of stakeholders under secured
                                                    and unsecured notes & loans.
   18      4/26/2023    Bhargava, Yash        1.1   Continue to process additional edits from analysis re: potential claims
                                                    investigation.
   18      4/26/2023    Berkin, Michael       0.7   Develop follow up questions regarding DSG separation plan.

   18      4/26/2023     Simon, Russell       1.5   Develop diligence list for Alix with questions on agreements with related
                                                    parties.
   18      4/26/2023   Cheng, Earnestiena     0.4   Discuss investigations overview presentation edits with team member.

   18      4/26/2023    Berkin, Michael       0.8   Discuss agreement arrangements with Akin team.

   18      4/26/2023   Cheng, Earnestiena     0.2   Evaluate latest changes to investigations overview presentation.

   18      4/26/2023   Cheng, Earnestiena     0.2   Evaluate latest status of payment history diligence.

   18      4/26/2023     Hu, Elizabeth        0.8   Evaluate presentation materials developed by team in detail re:
                                                    transactions timeline.
   18      4/26/2023     Simon, Russell       0.3   Finalize key questions re: historical payments to insiders.

   18      4/26/2023      Davis, Guy          0.8   Participate in call with Akin re: certain historical transactions.

   18      4/26/2023   Sternberg, Joseph      0.4   Attend call with team member re: avoidance actions analysis.

   18      4/26/2023   Sternberg, Joseph      0.2   Participate in call with team member re: avoidance actions questions.

   18      4/26/2023     Leake, Nicola        1.1   Prepare additional questions for Akin re: historical payments and other
                                                    fees.
   18      4/26/2023   Murphy, Andrew         1.2   Prepare and finalize analysis of stakeholders under secured and
                                                    unsecured notes & loans.
   18      4/26/2023   Murphy, Andrew         2.1   Prepare analysis re: select balance sheet periods.

   18      4/26/2023   Murphy, Andrew         0.8   Prepare investigations timeline summary table per comments from
                                                    internal team.
   18      4/26/2023     Simon, Russell       2.0   Prepare insider agreement diligence question list for Akin meeting.

   18      4/26/2023   Sternberg, Joseph      2.0   Prepare presentation for litigation workstream re: avoidance actions.

   18      4/26/2023   Murphy, Andrew         0.9   Prepare simplified org chart to orient entities identified in investigations
                                                    timeline presentation.
   18      4/26/2023     Leake, Nicola        1.2   Prepare slides and questions re: historical payments and updates.

                                                     142
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 143 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                     Activity
Category
   18      4/26/2023     Simon, Russell       1.2   Prepare summary overview of agreements with related parties for go-
                                                    forward business plan assumptions.
   18      4/26/2023    Bhargava, Yash        1.1   Process additional edits from analysis of capital structure transactions re:
                                                    potential claims investigation.
   18      4/26/2023   Cheng, Earnestiena     0.3   Provide written update to internal team re: investigations workstream.

   18      4/26/2023   Sternberg, Joseph      1.4   Review analysis re: certain interests in Diamond.

   18      4/26/2023     Hu, Elizabeth        0.3   Review analysis re: fee summary.

   18      4/26/2023    Berkin, Michael       0.8   Review and analyze MSA and affiliate arrangements.

   18      4/26/2023   Sternberg, Joseph      0.7   Review avoidance action deliverables.

   18      4/26/2023     Taylor, Brian        1.3   Review correspondence provided by Debtors' re: certain historical
                                                    transactions.
   18      4/26/2023   Cheng, Earnestiena     0.4   Review latest MSA invoice summary.

   18      4/26/2023     Simon, Russell       0.8   Review MSA and reimbursement questions list.

   18      4/26/2023     Taylor, Brian        0.9   Review MSA invoice analysis.

   18      4/26/2023      Eldred, John        0.5   Review MSA re: historical services provided.

   18      4/26/2023    Scruton, Andrew       1.1   Review summary of meeting with Deloitte on separation plans.

   18      4/26/2023   Cheng, Earnestiena     0.3   Review summary of transaction values included in investigations
                                                    presentation.
   18      4/26/2023   Cheng, Earnestiena     0.5   Review support for certain investigations transactions summaries.

   18      4/26/2023   Cheng, Earnestiena     0.3   Review team deliverables re: MSA payments history diligence.

   18      4/26/2023    Berkin, Michael       0.5   Participate in weekly update call with the Committee and Committee
                                                    counsel.
   18      4/26/2023   Cheng, Earnestiena     0.6   Participate in call with Counsel re: history of MSA invoices.

   18      4/26/2023     Leake, Nicola        0.8   Attend call with Akin re: MSA and investigations.

   18      4/27/2023   Cheng, Earnestiena     0.5   Analyze Company's historical balance sheet to understand solvency.

   18      4/27/2023    Berkin, Michael       2.0   Analyze historical transactions for potential causes of action.

   18      4/27/2023   Sternberg, Joseph      0.5   Assess avoidance action analysis prepare by internal team member.

   18      4/27/2023    Vadon, Courtney       0.8   Attend call with team member re: historical payments to insiders.

   18      4/27/2023     Leake, Nicola        0.8   Attend call with team member re: historical reimbursement questions.

                                                     143
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 144 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                      Activity
Category
   18      4/27/2023    Scruton, Andrew       0.5   Attend internal call re: historical payments to insiders.

   18      4/27/2023   Murphy, Andrew         0.1   Compile summary of known Diamond transactions.

   18      4/27/2023    Berkin, Michael       0.6   Develop agenda of topics for Deloitte separation call.

   18      4/27/2023    Berkin, Michael       0.4   Develop subsequent diligence list on Deloitte retention application.

   18      4/27/2023   Cheng, Earnestiena     0.2   Evaluate edits to investigation timeline.

   18      4/27/2023   Murphy, Andrew         0.8   Finalize and distribute investigations summary timeline to internal team.

   18      4/27/2023    Berkin, Michael       1.0   Identify discussion topics re: historical transactions for potential causes
                                                    of action.
   18      4/27/2023     Hu, Elizabeth        0.5   Participate in call with team re: investigations timeline and diligence
                                                    items.
   18      4/27/2023     Taylor, Brian        0.5   Participate in call with team re: investigations timeline, etc.

   18      4/27/2023   Cheng, Earnestiena     0.5   Participate in internal call re: edits to investigations presentation.

   18      4/27/2023    Bhargava, Yash        2.9   Perform edits to incorporate senior team feedback re: analysis of known
                                                    Diamond Sports Group transactions.
   18      4/27/2023     Leake, Nicola        0.8   Prepare edits to insider payments analysis.

   18      4/27/2023     Leake, Nicola        1.1   Prepare additional edits to payments schedule for dissemination.

   18      4/27/2023   Sternberg, Joseph      1.4   Prepare presentation re: avoidance actions.

   18      4/27/2023   Sternberg, Joseph      0.9   Prepare updates to analysis re: avoidance actions.

   18      4/27/2023   Cheng, Earnestiena     1.1   Process edits to investigations presentation based on comments from
                                                    internal team.
   18      4/27/2023   Cheng, Earnestiena     0.3   Provide comments to internal team re: historical payments to insiders
                                                    diligence questions.
   18      4/27/2023      Davis, Guy          2.5   Review analysis re: certain historical transactions.

   18      4/27/2023   Murphy, Andrew         1.2   Review analysis re: detailed organizational structure Debtor vs non-
                                                    Debtor entities.
   18      4/27/2023     Taylor, Brian        1.2   Review analysis re: investigations and accompanying slides.

   18      4/27/2023     Hu, Elizabeth        1.2   Review analysis re: revised transactions timeline.

   18      4/27/2023    Bhargava, Yash        1.2   Review analysis with senior team re: Diamond Sports Group transactions.

   18      4/27/2023   Cheng, Earnestiena     0.8   Review changes to investigations presentation.

   18      4/27/2023      Eldred, John        0.5   Review Deloitte separation presentation.

                                                     144
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 145 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                     Activity
Category
   18      4/27/2023       Eldred, John          0.7   Review investigation timeline and related materials.

   18      4/27/2023    Cheng, Earnestiena       0.4   Review latest investigations presentation to be discussed with internal
                                                       team.
   18      4/27/2023    Cheng, Earnestiena       0.3   Review list of historical payments diligence questions prepared by
                                                       internal team.
   18      4/27/2023     Berkin, Michael         1.2   Review Rule 2004 requests for information for potential causes of action.

   18      4/27/2023     Scruton, Andrew         1.4   Review summary of services provided by Sinclair under MSA.

   18      4/27/2023     Murphy, Andrew          0.4   Revise invoice summary per comments from internal team.

   18      4/27/2023     Murphy, Andrew          1.6   Revise summary of known Diamond transactions per comments from
                                                       internal team.
   18      4/27/2023     Murphy, Andrew          0.9   Attend call with internal team re: investigations timeline presentation.

   18      4/28/2023   Nicholls, Christopher     1.0   Review diligence of various causes of action re: Committee advisors.

   18      4/28/2023     Murphy, Andrew          0.5   Attend call with team member re: dividend and related party transactions
                                                       desired output.
   18      4/28/2023   Nicholls, Christopher     0.8   Continue review diligence of various causes of action re: Committee
                                                       advisors.
   18      4/28/2023     Bhargava, Yash          0.8   Continue to analyze re: parties involved prepetition transactions.

   18      4/28/2023    Cheng, Earnestiena       0.3   Coordinate with internal team on next steps for investigations
                                                       workstreams.
   18      4/28/2023    Cheng, Earnestiena       0.3   Coordinate with team on latest status of investigations presentation.

   18      4/28/2023    Cheng, Earnestiena       0.5   Coordinate with team on next steps of investigations workstream.

   18      4/28/2023     Scruton, Andrew         0.7   Correspond with Akin on Debtors' pre-petition transactions.

   18      4/28/2023      Taylor, Brian          0.2   Correspond with Akin re: document production access.

   18      4/28/2023     Berkin, Michael         0.5   Discuss investigations status with Committee counsel.

   18      4/28/2023       Eldred, John          2.9   Evaluate pleadings and transaction history.

   18      4/28/2023     Murphy, Andrew          1.0   Finalize analysis re: historical transactions undertaken.

   18      4/28/2023     Schuman, Philip         0.5   Participate in call with Houlihan and Akin re: avoidance action and
                                                       investigations.
   18      4/28/2023     Murphy, Andrew          0.3   Participate in call with team member re: potential sale of assets.

   18      4/28/2023    Sternberg, Joseph        0.3   Participate in call with team member re: avoidance actions item
                                                       clarification.
   18      4/28/2023    Cheng, Earnestiena       0.5   Participate in call with team member re: historical transactions.

                                                        145
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 146 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                    Activity
Category
   18      4/28/2023   Sternberg, Joseph      0.5   Participate in call with Committee advisors re: litigation case updates.

   18      4/28/2023     Taylor, Brian        2.4   Participate in investigations call with Company advisors (partial
                                                    attendance).
   18      4/28/2023      Davis, Guy          2.7   Participate in investigations call with Company.

   18      4/28/2023     Taylor, Brian        0.5   Participate in meeting with advisors re: avoidance action considerations.

   18      4/28/2023    Berkin, Michael       2.7   Participate in meeting with Debtor on investigations status.

   18      4/28/2023   Cheng, Earnestiena     2.7   Participate telephonically in investigations call with Company.

   18      4/28/2023    Bhargava, Yash        1.2   Perform analysis re: cash dividends distributed to Sinclair.

   18      4/28/2023    Bhargava, Yash        1.1   Prepare analysis re: Diamond solvency.

   18      4/28/2023   Murphy, Andrew         0.8   Prepare analysis summarizing historical redemptions and dividend
                                                    distributions.
   18      4/28/2023      Davis, Guy          0.8   Prepare for meeting with Debtor's Counsel re: operations and potential
                                                    litigation items.
   18      4/28/2023     Taylor, Brian        1.1   Prepare for meeting with Debtors re: litigation items.

   18      4/28/2023   Murphy, Andrew         1.2   Research and analyze customer relationships definition and reported
                                                    carrying values from the creation of DSG to current.
   18      4/28/2023   Murphy, Andrew         2.9   Research in order to analyze additional historical transactions.

   18      4/28/2023   Sternberg, Joseph      0.5   Research historical transactions re: avoidance actions.

   18      4/28/2023    Bhargava, Yash        0.4   Review analysis re: prepetition transactions.

   18      4/28/2023    Bhargava, Yash        0.3   Review analysis re: Diamond transactions.

   18      4/28/2023      Davis, Guy          2.0   Review analysis re: historical transactions.

   18      4/28/2023    Berkin, Michael       1.2   Review and analyze diligence responses to Deloitte retention.

   18      4/28/2023     Hu, Elizabeth        1.9   Review and analyze various potential claims against Sinclair, including
                                                    potential claims and certain contracts.
   18      4/28/2023     Taylor, Brian        0.4   Review correspondence with team re: potential litigation.

   18      4/28/2023   Murphy, Andrew         2.7   Review historical filings and analyze Diamond related party transactions.

   18      4/28/2023    Berkin, Michael       1.0   Review historical transactions for potential causes of action.

   18      4/28/2023    Scruton, Andrew       1.8   Review presentation on potential avoidance actions and summary of
                                                    meeting with Debtors advisors.
   18      4/29/2023   Cheng, Earnestiena     0.8   Process edits to notes on investigation meeting with Company for
                                                    circulation to wider team.
                                                     146
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 147 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date       Professional        Hours                                     Activity
Category
   18      5/1/2023   Nicholls, Christopher     1.6   Provide comments to responsibilities associated with causes of action
                                                      workstreams.
   18      5/1/2023   Friedman, Samantha        0.7   Participate in internal call on investigations next steps.

   18      5/1/2023      Taylor, Brian          0.7   Attend conference call with Houlihan and counsel regarding
                                                      investigations workstreams.
   18      5/1/2023       Eldred, John          0.6   Prepare investigation workplan and review next steps.

   18      5/1/2023    Cheng, Earnestiena       0.6   Review latest changes to investigations presentations re: related party
                                                      transactions.
   18      5/1/2023       Joffe, Steven         0.4   Attend investigations phone call with external team to offer tax insights.

   18      5/1/2023   Friedman, Samantha        0.4   Participate in call with Committee advisors on investigations activities.

   18      5/1/2023     Berkin, Michael         0.4   Discuss workplan on potential investigations with Committee advisors.

   18      5/1/2023    Cheng, Earnestiena       0.4   Participate in call with Counsel re: investigations timeline.

   18      5/1/2023     Berkin, Michael         0.7   Discuss investigation workplan issues with FTI team.

   18      5/1/2023    Cheng, Earnestiena       0.7   Participate in call with internal team re: investigations workstreams next
                                                      steps.
   18      5/1/2023      Hu, Elizabeth          0.4   Review status of investigations topics.

   18      5/1/2023    Cheng, Earnestiena       0.5   Process edits to investigation presentation re: related party transactions.

   18      5/1/2023     Murphy, Andrew          0.8   Review Relativity database for investigations documents.

   18      5/1/2023       Davis, Guy            2.9   Evaluate 2004 and other pleadings.

   18      5/1/2023     Berkin, Michael         1.1   Assess workplan for potential investigations.

   18      5/1/2023   Friedman, Samantha        0.4   Revise 2004 diligence request to incorporate required documents for
                                                      investigations activities.
   18      5/1/2023   Friedman, Samantha        0.3   Review investigation workplan to determine next steps.

   18      5/1/2023    Cheng, Earnestiena       0.3   Review status of investigations workstream, including edits to 2004
                                                      request re: operational questions.
   18      5/1/2023    Cheng, Earnestiena       0.2   Review status of latest Company insider agreements diligence questions.

   18      5/1/2023      Taylor, Brian          0.9   Review notes from meeting with the Debtor professionals re:
                                                      investigations work stream.
   18      5/1/2023      Taylor, Brian          0.4   Correspond with FTI team related to Company transactions.

   18      5/1/2023      Taylor, Brian          0.3   Prepare agenda for meeting with counsel re: investigations.

   18      5/1/2023      Taylor, Brian          0.2   Correspond with counsel regarding investigations meeting.

                                                       147
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 148 of 220
                                           EXHIBIT E
                        DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                     DETAIL OF TIME ENTRIES
                           FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional      Hours                                     Activity
Category
   18      5/1/2023     Simon, Russell       2.1   Create updates to rule 2004 document re: operations-related questions.

   18      5/1/2023     Simon, Russell       0.5   Conduct analysis of relevant DSG team contract details re: investigations.

   18      5/1/2023    Murphy, Andrew        0.7   Participate in call with internal team re: FTI investigations & next steps.

   18      5/1/2023     Taylor, Brian        0.4   Attend conference call with FTI team regarding investigations meeting
                                                   with the Debtor professionals.
   18      5/2/2023    Berkin, Michael       0.7   Review additional Rule 2004 requests to Debtors for comments.

   18      5/2/2023    Murphy, Andrew        0.5   Review Relativity document download per comments from internal team.

   18      5/2/2023   Cheng, Earnestiena     0.2   Evaluate near-term priorities investigations workstreams.

   18      5/2/2023    Scruton, Andrew       1.8   Review summary notes from meeting with Debtors on investigations into
                                                   prepetition transactions.
   18      5/2/2023    Berkin, Michael       0.7   Review and prepare comments for updating the Company agreements
                                                   diligence list.
   18      5/2/2023   Cheng, Earnestiena     0.2   Review latest investigations 2004 document request additions.

   18      5/2/2023   Cheng, Earnestiena     0.3   Coordinate with internal team on additional comments to 2004 request.

   18      5/2/2023   Cheng, Earnestiena     0.3   Process edits to historical payments questions list.

   18      5/2/2023   Cheng, Earnestiena     0.3   Process edits to company agreements diligence questions

   18      5/2/2023     Taylor, Brian        0.3   Review status of additional 2004 requests.

   18      5/2/2023     Taylor, Brian        0.2   Review key documents to flag for internal detailed review.

   18      5/2/2023     Taylor, Brian        0.5   Correspond with FTI team related to investigations workstreams.

   18      5/2/2023     Taylor, Brian        2.8   Update additional 2004 requests document.

   18      5/2/2023    Murphy, Andrew        2.4   Review Relativity document download.

   18      5/2/2023    Murphy, Andrew        0.7   Attend call with team member re: insider payment invoice register.

   18      5/2/2023     Leake, Nicola        0.7   Attend call with team member re: historical payments to insiders.

   18      5/3/2023     Taylor, Brian        1.3   Prepare detailed work plan for investigations.

   18      5/3/2023     Taylor, Brian        0.3   Correspond with counsel related to status of production.

   18      5/3/2023     Taylor, Brian        0.3   Correspond with internal team on 2004 request list and work plan.

   18      5/3/2023     Taylor, Brian        0.7   Update 2004 request list based on comments.

                                                    148
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 149 of 220
                                           EXHIBIT E
                        DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                     DETAIL OF TIME ENTRIES
                           FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional      Hours                                     Activity
Category
   18      5/3/2023    Murphy, Andrew        1.3   Amend investigations timeline re: dividends per information found on
                                                   Relativity data room.
   18      5/3/2023     Simon, Russell       0.5   Complete analysis of relationship with insider parties.

   18      5/3/2023   Cheng, Earnestiena     0.4   Discuss latest investigations diligence list with internal team and Counsel.

   18      5/4/2023   Friedman, Samantha     0.4   Finalize additions to 2004 diligence request.

   18      5/4/2023   Friedman, Samantha     0.3   Correspond with Houlihan re: 2004 diligence request additions.

   18      5/4/2023    Scruton, Andrew       0.7   Review supplemental 2004 requests.

   18      5/4/2023   Friedman, Samantha     0.5   Participate in call with internal team to discuss workplan for
                                                   investigations workstream.
   18      5/4/2023   Cheng, Earnestiena     0.5   Participate in discussion with internal teams regarding investigations
                                                   workstream and priorities.
   18      5/5/2023      Eldred, John        2.6   Review Debtor documents to inform investigations.

   18      5/5/2023    Murphy, Andrew        1.7   Revise analysis summarizing historical redemptions and dividend
                                                   distributions.
   18      5/5/2023      Eldred, John        1.4   Incorporate notes from meeting with Debtors into investigations work
                                                   planning.
   18      5/5/2023      Eldred, John        0.8   Continue to review documents produced by Debtors to inform
                                                   investigations.
   18      5/5/2023      Taylor, Brian       0.6   Prepare key documents review categories and template.

   18      5/5/2023      Taylor, Brian       0.6   Attend conference call with Debtors regarding 2004 requests.

   18      5/5/2023   Cheng, Earnestiena     0.5   Participate in call with internal team re: investigations status.

   18      5/5/2023    Murphy, Andrew        0.3   Participate in call with internal team re: initial documents from Moelis.

   18      5/5/2023      Taylor, Brian       0.3   Discuss Duff & Phelps documents with FTI team.

   18      5/5/2023   Cheng, Earnestiena     0.3   Participate in call with internal team re: review documents provided by
                                                   Company's advisors.
   18      5/5/2023      Taylor, Brian       0.3   Correspond with FTI team related to investigative document review.

   18      5/5/2023    Scruton, Andrew       0.7   Review list of investigations documents provided by Debtors' counsel.

   18      5/5/2023   Cheng, Earnestiena     0.1   Assess takeaways from recent depositions for internal team re:
                                                   investigations.
   18      5/5/2023      Taylor, Brian       0.2   Prepare correspondence with counsel re: 2004 meet and confer.

   18      5/5/2023      Taylor, Brian       0.4   Coordinate initial key investigations documents review.

   18      5/5/2023      Taylor, Brian       0.7   Review key documents for the investigations workstream.

                                                    149
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 150 of 220
                                           EXHIBIT E
                        DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                     DETAIL OF TIME ENTRIES
                           FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional      Hours                                    Activity
Category
   18      5/5/2023    Murphy, Andrew        0.2   Continue to perform review re: Moelis document for analysis support.

   18      5/5/2023    Murphy, Andrew        2.8   Prepare analysis re: documents from Moelis.

   18      5/5/2023    Murphy, Andrew        3.0   Finalize draft synopsis re: Moelis documents for distribution to internal
                                                   team.
   18      5/5/2023     Simon, Russell       1.7   Conduct analysis of documents added by Paul Weiss.

   18      5/5/2023      Taylor, Brian       1.1   Update investigations budget estimates based on discussion with FTI
                                                   team.
   18      5/5/2023   Cheng, Earnestiena     0.6   Participate telephonically in meet & confer with Debtors re: 2004
                                                   requests.
   18      5/5/2023      Taylor, Brian       0.5   Participate in call with Counsel to discuss production and workplan.

   18      5/8/2023    Murphy, Andrew        1.8   Analyze agreement documents provided by Akin in order to summarize
                                                   for internal FTI team.
   18      5/8/2023      Taylor, Brian       1.4   Conduct research on investigations related questions provided by Akin.

   18      5/8/2023   Cheng, Earnestiena     0.5   Prepare questions for Counsel re: payments made to insiders and other
                                                   investigations case items.
   18      5/8/2023   Cheng, Earnestiena     0.4   Review hot doc summary prepared by internal team.

   18      5/8/2023   Cheng, Earnestiena     0.2   Evaluate litigation requests from Counsel re: secured debt and prepetition
                                                   make-whole.
   18      5/8/2023   Cheng, Earnestiena     0.2   Reach out to Alix re: pre and post petition payments to insiders.

   18      5/8/2023      Taylor, Brian       0.3   Distribute key documents index to FTI team.

   18      5/8/2023      Taylor, Brian       0.4   Review key documents index.

   18      5/8/2023    Murphy, Andrew        1.5   Review to provide standardization of topics within Moelis document
                                                   tracking summary.
   18      5/8/2023    Murphy, Andrew        1.9   Finalize document summary.

   18      5/8/2023     Simon, Russell       2.9   Continue analysis of documents provided by Paul Weiss for internal
                                                   review.
   18      5/9/2023      Eldred, John        1.1   Meet with FTI internal team re: motion for automatic stay.

   18      5/9/2023    Sternberg, Joseph     1.1   Participate in call with internal team re: investigations workstreams.

   18      5/9/2023    Murphy, Andrew        1.1   Attend call with internal team re: intercompany balances and
                                                   investigations hot document summary analyses.
   18      5/9/2023   Cheng, Earnestiena     0.2   Follow-up with Alix re: historical post petition payments to insiders.

   18      5/9/2023    Berkin, Michael       0.6   Review draft potential insolvency timeline.

   18      5/9/2023   Cheng, Earnestiena     0.1   Prepare correspondence to internal team re: investigations workstream
                                                   status.
                                                     150
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 151 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                     Activity
Category
   18      5/9/2023     Cheng, Earnestiena       0.3   Review investigations update re: hot docs

   18      5/9/2023     Cheng, Earnestiena       0.3   Provide update to Akin re: Sinclair noncompliance issues.

   18      5/9/2023       Taylor, Brian          0.8   Correspond on next steps and questions related to investigations with FTI
                                                       team.
   18      5/9/2023       Taylor, Brian          0.6   Review debt documents related to Duff & Phelps opinion.

   18      5/9/2023       Taylor, Brian          0.4   Correspond on Duff & Phelps opinion with FTI team.

   18      5/9/2023       Taylor, Brian          0.8   Perform research supporting debt document detail re: Duff & Phelps
                                                       opinion.
   18      5/9/2023       Taylor, Brian          1.2   Review key documents index and related documents.

   18      5/9/2023       Taylor, Brian          0.3   Correspond with FTI team re: documents index.

   18      5/9/2023      Murphy, Andrew          0.5   Revise Moelis document tracking summary per comments from internal
                                                       FTI team.
   18      5/10/2023      Taylor, Brian          0.4   Attend call with FTI team re: expert report logistics and status update.

   18      5/10/2023     Murphy, Andrew          2.9   Prepare analysis re: potential estate claims.

   18      5/10/2023    Cheng, Earnestiena       0.4   Review status of investigations workstreams based on update from
                                                       Counsel.
   18      5/10/2023    Cheng, Earnestiena       0.3   Review solvency timeline created by Counsel.

   18      5/10/2023      Taylor, Brian          1.1   Correspond with Akin related to litigation strategy and next steps for FTI.

   18      5/10/2023      Taylor, Brian          1.6   Review index of documents provided by Moelis re: investigations.

   18      5/10/2023     Vadon, Courtney         0.1   Review data room for files relevant to historical transactions.

   18      5/10/2023     Murphy, Andrew          0.4   Attend call with internal team re: potential claims document inquiry.

   18      5/11/2023       Eldred, John          1.6   Create plan for investigations workstream.

   18      5/11/2023   Nicholls, Christopher     0.7   Attend call with team to review work plan for analysis of causes of action
                                                       re: internal parties.
   18      5/11/2023    Cheng, Earnestiena       0.7   Participate in call with internal team re: investigations workstream
                                                       priorities.
   18      5/11/2023    Sternberg, Joseph        0.7   Participate in call with FTI team re: investigations workstreams.

   18      5/11/2023      Taylor, Brian          0.7   Attend conference call with Houlihan related to investigations strategy.

   18      5/11/2023    Cheng, Earnestiena       0.6   Prepare for call with internal team re: investigations workstream
                                                       priorities.
   18      5/11/2023      Taylor, Brian          0.5   Provide summary of investigations discussions with Houlihan and Akin
                                                       to FTI team.
                                                         151
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 152 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date       Professional      Hours                                     Activity
Category
   18      5/11/2023   Friedman, Samantha     0.7   Participate in call with internal team to discuss next steps for
                                                    investigations workstream.
   18      5/11/2023       Davis, Guy         0.8   Review documents to inform investigations update to Committee.

   18      5/11/2023      Taylor, Brian       1.2   Prepare document with detailed next steps for investigations.

   18      5/11/2023      Taylor, Brian       0.3   Correspond with Alix related to investigations information request.

   18      5/11/2023      Taylor, Brian       0.5   Review analysis on historic liquidity positions to provide feedback in
                                                    internal team call.
   18      5/11/2023    Scruton, Andrew       1.1   Review summary of open diligence requests for Sinclair.

   18      5/11/2023     Hu, Elizabeth        0.5   Attend call with team re: status of investigations and next steps forward.

   18      5/11/2023      Taylor, Brian       0.5   Attend conference call with FTI team re: investigations strategy.

   18      5/11/2023     Simon, Russell       0.7   Meet with FTI internal team re: DSG's historic liquidity positions to
                                                    inform investigations.
   18      5/12/2023      Taylor, Brian       0.7   Review debt documents per request from Akin re: investigations.

   18      5/12/2023      Taylor, Brian       0.2   Correspond with FTI investigations team re: Debtor's expert witness.

   18      5/12/2023      Taylor, Brian       0.4   Correspond with Akin re: investigations information request.

   18      5/12/2023      Taylor, Brian       0.3   Correspond with Akin re: investigations request to Debtors.

   18      5/12/2023      Eldred, John        0.5   Meet with investigations team re workplan.

   18      5/12/2023      Taylor, Brian       0.5   Attend call with FTI team re: investigations workstreams.

   18      5/12/2023      Taylor, Brian       1.0   Attend conference call with the Committee and Company re:
                                                    investigations.
   18      5/12/2023    Sternberg, Joseph     1.1   Listen in to deposition re: Twins CEO.

   18      5/15/2023    Vadon, Courtney       0.2   Research statute of limitations issues.

   18      5/15/2023   Cheng, Earnestiena     0.2   Review update from internal team re: Duff & Phelps production.

   18      5/15/2023   Cheng, Earnestiena     0.3   Evaluate historical projections produced by Sinclair.

   18      5/15/2023      Taylor, Brian       1.1   Review case correspondence re: investigations

   18      5/15/2023    Murphy, Andrew        2.7   Prepare analysis re: Duff & Phelps document production.

   18      5/16/2023      Eldred, John        0.6   Review investigation timeline and related materials.

   18      5/16/2023     Bhargava, Yash       0.5   Participate in call with internal team to coordinate review re: league
                                                    negotiations.
                                                     152
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 153 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date       Professional      Hours                                     Activity
Category
   18      5/16/2023      Taylor, Brian       0.5   Discuss investigations status with FTI team.

   18      5/16/2023     Simon, Russell       0.5   Meet with FTI internal team re: status of league negotiations.

   18      5/16/2023   Cheng, Earnestiena     0.2   Correspond with internal team re: recent investigations document
                                                    productions.
   18      5/16/2023   Cheng, Earnestiena     0.2   Reach out to Alix team re: investigations update.

   18      5/16/2023   Cheng, Earnestiena     0.3   Coordinate with team re: investigations discussion with Alix team.

   18      5/16/2023      Taylor, Brian       0.8   Correspond with FTI team related to next steps in investigations.

   18      5/16/2023    Sternberg, Joseph     0.3   Review correspondence from FTI team re: investigations workstreams.

   18      5/17/2023       Davis, Guy         0.5   Attend internal call with FTI team on investigations progress.

   18      5/17/2023   Friedman, Samantha     0.5   Participate in internal call with FTI team on investigations progress.

   18      5/17/2023   Cheng, Earnestiena     0.1   Coordinate with Alix team re: status of investigation into insider
                                                    agreements.
   18      5/17/2023      Taylor, Brian       0.3   Correspond with FTI team re: investigations document productions.

   18      5/17/2023      Taylor, Brian       1.4   Review documents provided by counsel.

   18      5/17/2023    Murphy, Andrew        0.3   Analyze relativity investigations documents review.

   18      5/17/2023    Murphy, Andrew        2.0   Continue to prepare analysis re: Duff & Phelps production.

   18      5/18/2023     Leake, Nicola        0.5   Attend call with Company re: Company insider agreements.

   18      5/18/2023      Taylor, Brian       0.5   Attend conference call with Alix re: investigations.

   18      5/18/2023   Friedman, Samantha     0.5   Participate in call with Alix re: payments to insiders.

   18      5/18/2023   Cheng, Earnestiena     0.3   Coordinate investigations call on Sinclair depositions.

   18      5/18/2023   Cheng, Earnestiena     0.3   Evaluate status of protective order as discussed by Counsel.

   18      5/18/2023   Friedman, Samantha     0.5   Participate in call with Akin and Houlihan on investigations progress.

   18      5/18/2023      Taylor, Brian       0.5   Evaluate latest investigations status with internal team.

   18      5/19/2023      Eldred, John        0.5   Review summarized materials on depositions to inform investigations
                                                    work.
   18      5/19/2023   Cheng, Earnestiena     0.4   Provide update on investigations discussion with Akin to internal team.

   18      5/19/2023      Taylor, Brian       0.3   Correspond with counsel re: Alix response to document request.

                                                     153
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 154 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                    Activity
Category
   18      5/19/2023      Taylor, Brian          0.2   Correspond with counsel re: investigations.

   18      5/19/2023      Taylor, Brian          0.3   Correspond with FTI team re: investigations document review.

   18      5/22/2023      Wikel, Daniel          1.2   Review investigations materials re: depositions, potential avoidance
                                                       actions, Sinclair separation.
   18      5/22/2023      Taylor, Brian          0.9   Review team analysis re: depositions, Flynn Rebuttal Report.

   18      5/22/2023      Wikel, Daniel          0.7   Review SOFA SOAL material and diligence questions prepared by
                                                       internal team from an investigative POV.
   18      5/22/2023    Cheng, Earnestiena       0.3   Coordinate coverage for upcoming Sinclair depositions.

   18      5/22/2023      Taylor, Brian          0.3   Correspond with counsel related to Sinclair depositions.

   18      5/22/2023      Taylor, Brian          0.3   Correspond with FTI team related to preparation for Sinclair depositions.

   18      5/22/2023      Taylor, Brian          0.1   Review agenda for advisors' call to add notes re: investigation status.

   18      5/23/2023     Berkin, Michael         1.1   Review Sinclair internal restructuring disclosures in connection with
                                                       potential causes of action.
   18      5/23/2023      Taylor, Brian          1.0   Attend conference call with counsel and Paul Weiss re: depositions and
                                                       general case items.
   18      5/23/2023    Sternberg, Joseph        0.2   Review correspondence from FTI team re: Sinclair reorganization.

   18      5/23/2023   Nicholls, Christopher     1.0   Discuss depositions with the PW and Akin re: deposition coverage,
                                                       discussion of key takeaways, other case updates.
   18      5/23/2023       Davis, Guy            2.0   Prepare materials for Shapiro deposition.

   18      5/23/2023    Cheng, Earnestiena       0.3   Coordinate FTI attendance at Shapiro deposition.

   18      5/23/2023      Braga, Andrew          1.2   Review article re: Sinclair reorganization to assess impact on Diamond
                                                       restructuring.
   18      5/23/2023      Braga, Andrew          1.2   Provide correspondence to the FTI team re: Sinclair reorganization and
                                                       potential impact on Diamond restructuring.
   18      5/23/2023   Friedman, Samantha        0.5   Participate in call with Akin and PW re: prep for Shapiro deposition, case
                                                       overview.
   18      5/23/2023    Cheng, Earnestiena       0.5   Participate in call with Company and Committee counsel re: preparation
                                                       for Sinclair depositions, general case review.
   18      5/24/2023   Friedman, Samantha        2.9   Listen to deposition of S. Shapiro, Sinclair EVP.

   18      5/24/2023   Friedman, Samantha        2.9   Continue to listen to deposition of S. Shapiro, Sinclair EVP.

   18      5/24/2023       Davis, Guy            2.9   Attend Shapiro deposition.

   18      5/24/2023       Davis, Guy            2.9   Continue to assist in Shapiro deposition.

   18      5/24/2023       Davis, Guy            2.9   Continue to attend Shapiro deposition.

                                                        154
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 155 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date       Professional      Hours                                       Activity
Category
   18      5/24/2023    Vadon, Courtney       0.7   Assist team members in data room pull in preparation for Sinclair
                                                    deposition.
   18      5/24/2023    Scruton, Andrew       0.6   Review summary of time line of events involving transactions between
                                                    Sinclair and Debtors.
   18      5/24/2023   Friedman, Samantha     0.4   Continue listening to deposition of S. Shapiro, Sinclair EVP.

   18      5/24/2023       Davis, Guy         0.3   Finalize Shapiro deposition.

   18      5/24/2023     Simon, Russell       1.2   Continue to evaluate the Shapiro deposition to create key takeaways for
                                                    the FTI working team.
   18      5/24/2023     Simon, Russell       2.9   Evaluate deposition to create key takeaways for deposition of Scott
                                                    Shapiro.
   18      5/24/2023     Simon, Russell       2.9   Continue evaluating the Shapiro deposition to create key takeaways for
                                                    the FTI working team.
   18      5/24/2023    Murphy, Andrew        0.4   Correspond with internal team member re: Relativity documents.

   18      5/24/2023    Murphy, Andrew        1.3   Review latest Sinclair document production.

   18      5/24/2023     Simon, Russell       0.5   Analyze payments to insiders to inform rights payments under
                                                    agreements.
   18      5/24/2023    Berkin, Michael       1.2   Participate in Shapiro deposition.

   18      5/25/2023     Simon, Russell       1.1   Attend FTI internal meeting re: deposition testimony and next steps.

   18      5/25/2023    Sternberg, Joseph     0.9   Review investigations materials re: updates to agreements with parties.

   18      5/25/2023    Scruton, Andrew       0.4   Correspond with Akin re: potential additional witnesses to depose in
                                                    connection with Sinclair transactions.
   18      5/25/2023       Davis, Guy         1.1   Attend meeting re: Sinclair deposition strategy and attendance.

   18      5/25/2023    Scruton, Andrew       0.8   Review summary of deposition of Scott Shapiro.

   18      5/25/2023    Berkin, Michael       1.7   Analyze Sinclair internal reorganization.

   18      5/25/2023   Cheng, Earnestiena     0.3   Coordinate with Akin team re: litigation updates.

   18      5/26/2023      Taylor, Brian       0.2   Correspond with FTI team re: Sinclair depositions to bring an
                                                    investigations point of view.
   18      5/26/2023       Davis, Guy         0.8   Analyze latest document productions as part of Sinclair investigations.

   18      5/26/2023    Scruton, Andrew       0.9   Review summaries of Sinclair board minutes.

   18      5/26/2023    Murphy, Andrew        0.5   Prepare correspondence with Akin re: Relativity documents.

   18      5/30/2023   Friedman, Samantha     0.7   Supply feedback on diligence questions re: payments to insiders.

   18      5/30/2023      Eldred, John        1.3   Prepare for Sinclair depositions.

                                                     155
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 156 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date       Professional      Hours                                     Activity
Category
   18      5/30/2023      Taylor, Brian       1.4   Review documents provided by counsel related to sources and uses of
                                                    historical transactions.
   18      5/30/2023      Taylor, Brian       1.1   Review documents related to potential recovery actions.

   18      5/30/2023      Taylor, Brian       0.4   Correspond with FTI team re: investigation documents provided by
                                                    counsel.
   18      5/31/2023      Eldred, John        1.8   Prepare for McIntire deposition.

   18      5/31/2023      Taylor, Brian       1.5   Participate on call re: potential recovery actions.

   18      5/31/2023      Taylor, Brian       1.0   Prepare for conference call with counsel re: investigations.

   18      5/31/2023      Taylor, Brian       0.6   Attend conference call with counsel related to investigations.

   18      5/31/2023   Friedman, Samantha     0.6   Participate in call with Akin and FTI re: secured debt investigation.

   18      5/31/2023    Sternberg, Joseph     0.6   Participate in call with Akin re: secured debt investigations.

   18      5/31/2023    Murphy, Andrew        0.6   Participate in call with Akin and internal FTI team re: secured debt
                                                    investigations.
   18      5/31/2023     Simon, Russell       1.4   Evaluate DSG 2019 projections to inform analysis of insider agreements.

   18      5/31/2023     Simon, Russell       0.2   Prepare next steps in preparation for meeting with Akin on secured debt
                                                    challenges.
   18      5/31/2023   Friedman, Samantha     0.5   Participate in call with Paul Weiss and Akin Gump re: preparation for
                                                    Sinclair depositions.
   18      5/31/2023      Taylor, Brian       0.2   Correspond with Houlihan related to preparation for Sinclair depositions.

   18      5/31/2023     Braga, Andrew        2.8   Revise slides on DSG entities re: insider agreements.

   18      5/31/2023       Davis, Guy         1.5   Attend meeting with FTI internal team on potential recovery actions.

   18      5/31/2023   Cheng, Earnestiena     0.2   Correspond with internal team re: investigations status and waterfall
                                                    model.
   18      5/31/2023      Taylor, Brian       0.4   Correspond with counsel re: next steps for recovery actions.

   18      5/31/2023      Taylor, Brian       0.4   Prepare for call to discuss potential recovery actions with FTI team.

   18      5/31/2023    Murphy, Andrew        2.9   Prepare summary of recent document productions.

   18      5/31/2023    Murphy, Andrew        1.9   Continue to prepare summary of recent document productions.

   18      5/31/2023     Simon, Russell       2.9   Create analysis of DSG holding companies to inform payments to
                                                    insiders.
   18      5/31/2023     Simon, Russell       1.7   Continue to create analysis of DSG holding companies to inform
                                                    payments to insiders.
   18      5/31/2023     Simon, Russell       1.2   Analyze MVPD history with RSNs to inform payments to insiders.

                                                     156
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 157 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                     Activity
Category
   18      5/31/2023      Taylor, Brian          0.5   Review recovery actions to prepare for call with Akin.

   18      5/31/2023   Nicholls, Christopher     0.8   Discuss secured debt investigation with internal team.

   18      6/1/2023        Eldred, John          2.9   Attend McIntire deposition.

   18      6/1/2023        Eldred, John          2.9   Continue to attend McIntire deposition.

   18      6/1/2023        Eldred, John          2.2   Continue to attend conclusion of McIntire deposition.

   18      6/1/2023       Simon, Russell         2.9   Continue to prepare analysis of deposition of Billi-Jo McIntire for team.

   18      6/1/2023       Simon, Russell         2.9   Prepare analysis of deposition of Billi-Jo McIntire for distribution to
                                                       internal team.
   18      6/1/2023    Friedman, Samantha        2.0   Listen to analysis of deposition of Billi-Jo McIntire to inform FTI
                                                       investigations.
   18      6/1/2023     Cheng, Earnestiena       1.7   Participate in call with internal team re: investigations use of waterfall.

   18      6/1/2023       Taylor, Brian          1.7   Attend conference call with internal team related to investigations in
                                                       relation to waterfall review.
   18      6/1/2023       Taylor, Brian          1.7   Review case correspondence related to investigations.

   18      6/1/2023      Murphy, Andrew          2.1   Prepare document production analysis re: Sinclair Production.

   18      6/1/2023     Sternberg, Joseph        1.6   Review secured lien waterfall analysis.

   18      6/1/2023       Taylor, Brian          1.4   Attend deposition of Billie-Jo McIntire telephonically.

   18      6/1/2023      Murphy, Andrew          1.7   Participate in call with internal team re: business plan review and secured
                                                       debt investigations.
   18      6/1/2023       Leake, Nicola          1.7   Attend call re: secured debt investigations.

   18      6/1/2023       Simon, Russell         1.6   Analyze RSN holding companies to inform investigations.

   18      6/1/2023        Davis, Guy            0.9   Participate in call regarding waterfall and lien avoidance.

   18      6/1/2023       Braga, Andrew          1.5   Organize notes from Billi-Jo McIntire deposition to inform
                                                       investigations.
   18      6/1/2023       Simon, Russell         1.3   Continue to prepare analysis of deposition of Billi-Jo McIntire for
                                                       distribution to internal team.
   18      6/1/2023    Friedman, Samantha        0.9   Conduct research to inform investigations on payments to insiders.

   18      6/1/2023       Taylor, Brian          0.9   Participate in call regarding lien avoidance analysis with internal team.

   18      6/1/2023     Sternberg, Joseph        0.9   Participate in call with FTI team re: secured lien waterfall analysis.

   18      6/1/2023    Friedman, Samantha        0.8   Participate in call with internal team on secured debt investigations.

                                                        157
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 158 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date       Professional        Hours                                      Activity
Category
   18      6/1/2023      Taylor, Brian          0.8   Participate in conference calls with internal team related to secured debt
                                                      investigation in relation to business plan.
   18      6/1/2023    Sternberg, Joseph        0.8   Participate in call with FTI team re: secured debt investigations.

   18      6/1/2023     Bhargava, Yash          0.8   Attend call to provide business plan insight on secured debt
                                                      investigations.
   18      6/1/2023      Taylor, Brian          0.6   Correspond to internal team related to investigations.

   18      6/1/2023      Taylor, Brian          0.4   Correspond to Akin related to investigations.

   18      6/1/2023     Murphy, Andrew          0.4   Analyze guarantors under notes indenture.

   18      6/2/2023       Eldred, John          3.0   Prepare secured lender analysis.

   18      6/2/2023   Friedman, Samantha        2.9   Listen to deposition of W. Bell to inform investigations work.

   18      6/2/2023      Taylor, Brian          2.9   Continue attending Bell deposition.

   18      6/2/2023       Davis, Guy            2.4   Review DSG capital structure as part of investigations workstream.

   18      6/2/2023      Taylor, Brian          2.7   Attend Bell deposition.

   18      6/2/2023   Friedman, Samantha        2.4   Continue listening to deposition of W. Bell to inform investigations work.

   18      6/2/2023      Simon, Russell         2.9   Continue to prepare analysis of deposition of Will Bell for distribution to
                                                      internal team.
   18      6/2/2023      Simon, Russell         2.9   Prepare analysis of deposition of Will Bell for distribution to internal
                                                      team.
   18      6/2/2023      Braga, Andrew          2.3   Summarize W. Bell deposition notes to inform investigations work.

   18      6/2/2023       Eldred, John          1.3   Review team notes from McIntire deposition in order to prepare
                                                      comments for internal team distribution.
   18      6/2/2023      Taylor, Brian          0.7   Correspond with internal team re: secured debt investigation.

   18      6/2/2023      Taylor, Brian          0.5   Meet with Counsel in break out room for Bell deposition.

   18      6/2/2023       Davis, Guy            0.4   Discuss secured debt investigation with team member.

   18      6/2/2023      Taylor, Brian          0.4   Participate in conference call with team member related to secured debt
                                                      investigation.
   18      6/2/2023      Simon, Russell         0.5   Conduct analysis of deposition of Will Bell for distribution to internal
                                                      team.
   18      6/5/2023      Simon, Russell         2.9   Create analysis re: investigations work.

   18      6/5/2023       Eldred, John          2.0   Analyze unencumbered DSG entities.

   18      6/5/2023   Nicholls, Christopher     1.2   Review summary of depositions re: secured debt investigations.

                                                       158
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 159 of 220
                                           EXHIBIT E
                        DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                     DETAIL OF TIME ENTRIES
                           FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional      Hours                                    Activity
Category
   18      6/5/2023      Taylor, Brian       1.4   Prepare request list for secured debt investigations.

   18      6/5/2023    Sternberg, Joseph     1.2   Coordinate with FTI team re: secured debt investigations.

   18      6/5/2023     Simon, Russell       1.5   Continue to create analysis to inform investigations work.

   18      6/5/2023    Berkin, Michael       0.8   Discuss status of secured debt investigation with Akin team.

   18      6/5/2023      Taylor, Brian       0.9   Prepare for meeting with internal team re: secured debt investigation.

   18      6/5/2023      Taylor, Brian       0.9   Review deposition notes to identify takeaways for investigations.

   18      6/5/2023      Taylor, Brian       0.8   Meet with Akin team related to investigation of secured debt.

   18      6/5/2023     Simon, Russell       1.0   Continue to prepare analysis of deposition of Will Bell for internal
                                                   distribution.
   18      6/5/2023     Simon, Russell       1.0   Continue to prepare analysis of 6/1 deposition of Billi-Jo McIntire for
                                                   internal distribution.
   18      6/5/2023   Friedman, Samantha     0.6   Draft clarifying questions for Debtors' advisors re: litigation and
                                                   investigations discussions.
   18      6/5/2023    Berkin, Michael       0.5   Discuss investigation of internal parties with Committee counsel and
                                                   Houlihan.
   18      6/5/2023   Friedman, Samantha     0.5   Participate in call with Akin, FTI, and Houlihan re: Paul Weiss complaint
                                                   recap.
   18      6/5/2023      Eldred, John        0.5   Participate in meeting with Akin and Houlihan to discuss Paul Weiss
                                                   meeting.
   18      6/5/2023      Taylor, Brian       0.5   Participate in conference call with Akin and Houlihan related to
                                                   investigations.
   18      6/5/2023    Murphy, Andrew        0.6   Download latest production documents and distribute to internal team.

   18      6/5/2023      Taylor, Brian       0.4   Correspond with Alix re: meeting to discuss investigations.

   18      6/5/2023      Taylor, Brian       0.4   Prepare request list for secured debt investigations follow-up.

   18      6/5/2023      Taylor, Brian       0.4   Prepare recap of call with Akin involving investigations.

   18      6/5/2023      Taylor, Brian       0.3   Correspond with internal team related to investigations.

   18      6/5/2023      Taylor, Brian       0.3   Prepare for call with Committee advisors to inform investigations.

   18      6/5/2023      Taylor, Brian       0.3   Revise agenda for advisors meeting on investigations.

   18      6/5/2023    Murphy, Andrew        0.3   Add Empire production to index.

   18      6/5/2023      Taylor, Brian       0.2   Correspond with internal team re: recap of call with Akin.

   18      6/6/2023    Murphy, Andrew        1.6   Update Empire production index.

                                                    159
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 160 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date       Professional        Hours                                    Activity
Category
   18      6/6/2023      Taylor, Brian          1.2   Review intercompany matrix re: secured debt investigation.

   18      6/6/2023       Eldred, John          0.9   Prepare for Bochenek deposition.

   18      6/6/2023   Nicholls, Christopher     0.5   Attend meeting relating to ongoing investigations efforts connected to
                                                      business plan analysis.
   18      6/6/2023     Murphy, Andrew          0.8   Prepare correspondence with Akin re: Empire production documents.

   18      6/6/2023      Taylor, Brian          0.5   Attend conference call with internal team re: business plan analysis for
                                                      investigations.
   18      6/6/2023      Taylor, Brian          0.5   Attend conference call with internal team member related to
                                                      intercompany analysis for investigations.
   18      6/6/2023      Taylor, Brian          0.4   Create response to Alix email on investigations.

   18      6/6/2023      Taylor, Brian          0.4   Create document request list for secured debt investigations.

   18      6/6/2023      Braga, Andrew          0.5   Attend call with team re: RSN detail supporting investigations analysis.

   18      6/6/2023       Eldred, John          0.3   Attend call with Akin re: email from Alix.

   18      6/6/2023      Taylor, Brian          0.3   Participate on call with internal team re: Alix email on investigations.

   18      6/6/2023      Taylor, Brian          0.3   Discuss coordination of assignment with team member re: specific RSN
                                                      entities.
   18      6/6/2023      Taylor, Brian          0.3   Correspond with internal team on document production to inform
                                                      investigations.
   18      6/6/2023      Braga, Andrew          0.3   Participate in call with internal team discussing specific RSNs re:
                                                      investigations.
   18      6/6/2023      Taylor, Brian          0.2   Correspond with Akin re: depositions.

   18      6/7/2023   Friedman, Samantha        2.8   Listen to deposition of D. Bochenek to inform investigations work.

   18      6/7/2023       Eldred, John          2.6   Attend Bochenek deposition.

   18      6/7/2023       Eldred, John          2.6   Continue to attend Bochenek deposition.

   18      6/7/2023       Eldred, John          2.3   Continue to attend remainder of Bochenek deposition.

   18      6/7/2023      Simon, Russell         2.9   Listen to deposition testimony of David Bochenek in order to create key
                                                      takeaways.
   18      6/7/2023      Simon, Russell         2.9   Create key takeaways from deposition testimony of David Bochenek.

   18      6/7/2023       Davis, Guy            1.7   Review analysis on lender recovery action.

   18      6/7/2023     Murphy, Andrew          2.4   Review in order to categorize files within Empire document production.

   18      6/7/2023      Taylor, Brian          1.7   Review produced financial documents provided by Akin to inform
                                                      investigations.
                                                        160
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 161 of 220
                                           EXHIBIT E
                        DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                     DETAIL OF TIME ENTRIES
                           FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional    Hours                                   Activity
Category
   18      6/7/2023     Simon, Russell     2.1   Continue to listen to deposition testimony of David Bochenek to create
                                                 key takeaways.
   18      6/7/2023     Taylor, Brian      1.2   Review documents produced by Duff and Phelps to inform
                                                 investigations.
   18      6/7/2023      Eldred, John      0.7   Continue to prepare for Bochenek deposition.

   18      6/7/2023     Taylor, Brian      0.7   Correspond with Houlihan and Akin to coordinate conference call.

   18      6/7/2023     Taylor, Brian      0.6   Correspond with internal team to coordinate conference call with Alix.

   18      6/7/2023     Taylor, Brian      0.4   Continue to review financial documents provided by Akin to inform
                                                 investigations.
   18      6/7/2023     Taylor, Brian      0.4   Coordinate conference call with Houlihan and Akin re: investigations.

   18      6/7/2023     Taylor, Brian      0.3   Correspond with Houlihan to coordinate conference call with Alix re:
                                                 investigations.
   18      6/7/2023     Leake, Nicola      0.4   Prepare correspondence with Counsel re: unsecured claims.

   18      6/7/2023     Taylor, Brian      0.2   Correspond with Akin re: investigations.

   18      6/7/2023     Taylor, Brian      0.2   Continue correspondence with Akin re: investigations.

   18      6/7/2023     Taylor, Brian      0.2   Correspond with Akin re: financial documents to inform investigations.

   18      6/8/2023      Eldred, John      2.7   Review documents produced by Duff and Phelps to prepare for
                                                 deposition.
   18      6/8/2023    Scruton, Andrew     1.7   Review summaries of Sinclair depositions.

   18      6/8/2023    Murphy, Andrew      2.9   Review Duff and Phelps document production re: fairness opinion on
                                                 Company agreements.
   18      6/8/2023     Simon, Russell     2.9   Continue review of documents to inform questions on Empire report for
                                                 liquidity analysis.
   18      6/8/2023     Simon, Russell     2.9   Review documents to inform questions for Akin on Empire report for
                                                 liquidity analysis.
   18      6/8/2023      Eldred, John      1.8   Continue to review documents produced by Duff and Phelps to prepare
                                                 for deposition.
   18      6/8/2023    Murphy, Andrew      2.4   Continue review of Duff and Phelps document production re: fairness
                                                 opinion on Company agreements.
   18      6/8/2023      Davis, Guy        1.5   Participate in call with internal team on investigations status.

   18      6/8/2023    Murphy, Andrew      2.3   Continue to review Duff and Phelps document production re:
                                                 management fee fairness opinion.
   18      6/8/2023     Taylor, Brian      1.7   Review Empire production to inform internal analysis.

   18      6/8/2023    Murphy, Andrew      2.2   Review Duff and Phelps document production re: fairness opinion.

   18      6/8/2023    Murphy, Andrew      2.1   Continue to categorize files within Empire document production.

                                                  161
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 162 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date       Professional        Hours                                    Activity
Category
   18      6/8/2023       Eldred, John          1.5   Attend internal call with FTI team on investigations.

   18      6/8/2023      Taylor, Brian          1.3   Review documents to inform investigations.

   18      6/8/2023      Taylor, Brian          1.1   Review intercompany analysis related to investigations.

   18      6/8/2023      Taylor, Brian          1.1   Update document request list per Akin comments to inform
                                                      investigations.
   18      6/8/2023      Simon, Russell         1.2   Continue additional review of documents to inform questions for Akin on
                                                      Empire report for liquidity analysis.
   18      6/8/2023     Murphy, Andrew          1.1   Review Duff and Phelps document production re: Bally's fairness
                                                      opinion.
   18      6/8/2023      Taylor, Brian          0.4   Conduct conference call with internal team related to document review
                                                      for depositions.
   18      6/8/2023      Taylor, Brian          0.4   Correspond with internal team re: updates to intercompany analysis to
                                                      inform investigations.
   18      6/8/2023      Simon, Russell         0.5   Create key takeaways from 6/7 deposition summary of David Bochenek.

   18      6/8/2023     Murphy, Andrew          0.4   Participate in call with internal team member re: Duff and Phelps
                                                      document production review.
   18      6/8/2023      Taylor, Brian          0.3   Correspond with Akin re: document requests to inform investigations.

   18      6/8/2023      Taylor, Brian          0.2   Correspond with Akin related to document requests.

   18      6/9/2023       Eldred, John          2.9   Review Duff and Phelps documents.

   18      6/9/2023     Murphy, Andrew          3.0   Review Duff and Phelps document production re: Bally's fairness
                                                      opinion.
   18      6/9/2023     Murphy, Andrew          2.9   Prepare diligence questions list re: Duff and Phelps document production
                                                      re: Bally's fairness opinion.
   18      6/9/2023      Simon, Russell         2.9   Review documents to inform deposition questions.

   18      6/9/2023      Simon, Russell         2.9   Create deposition questions re: Empire report.

   18      6/9/2023      Simon, Russell         2.9   Review documents to inform questions for Houlihan and Akin re: Empire
                                                      report.
   18      6/9/2023      Taylor, Brian          2.1   Review documents produced by Empire to inform investigations.

   18      6/9/2023       Davis, Guy            1.5   Validate investigation materials to be presented to the Committee.

   18      6/9/2023      Taylor, Brian          1.8   Prepare questions for Empire deposition.

   18      6/9/2023      Taylor, Brian          1.7   Update questions for Empire deposition.

   18      6/9/2023       Eldred, John          1.6   Prepare Duff and Phelps deposition themes and questions for Counsel.

   18      6/9/2023   Nicholls, Christopher     1.0   Participate in call with Committee advisors to discuss secured lender
                                                      prep.
                                                       162
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 163 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date       Professional      Hours                                      Activity
Category
   18      6/9/2023     Berkin, Michael       1.0   Participate in call on investigations with Committee advisors.

   18      6/9/2023    Friedman, Samantha     1.0   Participate in call with Houlihan, FTI, and Akin re: valuations for secured
                                                    lender investigations.
   18      6/9/2023       Taylor, Brian       1.0   Attend conference call with Akin and Houlihan regarding investigations.

   18      6/9/2023      Simon, Russell       1.1   Continue to create deposition questions to inform Empire valuations.

   18      6/9/2023       Taylor, Brian       0.7   Prepare for conference call with Akin and Houlihan regarding
                                                    investigations.
   18      6/9/2023       Taylor, Brian       0.7   Review schedules for specific entities re: investigations.

   18      6/9/2023      Leake, Nicola        0.8   Prepare updates to claims and distributable value scenarios.

   18      6/9/2023       Taylor, Brian       0.4   Correspond with to Akin and Houlihan related to investigations.

   18      6/9/2023       Taylor, Brian       0.2   Correspond with Houlihan regarding investigations.

   18      6/12/2023    Murphy, Andrew        2.3   Prepare analysis re: investigations waterfall analysis.

   18      6/12/2023    Berkin, Michael       1.3   Review guarantees in connection with potential causes of action.

   18      6/12/2023       Davis, Guy         1.1   Participate in internal meeting on the lender challenge strategy.

   18      6/12/2023      Taylor, Brian       1.3   Review intercompany deck re: secured debt investigations.

   18      6/12/2023      Eldred, John        1.2   Review secured debt analysis with insight from solvency expert.

   18      6/12/2023      Taylor, Brian       1.1   Participate on internal meeting on the lender investigation strategy.

   18      6/12/2023    Sternberg, Joseph     1.1   Review analysis re: secured debt scenarios.

   18      6/12/2023      Taylor, Brian       0.8   Review organizational chart re: secured debt investigations.

   18      6/12/2023      Taylor, Brian       0.6   Review documents related to Marquee value to inform investigations.

   18      6/12/2023    Berkin, Michael       0.5   Discuss causes of action with internal litigation team.

   18      6/12/2023   Friedman, Samantha     0.5   Participate in call with internal litigation team.

   18      6/12/2023      Taylor, Brian       0.5   Attend call with FTI team relating to value of potential secured debt
                                                    claims to inform investigations.
   18      6/12/2023      Taylor, Brian       0.5   Attend conference call with Houlihan regarding secured debt
                                                    investigations re: AR facility.
   18      6/12/2023    Sternberg, Joseph     0.5   Review correspondence from FTI team re: entity guarantees.

   18      6/12/2023    Sternberg, Joseph     0.5   Participate in call with Houlihan re: AR facility in relation to secured
                                                    debt investigation.
                                                     163
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 164 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                     Activity
Category
   18      6/12/2023      Taylor, Brian          0.3   Correspond with Akin re: Marquee value to inform investigations.

   18      6/12/2023      Taylor, Brian          0.2   Attend conference call with Paul Weiss and Akin regarding depositions.

   18      6/12/2023      Taylor, Brian          0.2   Continue analysis of secured debt claims to inform investigations.

   18      6/12/2023      Taylor, Brian          0.2   Update Committee advisors call agenda to reference topics for
                                                       investigations.
   18      6/12/2023    Sternberg, Joseph        0.2   Participate in call with Akin re: Sinclair depositions.

   18      6/12/2023      Taylor, Brian          0.1   Analyze secured debt claims to inform investigations.

   18      6/13/2023       Eldred, John          2.8   Continue to attend deposition of Kroll / Duff and Phelps in Chicago.

   18      6/13/2023       Eldred, John          2.6   Attend deposition of Duff and Phelps in Chicago.

   18      6/13/2023      Simon, Russell         2.9   Create key takeaways from deposition testimony of Barry Faber.

   18      6/13/2023      Simon, Russell         2.9   Continue to create key takeaways from deposition testimony of Barry
                                                       Faber.
   18      6/13/2023      Taylor, Brian          2.1   Attend deposition of Barry Faber.

   18      6/13/2023      Taylor, Brian          2.1   Review documents provided by the Debtors related to secured debt
                                                       investigations.
   18      6/13/2023      Taylor, Brian          1.8   Continue to attend deposition of Barry Faber.

   18      6/13/2023       Eldred, John          1.6   Continue to attend end of deposition of Kroll / Duff and Phelps in
                                                       Chicago.
   18      6/13/2023     Vadon, Courtney         3.0   Attend Duffs and Phelps deposition in order to take notes for team.

   18      6/13/2023     Vadon, Courtney         3.0   Continue to attend Duffs and Phelps deposition in order to take notes for
                                                       team.
   18      6/13/2023       Eldred, John          1.2   Prepare for Kroll / Duff and Phelps deposition.

   18      6/13/2023     Murphy, Andrew          1.6   Update single entity waterfall analysis per comments from internal team.

   18      6/13/2023     Murphy, Andrew          1.4   Prepare single-entity waterfall analysis.

   18      6/13/2023   Nicholls, Christopher     0.8   Review secured lender investigation re: valuation approach.

   18      6/13/2023    Sternberg, Joseph        1.1   Listen in to Faber hearing.

   18      6/13/2023     Vadon, Courtney         1.8   Prepare notes following Duff and Phelps deposition.

   18      6/13/2023      Taylor, Brian          0.8   Correspond with Akin related to document production for investigations.

   18      6/13/2023     Vadon, Courtney         1.3   Continue preparing notes following Duff and Phelps deposition.

                                                        164
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 165 of 220
                                           EXHIBIT E
                        DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                     DETAIL OF TIME ENTRIES
                           FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional      Hours                                      Activity
Category
   18      6/13/2023     Taylor, Brian       0.5   Correspond with Houlihan and Akin teams to provide detailed update on
                                                   secured debt investigations.
   18      6/13/2023   Murphy, Andrew        0.6   Put through additional updates re: single entity waterfall analysis.

   18      6/13/2023   Vadon, Courtney       0.8   Prepare notes on Duff and Phelps deposition.

   18      6/13/2023     Taylor, Brian       0.4   Conduct analysis for investigations.

   18      6/13/2023   Sternberg, Joseph     0.4   Prepare shell of secured creditor lien challenge deck.

   18      6/13/2023     Taylor, Brian       0.3   Prepare correspondence to Akin related to Committee presentation on
                                                   investigations.
   18      6/13/2023     Taylor, Brian       0.3   Conduct analysis of secured debt claims with Houlihan.

   18      6/13/2023     Taylor, Brian       0.2   Continue to discuss secured debt claims analysis with Houlihan.

   18      6/14/2023     Taylor, Brian       2.2   Continue to attend Empire deposition.

   18      6/14/2023     Taylor, Brian       2.2   Attend Empire deposition.

   18      6/14/2023    Simon, Russell       2.2   Listen to deposition testimony of Empire executive to create key
                                                   takeaways.
   18      6/14/2023   Sternberg, Joseph     1.5   Participate in call with internal team re: secured lien waterfall analysis.

   18      6/14/2023   Sternberg, Joseph     1.4   Participate in call with internal team member re: secured lien waterfall
                                                   entity review.
   18      6/14/2023   Murphy, Andrew        1.5   Participate in call with internal team member re: preparation for secured
                                                   lien investigations waterfall review.
   18      6/14/2023    Leake, Nicola        1.5   Attend call with team re: secured lien waterfall updates and scenario
                                                   toggles.
   18      6/14/2023   Murphy, Andrew        1.4   Participate in call with internal team re: secured lien investigations
                                                   waterfall analysis.
   18      6/14/2023    Simon, Russell       1.4   Create key takeaways from deposition testimony of Empire executive.

   18      6/14/2023    Leake, Nicola        1.4   Attend calls with team re: investigations waterfall.

   18      6/14/2023    Wikel, Daniel        0.7   Review deposition summaries prepared by internal team through 6/14 to
                                                   assess status of investigation efforts.
   18      6/14/2023   Berkin, Michael       0.8   Discuss waterfall re: specific entity overview for secured debt analysis.

   18      6/14/2023   Sternberg, Joseph     0.8   Participate in call with Houlihan re: secured debt waterfalls for
                                                   investigation purposes.
   18      6/14/2023      Davis, Guy         0.6   Review analysis in order to provide feedback re: secured debt
                                                   investigations.
   18      6/14/2023   Murphy, Andrew        0.8   Participate in call with internal team re: illustrative secured lien waterfall
                                                   analysis.
   18      6/14/2023     Taylor, Brian       0.6   Conduct analysis for review by internal team re: secured debt
                                                   investigations.
                                                     165
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 166 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                     Activity
Category
   18      6/14/2023     Taylor, Brian        0.6   Correspond with Akin related to document requests to inform
                                                    investigations.
   18      6/14/2023     Simon, Russell       0.8   Continue to listen to deposition testimony of Empire executive to create
                                                    key takeaways.
   18      6/14/2023     Leake, Nicola        0.8   Attend call with team re: waterfall for investigations purposes.

   18      6/14/2023     Taylor, Brian        0.3   Attend conference call with internal team related to the secured debt
                                                    analysis.
   18      6/14/2023   Sternberg, Joseph      0.3   Participate in call with internal team member re: secured lien waterfall
                                                    preparations.
   18      6/14/2023   Murphy, Andrew         0.3   Participate in call with internal team member re: updates to illustrative
                                                    secured lien waterfall analysis.
   18      6/14/2023     Taylor, Brian        0.2   Correspond with internal team related to coordination with Houlihan.

   18      6/14/2023     Taylor, Brian        0.2   Correspond with Akin related to Committee presentation on
                                                    investigations.
   18      6/14/2023   Sternberg, Joseph      0.2   Finalize outline of secured creditor lien deck.

   18      6/15/2023      Eldred, John        2.4   Review hot documents flagged by Counsel.

   18      6/15/2023    Berkin, Michael       1.5   Assess Debtor's support to potential complaint filing.

   18      6/15/2023   Sternberg, Joseph      1.7   Compile analysis for secured creditor lien deck.

   18      6/15/2023     Simon, Russell       1.9   Finish updates to deposition recaps to inform investigations.

   18      6/15/2023      Eldred, John        1.2   Review potential causes of action with Debtor's advisors.

   18      6/15/2023   Cheng, Earnestiena     1.1   Evaluate investigations-related waterfall model.

   18      6/15/2023   Cheng, Earnestiena     1.1   Evaluate details of investigation waterfall analysis.

   18      6/15/2023   Murphy, Andrew         1.1   Update analysis per comments from internal team re: unsecured claims
                                                    and recoveries.
   18      6/15/2023     Moran, Sarah         3.0   Organize files from historical Company transactions.

   18      6/15/2023   Sternberg, Joseph      0.7   Continue to prepare secured creditor lien deck.

   18      6/15/2023     Taylor, Brian        0.6   Prepare for conference call with Committee and Debtor professionals re:
                                                    investigations.
   18      6/15/2023   Murphy, Andrew         0.7   Attend call with team member re: JV illustrative recovery analysis.

   18      6/15/2023     Moran, Sarah         2.2   Continue to organize files from historical Company transactions.

   18      6/15/2023     Leake, Nicola        0.5   Discuss secured lien waterfall recovery for certain JV entity with team
                                                    member.
   18      6/15/2023     Taylor, Brian        0.3   Correspond with internal team re: secured debt investigations.

                                                     166
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 167 of 220
                                           EXHIBIT E
                        DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                     DETAIL OF TIME ENTRIES
                           FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional      Hours                                    Activity
Category
   18      6/15/2023     Taylor, Brian       0.2   Correspond with Akin related to secured debt investigations.

   18      6/15/2023   Murphy, Andrew        0.2   Participate in call with internal team member re: review of debt
                                                   transactions production.
   18      6/15/2023    Moran, Sarah         0.2   Discuss historical transactions with related parties documents with team
                                                   member.
   18      6/16/2023   Scruton, Andrew       1.8   Review analysis of value allocation methodology by JV entity.

   18      6/16/2023   Murphy, Andrew        2.9   Update analysis per comments from internal team re: secured lien
                                                   investigation waterfall analysis.
   18      6/16/2023     Taylor, Brian       1.6   Update secured debt investigations deck to inform investigations.

   18      6/16/2023     Eldred, John        1.3   Continue review of hot documents flagged by Paul Weiss.

   18      6/16/2023   Murphy, Andrew        1.3   Review analysis re: secured lien investigation waterfall analysis.

   18      6/16/2023   Sternberg, Joseph     1.0   Continue to compile analysis re: secured creditor lien deck.

   18      6/16/2023     Taylor, Brian       0.9   Review secured debt investigations deck to inform investigations.

   18      6/16/2023     Taylor, Brian       0.9   Correspond with Houlihan to relay updates related to the secured debt
                                                   investigations.
   18      6/16/2023    Moran, Sarah         2.9   Organize historical files from Sinclair debt transactions.

   18      6/16/2023   Murphy, Andrew        0.8   Review production re: Sinclair board materials and debt transactions.

   18      6/16/2023     Taylor, Brian       0.6   Review updated business plan for context related to secured debt
                                                   investigations.
   18      6/16/2023     Taylor, Brian       0.5   Review 2022 consolidated financials to inform updates on investigation.

   18      6/16/2023   Scruton, Andrew       0.3   Correspond with Akin on Sinclair document production and open
                                                   requests.
   18      6/16/2023     Taylor, Brian       0.2   Correspond with Akin related to the secured debt investigations.

   18      6/17/2023     Taylor, Brian       0.5   Correspond with FTI team re: investigations, meeting with Houlihan.

   18      6/19/2023     Taylor, Brian       2.3   Attend Rutishauser deposition.

   18      6/19/2023    Simon, Russell       2.9   Continue to create key takeaways from deposition testimony of DSG
                                                   CFO.
   18      6/19/2023     Taylor, Brian       1.8   Continue to attend Rutishauser deposition.

   18      6/19/2023     Taylor, Brian       1.6   Continue to attend conclusion of Rutishauser deposition.

   18      6/19/2023    Simon, Russell       2.1   Continue to create additional key takeaways from deposition testimony of
                                                   DSG CFO.
   18      6/19/2023    Simon, Russell       1.1   Create key takeaways from deposition testimony of DSG CFO.

                                                    167
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 168 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                     Activity
Category
   18      6/19/2023    Sternberg, Joseph        0.8   Review specific entities in relation to secured lien investigation.

   18      6/19/2023    Sternberg, Joseph        0.6   Review correspondence from FTI team re: secured lien investigations.

   18      6/19/2023       Eldred, John          0.4   Coordinate investigation efforts with Houlihan.

   18      6/19/2023     Vadon, Courtney         0.8   Assist in preparing notes on Sinclair deposition for the end of the hearing.

   18      6/19/2023      Taylor, Brian          0.3   Correspond with FTI team related to meeting with Houlihan about
                                                       investigations.
   18      6/20/2023     Scruton, Andrew         2.1   Review draft Sinclair complaint.

   18      6/20/2023   Friedman, Samantha        2.7   Review in order to comment on Sinclair complaint draft.

   18      6/20/2023      Taylor, Brian          1.7   Review complaint prepared by the debtors.

   18      6/20/2023   Nicholls, Christopher     0.8   Review deck on secured debt investigations.

   18      6/20/2023       Eldred, John          0.9   Review Alix's investigations work product re: relationships with internal
                                                       parties.
   18      6/20/2023    Sternberg, Joseph        0.9   Review analysis re: secured debt investigations.

   18      6/20/2023   Friedman, Samantha        0.8   Review deposition summaries re: Sinclair investigations.

   18      6/20/2023     Murphy, Andrew          1.1   Update value creation scenarios and recoveries analysis per comments
                                                       from internal team.
   18      6/20/2023      Taylor, Brian          0.7   Review deck re: secured debt investigation.

   18      6/20/2023      Taylor, Brian          0.6   Prepare for conference call with Houlihan and internal team related to
                                                       investigations workstreams.
   18      6/20/2023      Taylor, Brian          0.5   Attend conference call with internal team to review analysis re: secured
                                                       debt investigation.
   18      6/20/2023     Murphy, Andrew          0.5   Participate in call with internal team re: value creation scenarios and
                                                       recoveries analysis.
   18      6/20/2023      Simon, Russell         0.5   Participate in call with internal team to review analysis related to debt
                                                       investigation.
   18      6/20/2023      Taylor, Brian          0.3   Correspond re: secured debt investigation presentation.

   18      6/20/2023      Taylor, Brian          0.2   Correspond with Akin related to depositions.

   18      6/21/2023       Eldred, John          2.4   Review draft complaint from Paul Weiss.

   18      6/21/2023      Taylor, Brian          2.3   Attend Smith deposition.

   18      6/21/2023     Scruton, Andrew         1.6   Review summary of Sinclair deposition findings.

   18      6/21/2023   Friedman, Samantha        2.1   Provide additional comments on Sinclair complaint draft.

                                                        168
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 169 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                    Activity
Category
   18      6/21/2023      Simon, Russell         2.9   Create key takeaways from deposition testimony for David Smith.

   18      6/21/2023      Simon, Russell         2.7   Continue to create key takeaways from deposition testimony for David
                                                       Smith.
   18      6/21/2023    Sternberg, Joseph        2.1   Continue to review analysis re: secured debt investigations.

   18      6/21/2023      Taylor, Brian          1.9   Continue attending for conclusion of Smith deposition.

   18      6/21/2023      Taylor, Brian          1.8   Continue attending of Smith deposition.

   18      6/21/2023       Eldred, John          1.5   Attend D. Smith deposition virtually.

   18      6/21/2023   Friedman, Samantha        1.3   Continue commenting on Sinclair complaint draft.

   18      6/21/2023      Simon, Russell         1.3   Continue to create key takeaways from remainder of deposition testimony
                                                       for David Smith.
   18      6/21/2023   Nicholls, Christopher     0.7   Review analysis re: intercompany relationships.

   18      6/21/2023   Friedman, Samantha        0.8   Listen to Smith deposition to inform investigations work.

   18      6/21/2023       Eldred, John          0.7   Continue to review draft complaint from Paul Weiss.

   18      6/21/2023      Taylor, Brian          0.7   Review cash ledger re: secured debt investigation.

   18      6/21/2023       Eldred, John          0.4   Discuss details of complaint from Paul Weiss with team member.

   18      6/21/2023      Taylor, Brian          0.4   Participate in discussion with FTI team related to the complaint.

   18      6/21/2023      Taylor, Brian          0.3   Correspond with Akin to schedule investigations call.

   18      6/21/2023    Cheng, Earnestiena       0.2   Review near term investigations workstreams.

   18      6/21/2023      Taylor, Brian          0.2   Prepare correspondence for Akin re: cash tracing.

   18      6/22/2023       Eldred, John          2.6   Review deposition transcripts of David Smith and Lucy Rutishauser.

   18      6/22/2023      Simon, Russell         2.9   Edit complaint document with FTI feedback.

   18      6/22/2023      Taylor, Brian          1.7   Review Sinclair complaint in order to provide comments.

   18      6/22/2023      Simon, Russell         1.7   Continue to edit complain document with FTI feedback.

   18      6/22/2023   Friedman, Samantha        1.0   Participate in call with FTI, Houlihan, and Akin re: investigations,
                                                       relationships with internal parties.
   18      6/22/2023       Eldred, John          1.0   Attend team meeting with Committee members re: investigations.

   18      6/22/2023    Cheng, Earnestiena       1.0   Participate in call with Counsel and Houlihan re: investigations
                                                       workstreams.
                                                        169
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 170 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date       Professional      Hours                                     Activity
Category
   18      6/22/2023      Taylor, Brian       1.0   Participate in conference call with the Committee's advisors re:
                                                    investigations.
   18      6/22/2023    Sternberg, Joseph     0.9   Review waterfall claims analysis in order to provide comments to internal
                                                    team.
   18      6/22/2023     Leake, Nicola        1.1   Review rejection assumptions in preparation for call with team members.

   18      6/22/2023     Leake, Nicola        1.0   Attend call with Akin and Houlihan re: investigations.

   18      6/22/2023    Scruton, Andrew       0.5   Review summary of deposition of David Smith.

   18      6/22/2023     Leake, Nicola        0.9   Apply updates re: rejection claims analysis.

   18      6/22/2023      Taylor, Brian       0.6   Prepare for call with Akin re: investigations.

   18      6/22/2023      Taylor, Brian       0.6   Continue review of cash ledger re: secured debt investigation.

   18      6/22/2023     Simon, Russell       0.8   Create key takeaways from 6/21 deposition testimony of David Smith to
                                                    inform FTI analysis.
   18      6/22/2023      Taylor, Brian       0.5   Review May MOR to inform investigation's waterfall.

   18      6/22/2023      Taylor, Brian       0.4   Correspond with team related to May MOR and waterfall.

   18      6/23/2023      Eldred, John        2.1   Review solvency timeline prepared by Debtors' advisors.

   18      6/23/2023    Scruton, Andrew       1.4   Review proposed revisions to Sinclair complaint.

   18      6/23/2023   Friedman, Samantha     1.6   Listen to deposition of D. Gallagher to inform insights into
                                                    investigations.
   18      6/23/2023      Taylor, Brian       1.6   Attend Gallagher deposition.

   18      6/23/2023    Vadon, Courtney       2.8   Attend deposition to prepare notes for investigations team re: Sinclair
                                                    business manager.
   18      6/23/2023      Taylor, Brian       1.3   Continue to attend Gallagher deposition.

   18      6/23/2023      Eldred, John        1.2   Review data re: intercompany cash tracing exercise.

   18      6/23/2023      Taylor, Brian       1.1   Participate in conference call with internal team re: cash analysis.

   18      6/23/2023      Taylor, Brian       0.9   Review cash ledger to inform investigations workstream.

   18      6/23/2023      Eldred, John        0.8   Review internal agreement documents, invoice registers, and related
                                                    analyses.
   18      6/23/2023      Park, Jacob         1.1   Meet with team to discuss analysis of transactions.

   18      6/23/2023    Murphy, Andrew        0.6   Participate in call with internal team to discuss secured lien waterfall
                                                    toggles.
   18      6/23/2023     Leake, Nicola        0.6   Participate in call with waterfall team to discuss updates to secured lien
                                                    toggles.
                                                      170
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 171 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date       Professional      Hours                                     Activity
Category
   18      6/23/2023      Eldred, John        0.4   Plan intercompany cash tracing exercise.

   18      6/23/2023    Vadon, Courtney       0.6   Continue to attend deposition to prepare notes for investigations team re:
                                                    Sinclair business manager.
   18      6/26/2023    Sternberg, Joseph     2.1   Continue additional review of analysis re: secured lien investigations.

   18      6/26/2023      Taylor, Brian       1.1   Prepare outline for investigations deck.

   18      6/26/2023      Eldred, John        1.0   Continue to plan for meeting with Houlihan re: secured debt
                                                    investigation.
   18      6/26/2023      Park, Jacob         1.2   Prepare cash of cash accounts by month for investigative purposes.

   18      6/26/2023    Vadon, Courtney       1.2   Additional preparation of 6/23 deposition notes re: Sinclair business
                                                    manager.
   18      6/26/2023    Vadon, Courtney       1.2   Continue to cleanse depositions notes from Sinclair business manager
                                                    deposition on 6/23.
   18      6/26/2023      Taylor, Brian       0.5   Discuss with internal team re: analysis for investigations deck.

   18      6/26/2023      Eldred, John        0.4   Plan for meeting with Houlihan re: secured debt investigation.

   18      6/26/2023      Taylor, Brian       0.4   Correspond to internal team related to questions for Alix and Akin on
                                                    investigations.
   18      6/26/2023      Taylor, Brian       0.4   Correspond to internal team re: cash analysis.

   18      6/26/2023     Simon, Russell       0.5   Participate in call with internal team on analysis for investigations deck.

   18      6/26/2023    Vadon, Courtney       0.6   Cleanse depositions notes from Sinclair business manager deposition on
                                                    6/23.
   18      6/26/2023      Taylor, Brian       0.3   Correspond for internal team re: advisors call agenda on investigations.

   18      6/26/2023      Taylor, Brian       0.3   Correspond with internal team and Houlihan re: investigations.

   18      6/27/2023      Taylor, Brian       2.7   Review document production for projections to inform investigations.

   18      6/27/2023     Simon, Russell       2.9   Create key takeaways from deposition testimony of Brian Nickols.

   18      6/27/2023     Simon, Russell       2.9   Create analysis of DSG relationships with streaming services to inform
                                                    investigations.
   18      6/27/2023   Friedman, Samantha     1.8   Develop outline for business plan validation analysis.

   18      6/27/2023    Sternberg, Joseph     1.4   Participate in call with FTI team re: secured lien investigation.

   18      6/27/2023    Scruton, Andrew       0.9   Review revised analysis of potential secured lender claims.

   18      6/27/2023     Simon, Russell       1.7   Prepare analysis of alternative DSG relationship with an MVPD to
                                                    inform investigations.
   18      6/27/2023    Murphy, Andrew        1.4   Participate on call with internal team re: business model allocation
                                                    drivers and intercompany estimates for secured liens investigation.
                                                      171
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 172 of 220
                                           EXHIBIT E
                        DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                     DETAIL OF TIME ENTRIES
                           FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional      Hours                                     Activity
Category
   18      6/27/2023    Simon, Russell       1.2   Continue to create key takeaways from deposition testimony of Brian
                                                   Nickols.
   18      6/27/2023     Eldred, John        0.6   Continue to review intercompany activity in cash ledger in order to
                                                   prepare analysis.
   18      6/27/2023     Taylor, Brian       0.5   Review draft cash analysis prepared for investigations.

   18      6/27/2023     Taylor, Brian       0.5   Provide investigations update to Houlihan.

   18      6/27/2023     Park, Jacob         0.8   Participate in call with team members to discuss approach of cash tracing.

   18      6/27/2023     Taylor, Brian       0.3   Correspond with Houlihan re: projections.

   18      6/27/2023     Taylor, Brian       0.2   Attend conference call with internal team re: 2019 projections.

   18      6/27/2023     Taylor, Brian       0.2   Correspond with FTI team related to produced documents.

   18      6/27/2023     Taylor, Brian       0.2   Correspond with FTI team re: cash analysis for investigative purposes.

   18      6/27/2023    Simon, Russell       0.2   Participate in call with internal team on investigations re: 2019
                                                   projections.
   18      6/28/2023     Eldred, John        2.4   Review intercompany activity in cash ledger.

   18      6/28/2023    Simon, Russell       2.6   Continue to create analysis of DSG relationship with distributor to inform
                                                   investigations.
   18      6/28/2023     Taylor, Brian       1.7   Review the cash ledger related to uses of funds for investigations.

   18      6/28/2023     Taylor, Brian       1.5   Prepare instructions for cash tracing for deck related to investigations.

   18      6/28/2023     Taylor, Brian       1.5   Attend discussion with internal team re: cash analysis for investigations.

   18      6/28/2023   Sternberg, Joseph     1.4   Provide comments on analysis re: secured lien investigations.

   18      6/28/2023     Taylor, Brian       1.2   Review SOALs and financial statements related to investigations.

   18      6/28/2023    Simon, Russell       1.5   Create analysis of DSG historical statements on EBITDA to inform
                                                   investigations.
   18      6/28/2023     Taylor, Brian       0.7   Review the intercompany ledger related to uses of funds to inform
                                                   investigations.
   18      6/28/2023     Park, Jacob         1.1   Trace cash in order to prepare analysis on intercompany transaction.

   18      6/28/2023     Eldred, John        0.6   Develop cash ledger analysis.

   18      6/28/2023     Taylor, Brian       0.6   Review investigations related timeline prepared by internal.

   18      6/28/2023     Taylor, Brian       0.4   Participate in conference call with internal team re: cash analysis to
                                                   inform investigations.
   18      6/28/2023     Taylor, Brian       0.4   Review Nickols deposition summary to inform updates to investigations.

                                                    172
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 173 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date       Professional      Hours                                    Activity
Category
   18      6/28/2023   Cheng, Earnestiena     0.3   Evaluate latest update from Counsel re: timing of Sinclair complaint
                                                    filing and other investigations.
   18      6/28/2023      Taylor, Brian       0.3   Review Gallagher deposition summary to inform investigations work.

   18      6/28/2023      Taylor, Brian       0.3   Correspond with internal team re: cash journal entries.

   18      6/28/2023      Taylor, Brian       0.3   Correspond with the internal team related to depositions.

   18      6/28/2023      Park, Jacob         0.4   Participate in call with team member to update on cash tracing and next
                                                    steps.
   18      6/28/2023      Taylor, Brian       0.2   Prepare correspondence to Akin re: deposition transcripts.

   18      6/28/2023      Taylor, Brian       0.2   Review Empire deposition summary to inform investigation's workplan.

   18      6/29/2023      Eldred, John        3.0   Attend deposition of Chris Ripley.

   18      6/29/2023      Eldred, John        3.0   Continue to attend deposition of Chris Ripley.

   18      6/29/2023   Friedman, Samantha     2.7   Listen to deposition of C. Ripley to inform work on the investigations.

   18      6/29/2023     Simon, Russell       2.9   Listen to deposition of Chris Ripley to create key takeaways.

   18      6/29/2023     Simon, Russell       2.9   Create key takeaways from deposition testimony of Chris Ripley.

   18      6/29/2023    Sternberg, Joseph     2.0   Prepare analysis re: secured lien investigation.

   18      6/29/2023    Murphy, Andrew        2.4   Update secured lien investigation scenario analysis per comments from
                                                    internal team.
   18      6/29/2023   Friedman, Samantha     1.7   Continue listening to deposition of C. Ripley.

   18      6/29/2023    Sternberg, Joseph     1.2   Review analysis re: secured lien investigation.

   18      6/29/2023     Simon, Russell       1.4   Continue to listen to deposition testimony of Chris Ripley in order to
                                                    create key takeaways.
   18      6/29/2023      Eldred, John        1.0   Continue to attend remainder of deposition of Chris Ripley.

   18      6/29/2023    Scruton, Andrew       0.6   Review summary of deposition of Brian Nickols.

   18      6/29/2023      Taylor, Brian       0.7   Review documents related to cash analysis to inform investigations.

   18      6/29/2023    Murphy, Andrew        0.8   Prepare additional updates to the secured lien investigation scenario
                                                    analysis per comments from internal FTI team.
   18      6/29/2023      Taylor, Brian       0.6   Provide response to Akin related to secured debt analysis.

   18      6/30/2023      Eldred, John        2.7   Attend deposition of Paul Finger, representative from JP Morgan Chase.

   18      6/30/2023      Eldred, John        2.4   Continue to attend deposition of Paul Finger, representative from JP
                                                    Morgan Chase.
                                                     173
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 174 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                       Activity
Category
   18      6/30/2023     Simon, Russell         2.9   Continue to attend deposition of JP Morgan Chase and create analysis
                                                      with key takeaways for internal team.
   18      6/30/2023     Simon, Russell         2.9   Attend deposition of JP Morgan Chase and create analysis with key
                                                      takeaways for internal team.
   18      6/30/2023      Park, Jacob           2.9   Prepare deck summarizing findings of March 2022 transaction cash
                                                      tracing.
   18      6/30/2023   Murphy, Andrew           1.9   Update secured lien investigation scenario analysis per additional
                                                      comments from internal team.
   18      6/30/2023      Eldred, John          1.2   Continue to attend remaining deposition of Paul Finger, representative
                                                      from JP Morgan Chase.
   18      6/30/2023     Taylor, Brian          1.2   Draft correspondence to Akin related to information requests for secured
                                                      debt analysis.
   18      6/30/2023     Simon, Russell         1.4   Continue to attend remaining deposition of JP Morgan Chase and create
                                                      analysis with key takeaways for internal team.
   18      6/30/2023   Sternberg, Joseph        1.0   Prepare analysis re: secured lien investigations.

   18      6/30/2023     Taylor, Brian          0.7   Attend conference call with internal team re: ad hoc waterfall.

   18      6/30/2023   Sternberg, Joseph        0.7   Participate in call with internal team re: waterfall application to
                                                      investigations.
   18      6/30/2023   Murphy, Andrew           0.7   Participate in call with internal team re: intercompany claim and
                                                      investigation implications.
   18      6/30/2023      Park, Jacob           0.8   Continue to prepare deck summarizing findings of March 2022
                                                      transaction cash tracing.
   18      6/30/2023   Cheng, Earnestiena       0.4   Participate in call with internal team re: ad hoc investigations.

   18      6/30/2023     Taylor, Brian          0.4   Participate in conference call with internal team re: cash tracing analysis.

18 Total                                    1,048.6

   19      4/2/2023      Hu, Elizabeth          1.0   Attend call with team member to discuss workplan, staffing, and near
                                                      term priorities.
   19      4/2/2023     Berkin, Michael         1.0   Discuss case status and workstreams with team member.

   19      4/3/2023    Cheng, Earnestiena       0.4   Coordinate creation of distribution list with internal team.

   19      4/3/2023    Cheng, Earnestiena       0.2   Evaluate and provide comments to priority workstreams noted by internal
                                                      team.
   19      4/3/2023     Berkin, Michael         0.5   Prepare follow up issues related to work plan discussion with Akin team.

   19      4/3/2023     Scruton, Andrew         1.0   Review NDA and case staffing for initial case projects.

   19      4/3/2023     Berkin, Michael         0.5   Summarize case details and issues re: call with Alix.

   19      4/4/2023    Cheng, Earnestiena       0.4   Coordinate times for meeting with management and business plan
                                                      overview.
   19      4/4/2023     Scruton, Andrew         1.1   Correspond with Akin and Houlihan on business plan diligence
                                                      workplan.
                                                       174
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 175 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date       Professional        Hours                                     Activity
Category
   19      4/4/2023     Vadon, Courtney         2.6   Draft internal daily email update for 4/4/2023.

   19      4/4/2023    Cheng, Earnestiena       0.3   Organize process for internal team re: daily news, docket, and data room
                                                      updates.
   19      4/4/2023      Leake, Nicola          0.6   Prepare notes re: daily update for team member.

   19      4/4/2023     Berkin, Michael         0.7   Prepare status list re: near-term deliverables.

   19      4/4/2023    Cheng, Earnestiena       0.4   Provide list of near-term priority information request items to internal
                                                      team.
   19      4/4/2023    Sternberg, Joseph        0.7   Review daily update email for April 4th re: case events.

   19      4/4/2023      Leake, Nicola          0.4   Review daily update for 4/4/2023.

   19      4/4/2023    Sternberg, Joseph        1.2   Review data room re: documents provided.

   19      4/5/2023    Cheng, Earnestiena       0.3   Coordinate with internal team re: meeting with management and advisors
                                                      to the Committee.
   19      4/5/2023    Cheng, Earnestiena       0.3   Draft agenda for internal call re: first day motions, business plan,
                                                      upcoming meetings & hearing, and other items.
   19      4/5/2023     Vadon, Courtney         1.3   Draft internal daily email update for 4/5/2023.

   19      4/5/2023     Vadon, Courtney         0.2   Manage team email distribution list re: onboarding team.

   19      4/5/2023      Simms, Steven          0.6   Prepare commentary re: diligence request list.

   19      4/5/2023   Nicholls, Christopher     0.5   Prepare correspondence to team re: workstreams for near-term
                                                      deliverables.
   19      4/5/2023    Sternberg, Joseph        0.5   Review daily update email for April 5th re: case events.

   19      4/6/2023      Hu, Elizabeth          1.0   Attend call with team re: case update and near term priorities.

   19      4/6/2023     Murphy, Andrew          1.0   Attend DSG internal meeting re: case overview and next steps.

   19      4/6/2023      Simms, Steven          1.0   Attend internal call on case issues including work plan, first day motions
                                                      and Sinclair items.
   19      4/6/2023     Vadon, Courtney         1.0   Attend internal DSG team meeting re: cast workstreams and status
                                                      updates.
   19      4/6/2023      Leake, Nicola          1.0   Attend larger team kick off call to discuss deliverables, case timeline and
                                                      other.
   19      4/6/2023     Berkin, Michael         0.6   Develop agenda for case status and workstream status with team.

   19      4/6/2023     Berkin, Michael         1.0   Discuss case status and workstreams with team on weekly call.

   19      4/6/2023     Vadon, Courtney         1.0   Draft internal daily email update for 4/6/2023.

   19      4/6/2023     Schuman, Philip         1.0   Participate in call to kickoff engagement re: deliverables, timeline and
                                                      objectives.
                                                       175
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 176 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                     Activity
Category
   19      4/6/2023     Sternberg, Joseph        1.0   Participate in call with team re: deliverables for Committee meeting.

   19      4/6/2023    Nicholls, Christopher     1.0   Participate in call with team re: work streams and next steps.

   19      4/6/2023     Cheng, Earnestiena       1.0   Participate in internal call re: first day motions, business plan, upcoming
                                                       meetings and hearing, and other general case items.
   19      4/6/2023    Friedman, Samantha        1.0   Participate on a call with team re: scope of work to kick off engagement
                                                       and deliverables.
   19      4/6/2023      Scruton, Andrew         1.0   Participate on call to coordinate engagement workplan and internal team
                                                       division of work.
   19      4/6/2023      Vadon, Courtney         0.2   Perform data pull to analyze latest Debtor deliverables.

   19      4/6/2023    Nicholls, Christopher     0.5   Prepare correspondence to Akin and Houlihan re: management meetings.

   19      4/6/2023      Vadon, Courtney         0.4   Revise filing re: retention applications.

   19      4/6/2023     Cheng, Earnestiena       0.2   Process edits to internal agenda re: first day motions, business plan, and
                                                       upcoming meetings/hearings.
   19      4/6/2023     Sternberg, Joseph        0.5   Review daily update email re: case events and news articles.

   19      4/6/2023       Leake, Nicola          0.3   Review daily update for 4/6/2023.

   19      4/6/2023    Nicholls, Christopher     1.9   Review initial data room documents in detail to prepare for upcoming
                                                       management meeting.
   19      4/7/2023      Vadon, Courtney         1.9   Build out preliminary diligence list using email correspondence and data
                                                       room updates.
   19      4/7/2023      Berkin, Michael         1.0   Identify key workstreams for later discussion with team members.

   19      4/7/2023      Vadon, Courtney         0.9   Perform data room management activities re: upload initial documents.

   19      4/7/2023     Sternberg, Joseph        0.5   Review daily update email for April 7th re: case events.

   19      4/7/2023       Leake, Nicola          0.3   Review daily update for 4/7/2023.

   19      4/7/2023     Sternberg, Joseph        1.6   Review data room re: cash collateral support.

   19      4/7/2023     Cheng, Earnestiena       0.4   Write correspondence on diligence list guide for junior team to update in
                                                       upcoming weeks.
   19      4/9/2023      Murphy, Andrew          0.4   Attend call with team members re: Committee meeting workplan.

   19      4/9/2023     Cheng, Earnestiena       0.4   Coordinate with team re: workplan for upcoming Committee advisor
                                                       calls.
   19      4/9/2023     Sternberg, Joseph        0.4   Participate in call with team members re: discussion materials for the
                                                       Committee.
   19      4/10/2023     Berkin, Michael         0.6   Develop agenda for 4/10 call with Committee advisors.

   19      4/10/2023    Cheng, Earnestiena       0.2   Prepare notes for team re: updating of diligence list.

                                                        176
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 177 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                    Activity
Category
   19      4/10/2023     Hu, Elizabeth        0.6   Revise document outlining proposed key workstreams for FTI and
                                                    Houlihan.
   19      4/10/2023   Sternberg, Joseph      0.9   Review deliverables for cash collateral update.

   19      4/10/2023     Leake, Nicola        0.3   Review diligence tracker prior to updating Akin.

   19      4/10/2023     Leake, Nicola        1.1   Update diligence tracker per internal comments.

   19      4/11/2023    Vadon, Courtney       0.8   Apply outstanding requests and comments to diligence tracker.

   19      4/11/2023     Leake, Nicola        0.5   Connect with team member re: diligence tracker.

   19      4/11/2023       Silva, Jose        0.4   Continue to work on diligence request list for Moelis, LionTree and
                                                    Company.
   19      4/11/2023   Cheng, Earnestiena     0.5   Coordinate with Counsel and Houlihan re: diligence list.

   19      4/11/2023   Cheng, Earnestiena     0.5   Coordinate with team re: diligence list on various items.

   19      4/11/2023    Vadon, Courtney       0.5   Discuss diligence tracker content with team member.

   19      4/11/2023    Vadon, Courtney       0.2   Draft internal daily email update for 4/11/2023.

   19      4/11/2023     Hu, Elizabeth        0.5   Draft list of key workstreams and form working groups.

   19      4/11/2023    Vadon, Courtney       0.9   Prepare diligence tracker according to earlier conversation.

   19      4/11/2023     Hu, Elizabeth        0.5   Prepare for call with Akin and Houlihan re: consolidated information
                                                    request list.
   19      4/11/2023   Cheng, Earnestiena     0.6   Provide updated diligence list to Akin and Houlihan teams.

   19      4/11/2023     Simms, Steven        0.4   Review diligence request list to understand key deliverables.

   19      4/11/2023     Leake, Nicola        1.7   Review diligence tracker and diligence notes.

   19      4/11/2023    Scruton, Andrew       0.7   Review draft speaking points for call with the Committee on management
                                                    meeting.
   19      4/11/2023     Leake, Nicola        1.8   Update diligence tracker to ensure completeness in detail.

   19      4/12/2023    Scruton, Andrew       0.4   Correspond with Alix on status of diligence and PEO issues.

   19      4/12/2023   Cheng, Earnestiena     0.4   Create general draft agenda for internal call re: workstreams, first day
                                                    motions, business plan update, upcoming meetings, and other items.
   19      4/12/2023    Berkin, Michael       0.4   Develop updated draft due diligence request list.

   19      4/12/2023    Vadon, Courtney       1.1   Draft data room upload email update re: new Committee documents.

   19      4/12/2023    Vadon, Courtney       1.5   Draft internal daily email update for 4/12/2023.

                                                     177
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 178 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                    Activity
Category
   19      4/12/2023      Hu, Elizabeth          0.3   Draft list of key workstreams to form working groups.

   19      4/12/2023    Sternberg, Joseph        0.4   Review daily update email re: case events.

   19      4/12/2023      Leake, Nicola          0.4   Review daily update for 4/12/2023.

   19      4/13/2023   Nicholls, Christopher     1.0   Attend 4/13 weekly case management call with team to provide insight on
                                                       status of business plan analysis.
   19      4/13/2023      Leake, Nicola          1.0   Attend 4/13 whole team internal meeting.

   19      4/13/2023     Murphy, Andrew          0.5   Attend internal DSG meeting regarding division of labor, internal
                                                       workstream assignments, and first day motions (partial attendance).
   19      4/13/2023     Scruton, Andrew         1.0   Coordinate engagement workplan and team assignments with internal
                                                       team on weekly meeting.
   19      4/13/2023    Cheng, Earnestiena       0.3   Coordinate with Akin and Houlihan re: workstreams list, hearing update,
                                                       and coordination for Committee call.
   19      4/13/2023     Vadon, Courtney         0.4   Draft data room upload email update.

   19      4/13/2023     Vadon, Courtney         0.5   Draft internal daily email update for 4/13/2023.

   19      4/13/2023   Friedman, Samantha        1.0   Participate in 4/13 weekly call with team to provide updates on the linear
                                                       and DTC business plan.
   19      4/13/2023    Sternberg, Joseph        1.0   Participate in call with full team re: workstreams and near-term
                                                       deliverables.
   19      4/13/2023    Cheng, Earnestiena       1.0   Participate in call with internal team re: workstreams, first day motions,
                                                       business plan update, upcoming meetings, and other items.
   19      4/13/2023      Hu, Elizabeth          1.0   Participate in call with team to discuss latest case updates, near term
                                                       priorities and workplan.
   19      4/13/2023     Vadon, Courtney         0.5   Prepare analysis re: Ad Hoc Crossholder Group updated 2019.

   19      4/13/2023    Sternberg, Joseph        0.7   Prepare list re: team upcoming deliverables.

   19      4/13/2023     Vadon, Courtney         1.1   Prepare tracker re: diligence request list WE 4/14.

   19      4/13/2023        Silva, Jose          1.0   Provide business plan updates in 4/13 weekly case management call.

   19      4/13/2023      Leake, Nicola          1.3   Review 2019 holdings and comments for internal team member.

   19      4/13/2023      Leake, Nicola          0.3   Review daily update for 4/13/2023.

   19      4/13/2023     Vadon, Courtney         0.4   Review recent data room uploaded documents.

   19      4/13/2023     Berkin, Michael         0.5   Review status conference summary and assess potential workstreams.

   19      4/13/2023     Vadon, Courtney         0.3   Revise analysis re: Ad Hoc Crossholder Group update 2019.

   19      4/13/2023     Vadon, Courtney         0.5   Summarize recent data room upload as reference item for internal team.

                                                        178
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 179 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                      Activity
Category
   19      4/13/2023    Vadon, Courtney       1.0   Update data room items for internal team re: new debt documents.

   19      4/14/2023    Berkin, Michael       1.3   Assess division of labor between FTI and Houlihan.

   19      4/14/2023    Vadon, Courtney       0.9   Draft internal daily email update for 4/14/2023.

   19      4/14/2023    Scruton, Andrew       0.4   Review allocation of workplan items between FTI & Houlihan.

   19      4/14/2023     Hu, Elizabeth        0.4   Review and comment on document outlining division of labor between
                                                    FTI and Houlihan.
   19      4/14/2023     Leake, Nicola        0.3   Review daily update for 4/14/2023.

   19      4/16/2023   Cheng, Earnestiena     0.5   Correspond with Counsel re: information requests.

   19      4/17/2023    Berkin, Michael       0.8   Assess workstreams for assignment to teams.

   19      4/17/2023    Berkin, Michael       0.7   Develop agenda for 4/17 call with Committee advisors.

   19      4/17/2023    Vadon, Courtney       1.0   Draft internal daily email update for 4/17/2023.

   19      4/17/2023   Cheng, Earnestiena     0.9   Evaluate status of and next steps on workstreams including liquidity,
                                                    upcoming hearing, and outstanding first day motions.
   19      4/17/2023    Berkin, Michael       0.7   Finalize division of labor assessment between FTI and Houlihan.

   19      4/17/2023   Cheng, Earnestiena     0.2   Prepare for advisor call to discuss status of workstreams, first day motion
                                                    review, and other items.
   19      4/17/2023   Murphy, Andrew         2.3   Prepare update re: diligence request tracker.

   19      4/17/2023     Leake, Nicola        1.1   Prepare updates to diligence tracker.

   19      4/17/2023    Vadon, Courtney       0.2   Respond to ad hoc data room clean up request from internal team.

   19      4/17/2023     Leake, Nicola        0.3   Review daily update for 4/17/2023.

   19      4/17/2023   Sternberg, Joseph      0.2   Review daily update re: filings.

   19      4/17/2023   Cheng, Earnestiena     0.5   Review updated diligence tracker for circulation to advisor group.

   19      4/17/2023   Murphy, Andrew         0.3   Set up Diamond Sports Group time keeping nicknames process
                                                    automation.
   19      4/17/2023    Vadon, Courtney       1.6   Update diligence tracker using email correspondence and data room
                                                    received items on behalf of Team.
   19      4/18/2023    Vadon, Courtney       0.2   Draft data room upload email update re: new Committee advisor
                                                    documents.
   19      4/18/2023    Vadon, Courtney       1.0   Draft internal daily email update for 4/18/2023.

   19      4/18/2023    Vadon, Courtney       0.3   Finalize diligence tracker updates.

                                                     179
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 180 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                     Activity
Category
   19      4/18/2023    Vadon, Courtney       0.7   Manage internal logistic preparation for upcoming second day hearing.

   19      4/18/2023     Leake, Nicola        1.2   Prepare updates to the diligence schedule re: additional material received.

   19      4/18/2023     Leake, Nicola        0.3   Review daily update for 4/18/2023.

   19      4/18/2023    Vadon, Courtney       0.4   Review diligence request list in order incorporate additional insights.

   19      4/19/2023    Vadon, Courtney       1.4   Draft data room update email and send to team.

   19      4/19/2023    Vadon, Courtney       0.6   Draft 4/19 internal email update on filings and news.

   19      4/19/2023    Vadon, Courtney       0.7   Organize team diligence lists and other miscellaneous items.

   19      4/19/2023   Sternberg, Joseph      0.5   Prepare daily update re: case events.

   19      4/19/2023     Leake, Nicola        0.3   Review daily update for 4/19/2023.

   19      4/20/2023   Murphy, Andrew         0.7   Attend call with internal team re: Deloitte diligence list and investigations
                                                    timeline.
   19      4/20/2023   Cheng, Earnestiena     0.7   Participate in call with internal team re: payments made to Sinclair and
                                                    investigations.
   19      4/20/2023    Vadon, Courtney       0.3   Assist in internal database management.

   19      4/20/2023     Leake, Nicola        1.1   Attend 4/20 whole team internal meeting re: case plans and logistics.

   19      4/20/2023   Murphy, Andrew         1.1   Attend DSG internal meeting with internal team re: internal deliverable
                                                    timelines.
   19      4/20/2023    Vadon, Courtney       1.1   Attend internal DSG team meeting to discuss case work plans and
                                                    timelines.
   19      4/20/2023       Silva, Jose        1.1   Attend weekly internal call to provide updates on business plan
                                                    evaluation
   19      4/20/2023    Vadon, Courtney       0.3   Continue to assist in internal database management.

   19      4/20/2023    Scruton, Andrew       0.8   Coordinate engagement workplan & team assignments.

   19      4/20/2023   Cheng, Earnestiena     0.5   Coordinate with internal team re: preparation for Deloitte separation call
                                                    and investigations meeting with Counsel.
   19      4/20/2023   Cheng, Earnestiena     0.4   Draft agenda for internal call re: liquidity, business plan, and near-term
                                                    workstreams.
   19      4/20/2023    Vadon, Courtney       0.7   Draft internal daily email update for 4/20/2023.

   19      4/20/2023   Cheng, Earnestiena     0.5   Evaluate latest data room updates based on discussion with internal team.

   19      4/20/2023    Vadon, Courtney       0.3   Manage internal team data room.

   19      4/20/2023   Sternberg, Joseph      1.1   Participate in call with team re: division of work on near-term
                                                    deliverables.
                                                     180
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 181 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date       Professional      Hours                                      Activity
Category
   19      4/20/2023   Cheng, Earnestiena     1.1   Participate in call with internal team re: liquidity, business plan, and near-
                                                    term workstreams.
   19      4/20/2023     Hu, Elizabeth        1.1   Participate in weekly team meeting to discuss key workstreams (e.g.,
                                                    business plan, upcoming meetings, motions, etc., status, and next steps.

   19      4/20/2023    Sternberg, Joseph     0.6   Prepare agenda of deliverables.

   19      4/20/2023   Friedman, Samantha     0.7   Provide business plan updates in weekly 4/20 general case internal call
                                                    (partial attendance).
   19      4/20/2023    Berkin, Michael       0.6   Review agenda for case status and workstream status with team.

   19      4/20/2023    Berkin, Michael       1.0   Review case status and workstreams with team on weekly call.

   19      4/20/2023     Leake, Nicola        0.3   Review daily update for 4/20/2023.

   19      4/20/2023    Vadon, Courtney       0.5   Review internal liquidity management files in preparation of review new
                                                    weekly variance re: 4/14 informational forecast.
   19      4/21/2023   Cheng, Earnestiena     1.4   Create workplan for case workstreams based on discussion with internal
                                                    team.
   19      4/21/2023    Berkin, Michael       0.8   Develop agenda for case status and workstream status for team.

   19      4/21/2023    Vadon, Courtney       0.6   Draft internal daily email update for 4/21/2023.

   19      4/21/2023     Leake, Nicola        0.9   Prepare, in order to update, diligence list related to various topics, i.e.,
                                                    historical financials, business plan items.
   19      4/21/2023    Vadon, Courtney       0.3   Respond to request for record on diligence tracker.

   19      4/21/2023     Leake, Nicola        0.2   Review daily update for 4/21/2023.

   19      4/21/2023    Sternberg, Joseph     0.2   Review daily update re: case events.

   19      4/21/2023    Vadon, Courtney       0.7   Update diligence list with additional color for review to send to Akin.

   19      4/24/2023    Berkin, Michael       0.8   Develop agenda for 4/24 call with Committee advisors.

   19      4/24/2023    Vadon, Courtney       0.2   Draft email update on most recent data room upload re: rights memo.

   19      4/24/2023    Vadon, Courtney       0.4   Draft internal daily email update for 4/24/2023.

   19      4/24/2023   Cheng, Earnestiena     1.0   Evaluate near term priorities on investigations, Committee call, and other
                                                    items based on discussions with Counsel.
   19      4/24/2023    Vadon, Courtney       0.2   Manage team email distribution list re: new litigation team members.

   19      4/24/2023    Berkin, Michael       0.8   Prepare notes for discussion on case issues and work plan with Akin
                                                    team.
   19      4/24/2023    Vadon, Courtney       0.1   Process internal comments re: diligence list edits.


                                                     181
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 182 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                      Activity
Category
   19      4/24/2023     Vadon, Courtney         0.5   Review most recent data room upload re: trademarks.

   19      4/25/2023     Schuman, Philip         0.8   Analysis on next steps re: business plan issues proposed in team call with
                                                       Akin Gump, relayed by team.
   19      4/25/2023     Berkin, Michael         0.8   Develop agenda for periodic update call with team on case status and
                                                       workstreams.
   19      4/25/2023     Vadon, Courtney         0.7   Draft internal daily email update for 4/25/2023.

   19      4/25/2023      Leake, Nicola          0.2   Review daily update for 4/25/2023.

   19      4/26/2023     Schuman, Philip         0.8   Attend call with team member re: work stream status updates.

   19      4/26/2023    Cheng, Earnestiena       0.4   Calculate estimated fees for April fees to relay to Alix.

   19      4/26/2023   Nicholls, Christopher     0.5   Compile update on team progress re: near term deliverables.

   19      4/26/2023     Vadon, Courtney         0.6   Draft internal daily email update for 4/26/2023.

   19      4/26/2023    Cheng, Earnestiena       0.5   Evaluate updates for Committee re: liquidity, meeting with management,
                                                       and investigations.
   19      4/26/2023   Nicholls, Christopher     0.8   Participate in smaller team call re: near term deliverables.

   19      4/26/2023      Simms, Steven          0.4   Prepare feedback re: current case items.

   19      4/26/2023   Nicholls, Christopher     1.1   Review case communication regarding business plan and potential issues
                                                       with cash collateral order.
   19      4/26/2023      Leake, Nicola          0.2   Review daily update for 4/26/2023.

   19      4/27/2023     Murphy, Andrew          1.0   Attend call with internal team call re: workstreams/workplans, liquidity
                                                       and business plan update, investigations timeline, separation plan, and
                                                       general engagement admin.
   19      4/27/2023      Leake, Nicola          1.0   Attend whole team internal meeting on 4/27 re: case status, deliverables
                                                       and timing.
   19      4/27/2023     Scruton, Andrew         1.0   Coordinate engagement workplan and team assignments for May.

   19      4/27/2023    Cheng, Earnestiena       0.5   Create agenda for internal call re: investigations, Deloitte separation,
                                                       status of business plan diligence, and other items.
   19      4/27/2023     Berkin, Michael         1.0   Discuss case status and workstreams with team re: internal division of
                                                       work and team structure.
   19      4/27/2023    Sternberg, Joseph        1.0   Participate in call with team re: case updates.

   19      4/27/2023    Sternberg, Joseph        0.5   Participate in call with team member re: key timing on various
                                                       workstream.
   19      4/27/2023    Cheng, Earnestiena       0.5   Participate in call with team member re: workstreams, investigations, and
                                                       liquidity reporting.
   19      4/27/2023    Cheng, Earnestiena       1.0   Participate in internal call re: investigations, Deloitte separation, status of
                                                       business plan diligence, and other items.

                                                        182
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 183 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                    Activity
Category
   19      4/27/2023      Taylor, Brian          1.0   Participate in weekly internal team meeting re: upcoming meetings and
                                                       near term priorities.
   19      4/27/2023      Hu, Elizabeth          1.0   Participate in weekly team meeting to discuss key workstreams,
                                                       upcoming meetings, and near term priorities.
   19      4/27/2023    Cheng, Earnestiena       0.3   Review estimate on April fees per request from Alix.

   19      4/27/2023      Leake, Nicola          0.4   Prepare April fees estimate for internal team.

   19      4/27/2023        Silva, Jose          1.0   Provide business plan evaluation updates in 4/27 weekly case
                                                       management call.
   19      4/27/2023   Friedman, Samantha        1.0   Discuss case updates and workstreams with internal team on weekly case
                                                       update call.
   19      4/27/2023      Leake, Nicola          0.2   Review daily update for 4/27/2023.

   19      4/27/2023    Cheng, Earnestiena       0.5   Send draft workplan to Akin and Houlihan teams.

   19      4/27/2023     Vadon, Courtney         1.7   Update diligence request list tracker with weekly email and data room
                                                       updates.
   19      4/28/2023    Sternberg, Joseph        0.2   Diligence workstreams and division of work.

   19      4/28/2023     Vadon, Courtney         0.4   Draft internal daily email update for 4/28/2023.

   19      4/28/2023     Murphy, Andrew          0.6   Participate in call with team member re: investigations workstream status
                                                       and upcoming activities.
   19      4/28/2023    Sternberg, Joseph        0.6   Participate in call with team member re: division of time across multiple
                                                       workstreams.
   19      4/28/2023   Nicholls, Christopher     0.9   Prepare correspondence to management re: management meetings and
                                                       other admin.
   19      4/28/2023    Cheng, Earnestiena       0.3   Prepare fee estimate for April fees as requested by Alix.

   19      4/28/2023      Leake, Nicola          0.8   Prepare updates to diligence tracker for WE 4/28 in order to circulate.

   19      4/28/2023      Leake, Nicola          0.2   Review daily update for 4/28/2023.

   19      4/28/2023   Nicholls, Christopher     0.9   Review work stream deliverables and topics to discuss with team
                                                       members.
   19      5/1/2023      Berkin, Michael         1.3   Discuss workstream issues with FTI team on BvA and other Debtor
                                                       deliverables.
   19      5/1/2023      Murphy, Andrew          1.3   Attend call with internal team re: next steps on budget to actuals, JV
                                                       settlements and intercompany payments.
   19      5/1/2023      Berkin, Michael         0.7   Develop agenda for 5/1 call with Committee advisors.

   19      5/1/2023      Berkin, Michael         0.7   Review professional fee budget for submission to Alix.

   19      5/1/2023     Cheng, Earnestiena       1.2   Evaluate case workstream update from Committee advisors re: upcoming
                                                       management meeting, business plan, investigations updates, and other
                                                       items.

                                                        183
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 184 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date       Professional        Hours                                     Activity
Category
   19      5/1/2023     Vadon, Courtney         0.1   Draft internal data room upload email update re: DTC update and RSN
                                                      financials.
   19      5/1/2023    Cheng, Earnestiena       1.7   Create draft FTI professional fee budget.

   19      5/2/2023     Berkin, Michael         0.4   Review projected FTI professional fees for budget at Debtor's request.

   19      5/2/2023    Cheng, Earnestiena       0.2   Review latest work plan to identify near-term priorities.

   19      5/2/2023      Hu, Elizabeth          0.2   Review team workplan estimated and professional budget.

   19      5/2/2023   Friedman, Samantha        1.3   Assess industry team and workplan for industry team to provide an
                                                      estimate of professional fees.
   19      5/2/2023    Cheng, Earnestiena       0.9   Create draft budget re: FTI professional fees.

   19      5/2/2023      Taylor, Brian          0.2   Set up access to data room.

   19      5/2/2023      Taylor, Brian          0.1   Update work plan to be distributed to internal team.

   19      5/2/2023      Taylor, Brian          0.2   Correspond with Houlihan and Akin related to go forward work plan.

   19      5/2/2023     Scruton, Andrew         0.4   Correspond with Akin on Debtors' meeting with Committee.

   19      5/3/2023     Schuman, Philip         0.6   Evaluate takeaways from Committee call on business plan scenario
                                                      status.
   19      5/3/2023     Vadon, Courtney         0.4   Prepare diligence items for internal team meeting.

   19      5/3/2023    Cheng, Earnestiena       0.2   Review Debtor deliverables on multiple topics re: intercompany
                                                      schedules, Deloitte retention, and liquidity.
   19      5/3/2023    Cheng, Earnestiena       0.3   Revise professional budget estimates for Alix.

   19      5/3/2023    Cheng, Earnestiena       0.3   Create draft agenda for internal call re: liquidity, business plan,
                                                      investigations, and Deloitte separation plan and other topics.
   19      5/3/2023      Taylor, Brian          0.7   Prepare professional fees budget estimates for investigations.

   19      5/3/2023     Vadon, Courtney         1.0   Prepare tracker re: diligence item requests for Counsel.

   19      5/4/2023   Nicholls, Christopher     1.0   Review ongoing business plan analysis and other various topics on
                                                      weekly call with team.
   19      5/4/2023     Scruton, Andrew         0.9   Coordinate engagement workplan and team assignments for the week.

   19      5/4/2023     Schuman, Philip         1.0   Participate in FTI internal meeting re: MVPD relationships, agreements,
                                                      litigation, etc.
   19      5/4/2023      Hu, Elizabeth          1.0   Participate on weekly team meeting to discuss recap on management
                                                      meeting, business plan, upcoming workstreams and next steps.
   19      5/4/2023     Berkin, Michael         0.6   Develop 5/5 meeting agenda for case status and workstream status with
                                                      FTI team.
   19      5/4/2023    Cheng, Earnestiena       0.3   Update diligence request list status.

                                                       184
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 185 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date       Professional      Hours                                     Activity
Category
   19      5/4/2023    Cheng, Earnestiena     0.2   Follow up with internal team re: status of case workstreams.

   19      5/4/2023    Cheng, Earnestiena     0.5   Review status of investigations, business plan, and liquidity workstreams.

   19      5/4/2023       Taylor, Brian       0.3   Update investigations budget estimates.

   19      5/4/2023       Taylor, Brian       0.2   Prepare investigations budget for internal discussion.

   19      5/4/2023     Vadon, Courtney       0.2   Prepare for internal team meeting.

   19      5/4/2023      Leake, Nicola        1.0   Attend internal weekly meeting re next steps on deliverables and case
                                                    updates.
   19      5/4/2023       Taylor, Brian       1.0   Attend weekly conference call with FTI team regarding investigations
                                                    and other various topics.
   19      5/4/2023    Friedman, Samantha     1.0   Participate in internal weekly FTI meeting re: case workstreams, business
                                                    plan update, cash collateral status update.
   19      5/4/2023    Cheng, Earnestiena     1.0   Participate in internal call re: liquidity, business plan, investigations, and
                                                    Deloitte separation plan.
   19      5/4/2023     Murphy, Andrew        1.0   Attend call with internal FTI team re: workstreams/workplans, liquidity
                                                    and business plan update, investigations timeline, separation plan, and
                                                    general engagement admin.
   19      5/5/2023      Hu, Elizabeth        0.5   Discuss FTI budget estimates and other workstreams with team.

   19      5/5/2023    Cheng, Earnestiena     0.4   Assess potential FTI fees for inclusion in cash budget.

   19      5/5/2023     Berkin, Michael       0.5   Review budget estimate, case status and workstreams with FTI team.

   19      5/5/2023    Cheng, Earnestiena     0.5   Participate in catch up discussion with internal team re: budgets and
                                                    workstreams.
   19      5/5/2023    Cheng, Earnestiena     0.4   Continue to assess potential FTI fees for inclusion in cash budget.

   19      5/8/2023    Cheng, Earnestiena     0.5   Participate in call with internal team re: investigations, latest budget to
                                                    actuals, and other case items.
   19      5/8/2023     Murphy, Andrew        0.5   Attend call with internal team re: investigations document review,
                                                    SOFA/SOAL timing, April Fee app, and engagement admin.
   19      5/8/2023     Berkin, Michael       0.8   Develop agenda for 5/8 call with Committee advisors.

   19      5/8/2023    Cheng, Earnestiena     0.5   Evaluate update from Counsel re: upcoming hearings, status of retention,
                                                    MLB, and cash collateral motions, and preparation for Committee call.

   19      5/8/2023     Sternberg, Joseph     1.1   Review correspondence re: case matters.

   19      5/9/2023     Vadon, Courtney       0.5   Attend call with team members re: budget-to-actual WE 4/28 variance
                                                    feedback, timing and other tasks.
   19      5/10/2023    Vadon, Courtney       0.5   Attend call with team members on deliverables for rest of week.

   19      5/10/2023   Cheng, Earnestiena     0.5   Participate in call with internal team re: budget to actuals for WE 4/28,
                                                    April fee statement and other tasks.
                                                     185
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 186 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                     Activity
Category
   19      5/10/2023    Sternberg, Joseph        0.5   Participate in call with internal team re: WE 4/28 cash flow presentation
                                                       and other deliverables.
   19      5/10/2023    Cheng, Earnestiena       0.3   Draft agenda for internal call re: liquidity update, business plan update,
                                                       investigations, and other workstreams.
   19      5/11/2023     Scruton, Andrew         1.1   Coordinate engagement workplan and team assignments for WE 5/19.

   19      5/11/2023     Scruton, Andrew         0.5   Correspond with Akin on open diligence requests from Sinclair.

   19      5/11/2023     Vadon, Courtney         0.1   Draft email to external DSG Team with FTI's WE 5/11 diligence tracker
                                                       updates.
   19      5/11/2023   Nicholls, Christopher     1.0   Attend weekly internal meeting re: negotiation status, liquidity, and cash
                                                       management analysis.
   19      5/11/2023     Schuman, Philip         1.0   Participate in FTI internal meeting re: updates and next steps on multiple
                                                       deliverables.
   19      5/11/2023      Hu, Elizabeth          1.0   Attend weekly team meeting to discuss recap on business plan,
                                                       investigations, diligence update, upcoming workstreams and next steps.
   19      5/11/2023     Berkin, Michael         0.6   Develop 5/11 agenda for case status and workstream status with FTI
                                                       team.
   19      5/11/2023    Cheng, Earnestiena       0.4   Review WE 5/12 diligence request list tracker.

   19      5/11/2023    Cheng, Earnestiena       0.2   Process edits to internal agenda re: liquidity update, business plan update,
                                                       investigations, and other workstreams.
   19      5/11/2023     Vadon, Courtney         0.2   Correspond re: feedback on diligence tracker updates.

   19      5/11/2023     Vadon, Courtney         1.9   Update diligence tracker using email correspondence and data room
                                                       received items on behalf of team.
   19      5/11/2023     Vadon, Courtney         0.3   Apply comments from team member to diligence tracker.

   19      5/11/2023    Cheng, Earnestiena       1.0   Participate in call with internal team re: liquidity update, business plan
                                                       update, investigations, and other workstreams.
   19      5/11/2023      Taylor, Brian          1.0   Attend conference call with FTI team related to workstream updates.

   19      5/11/2023    Sternberg, Joseph        1.0   Participate in call with FTI team re: workstreams updates and near-term
                                                       deliverables.
   19      5/12/2023    Sternberg, Joseph        0.5   Correspond with FTI team re: coordination on liquidity and intercompany
                                                       deliverables for upcoming WE 5/19.
   19      5/15/2023    Cheng, Earnestiena       0.4   Evaluate work stream updates from internal team re: budget to actuals,
                                                       SOFA/SOALs, and other items.
   19      5/16/2023   Nicholls, Christopher     0.3   Correspond with the team on ongoing analysis and other case
                                                       communication topics.
   19      5/16/2023      Taylor, Brian          0.7   Correspond with FTI team re: investigations status, ongoing analyses and
                                                       related meetings.
   19      5/16/2023     Vadon, Courtney         0.1   Upload items received from Akin over email to data room for broader
                                                       team.
   19      5/17/2023    Sternberg, Joseph        0.2   Participate in call with FTI team re: SOFA SOALs, liquidity analysis and
                                                       other deliverables.
   19      5/17/2023    Cheng, Earnestiena       0.2   Discuss SOFA/SOAL, liquidity presentations and other deliverables with
                                                       internal team.
                                                         186
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 187 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                     Activity
Category
   19      5/17/2023     Berkin, Michael         0.6   Develop agenda for 5/17 call with Committee advisors.

   19      5/17/2023    Cheng, Earnestiena       0.3   Prepare draft of internal agenda re: liquidity, business plan update,
                                                       investigations, and recent motions.
   19      5/18/2023     Schuman, Philip         1.1   Participate in FTI internal meeting re: case updates and next steps.

   19      5/18/2023   Nicholls, Christopher     1.0   Review work plan with team on weekly internal FTI call.

   19      5/18/2023     Scruton, Andrew         1.0   Coordinate engagement workplan and team assignments for WE 5/26
                                                       with FTI internal team on call.
   19      5/18/2023       Davis, Guy            1.0   Attend meeting with FTI team re: case updates, deposition preparation
                                                       and deliverables.
   19      5/18/2023    Cheng, Earnestiena       0.2   Process edits to internal agenda re: liquidity, business plan update,
                                                       investigations, and recent motions.
   19      5/18/2023     Vadon, Courtney         0.1   Assist team member in data room pull.

   19      5/18/2023     Vadon, Courtney         1.1   Prepare trackers for the WE 5/19 diligence request lists.

   19      5/18/2023        Silva, Jose          1.1   Attend weekly FTI internal team call to provide updates on the business
                                                       plan review.
   19      5/18/2023   Friedman, Samantha        1.0   Participate in internal meeting with FTI working team re: case updates,
                                                       status of league negotiations.
   19      5/18/2023     Berkin, Michael         1.0   Discuss case and workstream status with FTI team.

   19      5/18/2023    Cheng, Earnestiena       1.0   Participate in internal call re: liquidity, business plan update,
                                                       investigations, and recent motions.
   19      5/18/2023      Taylor, Brian          1.0   Attend conference call with FTI team re: workstreams update.

   19      5/18/2023    Sternberg, Joseph        1.0   Participate in call with FTI team re: workstreams for near-term
                                                       deliverables.
   19      5/18/2023      Simon, Russell         1.0   Participate in internal meeting with FTI team on various topics and
                                                       workstreams, including updates on league negotiations.
   19      5/19/2023      Leake, Nicola          0.8   Prepare edits to diligence tracker.

   19      5/22/2023    Cheng, Earnestiena       0.2   Provide comments to draft agenda for Committee advisors professionals
                                                       call.
   19      5/22/2023    Cheng, Earnestiena       0.3   Coordinate with internal team re: upcoming Sinclair depositions.

   19      5/22/2023      Taylor, Brian          0.2   Correspond with team re: advisors' call agenda.

   19      5/22/2023     Berkin, Michael         1.0   Develop agenda for call with Committee advisors.

   19      5/23/2023    Cheng, Earnestiena       0.2   Coordinate weekly calls with Debtors and Committee's professionals.

   19      5/23/2023      Leake, Nicola          0.1   Review daily update for 5/23.

   19      5/24/2023     Scruton, Andrew         0.6   Participate in call with team member re: Sinclair separation, business
                                                       plan updates and other topics.
                                                        187
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 188 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                      Activity
Category
   19      5/24/2023      Wikel, Daniel          0.6   Meet with team member to discuss case updates including business plan
                                                       status, Sinclair separation, potential claims on assets and other topics.

   19      5/24/2023     Vadon, Courtney         0.5   Attend call with team member re: near-term deliverables.

   19      5/24/2023    Sternberg, Joseph        0.5   Participate in call with team re: workstreams for near-term deliverables.

   19      5/24/2023      Leake, Nicola          0.5   Attend call with team re: near term deliverables to the Committee.

   19      5/24/2023     Berkin, Michael         0.4   Develop agenda for call on workstream status with FTI.

   19      5/24/2023    Cheng, Earnestiena       0.3   Draft agenda for internal call re: liquidity, business plan update, MLB
                                                       motion to compel, and investigations.
   19      5/25/2023    Sternberg, Joseph        1.4   Participate in additional call with FTI team re: workstreams for near-term
                                                       deliverables.
   19      5/25/2023   Nicholls, Christopher     1.0   Discuss work plan relating to business plan and litigation with internal
                                                       FTI team.
   19      5/25/2023     Berkin, Michael         1.0   Discuss case status and workstreams with FTI team re: business plan,
                                                       MLB hearing, investigations.
   19      5/25/2023     Schuman, Philip         0.9   Provide update on business plan review in FTI internal status meeting.

   19      5/25/2023      Hu, Elizabeth          1.0   Attend weekly internal team meeting to discuss status update on business
                                                       plan, various negotiations, upcoming hearing, investigations, and related
                                                       issues.
   19      5/25/2023     Vadon, Courtney         1.4   Attend meeting with team member re: waterfall, DSG encumbered v.
                                                       unencumbered assets and other topics.
   19      5/25/2023     Scruton, Andrew         1.0   Coordinate engagement workplan & team assignments.

   19      5/25/2023      Leake, Nicola          0.4   Review latest diligence tracker.

   19      5/25/2023      Wikel, Daniel          1.0   Attend DSG meeting with internal FTI team re: potential claims, business
                                                       plan status.
   19      5/25/2023    Sternberg, Joseph        1.0   Participate in call with internal team re: workstreams.

   19      5/25/2023      Leake, Nicola          1.0   Attend internal weekly call with team to discuss deliverables and status of
                                                       case workstreams.
   19      5/25/2023   Friedman, Samantha        1.0   Participate in internal weekly FTI meeting re: case workstreams, MLB
                                                       expert reports, upcoming motions to compel hearing.
   19      5/25/2023    Cheng, Earnestiena       1.0   Participate in internal call re: liquidity, business plan update, MLB
                                                       motion to compel, and investigations.
   19      5/26/2023     Vadon, Courtney         0.6   Attend call with team members re: deliverables by end-of-day and
                                                       upcoming items from Alix.
   19      5/26/2023    Sternberg, Joseph        0.6   Participate in call with FTI team re: workstreams status updates.

   19      5/26/2023     Murphy, Andrew          0.6   Participate in call with internal team re: waterfall analysis, and weekly
                                                       and monthly budget vs actuals analysis.
   19      5/26/2023      Taylor, Brian          0.7   Review correspondence related to case and workstreams.

                                                        188
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 189 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                       Activity
Category
   19      5/26/2023     Vadon, Courtney         0.8   Prepare tracker re: WE 5/26 diligence item requests.

   19      5/26/2023     Vadon, Courtney         1.4   Continue to prepare tracker re: WE 5/26 diligence item requests.

   19      5/30/2023      Wikel, Daniel          1.7   Evaluate Diamond Sports Group workstreams based on feedback from
                                                       creditor.
   19      5/30/2023    Sternberg, Joseph        0.8   Participate in second call with FTI team re: SOFA SOAL analysis, cash
                                                       flow items.
   19      5/30/2023    Sternberg, Joseph        0.7   Participate in third call with FTI team re: SOFA SOAL analysis, monthly
                                                       cash flow forecast, other priorities.
   19      5/30/2023       Eldred, John          0.5   Attend meeting with FTI internal team re: case updates, including updates
                                                       on MLB depositions.
   19      5/30/2023       Davis, Guy            0.5   Attend meeting with FTI internal team re: depositions, SOFA SOALs,
                                                       case updates..
   19      5/30/2023     Vadon, Courtney         0.7   Attend call with team re: deliverables for upcoming cash flow meetings.

   19      5/30/2023    Cheng, Earnestiena       0.7   Participate in discussion with internal team re: SOFA/SOALs, monthly
                                                       cash flow forecast, and near term priorities.
   19      5/30/2023    Cheng, Earnestiena       0.8   Participate in call with internal team re: SOFA/SOALs, waterfall model,
                                                       monthly cash flow forecast, and upcoming 13-week cash flow budget.

   19      5/30/2023      Taylor, Brian          0.2   Revise agenda for advisors' call.

   19      5/30/2023     Berkin, Michael         1.0   Develop agenda for 5/30 call with Committee advisors.

   19      5/31/2023    Cheng, Earnestiena       0.3   Draft agenda for internal call re: liquidity update, investigations, MLB
                                                       hearing, and other workstreams.
   19      6/1/2023    Nicholls, Christopher     0.6   Attend internal team meeting to discuss work plan relating to business
                                                       plan, litigation status, liquidity and motion to compel.
   19      6/1/2023       Hu, Elizabeth          0.6   Attend weekly internal meeting re: update on business plan, depositions,
                                                       investigations, upcoming committee call and related case issues.
   19      6/1/2023      Scruton, Andrew         0.5   Coordinate engagement workplan and team assignments for WE 6/9.

   19      6/1/2023      Berkin, Michael         0.6   Attend weekly internal call to discuss case status and workstreams with
                                                       team.
   19      6/1/2023      Berkin, Michael         0.6   Develop 6/1 agenda for case status and workstream status with internal
                                                       team.
   19      6/1/2023    Friedman, Samantha        0.6   Participate in 6/1 internal weekly FTI meeting to discuss status of case
                                                       workstreams.
   19      6/1/2023       Taylor, Brian          0.6   Attend conference call with internal team related to workstream updates.

   19      6/1/2023      Vadon, Courtney         1.1   Prepare diligence tracker for WE 6/1.

   19      6/1/2023      Vadon, Courtney         0.9   Add recent data room updates to diligence tracker as of WE 6/1.

   19      6/1/2023       Leake, Nicola          0.6   Review diligence tracker to be circulated to Akin.


                                                        189
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 190 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                    Activity
Category
   19      6/1/2023     Cheng, Earnestiena       0.1   Review latest diligence tracker draft.

   19      6/1/2023     Cheng, Earnestiena       0.1   Process edits to internal call agenda re: liquidity, investigations, MLB
                                                       hearing, and other workstreams.
   19      6/2/2023       Hu, Elizabeth          0.7   Attend call with team to discuss open items, workplan, status of waterfall,
                                                       and SOFA SOALs presentation.
   19      6/2/2023     Cheng, Earnestiena       0.7   Participate in call with internal team re: waterfall model uses, liquidity
                                                       forecasting, SOFA SOALs, and other items.
   19      6/2/2023     Sternberg, Joseph        0.7   Participate in call with internal team re: June team division and
                                                       distribution of work.
   19      6/2/2023      Murphy, Andrew          0.7   Participate on call with internal team re: team organization, workload
                                                       distribution, waterfall review.
   19      6/2/2023       Leake, Nicola          0.7   Attend call with team re: SOFA SOALS presentation, liquidity
                                                       forecasting, near term deliverables.
   19      6/5/2023      Berkin, Michael         0.6   Develop 6/5 agenda for call with Committee advisors.

   19      6/5/2023      Vadon, Courtney         1.0   Update diligence tracker for items up to 6/5 in order for Akin to send to
                                                       Debtors' Counsel.
   19      6/7/2023     Sternberg, Joseph        1.2   Prepare agenda re: 6/7 internal team call.

   19      6/8/2023      Scruton, Andrew         1.0   Attend call to coordinate engagement workplan and team assignments for
                                                       WE 6/16 with internal team.
   19      6/8/2023    Nicholls, Christopher     1.0   Participate in internal call to discuss litigation updates and business
                                                       plans.
   19      6/8/2023      Schuman, Philip         1.0   Participate in internal meeting re: workstream updates, investigations
                                                       next steps, bar dates and other diligence.
   19      6/8/2023       Hu, Elizabeth          1.0   Participate in 6/8 weekly team meeting to discuss key workstreams
                                                       (business plan, investigations), upcoming meetings, and near term
                                                       priorities.
   19      6/8/2023      Berkin, Michael         1.0   Discuss 6/8 case status and workstreams with internal team.

   19      6/8/2023    Friedman, Samantha        1.0   Participate in 6/8 internal weekly FTI meeting to discuss status of case
                                                       workstreams.
   19      6/8/2023       Taylor, Brian          1.0   Conduct conference call with internal team re: investigations status,
                                                       workstream updates.
   19      6/8/2023      Berkin, Michael         0.8   Develop 6/8 agenda for case status and workstream status with internal
                                                       team.
   19      6/8/2023      Bhargava, Yash          1.0   Participate in internal team meeting to align on work-plan and areas of
                                                       focus.
   19      6/9/2023     Sternberg, Joseph        0.8   Review diligence tracker with updates as of 6/9.

   19      6/9/2023      Vadon, Courtney         0.4   Review rights agreements in order to prepare for internal distribution.

   19      6/12/2023     Berkin, Michael         0.9   Develop 6/12 agenda for call with Committee advisors.

   19      6/13/2023      Wikel, Daniel          1.0   Prepare for meeting with team member re: Committee priorities, go-
                                                       forward strategy.

                                                        190
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 191 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                     Activity
Category
   19      6/14/2023    Sternberg, Joseph        0.4   Prepare agenda re: 6/14 internal team call.

   19      6/14/2023     Vadon, Courtney         0.3   Attend call with team member re: data room updates.

   19      6/14/2023      Moran, Sarah           0.3   Participate on call with team member re: document upload to data room.

   19      6/15/2023   Nicholls, Christopher     1.3   Prepare for team meeting to discuss work plan relating to business plan
                                                       analysis, litigation and liquidity.
   19      6/15/2023     Schuman, Philip         1.0   Participate in discussion with the internal team on the new business plan.

   19      6/15/2023   Nicholls, Christopher     1.0   Participate on internal team meeting to discuss work plan relating to
                                                       business plan analysis, litigation, and liquidity.
   19      6/15/2023      Hu, Elizabeth          1.0   Participate in 6/15 weekly team meeting to discuss key workstreams
                                                       (business plan, investigations), upcoming meetings, and near term
   19      6/15/2023     Berkin, Michael         1.0   priorities.
                                                       Discuss 6/15 case status and workstreams with internal team.

   19      6/15/2023   Friedman, Samantha        1.0   Participate in 6/15 internal weekly meeting to discuss status of case
                                                       workstreams.
   19      6/15/2023    Cheng, Earnestiena       1.0   Participate in internal call re: separation call, business plan scenarios,
                                                       liquidity, and other workstreams.
   19      6/15/2023      Taylor, Brian          1.0   Attend call with internal team re: investigations, business plan, liquidity
                                                       and waterfall.
   19      6/15/2023    Sternberg, Joseph        1.0   Participate in 6/15 weekly internal team call.

   19      6/15/2023     Berkin, Michael         0.8   Develop 6/15 agenda for case status and workstream status with internal
                                                       team.
   19      6/15/2023     Bhargava, Yash          1.0   Share updates in internal meeting to align on work-plan.

   19      6/15/2023     Vadon, Courtney         1.7   Prepare diligence request list as of WE 6/15 for Akin team.

   19      6/15/2023      Hu, Elizabeth          0.4   Meet with team to discuss priority of items and near term issues to
                                                       address.
   19      6/15/2023     Berkin, Michael         0.4   Discuss case strategy with FTI team.

   19      6/15/2023    Cheng, Earnestiena       0.4   Participate in additional call with internal team re: liquidity, waterfall
                                                       model, and other items.
   19      6/15/2023    Sternberg, Joseph        0.4   Participate in call with internal team re: near term priorities, waterfall
                                                       timeline and deliverables.
   19      6/15/2023    Cheng, Earnestiena       0.3   Evaluate near term workstream priorities based on comments from
                                                       internal team.
   19      6/16/2023    Cheng, Earnestiena       0.3   Review latest diligence tracker prepared by internal team.

   19      6/16/2023     Vadon, Courtney         0.3   Assist team member in data room upload for team access.

   19      6/16/2023     Vadon, Courtney         0.2   Manage recent data room uploads to communicate updates to team.

   19      6/19/2023    Cheng, Earnestiena       0.4   Coordinate with internal team re: near term priorities.

                                                        191
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 192 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                     Activity
Category
   19      6/21/2023   Nicholls, Christopher     0.8   Review diligence questions document that will be sent to Akin.

   19      6/22/2023   Nicholls, Christopher     1.2   Review diligence list in order to prep for diligence call.

   19      6/22/2023     Scruton, Andrew         1.0   Coordinate engagement workplan and team assignments for WE 6/30.

   19      6/22/2023     Schuman, Philip         1.0   Participate in internal meeting and shared updates on next steps for the
                                                       business plan.
   19      6/22/2023      Hu, Elizabeth          1.0   Attend weekly team call to discuss updates in business plan, strategic
                                                       alternatives, investigations and related case issues.
   19      6/22/2023   Friedman, Samantha        1.0   Participate in 6/22 internal weekly FTI meeting to discuss status of case
                                                       workstreams.
   19      6/22/2023    Cheng, Earnestiena       1.0   Participate in call with internal team re: business plan analysis, liquidity,
                                                       investigations, and waterfall.
   19      6/22/2023      Taylor, Brian          1.0   Conduct conference call with internal team related to business plan
                                                       impacts on investigations, liquidity and other deliverables.
   19      6/22/2023    Sternberg, Joseph        1.0   Participate in weekly 6/22 internal update call.

   19      6/22/2023     Vadon, Courtney         1.4   Apply edits to diligence tracker as of 6/22 in order to receive feedback
                                                       from team member.
   19      6/22/2023    Cheng, Earnestiena       0.6   Prepare agenda for internal team call re: business plan analysis, liquidity,
                                                       investigations, and waterfall.
   19      6/22/2023      Leake, Nicola          0.6   Review diligence tracker with updates as of 6/22.

   19      6/23/2023     Vadon, Courtney         0.4   Prepare additional edits in order to send diligence request list as of 6/23
                                                       to Akin team.
   19      6/26/2023     Berkin, Michael         0.8   Discuss status of key workstreams with internal team member.

   19      6/26/2023    Cheng, Earnestiena       0.8   Participate in call with internal team member re: separation plan and
                                                       business plan workstreams, other key updates.
   19      6/26/2023     Berkin, Michael         0.6   Develop 6/26 agenda for call with Committee advisors.

   19      6/26/2023    Cheng, Earnestiena       0.2   Prepare for call with internal team re: separation plan, liquidity, and other
                                                       tasks.
   19      6/26/2023    Cheng, Earnestiena       0.1   Coordinate with internal team re: separation plan call and other tasks.

   19      6/27/2023    Cheng, Earnestiena       1.7   Participate in call with internal team re: waterfall, liquidity, business plan,
                                                       and other items.
   19      6/27/2023    Sternberg, Joseph        1.7   Participate in call with FTI team re: go forward workplan, waterfall status
                                                       discussion.
   19      6/27/2023     Murphy, Andrew          1.7   Participate in call with internal team re: waterfall analysis, budget to
                                                       actuals, and May fee statement.
   19      6/27/2023      Leake, Nicola          1.7   Attend meeting with team re: workstreams, waterfall, budget to actuals.

   19      6/27/2023     Vadon, Courtney         1.7   Attend meeting with internal team re: budget to actuals coordination,
                                                       waterfall update, upcoming deliverables.
   19      6/28/2023    Cheng, Earnestiena       0.3   Draft agenda for internal call re: business plan review, liquidity,
                                                       investigations, waterfall model, and other items.
                                                         192
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 193 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                     Activity
Category
   19      6/29/2023     Schuman, Philip         1.0   Participate in internal meeting re: updates and next steps.

   19      6/29/2023   Nicholls, Christopher     1.0   Attend internal team meeting to discuss work plan relating to business
                                                       plan, litigation and next update for Committee and liquidity.
   19      6/29/2023     Scruton, Andrew         0.9   Coordinate engagement workplan and team assignments for WE 7/7.

   19      6/29/2023     Berkin, Michael         1.0   Discuss 6/29 case status and workstreams with internal team.

   19      6/29/2023   Friedman, Samantha        1.0   Participate in 6/29 internal weekly FTI meeting to discuss status of case
                                                       workstreams.
   19      6/29/2023    Cheng, Earnestiena       1.0   Participate in call with internal team re: business plan review, liquidity,
                                                       investigations, waterfall model, and other items.
   19      6/29/2023    Sternberg, Joseph        1.0   Participate in weekly 6/29 internal update call.

   19      6/29/2023     Berkin, Michael         0.8   Develop agenda for case status and workstream status with team.

   19      6/29/2023     Bhargava, Yash          1.0   Attend internal team meeting to align on work-plan and areas of focus.

   19      6/29/2023      Leake, Nicola          0.9   Prepare updates to cash allocation in waterfall model.

   19      6/29/2023     Vadon, Courtney         1.2   Update diligence request list tracker as of 6/29 with weekly email and
                                                       data room updates.
   19      6/29/2023       Cho, Alastair         1.0   Meet with team to discuss business plan alterations and upcoming
                                                       litigation.
   19      6/29/2023      Moran, Sarah           1.0   Attend internal team meeting to discuss business plan, investigations, and
                                                       liquidity updates.
   19      6/29/2023    Cheng, Earnestiena       0.2   Review latest edits to 6/29 weekly diligence request list.

   19      6/29/2023    Cheng, Earnestiena       0.2   Provide status update to Counsel re: business plan materials, plan for next
                                                       Committee call, and sports rights payments.
   19      6/29/2023      Leake, Nicola          0.2   Review diligence request list as of 6/29.

   19      6/29/2023    Cheng, Earnestiena       0.1   Update agenda for internal call re: business plan review, liquidity,
                                                       investigations, waterfall model, and other items.
   19      6/29/2023     Vadon, Courtney         0.2   Prepare diligence request list as of WE 6/29 for Akin team.

19 Total                                       324.4

   20      4/3/2023       Hu, Elizabeth          0.6   Attend call with Alix re: case issues, updates and next steps.

   20      4/3/2023      Scruton, Andrew         0.6   Attend intro call with Alix to discuss case background.

   20      4/3/2023      Berkin, Michael         0.6   Participate in introductory call on key issues and logistics with Alix.

   20      4/3/2023      Berkin, Michael         0.4   Prepare for introductory call on key issues and logistics with Alix.

   20      4/9/2023     Cheng, Earnestiena       0.5   Draft suggested agenda for discussion with management.

                                                        193
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 194 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                    Activity
Category
   20      4/10/2023     Berkin, Michael         2.7   Attend kickoff meeting with Debtor and Debtor advisors.

   20      4/10/2023      Simms, Steven          2.5   Attend meeting with Company to review historical performance, case
                                                       status and operations.
   20      4/10/2023        Silva, Jose          2.5   Discuss potential follow-up items for business plan review with the
                                                       Company post management call.
   20      4/10/2023     Scruton, Andrew         2.5   Meet with Debtors and professionals to review case background and
                                                       status.
   20      4/10/2023    Cheng, Earnestiena       2.7   Participate in in-person meeting with Company advisors re: business plan
                                                       and case status.
   20      4/10/2023      Hu, Elizabeth          3.0   Participate in-person in meeting with management and Debtor advisors
                                                       re: case update/timeline, business plan and related key issues.
   20      4/10/2023   Friedman, Samantha        2.5   Participate remotely in in-person Company meeting re: Management
                                                       walk through of business plan.
   20      4/21/2023     Berkin, Michael         1.2   Attend general diligence call with Moelis including business plan issues.

   20      4/21/2023   Friedman, Samantha        1.2   Participate in general call discussing clarifying questions on the business
                                                       plan with Debtors advisors.
   20      4/21/2023   Nicholls, Christopher     1.2   Participate in call with Moelis re: diligence process.

   20      4/27/2023   Nicholls, Christopher     2.5   Attend general in-person meeting with Akin, Houlihan, and Diamond
                                                       Sports Group re: first day motions and case details.
   20      4/27/2023     Schuman, Philip         2.5   Participate in general call with Akin, Houlihan, and Diamond Sports
                                                       Group re: first day motions and other case logistics.
   20      5/1/2023      Scruton, Andrew         1.1   Review Debtors' draft presentation to the Committee.

   20      5/1/2023      Berkin, Michael         0.8   Review draft presentation to Committee for comments to Debtors.

   20      5/2/2023      Berkin, Michael         1.4   Assess management presentation for Committee.

   20      5/3/2023    Nicholls, Christopher     1.4   Participate on call with the Committee and Diamond management team
                                                       re: business plan, negotiations with teams, and other case developments.

   20      5/3/2023      Schuman, Philip         1.4   Participate in general update call with the Committee and Debtors re:
                                                       state of the company.
   20      5/3/2023      Scruton, Andrew         1.4   Participate in call with Debtor and Committee professionals.

   20      5/12/2023       Eldred, John          1.0   Attend Committee and Company advisor update call re: case updates and
                                                       other topics.
   20      5/12/2023    Cheng, Earnestiena       0.5   Participate in business plan call with Houlihan and Company's advisors
                                                       re: business plan, league negotiation status, various topics.
   20      5/12/2023   Nicholls, Christopher     1.0   Participate on call with Debtor counsel re: diligence and case
                                                       progression, status of league negotiations, and business plan progress.
   20      5/12/2023       Davis, Guy            1.0   Attend Committee and Company advisor call in order to brief team on
                                                       investigations updates.
   20      5/12/2023   Friedman, Samantha        1.0   Participate in call with Akin Gump and Paul Weiss re: review and
                                                       discussion of diligence requests.

                                                        194
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 195 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                    Activity
Category
   20      5/12/2023      Hu, Elizabeth          0.5   Attend call with Debtors' advisors re: business plan, status of
                                                       negotiations, and case updates.
   20      5/19/2023   Nicholls, Christopher     1.4   Conduct general diligence update to prepare for call with Debtor
                                                       advisors.
   20      5/19/2023   Nicholls, Christopher     0.7   Participate in general case update call reviewing upcoming depositions,
                                                       related issues, and work plan with the Debtors' professionals.
   20      5/19/2023       Eldred, John          0.7   Attend Debtor advisor call re: case updates, investigations updates, MLB
                                                       expert reports.
   20      5/19/2023   Friedman, Samantha        0.7   Prepare for general meeting with Debtors re: investigations, depositions,
                                                       and impact to DSG relationship with parties involved.
   20      5/19/2023       Davis, Guy            0.7   Attend Debtor advisor update call to discuss updates re: investigations
                                                       and other topics.
   20      5/19/2023   Friedman, Samantha        0.7   Attend call with Debtor professionals re: updates on diligence requests
                                                       and topics.
   20      5/19/2023    Cheng, Earnestiena       0.7   Participate on call with Company's advisors re: MLB negotiations update,
                                                       business plan, and latest liquidity forecast.
   20      5/24/2023   Friedman, Samantha        0.5   Participate in weekly advisor update call with re: business plan updates
                                                       and other project timelines.
   20      5/31/2023   Nicholls, Christopher     0.8   Attend general call with Akin and Paul Weiss regarding depositions,
                                                       business plan, and liquidity items.
   20      6/2/2023      Scruton, Andrew         1.3   Attend call with Debtors' professionals to review next steps following
                                                       motion to compel hearing.
   20      6/2/2023    Nicholls, Christopher     1.3   Participate in call with Company advisors to discuss updates on
                                                       negotiation with MLB re: revised business plan.
   20      6/2/2023    Friedman, Samantha        1.3   Conduct analysis on the impact on the business plan from MLB motion to
                                                       compel ruling.
   20      6/5/2023      Scruton, Andrew         0.6   Participate on call with Debtors' advisors to review status of plans to
                                                       reject contracts.
   20      6/5/2023    Nicholls, Christopher     0.6   Participate in advisors' call to discuss ongoing negotiations re: MLB and
                                                       motion to compel.
   20      6/5/2023      Berkin, Michael         0.6   Participate in standing weekly call with Debtor advisors.

   20      6/5/2023    Friedman, Samantha        0.6   Participate in advisors call to discuss ongoing negotiations with leagues.

   20      6/5/2023        Eldred, John          0.6   Attend meeting with Company's advisors related to team rejections.

   20      6/5/2023       Taylor, Brian          0.6   Provide feedback and additons to intercompany accounts diligence
                                                       questions list.
   20      6/15/2023   Nicholls, Christopher     1.0   Attend call with Debtors and Committee advisors on investigations, the
                                                       business plan, liquidity and waterfall.
   20      6/15/2023       Davis, Guy            1.0   Participate in call with Debtor professionals re: investigations.

   20      6/15/2023    Cheng, Earnestiena       1.0   Participate in call with Paul Weiss and Alix team re: investigations
                                                       supporting details.
   20      6/15/2023      Taylor, Brian          1.0   Conduct conference call with Committee and debtor professionals related
                                                       to investigation.


                                                        195
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 196 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                    Activity
Category
   20      6/19/2023   Nicholls, Christopher     0.5   Participate in standing call with Debtor professionals covering progress
                                                       on development of the Company business plan, review causes of action,
                                                       negotiations with leagues, etc.
   20      6/19/2023      Hu, Elizabeth          0.5   Attend call with Debtor professionals re: status of negotiations and key
                                                       issues impacting the business plan and next steps.
   20      6/19/2023   Friedman, Samantha        0.5   Participate in 6/19 weekly standing call with FTI, Houlihan, Moelis,
                                                       LionTree re: updates on business plan and investigations.
   20      6/19/2023       Eldred, John          0.5   Attend standing call with Debtors' advisors.

   20      6/22/2023   Nicholls, Christopher     1.0   Participate in diligence call with Moelis, Alix, and Houlihan re: Company
                                                       scenario analysis.
   20      6/22/2023   Friedman, Samantha        1.0   Participate in call with FTI, Houlihan, Akin, Moelis, LionTree, etc. to
                                                       discuss diligence questions on the business plan.
   20      6/22/2023       Eldred, John          1.0   Attend meeting re: diligence with Debtors' advisors.

   20      6/22/2023     Bhargava, Yash          1.0   Participate in a call between the Committee and Debtors' advisors to go
                                                       through initial diligence questions on the revised business plan.
   20      6/26/2023   Nicholls, Christopher     0.5   Attend call with Debtors to get additional updates on the business plan
                                                       model, Sinclair complaint liquidity, and possible mediation.
   20      6/26/2023   Friedman, Samantha        0.5   Participate in 6/26 weekly standing call with FTI, Houlihan, Moelis,
                                                       LionTree re: updates on business plan and investigations.
   20      6/26/2023       Eldred, John          0.5   Attend weekly call with Debtors' advisors.

   20      6/26/2023    Cheng, Earnestiena       0.5   Participate in call with Company's advisors re: business plan, mediation
                                                       strategy, and other items.
20 Total                                        68.6

   21      4/3/2023       Hu, Elizabeth          0.7   Attend call with Akin re: workplan, first day motions, and near term
                                                       priorities.
   21      4/3/2023       Simms, Steven          0.7   Attend call with counsel on case items including first day motions, work
                                                       streams etc.
   21      4/3/2023       Simms, Steven          1.4   Attend investment bank Committee pitches.

   21      4/3/2023      Scruton, Andrew         0.7   Discuss first day motions and case priorities with Akin.

   21      4/3/2023    Nicholls, Christopher     0.7   Participate in call with Akin and Houlihan re: workstreams for near-term
                                                       deliverables.
   21      4/3/2023      Scruton, Andrew         1.4   Perform interviews of investment banks.

   21      4/3/2023      Berkin, Michael         0.7   Discuss case issues and work plan with Akin team to begin work.

   21      4/6/2023       Hu, Elizabeth          1.2   Attend general call with Akin re: cash management issues and other
                                                       topics.
   21      4/6/2023      Scruton, Andrew         1.2   Correspond with Akin on first day motions and other case issues to
                                                       coordinate understanding.
   21      4/6/2023      Berkin, Michael         1.2   Discuss case overview including motions with Akin team.


                                                        196
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 197 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                    Activity
Category
   21      4/6/2023     Cheng, Earnestiena       1.2   Participate in call with Akin re: suggested changes to cash management
                                                       order and other case considerations.
   21      4/6/2023       Leake, Nicola          1.0   Attend call with Akin re: status updates and motions.

   21      4/6/2023     Sternberg, Joseph        0.9   Participate in Akin call re: overview and other.

   21      4/10/2023     Scruton, Andrew         0.6   Correspond with Akin on weekly call re: issues for management meeting.

   21      4/11/2023      Simms, Steven          1.0   Attend call with advisors on case issues including cash collateral, cash
                                                       management, business plan and related items.
   21      4/11/2023     Scruton, Andrew         1.0   Attend call with Akin & Houlihan re: status of diligence and prep for call
                                                       with the Committee.
   21      4/11/2023     Scruton, Andrew         0.6   Correspond with Akin on draft presentation to the Committee.

   21      4/11/2023   Nicholls, Christopher     1.0   Participate in a call with Committee advisors re: business plan evaluation
                                                       update and other key updates.
   21      4/11/2023      Hu, Elizabeth          1.0   Participate in weekly advisors call with Akin and Houlihan re: debrief on
                                                       management meeting, key workstreams and upcoming committee
                                                       meeting.
   21      4/11/2023     Berkin, Michael         1.1   Participate in periodic weekly update call with Committee advisors.

   21      4/11/2023    Cheng, Earnestiena       0.5   Participate in catch-up advisors call re: Company meeting update,
                                                       diligence lists, and other items (partial attendance).
   21      4/11/2023   Friedman, Samantha        1.0   Participate in weekly standing Committee advisors update call.

   21      4/11/2023     Murphy, Andrew          1.0   Attend Committee advisor call to discuss agenda for UCC call and other
                                                       topics.
   21      4/11/2023        Silva, Jose          1.0   Participate in 4/11 weekly standing Committee advisors update call.

   21      4/11/2023    Sternberg, Joseph        1.1   Participate in call with Committee advisors re: workstreams for near-term
                                                       deliverables.
   21      4/12/2023     Scruton, Andrew         1.0   Attend 4/12 weekly call with the Committee re: near term deliverables
                                                       and updates.
   21      4/12/2023      Simms, Steven          1.0   Attend Committee call on case issues including cash collateral, business
                                                       plan and related items.
   21      4/12/2023     Berkin, Michael         1.0   Participate in 4/12 weekly update call with Committee and Committee
                                                       counsel.
   21      4/12/2023      Hu, Elizabeth          1.0   Participate in weekly Committee call with Akin and Houlihan re:
                                                       management meeting update, various first day motions, liquidity and
                                                       related case issues.
   21      4/12/2023     Murphy, Andrew          1.0   Attend standing Committee update call for case updates.

   21      4/12/2023    Sternberg, Joseph        1.0   Participate in call with Committee re: case updates.

   21      4/17/2023     Scruton, Andrew         0.9   Attend weekly call with Akin and Houlihan re: case status.

   21      4/17/2023     Berkin, Michael         0.9   Discuss case issues and work plan with Akin team and other Committee
                                                       advisors.
                                                        197
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 198 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date       Professional      Hours                                    Activity
Category
   21      4/17/2023   Cheng, Earnestiena     0.2   Evaluate proposed agenda items for Committee call to prepare for
                                                    upcoming call with advisors.
   21      4/17/2023     Hu, Elizabeth        0.9   Participate in weekly Committee advisors call to discuss case issues,
                                                    including various motions, business plan update, key workstreams and
                                                    next steps.
   21      4/17/2023   Friedman, Samantha     0.9   Participate standing Committee advisor call to update team on business
                                                    plan validation.
   21      4/17/2023    Berkin, Michael       0.7   Prepare for discussion on case issues and work plan with Akin team.

   21      4/17/2023    Sternberg, Joseph     0.9   Participate in call with Akin re: workstream updates, upcoming legal
                                                    deadlines.
   21      4/18/2023    Berkin, Michael       0.6   Participate in call with team re: upcoming UCC call.

   21      4/18/2023   Friedman, Samantha     0.6   Attend call with internal team to discuss updates for call with Committee.

   21      4/19/2023    Scruton, Andrew       0.5   Attend 4/19 weekly call with the Committee re: liquidity updates and
                                                    case updates.
   21      4/19/2023     Simms, Steven        0.5   Attend Committee call re: ongoing case issues and updates.

   21      4/19/2023    Berkin, Michael       0.5   Participate in 4/19 weekly update call with Committee and Committee
                                                    counsel.
   21      4/19/2023     Hu, Elizabeth        0.5   Participate in weekly committee call re: cash collateral hearing update,
                                                    business plan update, liquidity update and related case issues.
   21      4/19/2023    Murphy, Andrew        0.6   Attend standing Committee update call to document meeting minutes.

   21      4/19/2023    Sternberg, Joseph     0.5   Participate in weekly call with Committee re: case updates.

   21      4/20/2023       Silva, Jose        0.2   Attend call with Houlihan to align on key next steps for business plan
                                                    evaluation.
   21      4/20/2023   Friedman, Samantha     0.5   Participate in call with FTI and Houlihan to discuss next steps on
                                                    validating the business plan.
   21      4/24/2023     Simms, Steven        0.6   Attend Committee advisors call on case items and liquidity report.

   21      4/24/2023    Scruton, Andrew       0.8   Attend weekly call with Committee advisors re: case status and
                                                    workstreams.
   21      4/24/2023    Berkin, Michael       0.6   Discuss case issues and go-forward work plan with Akin team.

   21      4/24/2023     Hu, Elizabeth        0.8   Participate on weekly call with Akin and Houlihan re: status of key
                                                    workstreams and upcoming issues.
   21      4/24/2023    Vadon, Courtney       0.2   Prepare for meeting with Committee advisors.

   21      4/24/2023    Sternberg, Joseph     0.7   Participate in Committee advisor call re: case updates.

   21      4/26/2023    Scruton, Andrew       0.6   Attend call with Committee re: case status and upcoming meeting with
                                                    Debtors.
   21      4/26/2023    Sternberg, Joseph     0.5   Participate in Committee call re: case updates.


                                                     198
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 199 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                    Activity
Category
   21      4/26/2023     Schuman, Philip         0.5   Participate in weekly call with Committee re: status update on the
                                                       business plan validation work and other work streams.
   21      4/26/2023    Cheng, Earnestiena       0.6   Participate in weekly Committee call re: 4/14 budget-to-actuals
                                                       presentation, historic payments, and investigation overview presentation.

   21      4/26/2023      Hu, Elizabeth          0.6   Participate on weekly call with Committee re: diligence update, liquidity
                                                       update, upcoming management meeting and related case issues.

   21      4/26/2023   Friedman, Samantha        0.5   Participate in standing call with Committee to discuss status update work
                                                       streams, deliverables and other.
   21      4/26/2023    Sternberg, Joseph        0.6   Participate in call with Counsel re: avoidance actions.

   21      4/26/2023      Taylor, Brian          0.5   Attend general Committee call with Akin re: payments to insiders and
                                                       other topics.
   21      5/1/2023    Nicholls, Christopher     1.1   Participate in standing Committee advisors call re: business plan
                                                       evaluation, causes of action, and required follow up.
   21      5/1/2023      Scruton, Andrew         1.1   Attend weekly call with Akin and Houlihan to review case status re:
                                                       MLB motions to compel, liquidity, etc.
   21      5/1/2023      Schuman, Philip         1.1   Participate in call with Committee advisors re: status update on business
                                                       plan and investigations.
   21      5/1/2023       Hu, Elizabeth          1.1   Participate on weekly committee advisors call re: business plan issues,
                                                       diligence, upcoming management meeting and related case issues.
   21      5/1/2023      Berkin, Michael         1.1   Discuss case issues and work plan with Akin team re: league and team
                                                       negotiations, Sinclair, AR Facility.
   21      5/1/2023    Friedman, Samantha        1.1   Participate in standing call with Committee and Committee advisors re:
                                                       status update on business plan review and investigations.
   21      5/3/2023    Nicholls, Christopher     0.4   Attend call with Committee to preview management presentation and
                                                       discuss key issues.
   21      5/3/2023      Schuman, Philip         0.4   Participate in phone call with committee to discuss tasks before
                                                       management meeting.
   21      5/3/2023      Scruton, Andrew         0.4   Attend 5/3 weekly call with Committee ahead of weekly call with
                                                       Debtors.
   21      5/3/2023      Berkin, Michael         0.3   Prepare for 5/3 management update meeting with Committee.

   21      5/3/2023    Friedman, Samantha        0.4   Evaluate takeaways from Committee call on business plan options.

   21      5/3/2023       Hu, Elizabeth          0.4   Attend weekly Committee call to prep for management meeting.

   21      5/5/2023    Friedman, Samantha        0.8   Attend call re: diligence requests with Akin and general status check in.

   21      5/8/2023    Nicholls, Christopher     1.0   Participate in standing Committee advisors call covering business plan
                                                       analysis, depositions, cash flow and litigation issues and work plan.
   21      5/8/2023    Friedman, Samantha        0.5   Participate in standing call with Committee, Akin, FTI, and Houlihan re:
                                                       liquidity update and business plan review.
   21      5/8/2023       Taylor, Brian          0.5   Correspond with Akin on weekly call re: investigations questions and
                                                       other topics.
   21      5/8/2023      Berkin, Michael         0.5   Discuss case issues and work plan with Akin team re: recap Moelis call,
                                                       Phoenix Suns, liquidity update.
                                                         199
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 200 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                   Activity
Category
   21      5/8/2023     Cheng, Earnestiena       0.1   Review agenda for Committee advisor call.

   21      5/8/2023     Sternberg, Joseph        0.5   Participate in weekly advisor call re: workstreams for near-term
                                                       deliverables.
   21      5/10/2023   Friedman, Samantha        0.6   Participate in standing call with Committee, Akin, FTI, and Houlihan re:
                                                       status update and business plan review.
   21      5/10/2023    Sternberg, Joseph        0.6   Participate in Committee call re: case updates.

   21      5/10/2023     Scruton, Andrew         0.6   Attend 5/10 weekly call with Committee ahead of call with Debtors.

   21      5/15/2023     Scruton, Andrew         0.7   Attend weekly call with Akin and Houlihan to review case status.

   21      5/15/2023   Nicholls, Christopher     0.7   Participate in standing Committee advisors call covering progress on
                                                       evaluation of the Company business plan, causes of action, and topics for
                                                       the weekly Committee update call.
   21      5/15/2023   Friedman, Samantha        0.7   Participate in standing call with Committee, Akin, FTI, and Houlihan re:
                                                       status update and progress on business plan.
   21      5/15/2023     Berkin, Michael         0.7   Discuss case issues and work plan with Akin team re: Phoenix Suns,
                                                       MLB expert reports, 2015.3, bar date motion.
   21      5/15/2023       Davis, Guy            0.2   Prepare for Committee call to inform work on investigations and other
                                                       case workstreams.
   21      5/15/2023    Cheng, Earnestiena       0.3   Review draft agenda for Committee advisors professionals call.

   21      5/15/2023    Cheng, Earnestiena       0.4   Provide comments to draft agenda for advisors call re: Sinclair
                                                       noncompliance, investigations, and other items.
   21      5/15/2023       Eldred, John          0.7   Attend Committee advisor call re: workstream updates, Debtor expert
                                                       reports, MLB depositions.
   21      5/15/2023    Cheng, Earnestiena       0.7   Participate in call with Committee advisors re: Sinclair noncompliance,
                                                       investigations, upcoming hearings, and other items.
   21      5/15/2023    Sternberg, Joseph        0.7   Participate in call with Akin re: case update.

   21      5/15/2023      Taylor, Brian          0.7   Attend advisors call to discuss workstreams, including investigations.

   21      5/18/2023     Berkin, Michael         0.4   Correspond on case issues and work plan with Akin team re: distribution
                                                       agreements, MVPD summaries.
   21      5/22/2023   Nicholls, Christopher     1.0   Participate in standing Committee advisors call covering progress on
                                                       business plan review, causes of action, and topics for the weekly
                                                       Committee update call.
   21      5/22/2023     Berkin, Michael         1.0   Discuss case issues and work plan with Akin team re: SOFA SOALs,
                                                       expert reports, and depositions.
   21      5/22/2023   Friedman, Samantha        1.0   Participate in standing call with Committee, Akin, FTI, and Houlihan re:
                                                       status update on business plan and investigations.
   21      5/22/2023     Berkin, Michael         0.7   Develop agenda for case status and workstream status with FTI team.

   21      5/22/2023    Cheng, Earnestiena       1.0   Participate in Committee advisor call re: liquidity, business plan
                                                       scenarios, Sinclair investigations, 2015.3 reporting, and other items.
   21      5/23/2023     Scruton, Andrew         0.3   Participate with Akin and Houlihan to review status of diligence and prep
                                                       for call with Paul Weiss.
                                                        200
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 201 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                    Activity
Category
   21      5/23/2023      Taylor, Brian          0.3   Attend conference call with counsel prior to call with Paul Weiss.

   21      5/24/2023   Nicholls, Christopher     1.6   Review items to be discussed in the Committee advisor update call with
                                                       emphasis on the business plan.
   21      5/24/2023    Cheng, Earnestiena       0.6   Participate in Committee call re: liquidity, MLB litigation update, and
                                                       investigations.
   21      5/24/2023   Nicholls, Christopher     0.6   Attend Committee advisor’s update regarding business plan, depositions,
                                                       liquidity, and the Moelis / Lion Tree retentions.
   21      5/24/2023    Sternberg, Joseph        0.6   Participate in weekly Committee call re: case updates.

   21      5/24/2023     Berkin, Michael         0.6   Participate in weekly update call with Committee and Committee counsel
                                                       re: deposition updates.
   21      5/24/2023     Scruton, Andrew         0.6   Attend weekly call with the Committee.

   21      5/24/2023     Scruton, Andrew         0.6   Correspond with Akin on Sinclair deposition strategy.

   21      5/24/2023     Berkin, Michael         0.3   Prepare for management update meeting with Committee.

   21      5/30/2023     Scruton, Andrew         1.0   Participate in call with Akin and Houlihan to review case status and work
                                                       plans.
   21      5/30/2023    Sternberg, Joseph        1.0   Participate in call with Akin re: case updates.

   21      5/30/2023     Berkin, Michael         1.0   Discuss case issues and work plan with Akin team re: MLBs motions to
                                                       compel.
   21      5/30/2023   Friedman, Samantha        1.0   Participate in standing call with Committee, Akin, FTI, and Houlihan re:
                                                       status update, update on business plan.
   21      5/30/2023    Cheng, Earnestiena       0.5   Participate in call with Committee advisors re: liquidity, SOFA/SOAL
                                                       diligence, and other items.
   21      5/30/2023      Taylor, Brian          0.5   Attend conference call with the Committee advisors re: all workstreams
                                                       updates, including investigations.
   21      5/30/2023    Cheng, Earnestiena       0.2   Provide suggested edits to agenda for Committee professionals' call.

   21      5/30/2023   Nicholls, Christopher     1.0   Participate on weekly UCC call for case update re: business plan,
                                                       litigation and depositions.
   21      5/30/2023     Vadon, Courtney         1.0   Attend Committee advisor call and take notes for absent team members.

   21      5/31/2023     Vadon, Courtney         0.8   Prepare notes from Committee advisor call to be distributed to absent
                                                       team members.
   21      6/5/2023      Scruton, Andrew         1.0   Participate in weekly call with Akin and Houlihan to review case status.

   21      6/5/2023    Nicholls, Christopher     1.0   Participate in Committee advisors call to discuss evaluations of Debtor's
                                                       new business plan.
   21      6/5/2023      Schuman, Philip         1.0   Participated in call with Akin and other advisors re: business plan impact
                                                       of order re: telecast rights.
   21      6/5/2023    Friedman, Samantha        1.0   Participate in 6/5 standing call with Akin, FTI, and Houlihan re: status
                                                       update across workstreams.
   21      6/5/2023       Taylor, Brian          1.0   Attend 6/5 conference call with Committee advisors providing
                                                       workstream updates, including investigations.
                                                        201
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 202 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                     Activity
Category
   21      6/5/2023     Sternberg, Joseph        1.0   Participate in weekly call with Akin and other Committee advisors re:
                                                       June workstreams.
   21      6/7/2023     Sternberg, Joseph        0.8   Prepare for Committee call re: liquidity update.

   21      6/7/2023      Scruton, Andrew         0.5   Participate in 6/7 weekly call with the Committee to discuss liquidity and
                                                       business plan updates.
   21      6/7/2023    Nicholls, Christopher     0.5   Participate on a call to update the Committee on case progress, business
                                                       plan, litigation, liquidity and SOFA SOALs.
   21      6/7/2023        Davis, Guy            0.5   Attend Committee call to provide liquidity update.

   21      6/7/2023      Berkin, Michael         0.5   Participate in weekly update call with the Committee and Committee
                                                       counsel in order to provide liquidity update.
   21      6/7/2023    Friedman, Samantha        0.5   Participate in weekly standing update call with Akin, Houlihan, and
                                                       Committee.
   21      6/7/2023     Sternberg, Joseph        0.5   Participate in Committee call re: case updates.

   21      6/7/2023     Sternberg, Joseph        0.4   Correspond with Akin re: Committee presentation.

   21      6/12/2023     Scruton, Andrew         1.0   Participate in 6/12 weekly call with the Committee advisors to discuss
                                                       liquidity and business plan updates.
   21      6/12/2023     Schuman, Philip         1.0   Participate in call with Akin and Committee advisors re: business plan
                                                       viability, liquidity update, investigations update.
   21      6/12/2023     Berkin, Michael         1.0   Discuss 6/12 case issues and work plan with Akin and Houlihan teams.

   21      6/12/2023   Friedman, Samantha        1.0   Participate in 6/12 standing call with Akin, FTI, and Houlihan re: status
                                                       update across workstreams.
   21      6/12/2023      Taylor, Brian          1.0   Participate on conference call with Committee advisors related to
                                                       business plan and investigation topics.
   21      6/12/2023    Sternberg, Joseph        1.0   Participate in standing call with Committee advisors.

   21      6/14/2023     Scruton, Andrew         0.6   Participate in 6/14 weekly call with the Committee to discuss liquidity
                                                       and business plan updates.
   21      6/14/2023   Nicholls, Christopher     0.6   Participate on weekly Committee call on case progress, business plan,
                                                       litigation, liquidity.
   21      6/14/2023     Schuman, Philip         0.6   Participate in standing call with the Committee.

   21      6/14/2023    Sternberg, Joseph        0.8   Participate in call with internal team re: secured debt waterfalls.

   21      6/14/2023    Sternberg, Joseph        0.6   Participate in 6/14 Committee call re: general workstream updates.

   21      6/19/2023     Scruton, Andrew         0.8   Participate in 6/19 weekly call with Akin and Houlihan to review case
                                                       status.
   21      6/19/2023   Friedman, Samantha        0.8   Participate in weekly standing Committee advisors update call.

   21      6/19/2023       Eldred, John          0.8   Attend 6/19 standing Committee advisor call re: general workstream
                                                       updates.
   21      6/19/2023    Cheng, Earnestiena       0.8   Participate in weekly call with Committee professionals re: business plan
                                                       scenarios, investigations update.
                                                        202
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 203 of 220
                                             EXHIBIT E
                          DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                       DETAIL OF TIME ENTRIES
                             FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                    Activity
Category
   21      6/19/2023    Cheng, Earnestiena       0.4   Draft agenda for call with Houlihan re: valuation, business plan, waterfall
                                                       model, and other items.
   21      6/19/2023    Cheng, Earnestiena       0.2   Coordinate call with Houlihan and internal team re: case workstreams.

   21      6/20/2023      Hu, Elizabeth          1.0   Participate on call with Houlihan to discuss key case issues, current status
                                                       and next steps.
   21      6/20/2023   Friedman, Samantha        1.0   Participate in call with FTI and Houlihan to discuss status, findings, and
                                                       next steps for multiple workstreams.
   21      6/20/2023       Eldred, John          1.0   Participate in meeting with Houlihan to coordinate investigation efforts
                                                       and workstreams.
   21      6/20/2023      Taylor, Brian          1.0   Conduct conference call with Houlihan and internal team related to
                                                       investigations workstream.
   21      6/20/2023    Cheng, Earnestiena       0.1   Provide update to Counsel re: materials for Committee call.

   21      6/22/2023   Nicholls, Christopher     1.0   Participate in call with Houlihan and Akin re: investigations, Sinclair
                                                       complaint and other topics.
   21      6/22/2023   Friedman, Samantha        1.0   Participate on call with the Committee advisors re: business plan
                                                       validation, potential mediation.
   21      6/22/2023    Cheng, Earnestiena       1.0   Participate in call with Akin and Houlihan re: business plan scenarios and
                                                       potential mediation.
   21      6/22/2023    Sternberg, Joseph        1.0   Participate in call with Committee advisors re: business plan and
                                                       waterfall.
   21      6/26/2023     Scruton, Andrew         1.0   Participate in 6/26 weekly call with Committee to review case status.

   21      6/26/2023   Nicholls, Christopher     1.0   Attend weekly call with Akin and Houlihan to discuss board meeting,
                                                       timing of getting new model from the Company, the AR facility, Sinclair
                                                       complaint and Deloitte separation.
   21      6/26/2023     Schuman, Philip         1.0   Participate in Committee call with FTI, Akin, and Houlihan to discuss
                                                       updates on business plan and general workplan.
   21      6/26/2023     Berkin, Michael         1.0   Discuss case issues and work plan as of 6/26 with Akin and Houlihan
                                                       teams.
   21      6/26/2023   Friedman, Samantha        1.0   Participate in weekly standing update call with FTI, Akin, Houlihan.

   21      6/26/2023       Eldred, John          1.0   Attend 6/26 weekly Committee advisors call discussing general case
                                                       updates.
   21      6/26/2023    Cheng, Earnestiena       1.0   Participate in call with Akin and Houlihan re: business plan, separation
                                                       implementation, and strategy for path forward.
   21      6/26/2023    Cheng, Earnestiena       0.3   Draft agenda for Committee advisors call re: business plan review,
                                                       mediation, upcoming motions, and investigations.
   21      6/28/2023     Scruton, Andrew         0.5   Participate in update call with Committee advisors on latest business plan
                                                       scenarios and diligence progress.
   21      6/28/2023     Scruton, Andrew         0.5   Participate in 6/28 weekly Committee call to discuss liquidity and
                                                       business plan updates.
   21      6/28/2023   Nicholls, Christopher     0.5   Participate on call with the Committee advisors to organize an update on
                                                       the business plan progress and issues.
   21      6/28/2023   Nicholls, Christopher     0.5   Participate on the Committee call to provide an update on the business
                                                       plan progress and issues.

                                                        203
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 204 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date       Professional      Hours                                     Activity
Category
   21      6/28/2023       Davis, Guy         0.5   Attend 6/28 weekly call with the Committee to provide investigations
                                                    updates.
   21      6/28/2023    Berkin, Michael       0.5   Participate in 6/28 weekly update call with Committee to provide
                                                    liquidity update.
   21      6/28/2023   Friedman, Samantha     0.5   Participate in weekly standing call with the Committee re: workstream
                                                    updates.
   21      6/28/2023   Friedman, Samantha     0.5   Participate in call with the Committee advisors in order to prepare for the
                                                    upcoming call with the Committee.
   21      6/28/2023      Eldred, John        0.5   Attend call with Committee advisors in advance of Committee call.

   21      6/28/2023    Sternberg, Joseph     0.5   Participate in call with Committee advisors in order to prepare for later
                                                    call with the Committee.
   21      6/28/2023    Sternberg, Joseph     0.5   Participate in 6/28 Committee call with the Committee re: general
                                                    workstream and case updates.
   21      6/29/2023   Cheng, Earnestiena     0.2   Coordinate preparation for next Committee call with Committee advisors.

21 Total                                    133.0

   22      5/25/2023     Wikel, Daniel        1.9   Meet with Committee member re: upcoming MLB hearing, potential
                                                    claims on assets.
22 Total                                      1.9

   23      4/4/2023    Cheng, Earnestiena     0.4   Coordinate with Akin re: FTI retention application process.

   23      4/4/2023    Cheng, Earnestiena     0.3   Review connections list provided by Debtors' counsel.

   23      4/4/2023     Scruton, Andrew       0.5   Review template for retention and initial list of interested parties to
                                                    check.
   23      4/5/2023    Cheng, Earnestiena     0.3   Discuss retention application with internal team.

   23      4/5/2023    Cheng, Earnestiena     0.4   Evaluate connections provided by the Company for FTI's retention
                                                    application.
   23      4/5/2023    Cheng, Earnestiena     0.2   Review FTI retention application form.

   23      4/5/2023      Leake, Nicola        0.3   Review retention app.

   23      4/6/2023      Leake, Nicola        0.5   Attend call with team member re: retention.

   23      4/6/2023     Vadon, Courtney       0.8   Continue to prepare filing re: retention applications.

   23      4/6/2023     Vadon, Courtney       0.5   Discuss retention applications with team member.

   23      4/6/2023     Vadon, Courtney       0.8   Prepare filing re: retention applications.

   23      4/6/2023     Vadon, Courtney       0.4   Review retention applications.

   23      4/8/2023      Leake, Nicola        1.1   Review retention app and distribute to team.

                                                     204
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 205 of 220
                                              EXHIBIT E
                           DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                        DETAIL OF TIME ENTRIES
                              FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                      Activity
Category
   23      4/9/2023      Vadon, Courtney         2.9   Complete first draft of retention applications.

   23      4/10/2023    Cheng, Earnestiena       0.3   Create proposed division of labor list between FTI and Houlihan.

   23      4/10/2023       Leake, Nicola         0.4   Finalize retention app.

   23      4/10/2023    Cheng, Earnestiena       0.4   Process edits to division of labor for scope of services between FTI and
                                                       Houlihan.
   23      4/11/2023    Cheng, Earnestiena       0.3   Discuss division of labor between Houlihan with internal team.

   23      4/12/2023    Cheng, Earnestiena       0.4   Discuss edits to proposed division of labor with internal team.

   23      4/12/2023     Scruton, Andrew         0.5   Review draft of retention agreement.

   23      4/13/2023      Berkin, Michael        0.6   Continue to review draft of retention documents.

   23      4/13/2023    Cheng, Earnestiena       0.2   Coordinate division of labor with FTI and Houlihan teams.

   23      4/13/2023      Berkin, Michael        1.0   Coordinate re: retention issues.

   23      4/13/2023    Cheng, Earnestiena       0.4   Evaluate Houlihan comments to suggested proposed division of labor
                                                       between Houlihan.
   23      4/13/2023      Berkin, Michael        0.6   Review draft of revised retention documents.

   23      4/14/2023    Cheng, Earnestiena       0.9   Process edits to proposed division of labor between Houlihan based on
                                                       internal comments.
   23      4/14/2023       Leake, Nicola         0.4   Review in order to update retention documents.

   23      4/17/2023     Vadon, Courtney         0.6   Prepare filing re: Scruton Declaration.

   23      4/17/2023    Cheng, Earnestiena       0.5   Process edits to retention application draft prepared by internal team.

   23      4/17/2023       Leake, Nicola         0.5   Provide feedback on retention app for team member.

   23      4/17/2023    Cheng, Earnestiena       0.1   Review and provide comments to proposed workstreams list.

   23      4/17/2023   Hellmund-Mora, Marili     1.2   Review conflict check results and prepare declaration exhibits.

   23      4/17/2023    Cheng, Earnestiena       0.3   Review connections list results for incorporation into application
                                                       declaration.
   23      4/17/2023    Cheng, Earnestiena       0.5   Review draft retention application.

   23      4/17/2023    Cheng, Earnestiena       0.2   Review near-term deliverables re: retention application and connection
                                                       checks.
   23      4/18/2023    Cheng, Earnestiena       0.4   Evaluate questions from internal team re: retention application draft.

   23      4/18/2023    Cheng, Earnestiena       0.8   Process edits to draft retention application declaration.

                                                        205
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 206 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                    Activity
Category
   23      4/18/2023    Berkin, Michael       0.8   Review draft FTI retention application for comments.

   23      4/19/2023   Cheng, Earnestiena     0.4   Process edits to retention application based on comments from internal
                                                    team.
   23      4/20/2023    Scruton, Andrew       1.2   Review draft retention papers.

   23      4/20/2023   Cheng, Earnestiena     0.5   Review latest redlines of the retention application reflecting comments
                                                    from Counsel.
   23      4/21/2023   Cheng, Earnestiena     0.4   Provide latest retention application and declaration drafts to Counsel.

   23      4/21/2023    Scruton, Andrew       0.5   Review edits to retention papers.

   23      4/21/2023    Berkin, Michael       0.7   Review FTI retention application for comments.

   23      4/21/2023   Cheng, Earnestiena     0.4   Review latest retention application provided by Counsel.

   23      4/22/2023   Cheng, Earnestiena     0.3   Review latest retention application and declaration draft.

   23      4/24/2023    Vadon, Courtney       1.2   Add names on to firm retention exhibits.

   23      4/24/2023   Cheng, Earnestiena     0.3   Review list of additional connections checks for retention application
                                                    declaration.
   23      4/25/2023   Cheng, Earnestiena     0.1   Circulate latest retention application to internal team.

   23      4/25/2023   Cheng, Earnestiena     0.6   Review latest connection parties additions to retention application.

   23      4/26/2023   Cheng, Earnestiena     0.4   Review latest edits to FTI retention application.

   23      4/28/2023    Scruton, Andrew       0.6   Review and finalize retention papers.

   23      4/28/2023   Cheng, Earnestiena     0.2   Review connections checks additions provided by Counsel.

   23      4/30/2023   Cheng, Earnestiena     0.1   Review latest draft of retention application prepared by Counsel.

   23      5/1/2023    Cheng, Earnestiena     0.3   Review latest retention application draft provided by Counsel.

   23      5/23/2023   Cheng, Earnestiena     0.2   Review status of FTI retention motion.

23 Total                                     30.1

   24      5/1/2023      Leake, Nicola        0.1   Participate on call with internal team re: preparation of fee statements.

   24      5/1/2023     Vadon, Courtney       0.1   Attend call with team member re: fee statements.

   24      5/1/2023      Leake, Nicola        1.0   Prepare email to internal team re: fee application preparation.

   24      5/8/2023    Sternberg, Joseph      0.8   Participate in call with FTI team re: April 2023 fee app.

                                                     206
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 207 of 220
                                           EXHIBIT E
                        DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                     DETAIL OF TIME ENTRIES
                           FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional      Hours                                       Activity
Category
   24      5/8/2023    Murphy, Andrew        0.8   Attend call with internal team re: preparing April 2023 fee application.

   24      5/8/2023     Simon, Russell       0.8   Meet with FTI internal team to discuss fee application.

   24      5/8/2023     Leake, Nicola        0.8   Attend call re: April fee app with internal team.

   24      5/9/2023     Leake, Nicola        0.7   Revise April fee statement draft.

   24      5/9/2023    Murphy, Andrew        1.9   Revise narratives on April fee statement draft.

   24      5/9/2023     Leake, Nicola        2.9   Continue to revise April fee statement draft.

   24      5/10/2023   Murphy, Andrew        0.9   Participate in call with internal team re: April fee statement draft
                                                   narrative review.
   24      5/10/2023   Sternberg, Joseph     0.9   Participate in call with team member re: April 2023 fee statement.

   24      5/10/2023   Sternberg, Joseph     1.9   Prepare April 2023 fee statement.

   24      5/10/2023    Braga, Andrew        1.4   Prepare April fee statement revisions.

   24      5/11/2023   Sternberg, Joseph     0.3   Revise April 2023 fee statement.

   24      5/11/2023    Braga, Andrew        2.4   Prepare updates to April fee statement.

   24      5/11/2023   Sternberg, Joseph     0.3   Provide guidance to internal team re: preparation of April 2023 fee
                                                   statement.
   24      5/12/2023    Simon, Russell       1.2   Review activity for April fee statement.

   24      5/15/2023    Simon, Russell       2.9   Prepare April fee statement revisions.

   24      5/15/2023    Simon, Russell       2.2   Continue reviewing April fee statement.

   24      5/15/2023   Vadon, Courtney       0.9   Continue preparing April fee statement.

   24      5/15/2023   Vadon, Courtney       0.8   Prepare April fee statement.

   24      5/15/2023   Vadon, Courtney       0.5   Process comments to April fee statement.

   24      5/16/2023   Vadon, Courtney       2.0   Prepare April fee statement.

   24      5/17/2023    Leake, Nicola        2.9   Prepare April fee statement.

   24      5/17/2023    Leake, Nicola        1.3   Continue to review April fee statement.

   24      5/18/2023    Braga, Andrew        2.3   Continue preparation of April fee statement.

   24      5/19/2023    Braga, Andrew        1.8   Continue to process edits to April fee statement.

                                                    207
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 208 of 220
                                           EXHIBIT E
                        DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                     DETAIL OF TIME ENTRIES
                           FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional      Hours                                      Activity
Category
   24      5/19/2023    Simon, Russell       1.5   Continue to create April fee statement draft.

   24      5/19/2023    Braga, Andrew        2.2   Continue to process edits to April fee statement.

   24      5/22/2023    Braga, Andrew        2.5   Process edits for April fee statement.

   24      5/22/2023    Leake, Nicola        1.5   Review April fee statement draft.

   24      5/22/2023    Simon, Russell       2.9   Prepare the April fee statement.

   24      5/22/2023   Vadon, Courtney       0.7   Continue to prepare April fee statement.

   24      5/22/2023   Sternberg, Joseph     0.3   Participate in call with internal FTI team re: April 2023 fee statement.

   24      5/22/2023   Vadon, Courtney       0.3   Attend call with team member re: April fee application changes.

   24      5/23/2023    Leake, Nicola        2.2   Begin reviewing April fee statement.

   24      5/23/2023   Murphy, Andrew        1.5   Continue to prepare edits to April 2023 fee statement.

   24      5/23/2023   Murphy, Andrew        2.9   Prepare analysis re: April 2023 fee statement.

   24      5/23/2023    Simon, Russell       2.9   Continue to prepare the April fee statement.

   24      5/23/2023   Vadon, Courtney       3.0   Continue preparation of April fee statement.

   24      5/23/2023   Vadon, Courtney       3.0   Continue additional April statement preparation.

   24      5/23/2023    Simon, Russell       2.1   Continue to process edits to April fee statement.

   24      5/23/2023    Simon, Russell       2.9   Continue preparation of the April fee statement.

   24      5/23/2023    Braga, Andrew        4.3   Continue preparing fee application.

   24      5/23/2023   Vadon, Courtney       0.6   Continue additional April statement preparation.

   24      5/23/2023    Braga, Andrew        0.2   Participate in meeting with team re: preparation of April fee statement.

   24      5/24/2023   Vadon, Courtney       2.5   Review additional April fee statement entries.

   24      5/24/2023   Vadon, Courtney       2.0   Continue applying edits to April fee statement.

   24      5/24/2023   Vadon, Courtney       2.4   Apply edits to April fee statement.

   24      5/25/2023   Vadon, Courtney       2.7   Edit April fee statement.

   24      5/25/2023    Leake, Nicola        2.7   Review April fee statement preparation.

                                                    208
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 209 of 220
                                           EXHIBIT E
                        DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                     DETAIL OF TIME ENTRIES
                           FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional    Hours                                       Activity
Category
   24      5/25/2023   Vadon, Courtney     2.9   Continue reviewing April fee statement.

   24      5/25/2023   Vadon, Courtney     2.4   Continue editing April fee statement.

   24      5/25/2023   Vadon, Courtney     2.7   Apply additional edits to April fee statement to prepare exhibits.

   24      5/26/2023    Leake, Nicola      1.3   Prepare comments for team re: April fee statement preparation.

   24      5/26/2023    Leake, Nicola      2.8   Process comments to April fee statement.

   24      5/26/2023   Vadon, Courtney     3.0   Revise April fee statement draft.

   24      5/26/2023   Vadon, Courtney     0.3   Continue revisions to April fee statement.

   24      5/26/2023    Leake, Nicola      0.0   Attend additional call with team member re: April fee statement edits.

   24      5/26/2023    Leake, Nicola      0.3   Attend call with team member re: April fee statement draft.

   24      5/26/2023   Vadon, Courtney     0.0   Attend call with team member re: April fee statement review.

   24      5/26/2023   Vadon, Courtney     0.3   Attend call with team re: April fee statement.

   24      5/28/2023    Leake, Nicola      2.9   Finalize April fee statement edits.

   24      5/28/2023    Leake, Nicola      0.9   Continue to finalize April fee statement edits.

   24      5/28/2023    Leake, Nicola      0.0   Continue to finalize April fee statement.

   24      5/29/2023    Leake, Nicola      2.5   Finalize April fee statement.

   24      5/30/2023    Leake, Nicola      2.1   Process edits to April fee statement.

   24      5/30/2023   Vadon, Courtney     1.3   Prepare April fee statement.

   24      5/30/2023    Leake, Nicola      2.2   Continue to prepare adjustments to April fee statement.

   24      5/30/2023   Vadon, Courtney     2.4   Prepare April fee statement exhibits.

   24      5/30/2023    Leake, Nicola      0.0   Participate in call with team member re: April fee statement preparation.

   24      5/30/2023    Leake, Nicola      0.0   Participate in additional call with team member re: April fee statement
                                                 edits.
   24      5/30/2023   Vadon, Courtney     0.0   Attend call with team member re: preparing April fee statement exhibits.

   24      5/30/2023   Vadon, Courtney     0.0   Participate in call with team member re: April fee statement.

   24      5/31/2023   Vadon, Courtney     2.8   Apply comments from team member re: April fee statement.

                                                  209
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 210 of 220
                                              EXHIBIT E
                           DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                        DETAIL OF TIME ENTRIES
                              FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                     Activity
Category
   24      5/31/2023    Cheng, Earnestiena       1.2   Review April fee statement.

   24      5/31/2023       Leake, Nicola         2.2   Prepare updates to April fee statement exhibits per comments from
                                                       internal team.
   24      5/31/2023     Vadon, Courtney         0.5   Prepare April fee statement exhibit questions for team member.

   24      5/31/2023     Vadon, Courtney         1.2   Continue to apply April fee statement comments re: updates to narratives.

   24      5/31/2023    Cheng, Earnestiena       0.3   Participate in call with internal team re: April fee statement.

   24      5/31/2023       Leake, Nicola         0.3   Attend discussion on April fee statement with internal team.

   24      5/31/2023     Vadon, Courtney         0.3   Discuss April fee statement exhibit questions with team members.

   24      6/1/2023        Leake, Nicola         1.9   Review April fee statement in order to incorporate edits to fee statement
                                                       exhibits.
   24      6/5/2023        Leake, Nicola         2.4   Review April fee statement exhibits.

   24      6/5/2023      Vadon, Courtney         2.2   Prepare April fee statement.

   24      6/5/2023        Leake, Nicola         0.8   Prepare updates to April fee statement.

   24      6/5/2023        Leake, Nicola         0.7   Discuss April fee exhibits with team.

   24      6/6/2023        Leake, Nicola         2.3   Prepare updates to April fee exhibits.

   24      6/6/2023      Vadon, Courtney         2.9   Prepare May fee statement template for team review.

   24      6/6/2023        Leake, Nicola         1.2   Review May fee statement prepared by internal team member.

   24      6/6/2023      Vadon, Courtney         1.7   Continue to prepare May fee statement template for team review.

   24      6/7/2023      Vadon, Courtney         2.9   Prepare introductory pages to April fee exhibits.

   24      6/7/2023        Leake, Nicola         1.9   Review latest April fee statement draft to provide comments.

   24      6/7/2023        Leake, Nicola         1.8   Prepare review of April fee statement logistics in the latest draft
                                                       including write offs and task codes.
   24      6/7/2023      Vadon, Courtney         1.6   Prepare April fee statement write offs.

   24      6/7/2023    Hellmund-Mora, Marili     0.6   Generate proforma in connection with the budget and billing.

   24      6/8/2023      Vadon, Courtney         0.6   Prepare exhibits re: April fee statement.

   24      6/8/2023        Leake, Nicola         0.2   Attend call with team re: April fee statement introduction and exhibits.

   24      6/8/2023      Vadon, Courtney         0.2   Participate in call re: April fee statement exhibits introductory statement.

                                                        210
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 211 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                    Activity
Category
   24      6/9/2023     Vadon, Courtney       2.6   Update April fee statement with comments from team.

   24      6/12/2023   Sternberg, Joseph      0.7   Review April fee statement.

   24      6/12/2023    Vadon, Courtney       0.8   Prepare April fee statement re: comments.

   24      6/12/2023     Leake, Nicola        0.3   Review April fee statement for team distribution.

   24      6/12/2023     Leake, Nicola        0.2   Discuss April fee statement with team member to prepare for team
                                                    distribution.
   24      6/12/2023    Vadon, Courtney       0.2   Attend call with team member re: April fee statement comments.

   24      6/14/2023     Leake, Nicola        0.6   Discuss April fee statement checks with team.

   24      6/14/2023    Vadon, Courtney       0.6   Attend call with team member re: fee statement checks.

   24      6/14/2023     Leake, Nicola        0.2   Put through April fee statement check for team.

   24      6/15/2023   Cheng, Earnestiena     1.0   Review April fee statement.

   24      6/15/2023    Braga, Andrew         0.7   Prepare the May fee statement.

   24      6/15/2023     Leake, Nicola        0.2   Participate on call with team member to provide April fee statement
                                                    comments.
   24      6/15/2023    Vadon, Courtney       0.2   Attend call with team member re: April fee statement.

   24      6/16/2023     Simon, Russell       2.9   Prepare May fee statement.

   24      6/16/2023     Simon, Russell       2.3   Continue to prepare May fee statement.

   24      6/16/2023    Vadon, Courtney       2.9   Apply April fee statement feedback from Akin.

   24      6/16/2023     Leake, Nicola        0.9   Review Akin input to fee statement to provide comments to team
                                                    member.
   24      6/16/2023   Cheng, Earnestiena     0.4   Review May fee statement in order to provide comments to internal team.

   24      6/16/2023   Cheng, Earnestiena     0.3   Discuss April fee statement with internal team.

   24      6/16/2023    Vadon, Courtney       0.3   Attend call with team members re: Akin fee statement feedback.

   24      6/16/2023     Leake, Nicola        0.2   Discuss April fee statement feedback from Akin with team member.

   24      6/16/2023    Vadon, Courtney       0.2   Participate in call with team member re: Akin's fee statement feedback.

   24      6/17/2023   Cheng, Earnestiena     0.3   Review latest edits to April fee statement.

   24      6/19/2023     Leake, Nicola        2.9   Prepare updates to May fee statement.

                                                     211
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 212 of 220
                                            EXHIBIT E
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                      DETAIL OF TIME ENTRIES
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional       Hours                                     Activity
Category
   24      6/19/2023    Vadon, Courtney       2.8   Revise narratives on May fee statement.

   24      6/19/2023    Vadon, Courtney       2.2   Finalize April exhibits in order to send to Akin.

   24      6/19/2023   Murphy, Andrew         1.2   Prepare May 2023 fee statement.

   24      6/19/2023     Leake, Nicola        0.9   Finalize updated April fee statement with comments from Akin
                                                    incorporated.
   24      6/19/2023   Cheng, Earnestiena     0.3   Continue to review updates received on 6/16 on April fee statement.

   24      6/20/2023   Murphy, Andrew         3.0   Continue to prepare May fee entries.

   24      6/20/2023    Vadon, Courtney       2.9   Prepare May fee statement.

   24      6/21/2023    Vadon, Courtney       3.0   Continue to prepare fee statement.

   24      6/21/2023    Vadon, Courtney       2.9   Prepare May fee statement.

   24      6/21/2023     Moran, Sarah         3.0   Prepare May fee statement.

   24      6/21/2023     Leake, Nicola        0.4   Attend meeting with team member re: May fee statement.

   24      6/21/2023    Vadon, Courtney       0.4   Meet with team member re: May fee statement.

   24      6/21/2023    Vadon, Courtney       0.3   Continue to meet with team member re: fee statement.

   24      6/21/2023     Moran, Sarah         0.3   Attend call with team re: May fee statement.

   24      6/22/2023    Vadon, Courtney       2.9   Review May fee statement.

   24      6/22/2023     Moran, Sarah         3.0   Continue to prepare May fee statement.

   24      6/23/2023     Leake, Nicola        3.0   Create review of fee statement entries and time as prepared by team.

   24      6/23/2023    Vadon, Courtney       2.9   Prepare May fee statement re: narratives.

   24      6/23/2023     Leake, Nicola        1.1   Continue to create review of May fee statement entries.

   24      6/23/2023     Moran, Sarah         2.7   Continue to identify additional edits to May fee statement.

   24      6/24/2023    Vadon, Courtney       2.9   Revise May fee statement.

   24      6/24/2023    Vadon, Courtney       2.6   Update May fee statement.

   24      6/25/2023    Vadon, Courtney       2.9   Prepare additional revisions to fee statement re: call times.

   24      6/26/2023     Leake, Nicola        3.0   Continue to review fee statement to ensure accuracy and completeness.

                                                     212
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 213 of 220
                                              EXHIBIT E
                           DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                        DETAIL OF TIME ENTRIES
                              FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date        Professional        Hours                                    Activity
Category
   24      6/26/2023       Leake, Nicola         2.5   Review May fees and expenses exhibits/entries.

   24      6/26/2023       Leake, Nicola         1.8   Continue to review May fee statement exhibits and expense entries.

   24      6/27/2023       Leake, Nicola         2.8   Prepare fee statement feedback for internal team.

   24      6/27/2023       Leake, Nicola         2.6   Review fee exhibits and expenses entries including write offs and next
                                                       step.
   24      6/27/2023     Vadon, Courtney         2.6   Prepare May fee statement exhibits for further team review.

   24      6/27/2023       Leake, Nicola         1.2   Continue to review May fee exhibits and expenses entries.

   24      6/27/2023     Vadon, Courtney         1.4   Apply May fee statement feedback provided by team member.

   24      6/27/2023       Leake, Nicola         0.8   Attend call with team member re: May fee statement.

   24      6/27/2023     Vadon, Courtney         0.9   Put through May fee statement feedback provided by team member.

   24      6/27/2023     Vadon, Courtney         0.8   Attend call with team members re: May fee statement exhibits.

   24      6/27/2023     Vadon, Courtney         0.7   Continue to prepare May fee statement exhibits for further team review.

   24      6/27/2023   Hellmund-Mora, Marili     0.8   Update in order to finalize the April fee statement.

   24      6/27/2023       Leake, Nicola         0.3   Attend call with team member to supply feedback on May fee statement.

   24      6/27/2023     Vadon, Courtney         0.3   Attend call with team member re: May fee statement feedback.

   24      6/28/2023     Vadon, Courtney         2.8   Continue to prepare May fee statement exhibits to be reviewed.

   24      6/28/2023     Vadon, Courtney         2.6   Prepare May fee statement exhibits to be reviewed.

   24      6/28/2023     Vadon, Courtney         2.5   Apply May fee statement edits.

   24      6/28/2023       Leake, Nicola         0.3   Participate on call with team member re: respond to question on fee
                                                       statement.
   24      6/28/2023     Vadon, Courtney         0.3   Attend call with team member re: May fee statement.

   24      6/28/2023     Vadon, Courtney         0.2   Attend call with team member re: fee statement revisions.

   24      6/28/2023       Moran, Sarah          0.2   Review May fee statement with internal team.

24 Total                                       252.5

   25      4/27/2023       Taylor, Brian         4.3   Travel one way from Richmond to NY for meeting with Company
                                                       counsel re: investigations.
   25      4/28/2023        Davis, Guy           4.0   Travel from Richmond home office to NY for meeting with Company
                                                       counsel regarding investigations.
                                                        213
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 214 of 220
                                           EXHIBIT E
                        DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                     DETAIL OF TIME ENTRIES
                           FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Task
               Date      Professional    Hours                                   Activity
Category
   25      4/28/2023    Taylor, Brian      3.4   Travel one way from NY to Richmond back from meeting with Company
                                                 counsel re: investigations.
   25      5/23/2023     Davis, Guy        3.5   Travel to Baltimore deposition.

   25      5/31/2023     Eldred, John      3.5   Travel to Maryland for McIntire deposition.

   25      6/1/2023      Eldred, John      3.0   Travel home from McIntire deposition.

   25      6/1/2023     Taylor, Brian      2.9   Travel to Bell deposition.

   25      6/1/2023      Eldred, John      1.0   Continue to travel home from McIntire deposition.

   25      6/2/2023     Taylor, Brian      2.9   Travel from Bell deposition.

   25      6/2/2023     Taylor, Brian      1.0   Continue travel from Bell deposition.

   25      6/6/2023      Eldred, John      3.0   Travel to Maryland for Bochenek deposition.

   25      6/6/2023      Eldred, John      1.0   Continue to travel to Maryland for Bochenek deposition.

   25      6/7/2023      Eldred, John      3.0   Travel home from Bochenek deposition.

   25      6/7/2023      Eldred, John      1.0   Continue travel home from Bochenek deposition.

   25      6/12/2023     Eldred, John      3.0   Travel to Chicago for Duff and Phelps deposition.

   25      6/12/2023    Taylor, Brian      2.9   Travel from Richmond to Baltimore for Sinclair depositions.

   25      6/12/2023     Eldred, John      2.0   Continue to travel to Chicago for Duff and Phelps deposition.

   25      6/13/2023    Taylor, Brian      2.9   Travel from Baltimore to New York for depositions.

   25      6/13/2023    Taylor, Brian      0.9   Continue to travel from Baltimore to New York for depositions.

   25      6/14/2023     Eldred, John      3.0   Travel home from Duff and Phelps deposition in Chicago.

   25      6/14/2023    Taylor, Brian      2.5   Travel from New York to Richmond for depositions.

   25      6/14/2023    Taylor, Brian      2.5   Continue to travel from New York to Richmond for depositions.

   25      6/14/2023     Eldred, John      1.8   Continue travel home from Duff and Phelps deposition in Chicago.

   25      6/18/2023    Taylor, Brian      2.9   Travel from Richmond to Baltimore for depositions.

   25      6/18/2023    Taylor, Brian      0.5   Continue to travel from Richmond to Baltimore for depositions.

   25      6/21/2023    Taylor, Brian      2.9   Travel from Baltimore to Richmond for depositions.

                                                  214
                 Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 215 of 220
                                              EXHIBIT E
                           DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                        DETAIL OF TIME ENTRIES
                              FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

  Task
                  Date      Professional    Hours                                   Activity
 Category
    25        6/21/2023    Taylor, Brian       0.6   Travel from Baltimore to Richmond for depositions.

 25 Total                                     65.9

Grand Total                                4,817.0




                                                      215
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 216 of 220
                                              EXHIBIT F
                           DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                           EXPENSE DETAIL
                              FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Date    Professional       Expense Type     Expense Detail                                               Amount
                                             Round trip flights to NYC from Richmond for in person
04/24/23 Taylor, Brian      Airfare                                                                         $ 725.64
                                             Debtor meeting.
                                             Flight to NYC from Richmond for in person Debtor
04/25/23 Davis, Guy         Airfare                                                                          497.90
                                             meeting.
                                             Flight to Richmond from NYC for in person Debtor
04/27/23 Davis, Guy         Airfare                                                                          345.14
                                             meeting.
06/07/23 Eldred, John       Airfare          Airfaire to attend Sinclair deposition in Chicago.               676.99
06/08/23 Taylor, Brian      Airfare          Airefare to attend Sinclair deposition in New York.              200.32
                            Airfare Total                                                                 $ 2,445.99
04/28/23 Taylor, Brian      Lodging          Hotel in NYC for Debtor meeting.                                 540.54
04/28/23 Davis, Guy         Lodging          Hotel in NYC for Debtor meeting.                                 430.38

05/15/23 Davis, Guy         Lodging          Hotel in NYC for meeting with Debtors re: DSG hearing.          507.27

05/24/23 Davis, Guy         Lodging          Hotel in Maryland for Shapiro deposition.                       172.10
06/02/23 Taylor, Brian      Lodging          Hotel related to Sinclair deposition.                           213.68
06/07/23 Eldred, John       Lodging          Hotel related to Sinclair deposition.                           241.40
06/13/23 Taylor, Brian      Lodging          Hotel related to Sinclair deposition in New York.               225.23
06/14/23 Eldred, John       Lodging          Hotel in Chicago while attending Duff & Phelps deposition.    1,359.50
06/14/23 Taylor, Brian      Lodging          Hotel related to Sinclair deposition.                            547.42
06/21/23 Taylor, Brian      Lodging          Hotel related to Sinclair deposition in Baltimore.               675.69
                            Lodging Total                                                                 $ 4,913.21
04/10/23 Cheng, Earnestiena Transportation   Taxi home from work after working late in office.                 18.99
04/11/23 Cheng, Earnestiena Transportation   Taxi home from work after working late in office.                 16.30
04/27/23 Davis, Guy         Transportation   Baggage fees incurred while traveling for hearings.               35.00
04/27/23 Taylor, Brian      Transportation   Taxi from airport for Debtor meeting in NYC.                      88.68
04/27/23 Davis, Guy         Transportation   Taxi while traveling for Debtor meeting in NYC.                   27.22
04/28/23 Davis, Guy         Transportation   Parking at DSG hearing.                                           38.00
04/28/23 Davis, Guy         Transportation   Taxi to Newark Airport from NYC client office.                    80.00
04/28/23 Taylor, Brian      Transportation   Parking at airport for in person Debtor meeting.                  24.00
04/28/23 Taylor, Brian      Transportation   Lyft to airport returning from Debtor meeting in NYC.            122.22
05/12/23 Vadon, Courtney Transportation      Taxi home from work after working late in the office.             13.60
                                             Train from Richmond, VA to Alexandria VA for DSG
05/12/23 Davis, Guy         Transportation                                                                   134.00
                                             hearing.
05/16/23 Cheng, Earnestiena Transportation   Taxi home after working late in the office.                      26.28
                                             Train from Richmond, VA to Baltimore, MD for Shapiro
05/23/23 Davis, Guy         Transportation                                                                    74.00
                                             deposition.
05/23/23 Cheng, Earnestiena Transportation   Taxi home after working late in the office.                      22.38
05/31/23 Cheng, Earnestiena Transportation   Taxi home after working late in the office.                      18.83
                                             Gas for rental car used to attend Sinclair deposition in
06/01/23 Taylor, Brian      Transportation                                                                    44.01
                                             Maryland.
                                             Economy airport parking while traveling for Sinclair
06/02/23 Eldred, John       Transportation                                                                    14.00
                                             deposition.
                                                         216
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 217 of 220
                                              EXHIBIT F
                           DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                           EXPENSE DETAIL
                              FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Date    Professional       Expense Type     Expense Detail                                                  Amount
06/02/23 Eldred, John       Transportation   Rental car to attend Sinclair deposition.                          209.52
                                             Gas for rental car used to attend Sinclair deposition in
06/02/23 Eldred, John       Transportation                                                                       42.51
                                             Maryland.
06/02/23 Taylor, Brian      Transportation   Rental car used to travel to Sinclair depositions.                 138.67
06/07/23 Taylor, Brian      Transportation   Train to attend Sinclair deposition in New York.                   251.00
                                             Economy airport parking while traveling for Sinclair
06/08/23 Eldred, John       Transportation                                                                       14.00
                                             deposition.
                                             Rental car used for travel to Sinclair depositions in
06/08/23 Eldred, John       Transportation                                                                      191.14
                                             Maryland.
                                             Gas for rental car used to attend Sinclair deposition in
06/08/23 Eldred, John       Transportation                                                                       38.28
                                             Maryland.

06/12/23 Taylor, Brian      Transportation   Tolls incurred traveling to Sinclair deposition in Baltimore.        6.65
06/12/23 Taylor, Brian      Transportation   Taxi to car rental facility.                                        26.39
06/13/23 Taylor, Brian      Transportation   Taxi used while attending Sinclair deposition in New York.          16.75

06/13/23 Eldred, John       Transportation   Uber from Duff & Phelps deposition to hotel in Chicago.             27.55
06/13/23 Taylor, Brian      Transportation   Rental car used to travel to Sinclair depositions.                 142.62
                                             Airport parking while attending Duff & Phelps deposition
06/14/23 Eldred, John       Transportation                                                                       24.00
                                             in Chicago.
                                             Taxi from hotel to LaGuardia Airport following Sinclair
06/14/23 Taylor, Brian      Transportation                                                                       98.70
                                             depositions.

06/14/23 Eldred, John       Transportation   Uber to airport while attending Duff & Phelps deposition.           80.83

06/14/23 Taylor, Brian      Transportation   Taxi from Richmond airport following Sinclair deposition.           75.89
06/15/23 Cheng, Earnestiena Transportation   Taxi home after working late in the office.                         31.96
06/18/23 Taylor, Brian      Transportation   Tolls incurred traveling to Sinclair deposition in Baltimore.        8.20
06/18/23 Taylor, Brian      Transportation   Gas used for travel to Sinclair deposition in Baltimore.           112.69

06/19/23 Taylor, Brian      Transportation   Gas used for travel to Sinclair deposition in Baltimore.             7.93

06/19/23 Taylor, Brian      Transportation   Gas used for travel to Sinclair deposition in Baltimore.             7.80

06/21/23 Taylor, Brian      Transportation   Tolls incurred traveling to Sinclair deposition in Baltimore.       19.30

06/21/23 Taylor, Brian      Transportation   Tolls incurred traveling to Sinclair deposition in Baltimore.       26.50

06/21/23 Taylor, Brian      Transportation   Gas used for travel to Sinclair deposition in Baltimore.           119.01

06/21/23 Taylor, Brian      Transportation   Gas used for travel to Sinclair deposition in Baltimore.             7.93

                                                          217
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 218 of 220
                                              EXHIBIT F
                           DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                           EXPENSE DETAIL
                              FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Date    Professional       Expense Type     Expense Detail                                                Amount

06/29/23 Cheng, Earnestiena Transportation   Taxi home after working late in the office.                       18.62

                            Transportation Total                                                           $ 2,541.95

04/05/23 Leake, Nicola      Working Meal     Late work night dinner for self.                                  14.29

04/06/23 Leake, Nicola      Working Meal     Late work night dinner for self.                                  14.16

04/16/23 Leake, Nicola      Working Meal     Weekend working dinner for self.                                  30.61

04/20/23 Leake, Nicola      Working Meal     Late night work dinner.                                           42.05

04/27/23 Davis, Guy         Working Meal     Meal for self while traveling for hearings.                        8.00

04/28/23 Taylor, Brian      Working Meal     Meal for self in NYC for Debtor meeting.                          79.41

04/28/23 Taylor, Brian      Working Meal     Meal for self in NYC for Debtors meeting.                         58.78

04/28/23 Davis, Guy         Working Meal     Meal for self while in NYC for Debtors meeting.                   59.13

05/23/23 Davis, Guy         Working Meal     Meal for self in Maryland for Shapiro deposition.                 28.98

05/31/23 Eldred, John       Working Meal     Meal for self in Maryland for Shapiro deposition.                 29.11

                                             Travel meal while attending Sinclair deposition in
06/01/23 Eldred, John       Working Meal                                                                       13.84
                                             Maryland.
                                             Travel meal while attending Sinclair deposition in
06/01/23 Taylor, Brian      Working Meal                                                                      118.59
                                             Maryland.

06/02/23 Taylor, Brian      Working Meal     Travel meal while attending Sinclair deposition.                  10.55

06/06/23 Eldred, John       Working Meal     Travel meal while attending Sinclair deposition.                  35.31

06/12/23 Eldred, John       Working Meal     Travel meal while attending Sinclair deposition in Chicago.       24.89

06/12/23 Eldred, John       Working Meal     Travel meal while attending Sinclair deposition in Chicago.       46.56

                                             Travel meal while attending Sinclair deposition in New
06/13/23 Taylor, Brian      Working Meal                                                                        4.00
                                             York.
                                             Travel meal while attending Sinclair deposition in New
06/13/23 Taylor, Brian      Working Meal                                                                       62.26
                                             York.
                                             Travel meal while attending Sinclair deposition in New
06/13/23 Taylor, Brian      Working Meal                                                                       27.50
                                             York.

                                                         218
              Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 219 of 220
                                            EXHIBIT F
                         DIAMOND SPORTS GROUP, LLC, ET AL. - CASE NO. 23-90116
                                         EXPENSE DETAIL
                            FOR THE PERIOD MARCH 31, 2023 TO JUNE 30, 2023

 Date    Professional    Expense Type    Expense Detail                                                  Amount

06/13/23 Eldred, John    Working Meal    Travel meal while attending Sinclair deposition in Chicago.           9.49

06/13/23 Eldred, John    Working Meal    Travel meal while attending Sinclair deposition in Chicago.         118.99

06/13/23 Taylor, Brian   Working Meal    Travel meals used to travel to Sinclair depositions.                 10.02

06/14/23 Eldred, John    Working Meal    Travel meal while attending Duff & Phelps deposition.                 9.47

06/14/23 Taylor, Brian   Working Meal    Travel meal while attending Sinclair deposition.                     30.00

06/14/23 Taylor, Brian   Working Meal    Travel meal while attending Sinclair deposition.                     73.74

06/14/23 Eldred, John    Working Meal    Travel meal while attending Duff & Phelps deposition.                10.93

06/14/23 Taylor, Brian   Working Meal    Travel meal while attending Sinclair deposition.                     21.57

                                         Travel meal while attending Sinclair deposition in
06/19/23 Taylor, Brian   Working Meal                                                                         10.02
                                         Baltimore.
                                         Travel meal while attending Sinclair deposition in
06/20/23 Taylor, Brian   Working Meal                                                                          8.00
                                         Baltimore.
                                         Travel meal while attending Sinclair deposition in
06/20/23 Taylor, Brian   Working Meal                                                                         45.40
                                         Baltimore.
                                         Travel meal while attending Sinclair deposition in
06/20/23 Taylor, Brian   Working Meal                                                                        145.83
                                         Baltimore.
                                         Travel meal while attending Sinclair deposition in
06/20/23 Taylor, Brian   Working Meal                                                                         11.55
                                         Baltimore.

06/21/23 Taylor, Brian   Working Meal    Gas used for travel to Sinclair deposition in Baltimore.             10.02

                          Working Meal Total                                                              $ 1,223.05

                                         Travel agent fee on booking to attend Sinclair deposition in
06/07/23 Eldred, John    Other                                                                                10.00
                                         Chicago.
                                         In-flight wifi used while traveling to Sinclair deposition in
06/12/23 Eldred, John    Other                                                                                 8.00
                                         Chicago.
                                         In-flight wifi used while traveling from Sinclair deposition
06/14/23 Eldred, John    Other                                                                                 8.00
                                         in Chicago.

06/21/23 Braga, Andrew   Other           In-flight wifi used to complete business plan analysis.              19.99

                          Other Total                                                                        $ 45.99

                          Grand Total                                                                    $ 11,170.19

                                                     219
Case 23-90116 Document 1072 Filed in TXSB on 08/15/23 Page 220 of 220




                             EXHIBIT G

                           Proposed Order




                                 220
